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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                        Plaintiffs,      Case No. 1:20-cv-03010-APM

v.                                       HON. AMIT P. MEHTA

GOOGLE LLC,

                        Defendant.


STATE OF COLORADO, et al.,

                        Plaintiffs,      Case No. 1:20-cv-03715-APM

v.                                       HON. AMIT P. MEHTA

GOOGLE LLC,

                        Defendant.




            PLAINTIFFS’ REMEDIES PROPOSED FINDINGS OF FACT
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                          CITATIONS TO WITNESS TESTIMONY


Remedies Trial Transcript:
   Rem. Tr. [PP:LL]–[PP:LL] ([witness last name] ([affiliation]))


Remedies Designated Testimony:
   Des. Rem. Tr. [PP:LL]–[PP:LL] ([deponent last name] ([affiliation]) Dep.)


Liability Trial Transcript:
   Liab. Tr. [PP:LL]–[PP:LL] ([witness last name] ([affiliation]))


Liability Designated Testimony:
   Des. Liab. Tr. [PP:LL]–[PP:LL] ([deponent last name] ([affiliation]) Dep.)



         Remedy Trial Witness              Live/Designated           Appearance in Citations
 Adkins, Heather (Google)                   Live               (H. Adkins (Google))
 Adkins, Jesse (Google)                     Live               (J. Adkins (Google))
 Allan, James (Defendant’s Expert)          Live               (Allan (Def. Expert))
 Beard, Charles (Microsoft)                 Designated         (Beard (Microsoft) Dep.)
 Boulben, Frank (Verizon)                   Designated         (Boulben (Verizon) Dep.)
 Chipty, Tasneem (Plaintiffs’ Expert)       Live               (Chipty (Pls. Expert))
 Collins, Eli (Google)                      Live               (Collins (Google))
 Cromwell, Robert                           Designated         (Cromwell (Microsoft))
 Cue, Eddy (Apple)                          Live               (Cue (Apple))
 Culnane, Chris (Defendant’s Expert)        Live               (Culnane (Def. Expert))
 Durrett, Gregory (Plaintiffs’ Expert)      Live               (Durrett (Pls. Expert))
 Epstein, Adam (adMarketplace)              Live               (Epstein (adMarketplace))
 Evans, David (Plaintiffs’ Expert)          Live               (Evans (Pls. Expert))
 Ezell, Jeffrey (AT&T)                      Designated         (Ezell (AT&T) Dep.)
 Fitzgerald, Peter (Google)                 Live               (Fitzgerald (Google))
 Fox, Nicholas (Google)                     Designated         (Fox (Google) Dep.)


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        Remedy Trial Witness               Live/Designated     Appearance in Citations
Giard, Jeffrey (T-Mobile)                  Designated        (Giard (T-Mobile) Dep.)
Google 30(b)(6):                           Designated
Adkins, Jesse (30(b)(6))                                     (Google-JA 30(b)(6) Dep.)
Collins, Eli (30(b)(6))                                      (Google-EC 30(b)(6) Dep.)
Hitt, Lorin (Defendant’s Expert)           Live              (Hitt (Def. Expert))
Hsiao, Sissie (Google)                     Live              (Hsiao (Google))
Israel, Mark (Defendant’s Expert)          Live              (Israel (Def. Expert)
Jerath, Kinshuk (Plaintiffs’ Expert)       Live              (Jerath (Pls. Expert))
Kim, Jay (Samsung)                         Designated        (Kim (Samsung) Dep.)
LaFlamme, Francois (Motorola)              Designated        (LaFlamme (Motorola) Dep.)
Locala, David (Plaintiffs’ Expert)         Live              (Locala (Pls. Expert))
Luca, Michael (State Plaintiffs’ Expert)   Live              (Luca (State Pls. Expert))
Mickens, James (Plaintiffs’ Expert)        Live              (Mickens (Pls. Expert))
Microsoft 30(b)(6):                        Designated
Schechter, Michael (30(b)(6))                                (Microsoft-MS 30(b)(6) Dep.)
Cromwell, Robert (30(b)(6))                                  (Microsoft-RC 30(b)(6) Dep.)
Smutny, David (30(b)(6))                                     (Microsoft-DS 30(b)(6) Dep.)
Utter, Brian (30(b)(6))                                      (Microsoft-BU 30(b)(6) Dep.)
Muhlheim, Eric (Mozilla)                   Live              (Muhlheim (Mozilla))
Muralidharan, Omkar (Google)               Live              (Muralidharan (Google))
Murphy, Kevin (Defendant’s Expert)         Live              (Murphy (Def. Expert))
Nieh, Jason (Defendant’s Expert)           Live              (Nieh (Def. Expert))
OpenAI 30(b)(6)                            Designated
Turley, Nick 30(b)(6)                                        (OpenAI-NT 30(b)(6) Dep.)
Pancholi, Neal (Google)                    Designated        (Pancholi (Google) Dep.)
Parakh, Phiroze (Google)                   Designated        (Parakh (Google) Dep.)
Pichai, Sundar (Google)                    Live              (Pichai (Google))
Provost, Brian (Yahoo)                     Live              (Provost (Yahoo))
Rangel, Antonio (Plaintiffs’ Expert)       Live              (Rangel (Pls. Expert))
Reid, Elizabeth (Google)                   Live              (Reid (Google))
Samat, Sameer (Google)                     Live              (Samat (Google))
Schechter, Michael (Microsoft)             Live              (Schechter (Microsoft))

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        Remedy Trial Witness           Live/Designated       Appearance in Citations
Shevelenko, Dmitry (Perplexity)         Live              (Shevelenko (Perplexity))
Standal, Jan (Opera)                    Designated        (Standal (Opera) Dep.)
Tabriz, Parisa (Google)                 Live              (Tabriz (Google))
Turley, Nick (OpenAI)                   Live              (Turley (OpenAI))
Vallez, Paul (Skai)                     Live              (Vallez (Skai))
Weinberg, Gabriel (DuckDuckGo)          Live              (Weinberg (DuckDuckGo))
Zenner, Marc (Defendant’s Expert)       Live              (Zenner (Def. Expert))




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I.        INTRODUCTION TO THIRD PARTIES1

     A.        adMarketplace

          1.     adMarketplace is an internet search advertising firm headquartered in New York

and is a marketplace for native search advertising which occurs on an app, websites, or browsers.

Rem. Tr. 1779:12–19 (Epstein (adMarketplace)).

          2.     adMarketplace sells search text ads. Rem. Tr. 1781:22–1782:1 (Epstein

(adMarketplace)). adMarketplace offers search text ads through its AMP Results product, which

returns ads on a SERP in response to a query. Rem. Tr. 1786:23–1787:21 (Epstein

(adMarketplace)). adMarketplace also offers search text ads through its AMP Suggests product,

which appears below a search box as a user is typing a query. Rem. Tr. 1787:22–1789:14,

1789:16–18, 1799:19–1800:10 (Epstein (adMarketplace)).

          3.     adMarketplace could syndicate search ads, including search text ads, to a new

general search engine entrant. Rem. Tr. 1813:13–1814:9 (Epstein (adMarketplace)).

     B.        Apple

          4.     Apple Inc. is a California-based company that “designs, manufactures[,] and

markets smartphones, personal computers, tablets, wearables[,] and accessories, and sells a

variety of related services.” Mem. Op. at 9. Apple’s products all come preloaded with Apple’s

proprietary web browser, Safari. Mem. Op. at 9.




1
        Abbreviations used herein have the same meaning as in Plaintiffs’ Remedies Post-Trial
Brief, filed contemporaneously herewith.
        In addition, in finalizing these PFOF, Plaintiffs discovered a discrepancy in page/line
numbering between the PDF versions and .txt file versions of the transcripts for the May 1, 2025
AM and May 7, 2025 PM sessions. Plaintiffs have cited to the PDF versions of those transcripts,
as the hyperlinked version of their PFOF will link to the PDF files.
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        5.      Apple maintains a web index of about      billion websites. Mem. Op. at 15;

PXR0010* at -913. Apple continues to invest in and to build that web index today. Mem. Op.

at 104 (Apple has invested                        of dollars and committed      employees to

Search development); Rem. Tr. 3852:7–3853:1 (Cue (Apple)) (Apple continues to make search-

related investments, to work on search-related projects, and to index the web.); PXR0065*

at -089 (summarizing key search capability metrics and “Strategic Focus” for FY25).

        6.      On Apple products, the default search access point is “the integrated search bar in

the Safari browser (and to some extent, Apple’s voice assistant, Siri, and on-device search,

Spotlight).” Mem. Op. at 24.

        7.      Apple sets Google as the default search engine for Safari, both for regular and for

private browsing. Rem. Tr. 3819:5–8 (Cue (Apple)) (Apple continues to set Google Search as the

default search engine for Safari for both regular and private browsing.).

        8.      Google and Apple have entered an Internet Services Agreement (ISA) wherein

Google pays Apple a share of its search ads revenue in exchange for default placement on Safari.

Mem. Op. at 38–39.

        9.      Apple is a “crucial partner to Google.” Mem. Op. at 101. In 2022, Google’s

revenue share payment to Apple was an estimated $20 billion, nearly double the 2020 payment

that composed 17.5% of Apple’s operating profit. Mem. Op. at 103.

   C.         AT&T

        10.     AT&T Mobility LLC is a Georgia-based mobile carrier that provides wireless

services that connect mobile devices to cellular networks. Mem. Op. at 12. AT&T sells devices

directly to consumers. Mem. Op. at 12. Roughly 30% of the smartphones that AT&T distributes

are Android devices; the other 70% are Apple devices. Mem. Op. at 12.



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   D.         DuckDuckGo

        11.      DuckDuckGo (DDG) is a Pennsylvania-based web services company founded in

2008. Mem. Op. at 10. DDG offers a product that is an integrated browser and general search

engine. Mem. Op. at 10. DDG does not produce its own search results or search advertisements;

rather it syndicates both from Microsoft. Mem. Op. at 10.

        12.      DDG attempts to differentiate itself from other general search engines through a

focus on user privacy. Mem. Op. at 10–11. DDG uses user-side data stripped of personally

identifiable information (PII). Rem. Tr. 856:22–857:2 (Weinberg (DuckDuckGo)) (The data still

retains value to DDG in returning search results.); Rem. Tr. 857:15–23 (Weinberg

(DuckDuckGo)) (More data might be more useful to DDG, but it is comfortable returning results

with the more limited user-side data set.).

   E.         Microsoft

        13.      Microsoft Corporation is a Washington-based company whose products include

the Windows operating system, the Edge web browser, and various devices, including personal

computers and tablets. Mem. Op. at 10.

        14.      Today, Microsoft’s share of the desktop search market remains at only 30%. Rem.

Tr. 1015:6–13 (Schechter (Microsoft)); Rem. Tr. 1033:6–14 (Schechter (Microsoft)) (“Overall

market share [for Bing] has only slightly increased, pretty much at the same rate it’s been in the

past, and our mobile footprint has not really increased meaningfully as well.”).

        15.      Today, Microsoft holds only a 1% share of the mobile search market. Rem.

Tr. 1015:14–19 (Schechter (Microsoft)); Rem. Tr. 1033:6–14 (Schechter (Microsoft)) (“Overall

market share [for Bing] has only slightly increased, pretty much at the same rate it’s been in the

past, and our mobile footprint has not really increased meaningfully as well.”).



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        16.     Microsoft launched its “New Bing” in 2023, which combined Bing’s existing

search technology with new LLM technology. Rem. Tr. 1021:6–9, 1021:19–1022:5 (Schechter

(Microsoft)).

        17.     Through its “Copilot Answers” search feature, Bing provides AI-generated

answers to search queries on its SERP. Rem. Tr. 1024:16–1025:5, 1027:11–16 (Schechter

(Microsoft)). Microsoft also recently introduced a new “Copilot Search” feature for Bing, where

Bing will use an LLM to present search results in a magazine format with a combination of

images, text, and links. Rem. Tr. 1025:6–22 (Schechter (Microsoft)).

        18.     Microsoft also offers a consumer AI application called “Copilot,” which can

retrieve search results from Bing when answering user prompts. Rem. Tr. 1025:23–1026:5

(Schechter (Microsoft)).

        19.     Microsoft licenses some AI models from OpenAI for Bing and Copilot, which

Microsoft further improves and fine-tunes as necessary. Rem. Tr. 1038:17–1039:2 (Schechter

(Microsoft)) (responding to Court and explaining that Bing and Copilot use some OpenAI

models, but still view ChatGPT as a competitor in the consumer AI application market); Rem.

Tr. 1081:9–17 (Schechter (Microsoft)) (explaining that Microsoft further fine-tunes OpenAI’s

models when needed for Bing and Copilot).

        20.     Microsoft also uses AI models beyond those licensed from OpenAI for its GenAI

products and features. Rem. Tr. 1044:1–9 (Schechter (Microsoft)) (Microsoft does not

exclusively use OpenAI models.).

   F.         Motorola

        21.     Motorola Mobility LLC is an Illinois-based OEM of smartphones that run on the

Android platform. Mem. Op. at 12. Of the devices Motorola manufactures,      % are activated in

the United States. Des. Rem. Tr. 187:16–19 (Laflamme (Motorola) Dep.).
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        22.      Motorola and Samsung together manufacture the majority of Android devices in

the United States. Mem. Op. at 12. Approximately 8–13% of smartphones in the United States

are manufactured and sold by Motorola. Des. Rem. Tr. 20:14–19 (Laflamme (Motorola) Dep.).

Motorola’s share of the U.S. smartphone market has been growing in recent years. Des. Rem.

Tr. 37:6–9 (Laflamme (Motorola) Dep.).

        23.      Motorola sells smartphones to carriers and directly to consumers. Des. Rem.

Tr. 21:5–11 (Laflamme (Motorola) Dep.). The smartphones Motorola sells to carriers make up

approximately 85% of Motorola’s smartphone sales. Des. Rem. Tr. 21:12–16 (Laflamme

(Motorola) Dep.).

        24.      Motorola’s revenue in 2024 was approximately $                 with profits of

roughly $               . Des. Rem. Tr. 21:17–21, 22:4–6 (Laflamme (Motorola) Dep.).

        25.      Motorola has its own on-device AI assistant, named Moto AI, that provides

specific use cases for smartphone users. Des. Rem. Tr. 27:3–28:2 (Laflamme (Motorola) Dep.).

Where a Moto AI use case requires any type of search, Moto AI relies on Google Search for

those queries. Des. Rem. Tr. 28:3–14 (Laflamme (Motorola) Dep.).

   G.         Mozilla

        26.      Mozilla Corporation is a California-based company that developed an open-

source web browser called Firefox for both desktop and mobile devices. Mem. Op. at 10. Firefox

is the most important product in Mozilla’s portfolio; it represents about 90% of Mozilla’s overall

revenue. Rem. Tr. 3129:13–19 (Muhlheim (Mozilla)). Mozilla’s share in the desktop browser

market is about 10% and negligible in the mobile market. Mem. Op. at 10.

        27.      Google has entered into search distribution contracts with Mozilla. Mem. Op.

at 101, 115–16. Pursuant to the distribution agreement, Mozilla sets Google as the default search



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engine in Firefox, and in exchange, Mozilla receives revenue share payments from Google. Rem.

Tr. 3130:19–25 (Muhlheim (Mozilla)).

        28.     Despite Google being Mozilla’s biggest browser competitor, Mozilla describes its

relationship with Google regarding search and search revenue sharing as critical. Rem.

Tr. 3162:2–3163:2 (Muhlheim (Mozilla)).

        29.     For 2024, Google’s revenue share payment to Mozilla was approximately $484.5

million, composing approximately 85% of Mozilla’s global revenue. Rem. Tr. 3133:21–3134:2,

3163:3–8 (Muhlheim (Mozilla)). Similarly, approximately 85% of Mozilla’s U.S. revenue comes

from Google. Rem. Tr. 3163:3–13 (Muhlheim (Mozilla)). Of the revenue share amounts that

Google pays to Mozilla,     % comes from searches performed in the United States. Rem.

Tr. 3164:1–11 (Muhlheim (Mozilla)) (referencing PXR0807).

        30.     The U.S. composes the biggest portion of Mozilla’s revenue. Rem. Tr. 3134:3–5

(Muhlheim (Mozilla)).

        31.     Mozilla’s revenue share agreement with Google was scheduled to expire at the

end of 2025. Rem. Tr. 3165:17–20 (Muhlheim (Mozilla)). Mozilla very much wanted to be in a

position to extend its revenue sharing agreement with Google to maintain the status quo of

Google payments to Mozilla. Rem. Tr. 3165:17–3166:2 (Muhlheim (Mozilla)).

        32.     In March 2025, Mozilla extended its revenue share agreement with Google

through December 2026; no other terms to the agreement changed. Rem. Tr. 3166:7–16

(Muhlheim (Mozilla)).

   H.         OpenAI

        33.     OpenAI is a GenAI company that offers both a user-facing AI application, called

ChatGPT, as well as a developer API for building AI applications on top of OpenAI’s AI

models. Rem. Tr. 373:2–10, 374:10–375:21 (Turley (OpenAI)).
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       34.     Today, OpenAI employs hundreds of engineers and researchers working on

ChatGPT functionalities, including new “thinking” models and nascent search integration. Rem.

Tr. 422:2–22 (Turley (OpenAI)); Rem. Tr. 378:12–21 (Turley (OpenAI)) (responding to Court’s

question and explaining OpenAI’s new, experimental thinking models).

       35.     OpenAI currently offers three tiers of ChatGPT to consumers: a free offering, a

$20 monthly subscription called ChatGPT Plus, and a $200 monthly subscription called

ChatGPT Pro. Rem. Tr. 376:14–377:22 (Turley (OpenAI)) (responding to Court’s question on

what versions of ChatGPT are available today). OpenAI’s paid subscriptions give consumers

access to more sophisticated AI models. Rem. Tr. 376:14–378:21 (Turley (OpenAI)) (responding

to Court’s question and explaining that paid tiers receive access to new “thinking” AI models).

OpenAI has considered building products with web browser capabilities similar to Chrome or

Edge. Des. Rem. Tr. 15:1–16 (OpenAI-NT 30(b)(6) Dep.).

       36.     OpenAI first began grounding ChatGPT on third-party search results in 2023.

Rem. Tr. 502:10–19 (Turley (OpenAI)) (describing ChatGPT Browse product, which was a

predecessor to SearchGPT); PXR0801 (listing third-party search API partners that OpenAI has

used). In 2024, OpenAI sought out a partnership with Google for access to Google’s Search API

for grounding, but Google declined. Rem. Tr. 413:8–23, 414:4–416:3 (Turley (OpenAI))

(discussing PXR0181, describing OpenAI’s failed attempts to negotiate with Google, and

explaining that OpenAI believed that Google was not incentivized to work with OpenAI as a

GenAI rival); PXR0181 at -315 (seeking to revisit Google negotiations because accessing

Google’s search API “would enable [OpenAI] to provide a better product to users,” “promote

more choice in search experiences,” and benefit “innovation and evolution in search”). Today,

OpenAI continues to experience “significant quality issues” with non-Google search API



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partners. Rem. Tr. 392:11–23 (Turley (OpenAI)) (discussing search API partners listed in

PXR0801).

        37.      Users turn to ChatGPT for a variety of use cases ranging from creative tasks like

composing texts to informational queries requiring access to search grounding. Rem. Tr. 420:11–

421:14 (Turley (OpenAI)) (responding to Court’s question and discussing integration of

SearchGPT prototype into ChatGPT); Rem. Tr. 480:7–481:4 (Turley (OpenAI)) (describing

several non-informational use cases); Rem. Tr. 482:15–483:14 (Turley (OpenAI)) (responding to

Court and explaining that most but not all informational queries sent to ChatGPT trigger its

search functionality, and as the quality of ChatGPT’s search functionality improves, so too will

the likelihood that an informational query triggers search grounding).

        38.      OpenAI competes primarily with AI chatbots, but also increasingly competes with

new AI search features within general search engines. Rem. Tr. 469:21–470:21 (Turley

(OpenAI)) (sharing competitive analysis against Perplexity and AI Overviews, where OpenAI is

trailing AI Overviews by a wide margin); Rem. Tr. 504:23–25, 523:7–524:7 (Turley (OpenAI))

(OpenAI views itself as competing with AI chatbots today and potentially search engines and

browsers in the future).

        39.      ChatGPT only serves a small fraction of the daily search queries that Google’s AI

Overviews serve. This fraction is even smaller when compared to all daily search queries sent to

Google. Rem. Tr. 469:24–470:21, 471:7–472:2 (Turley (OpenAI)).

   I.         Perplexity

        40.      Perplexity AI is a GenAI company that provides an “answer machine” for users

via mobile apps, a web app, and Perplexity’s website, perplexity.ai. Perplexity is also in the

process of building a browser. Rem. Tr. 694:3–695:5 (Shevelenko (Perplexity)).



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        41.     Perplexity takes user queries, searches an index, ranks sources, and uses an LLM

to select and synthesize answers to those queries. Rem. Tr. 694:3–21 (Shevelenko (Perplexity)).

Perplexity relies on ranking signals from third party aggregators, who pull the raw ranked results

from search engines, including Google, and expose these results to Perplexity via an API. Rem.

Tr. 700:1–701:5 (Shevelenko (Perplexity)).

        42.     While most users are free users, Perplexity monetizes its product through a

subscription and, to a very small degree, through ads placed below Perplexity’s responses in a

“Related” queries section. Rem. Tr. 703:5–704:18 (Shevelenko (Perplexity)). Perplexity’s

subscription version allows users to access more powerful features and the ability to toggle

which LLM model generates responses. Rem. Tr. 704:19–705:23 (Shevelenko (Perplexity)).

   J.         Samsung

        43.     Samsung Electronics Co. Ltd. is a Korea-based original equipment manufacturer

(OEM) of smartphones and other mobile devices that run on the Android platform. Mem. Op.

at 12. Samsung also develops mobile applications that it preloads onto its devices, including a

browser known as S Browser and an app store called the Galaxy Store. Mem. Op. at 12.

        44.     Today, approximately         % of Samsung’s smartphone sales are U.S. sales.

Des. Rem. Tr. 26:15–27:11 (Kim (Samsung) Dep.). Samsung devices “represent the primary

competitor to the iPhone in key monetizing regions, such as the US[.]” Mem. Op. at 12 (citing

UPX0639 at -266).

        45.     Samsung and Google have partnered to deliver the best of Google AI to Samsung

users, with Gemini Pro and Imagen 2 models powering innovative use cases, Series 24 being the

first phone in the Android ecosystem to use Gemini Nano, and Circle to Search representing a

new level of collaboration. PXR0013* at -339–40.



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   K.         Skai

        46.      Skai is a California-based advertising services company. Formerly known as

Kenshoo, Skai operates an omnichannel marketing platform that helps the largest advertisers and

agencies plan, optimize, and manage their online marketing programs across a number of

channels, including search advertising generally and search text advertising in particular. Rem.

Tr. 1364:1–19 (Vallez (Skai)). Skai’s customer base comprises an estimated 2,000–3,000

advertisers and agencies, including large global advertisers. Rem. Tr. 1374:18–1375:5 (Vallez

(Skai)).

        47.      Skai works with its clients to place search ads on Google or Bing, as well as other

search advertising platforms. Rem. Tr. 1365:3–16 (Vallez (Skai)). One of the “value-adds” that

Skai provides to its customers is to assist in determining how to allocate ad spend across various

search advertising platforms, including to understand the impact of each channel on ad spend.

Rem. Tr. 1366:11–22 (Vallez (Skai)).

   L.         T-Mobile

        48.      T-Mobile US, Inc. is a Washington-based mobile carrier that provides cellular

services and sells mobile devices directly to consumers. Mem. Op. at 13.

        49.      T-Mobile is the largest MNO seller of Android devices. Des. Rem. Tr. 22:22–23:6

(Giard (T-Mobile) Dep.) (T-Mobile is consistently the largest MNO seller of Android phones.).

Approximately         of the phones sold by T-Mobile run on Android, and the other        are Apple

devices. Mem. Op. at 13; Des. Rem. Tr. 18:7–23 (Giard (T-Mobile) Dep.) (Android’s share

           vis a vis iOS over the last 5 years and today is              to    %.).




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   M.         Verizon

        50.      Cellco Partnership, doing business as Verizon Wireless, is a New Jersey-based

mobile carrier that provides cellular services and sells mobile devices directly to consumers.

Mem. Op. at 13.

        51.      As of the liability trial in this matter in fall 2023, Verizon had distributed roughly

twice as many Apple devices (70%) as Android devices (30%). Mem. Op. at 13 (citing Liab.

Tr. at 1102:21–23 (Higgins (Verizon))). As of Q4 2024, about          % of the phones sold by

Verizon run on iOS, with less than       % running on the Android operating system. Des. Rem.

Tr. 23:2–24:4 (Boulben (Verizon) Dep.). Over the years, Verizon has overinvested in the

Android ecosystem. Des. Rem. Tr. 25:9–27:23 (Boulben (Verizon) Dep.).

        52.      Google and Verizon have an agreement for Gemini and Google One. Des. Rem.

Tr. 16:9–18:10 (Boulben (Verizon) Dep.). Google’s GenAI app Gemini is preloaded on

Verizon’s Android devices. Des. Rem. Tr. 33:12–35:8 (Boulben (Verizon) Dep.). Verizon offers

its customers a perk that includes Google One and Gemini Advanced at a significant discount

versus what a customer would pay directly to Google, with Verizon making a margin on that

perk. Des. Rem. Tr. 35:9–36:19 (Boulben (Verizon) Dep.).

   N.         Yahoo

        53.      Yahoo is a California-based provider of general search services and was an early

market leader in general search. Mem. Op. at 11. Yahoo is the third largest search provider in the

United States and performs a little under 10 billion queries per year. Rem. Tr. 1245:4–12

(Provost (Yahoo)). Yahoo is also one of the most popular media brands on the web today, with

its ecosystem including news, mail, sports, search, finance, ad business, and commerce platform.

Rem. Tr. 1239:5–9, 1258:8–10, 1258:14–16 (Provost (Yahoo)).



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       54.     Yahoo is working to reinvigorate the search business. Rem. Tr. 1239:17–23

(Provost (Yahoo)). As part of the reinvigoration of Yahoo search, Yahoo is redesigning the

search page to be less cluttered, called unshipping. Rem. Tr. 1239:24–1240:9 (Provost (Yahoo)).

       55.     Query understanding is most important part of delivering a search experience, as

it is the first opportunity to understand the needs of the user and how to build a page to satisfy

those needs. Rem. Tr. 1240:13–1241:7, 1245:23–1246:2 (Provost (Yahoo)). Better query

understanding guides the Yahoo content placed on the search results page. Rem. Tr. 1246:10–19

(Provost (Yahoo)). Yahoo uses AI for better query understanding and as a component of how

Yahoo builds and trains models to improve query understanding. Rem. Tr. 1241:8–17 (Provost

(Yahoo)).

       56.     Yahoo sources search results from Microsoft Bing and has done so for 15 years.

Rem. Tr. 1241:21–1242:9 (Provost (Yahoo)). Microsoft Bing results on Yahoo are generated

based on the signal sent from Yahoo. Rem. Tr. 1246:3–9 (Provost (Yahoo)).

       57.     Yahoo differentiates from Microsoft Bing by adding Yahoo content around the

search results. Rem. Tr. 1242:12–22 (Provost (Yahoo)). Yahoo sources content from many

different third parties. Rem. Tr. 1242:23–1243:6 (Provost (Yahoo)). A user is served search

results from Bing and the rest of the content provided is Yahoo driven. Rem. Tr. 1243:7–11

(Provost (Yahoo)). Most of the content around the search results is created by Yahoo. Rem.

Tr. 1243:19–24, 1245:1–3 (Provost (Yahoo)).

       58.     Yahoo has considered building a web browser and is developing a prototype.

Rem. Tr. 1251:4–1254:13 (Provost (Yahoo)). Yahoo’s prototype web browser is partially built

on Chromium. Rem. Tr. 1261:1–5 (Provost (Yahoo)). Building a web browser is still under

evaluation at Yahoo. Rem. Tr. 1251:24–1252:11 (Provost (Yahoo)).



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           59.      Yahoo has considered buying a web browser. Rem. Tr. 1251:14–15 (Provost

(Yahoo)). Yahoo is still considering buying a web browser but has not reached an agreement to

acquire a web browser. Rem. Tr. 1251:18–23 (Provost (Yahoo)). Yahoo does not consider

Netscape or AOL Shield as web browsers. Rem. Tr. 1260:16–25 (Provost (Yahoo)).

      O.         Contracts With Third Parties

           60.      Google has contracts with a number of third parties, as set forth in Attachment A

hereto.

II.        ADDITIONAL INDUSTRY BACKGROUND RELEVANT FOR REMEDIES

      A.         GenAI

           1.       How GenAI Works

           61.      “AI is one of the most profound technologies humanity will ever work on.” Rem.

Tr. 2450:14–2451:3 (Pichai (Google)).

           62.      “GenAI” or “Generative AI” is a type of artificial intelligence that creates new

content including but not limited to text, images, code, classifications, and other media using

machine learning models. Rem. Tr. 4056:20–4059:21 (Hitt (Def. Expert)) (explaining that

GenAI technology generates new content); Rem. Tr. 148:16–149:16 (Durrett (Pls. Expert)) (an

LLM is a “type of GenAI model that typically takes text or some other kind of data as input and

then generates some kind of text output”); PXR0102* at -700. GenAI tools use machine learning

techniques to generate structured outputs, including text or images. Rem. Tr. 148:16–149:16

(Durrett (Pls. Expert)).

           63.      A GenAI Product is any application, software, service, feature, tool, functionality,

or product that involves or makes use of GenAI capabilities or models. It can include GenAI

Search Access Points. Des. Rem. Tr. 24:11–25:9 (Google-EC 30(b)(6) Dep.) (describing

Google’s use of Gemini models to build a wide variety of products and features throughout the

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company, including search features); Des. Rem. Tr. 29:2–14 (Google-EC 30(b)(6) Dep.) (“The

Gemini chatbot integrates the Gemini model and a Google Search API to provide the

response.”); Des. Rem. Tr. 30:22–31:7 (                     Dep.) (discussing opportunities to

“link a user from         to some type of       surface or query”); Des. Rem. Tr. 23:8–13

(Microsoft-DS 30(b)(6) Dep.) (describing Copilot and GenAI Products grounded in search as

“potential future search entry points”).

       64.     Large language models (“LLMs”) are a type of GenAI model that take text or

other input and generate text or other outputs. Rem. Tr. 148:16–149:16 (Durrett (Pls. Expert)).

       65.     LLMs use language modeling, which takes as an input a sequence of tokens and

predicts the next token. Rem. Tr. 153:9–25, 155:4–22 (Durrett (Pls. Expert)). A token is a small

unit that can be thought of as a short word. Rem. Tr. 152:11–153:8 (Durrett (Pls. Expert)). LLMs

can generate large amounts of text by repeatedly predicting the next token. Rem. Tr. 154:1–

155:3 (Durrett (Pls. Expert)).

       66.     The most typical type of LLM is the transformer. Rem. Tr. 155:4–22 (Durrett

(Pls. Expert)). Transformer models are neural networks that are mediated by parameters. Rem.

Tr. 155:4–22 (Durrett (Pls. Expert)). The parameters of a transformer are what compute the

probability of the next token. Rem. Tr. 155:4–22 (Durrett (Pls. Expert)).

       67.     About a decade ago, Google invented transformers that are now the backbone of

LLMs. These transformer-based architectures are effectively models that can be trained on vast

public datasets and then generate answers back to queries, be it text, images, or videos. The fact

that they can generate answers back has led to the phrase “generative AI.” Users may perceive

GenAI as the consumer apps they use, such as ChatGPT, Gemini, or Claude. But it is all part of

the progress in AI. Rem. Tr. 2447:5–2448:13 (Pichai (Google)).



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       68.     Pretraining an LLM is a process by which the parameters of a model are set. Rem.

Tr. 154:1–155:3, 156:17–157:7 (Durrett (Pls. Expert)) (responding to Court’s question and

explaining the training process for LLMs).

       69.     LLMs are pretrained by exposing a model to large amounts of data, which encode

knowledge in the parameters of a model. Rem. Tr. 156:17–157:7 (Durrett (Pls. Expert))

(responding to Court’s question and explaining the LLM training process); Des. Rem. Tr. 60:14–

19, 171:24–172:11 (Parakh (Google) Dep.) (explaining how Google pre-trains the Gemini model

powering AI Overviews on                             of user queries—even after Google DeepMind

pre-trains the base Gemini model); PXR0123* at -182–236 (Gemini v3 Pre-Training Data Card

listing extensive datasets Google uses to pre-train its Gemini models).

       70.     Data for pretraining LLMs is typically gathered from the web. Rem. Tr. 155:23–

156:16 (Durrett (Pls. Expert)); PXR0123* at -182–236 (Gemini v3 Pre-Training Data Card

listing extensive datasets Google uses to pre-train its Gemini models, including data from the

Google Common Corpus, DocJoins, and third-party web sources). For example, Google trains its

Gemini base models on data derived from Google’s Common Corpus, a large scrape of the web.

Rem. Tr. 183:25–185:6 (Durrett (Pls. Expert)). Google’s Common Corpus also contains other

search metadata and search signals attached to the scraped webpages. Rem. Tr. 186:20–187:3

(Durrett (Pls. Expert)).

       71.     Google also uses user-side data to pretrain its Gemini base models. Rem.

Tr. 3342:6–18, 3343:1–25 (Collins (Google)) (describing the use of “Search augmented QA”

data prepared from “Aquarium” data in pretraining); Rem. Tr. 188:3–189:4 (Durrett (Pls.

Expert)) (citing Des. Rem. Tr. 144:16–20,144:25–145:8 (Parakh (Google) Dep.) (describing how




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Google uses the Aquarium dataset in Gemini pretraining)); PXR0123* at -189 (listing “Search

augmented QA” in the Gemini v3 Pre-Training Data Card).

       72.     Post-training an LLM is the process by which models are exposed to example

data to impart the different capabilities desired in the LLM. Rem. Tr. 158:24–161:4 (Durrett (Pls.

Expert)); Des. Rem. Tr. 114:12–115:6 (Parakh (Google) Dep.) (describing how Google post-

trains and fine-tunes Gemini models used for AI Overviews).

       73.     LLMs are post-trained on a large number of datasets encompassing a broad

collection of data. Rem. Tr. 158:24–161:4 (Durrett (Pls. Expert)); Des. Rem. Tr. 105:16–106:11

(Parakh (Google) Dep.) (Google post-trains Search-specific Gemini models on user queries.);

Rem. Tr. 4090:1–9 (Hitt (Def. Expert)) (It is important to have more useful data to train

foundation models.).

       74.     The capabilities of LLMs are limited by the data that they are trained on, and the

ability of LLMs to respond accurately to queries is similarly circumscribed by the data that they

are trained on. If knowledge is not in LLMs training data, they do not know the answer. Rem.

Tr. 158:24–162:6 (Durrett (Pls. Expert)). Similarly, LLMs are capable of providing reasonably

factual responses for frequently seen data but struggle for lesser-known information. Rem.

Tr. 161:5–162:6 (Durrett (Pls. Expert)). LLMs even have difficulty answering questions

regarding data they have seen as it is difficult to store information in a “lossless way.” Rem.

Tr. 171:13–172:21 (Durrett (Pls. Expert)). LLMs particularly struggle to incorporate fresh data,

given pre-training takes weeks or months. Rem. Tr. 167:6–168:11 (Durrett (Pls. Expert)).

       75.     The quality of training data significantly impacts the quality of LLM output. Rem.

Tr. 161:5–162:6 (Durrett (Pls. Expert)); Des. Rem. Tr. 124:25–125:5, 125:11–14 (Parakh

(Google) Dep.) (explaining that Google samples user query sessions to train the Gemini models



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powering AI Overviews); Des. Rem. Tr. 173:21–174:6 (Parakh (Google) Dep.) (explaining that

Google also trains the Gemini models powering AI Overviews on quality signals).

       76.     LLMs must be trained on high-quality data or the model may break. Rem.

Tr. 162:8–163:13 (Durrett (Pls. Expert)).

       77.     Filtering is the process by which data that is not helpful is removed from the

training data for LLMs. Rem. Tr. 163:15–164:3 (Durrett (Pls. Expert)). In the filtering process,

large amounts of data are removed until only the highest quality data remains. Rem. Tr. 163:15–

165:15 (Durrett (Pls. Expert)) (providing an example from DCLM’s filtering down to only .14%

of open source Common Crawl data).

       78.     Data filtering significantly impacts model performance. Rem. Tr. 165:25–167:5

(Durrett (Pls. Expert)) (explaining Hugging Face data that showed significant performance boost

across 22 performance benchmarks from using datasets filtered for high-quality data).

       79.     Data filtering is a “common practice” for training LLMs. Rem. Tr. 163:15–165:16

(Durrett (Pls. Expert)). For example, Google employs data filtering on the Google Common

Corpus, which is derived from Google’s Search Index. Rem. Tr. 165:17–24 (Durrett (Pls.

Expert)). Google has also considered and received approval to use its “Search signals to help

Gemini pretraining[,] [which] will be very helpful for [Google] to upweight good authoritative

pages and downweight the spammy, untrustable ones.” Rem. Tr. 187:4–188:2 (Durrett (Pls.

Expert)) (citing PXR0016* at -865).

       80.     The advent of AI and LLMs has not eliminated the need for Search. Rem.

Tr. 3601:13–15 (Reid (Google)) (agreeing the advent of AI and LLMs has not eliminated the

need for Search).




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       81.        LLMs by themselves will not replace all of Search functionality. Rem.

Tr. 3601:19–23 (Reid (Google)); PXR0100* at -287 (“Google thinks that search engines will not

be replaced by chatbots.”).

       82.        An LLM may incorporate into its responses fresh data and other data outside of its

training data through the use of retrieval-augmented generation (“RAG”). Rem. Tr. 168:13–

169:17 (Durrett (Pls. Expert)). An LLM employs RAG by using a retrieval technique (e.g., a

“retriever” such as a search engine) to surface information and feed that information, along with

the query, into the LLM to generate a response. Rem. Tr. 168:13–169:17 (Durrett (Pls. Expert)).

The LLM that generates information is called the “generator.” Rem. Tr. 177:6–179:11 (Durrett

(Pls. Expert)).

       83.        Google employs RAG techniques because “[w]hile AI models are brilliant at

generating content, they need a way to anchor [an AI model’s] outputs in reality.” Rem.

Tr. 169:24–170:13 (Durrett (Pls. Expert)) (quoting PXR0040* at -178); PXR0110* at -917.

       84.        The use of RAG techniques can significantly improve an LLM’s performance.

Rem. Tr. 168:13–169:17, 170:14–171:12 (Durrett (Pls. Expert)) (demonstrating that a “closed

book” model not employing RAG had an accuracy of only 38.2% on questions seeking

information retrieved easily from Wikipedia).

       85.        Google’s AI Overview feature uses a RAG system that retrieves information from

Google Search and uses the MAGIT model to generate content based off of the retrieved

information. Rem. Tr. 177:6–179:11 (Durrett (Pls. Expert)). The AI Overview feature retrieves

from Google’s Search Index by using the Fast Search system to provide lower latency results so

that they can be fed into the generator and produce results relatively quickly. Rem. Tr. 180:3–19

(Durrett (Pls. Expert)) (citing PXR0048* at -177). On the generator side, the MAGIT model is



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made by using a Gemini base model and fine-tuning it on user queries and results. Rem.

Tr. 177:6–179:11 (Durrett (Pls. Expert)) (citing PXR0086* at -.012–.014). The data MAGIT is

trained on is considered to be Search data. Rem. Tr. 179:13–180:1 (Durrett (Pls. Expert)) (citing

Des. Rem. Tr. 154:13–15 (Parakh (Google) Dep.)).

       86.     Google’s Tangram model employs signals from Glue to determine whether to

show an AI Overview in response to a user query. Rem. Tr. 181:10–182:25 (Durrett (Pls.

Expert)).

       87.     GenAI is a great technique to help give users the best Search experience possible.

Rem. Tr. 3601:24–3602:5 (Reid (Google)); Rem. Tr. 3837:12–3838:15 (Cue (Apple)) (“[T]he

combination of a search index and LLMs should provide . . . way better results” than search

engines can currently).

       88.     Grounding is any method, including via API, by which foundation model output

or a GenAI Product can connect, call, access, retrieve, or display links or information from a

[search engine]. Rem. Tr. 640:1–641:8 (Hisao (Google)) (explaining how the Gemini App calls

upon Search to ground with web content); Rem. Tr. 3511:8–25, 3634:8–14 (Reid (Google))

(explaining grounding is when an LLM mode uses some class of data, often from the web, in

order to improve the accuracy of its response); Rem. Tr. 399:21–401:11 (Turley (OpenAI))

(describing how ChatGPT grounds its responses via search APIs); Rem. Tr. 1014:1–1015:5

(Schechter (Microsoft)) (describing Microsoft’s search grounding APIs).

       89.     Chatbots answering an informational query that are grounded on the web have

more of an opportunity to avoid hallucinations or catch themselves from doing so. Rem.

Tr. 3634:15–25 (Reid (Google)) (explaining the grounding process, adding that conceptually one

could also ground on other data sources, depending on the query); PXR0040* at -203 (grounding



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enables LLMs to validate responses, fact-check, or even tailor responses to sentiment derived

from the web); PXR0040* at -178 (“Search is what anchors an AI model’s outputs in reality”).

       90.     Google believes that leveraging its other products in Gemini, for example by

providing up-to-date information from Google Maps and Google Flights, can differentiate

Gemini from other GenAI products. PXR0027* at -735 (recommending that Google “develop[]

features that leverage the strengths of Google’s existing ecosystem, as users perceive this as a

differentiator and benefit,” including “[f]acilitating Gemini has the most up-to-date info”).

       91.     In the context of GenAI, factuality is a measure of whether the outputs of a GenAI

Product reflect ground truth or an authoritative source. Des. Rem. Tr. 20:6–15 (Parakh (Google)

Dep.) (defining factuality); Des. Rem. Tr. 201:9–202:11 (Parakh (Google) Dep.) (explaining that

factuality depends on the authoritativeness of a web source); PXR0019 at -814 (“The way we

determine factuality today is based on deductions from authoritative sources on the web. This is

something that Google was built on, and we’ve continued to improve it over the years.”).

       92.     To incorporate search results into AI-generated responses, GenAI Products

translate user prompts into search queries, send those queries to a search engine, then incorporate

information from the retrieved search results into their AI-generated responses. Des. Rem.

Tr. 108:24–109:12 (Parakh (Google) Dep.) (describing how the AI Overviews search feature

incorporates retrieved search results and links into its summaries as the summaries are being

generated); Rem. Tr. 399:21–401:12 (Turley (OpenAI)) (describing how ChatGPT currently

incorporates search results); Rem. Tr. 1022:16–1023:8 (Schechter (Microsoft)) (explaining why

the quality of Microsoft’s AI chatbot relied on the quality of Bing’s search results); Rem.

Tr. 1025:23–1026:5, 1030:13–1031:10 (Schechter (Microsoft)) (further explaining how

Microsoft’s Copilot products incorporate Bing search results); Rem. Tr. 3833:23–3836:13 (Cue



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(Apple)) (In the general search market, LLMs are merging with search indices through RAG,

such that LLMs are grounded on the “10 [blue] links”).

       93.     Today, GenAI Products frequently include links to web sources when responding

to informational queries. They retrieve these links from search engines. Des. Rem. Tr. 99:18–

100:25 (Parakh (Google) Dep.) (explaining how Google includes links to web sources in its AI

Overviews search feature); Des. Rem. Tr. 212:18–214:1 (Parakh (Google) Dep.) (confirming that

AI Overviews display links to drive user traffic to third-party websites); Rem. Tr. 405:8–406:18

(Turley (OpenAI)) (“We do that by allowing users to see high-quality links inside ChatGPT for

areas that they may want to read more about.”); Rem. Tr. 1028:1–1029:1, 1029:14–1030:4

(Schechter (Microsoft)) (detailing how Copilot Answers include links to Bing sources); Des.

Rem. Tr. 35:11–13, 36:16–20 (Cromwell (Microsoft) Dep.) (Copilot calls on the Bing API for

roughly       % of responses.); Des. Rem. Tr. 78:14–17 (OpenAI-NT 30(b)(6) Dep.); PXR0019

at -817 (“[Google] also aim[s] to show dates on supporting links in AI-powered overviews, so

you can see when this supporting information was published to get a sense of whether it’s current

and up-to-date for your query.”); Rem. Tr. 696:13–25, 698:15–699:7, 701:7–702:11 (Shevelenko

(Perplexity)) (Perplexity’s answer engine responses present users with LLM generated

responses, and within those responses, Perplexity provides weblink citations, and a list of web

sources.).

       94.     For GenAI Products, a lack of good search APIs is an “innovation killer.” Des.

Rem. Tr. 183:14–184:13 (Parakh (Google) Dep.) (explaining “[l]ack of good APIs is an

innovation killer, full stop” while discussing PXR0025 at -481); Rem. Tr. 392:11–23 (Turley

(OpenAI)) (discussing “significant quality issues” with search API partners listed in PXR0801);

Rem. Tr. 1022:6–1023:8 (Schechter (Microsoft)) (GenAI Products treat search results as fact in



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their response, so the quality of search results directly impacts the quality of GenAI responses.);

Rem. Tr. 1039:5–20 (Schechter (Microsoft)) (“[T]he quality of the [Bing] results impact Copilot

for sure . . . . [I]f there’s good results from Bing, Copilot inherits that and provides good results

to its users. If the quality of the Bing results are poor, then the Copilot result will be poor.”); Des.

Rem. Tr. 74:25–75:20 (Cromwell (Microsoft) Dep.); Rem. Tr. 4156:23–4157:5 (Hitt (Def.

Expert)) (Gemini App competitors do not have access to both Google’s web index and Search

ranking signals.); PXR0153 at -484 (Oct. 2024 Google presentation noting the quality

differences based on what the model grounds on); PXR0181 at -315 (“[OpenAI] believe[s]

having multiple [search API] partners, and in particular Google’s API, would enable [it] to

provide a better product to users.”); PXR0096* at -327 (discussing the potential improvement of

Bard due to the integration of Google Search).

        95.     While GenAI applications can produce responses to informational queries only

relying on LLMs, many GenAI products including GenAI assistant apps and chatbots still

retrieve information from the web. Rem. Tr. 637:11–638:5, 640:1–641:20, 647:15–20 (Hsiao

(Google)) (explaining the ways in which web content appears in the Gemini App); Des. Rem.

Tr. 29:2–14 (Google-EC 30(b)(6) Dep.) (“The Gemini chatbot integrates the Gemini model and a

Google Search API to provide the response.”); Des. Rem. Tr. 142:12–143:15 (Fox (Google)

Dep.); Des. Rem. Tr. 124:25–125:5, 125:11–14 (Parakh (Google) Dep.) (explaining that the

Gemini App has access to the Google Search API, including Google’s FastSearch API, to

retrieve search results for use in its responses to user queries); Rem. Tr. 382:5–383:17 (Turley

(OpenAI)) (ChatGPT can answer user questions without web information, but it struggles with

accuracy due to hallucinations and its training data knowledge cut-off.); Rem. Tr. 383:18–384:20

(Turley (OpenAI)) (describing need for ChatGPT to access a source of real-time information);



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Rem. Tr. 694:3–21, 698:15–699:15 (Shevelenko (Perplexity)) (describing how Perplexity uses

web sources); Rem. Tr. 1026:6–11 (Schechter (Microsoft)) (explaining that all Copilot

integrations retrieve information from Bing); Des. Rem. Tr. 71:14–73:8 (Cromwell (Microsoft)

Dep.); Des. Rem. Tr. 125:3–22 (Standal (Opera) Dep.) (explaining how Aria, Opera’s built-in

browser AI tool, retrieves information from Google Search); PXR0111 at -772–73 (Feb. 2024

Google internal comments on using a Search affordance with a Gemini integration into Apple’s

Siri to satisfy use cases Gemini cannot); Rem. Tr. 161:5–162:6 (Durrett (Pls. Expert))

(describing how models are less likely to generate factual outputs when only trained from a

LLM).

        96.    GenAI assistant apps and chatbots rely upon additional web information including

web indices and ranking signals, similar to Search, to satisfy user needs. Des. Rem. Tr. 29:2–14

(Google-EC 30(b)(6) Dep.) (“The Gemini chatbot integrates the Gemini model and a Google

Search API to provide the response.”); Des. Rem. Tr. 115:15–25, 116:18–22, 117:11–118:6,

118:8–9, 118:12–13, 120:19–24, 121:1–122:1, 122:25–123:15, 124:25–125:5, 125:11–14

(Parakh (Google) Dep.) (explaining how Google’s FastSearch API provides ranked search results

for use in Google’s GenAI Products, including AI Overviews and the Gemini App); Rem.

Tr. 694:3–21, 698:15–699:15 (Shevelenko (Perplexity)) (describing how Perplexity uses web

sources); Rem. Tr. 391:16–392:10, 401:13–402:5, 409:11–410:22 (Turley (OpenAI)) (describing

search indices and search signals are key components of ChatGPT); Rem. Tr. 460:6–461:1

(Turley (OpenAI)) (describing OpenAI’s development of search functionality involving web

indices, a search index, and ranking signals); Rem. Tr. 1014:22–1015:5 (Schechter (Microsoft))

(describing Copilot’s use of a Bing search API); Des. Rem. Tr. 71:14–73:8 (Cromwell




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(Microsoft) Dep.); PXR0801 (listing three search API providers upon which ChatGPT relies);

PXR0802 (listing the amount of ChatGPT queries for which OpenAI uses its own search index).

       97.    In particular, to satisfy commercial use cases, GenAI applications must have web

information retrieval capabilities. Rem. Tr. 659:16–661:13 (Hsiao (Google)) (explaining that

commercial queries would likely need to be grounded in a search index or through providers to

satisfy commercial queries in response to a question from the Court); Des. Rem. Tr. 74:14–75:4

(Cromwell (Microsoft) Dep.).

       98.    Google CEO Sundar Pichai believes the Gemini App will expand overall Search

use. Rem. Tr. 2492:22–2493:1 (Pichai (Google)).

       99.    Today, GenAI applications are not cannibalizing general search queries. Rem.

Tr. 648:2–16, 648:24–649:21, 651:1–653:2, 657:5–11 (Hsiao (Google)); Rem. Tr. 1032:18–

1033:5 (Schechter (Microsoft)) (explaining that positive user experiences with Bing Chat—a

Copilot predecessor—actually increased Bing searches); Des. Rem. Tr. 34:25–35:5 (Cromwell

(Microsoft) Dep.); PXR0116 at -044, -053–54; PXR0112 at -136; PXR0345* at -965 (internal

Google calculations for grounding Meta AI with conclusion that doing so would have a “

         ” overall impact on Google Search revenues due to user click-through rates to

Google—“                                                          ”).

       100.   Commercial queries are not yet common use cases in GenAI applications and do

not cannibalize commercial queries. Rem. Tr. 657:5–659:15 (Hsiao (Google)); Des. Rem.

Tr. 302:23–25, 303:2–9 (Fox (Google) Dep.); Rem. Tr. 3837:12–3838:15 (Cue (Apple)) (AI

chatbots cannot yet answer commercial queries.); PXR0101 at -743 (Google research shows that

Google’s grounding agreement with Meta has likely had a “small overall” impact).




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       101.     While commercial queries are not yet cannibalized by GenAI chatbots,

commercial queries and shopping are a potential emerging use case in GenAI chatbot products.

Rem. Tr. 658:13–659:15 (Hsiao (Google)) (stating the belief that chatbot providers will try to

make chatbots useful for commercial queries in response to a question from the Court); Rem.

Tr. 661:14–662:2 (Hsiao (Google)) (explaining that some foundational models have been trained

on commercial data in response to a question from the Court).

       102.     These chatbots undoubtedly will become used for more commercially oriented

queries. “[T]here’s nothing which is fundamentally different between commercial and non-

commercial queries.” Rem. Tr. 2460:16–2461:11 (Pichai (Google)).

       103.     Google CEO Sundar Pichai expects a future where Google uses ads as part of the

Gemini App experience. Rem. Tr. 2493:16–19 (Pichai (Google)); PXR0241* at -034–35 (CEO

Sundar Pichai explaining during September 2024 interview that advertising is “very relevant

information” when user’s intent is commercial, which is a “core insight behind how [Google]

monetize[s] . . . search” and “[t]hat doesn’t change just because there’s a new underlying

technology”).

       104.     Google plans to experiment with ads in the Gemini App in the future. Rem.

Tr. 2494:2–4 (Pichai (Google)); Rem. Tr. 3625:13–15 (Reid (Google)) (agreeing Google is

actively experimenting with ads in the AI Overview feature today).

       105.     Access to the web will be crucial for satisfying emerging commercial query use

cases in GenAI products. Rem. Tr. 659:16–661:13 (Hsiao (Google)) (explaining that commercial

queries would likely need to be grounded in a search index or through providers to satisfy

commercial queries in response to a question from the Court); Des. Rem. Tr. 166:15–21, 166:23–

167:15, 167:17–22 (Fox (Google) Dep.) (discussing that over time Search capabilities will be



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within the personalized intelligent agent); Des. Rem. Tr. 79:25–80:2, 80:4–81:19 (Cromwell

(Microsoft) Dep.).

        106.    Most of the chatbots have introduced some form of grounding, which is using

aspects of search engines to build their experiences. Rem. Tr. 3630:16–3631:3 (Reid (Google)).

        107.    GenAI Products are fundamentally different from general search engines. Rem.

Tr. 1033:15–1034:1 (Schechter (Microsoft)) (“So while the LLMs and GenAI technology is

good at approximating and stimulating what a human might do, it can’t possibly know what

news event is coming up . . . or . . . if a restaurant is open or not[.]”); Rem. Tr. 1035:24–1036:9

(Schechter (Microsoft)) (An LLM is not a knowledge base like a search engine.); Des. Rem.

Tr. 43:25–44:13 (Giard (T-Mobile) Dep.) (AI is fundamentally different than search.).

        108.    Without access to a search index or API, a GenAI Product cannot retrieve real-

time information and may hallucinate when responding to user prompts. Rem. Tr. 382:5–383:17

(Turley (OpenAI)) (ChatGPT can answer user questions without web information, but it

struggles with accuracy due to hallucinations and its training data knowledge cut-off); Rem.

Tr. 383:18–384:20 (Turley (OpenAI)) (describing need for ChatGPT to access a source of real-

time information); Rem. Tr. 1033:15–1034:1 (Schechter (Microsoft)) (“[An LLM] can’t possibly

know what news event is coming up . . . or . . . if a restaurant is open or not, . . . it can certainly

make something up[.]”); Rem. Tr. 1035:24–1036:9 (Schechter (Microsoft)) (If an LLM does not

have access to tools like search, it will hallucinate a response.); PXR0040* at -202 (“The true

strength of combining search with LLMs is in the enhancement of the LLM’s efficacy” and

“without current and broad data, their responses can be outdated, limited, or even hallucinated”).

        109.    Hallucinations are AI-generated fabrications that have no basis in reality. Rem.

Tr. 1035:12–23 (Schechter (Microsoft)) (“A hallucination is essentially a statement that might



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sound factual but is really just generated by the language model. . . . [T]hey are not based in

actual reality.”).

        110.    Google Search defines factuality in the sense of how accurate the information is.

Rem. Tr. 3621:25–3622:4 (Reid (Google)); PXR0019 at -814 (“The way we determine factuality

today is based on deductions from authoritative sources on the web. This is something that

Google was built on, and we’ve continued to improve it over the years.”).

        111.    In Google’s vision of the “AI Era” of Search, “Search will provide the most

accurate and helpful answers to any question,” and “AI Overviews will be the most accurate,

personal and powerful – capable of reasoning, using tools and accessing Search’s trillions of data

points.” Rem. Tr. 3625:21–3627:7 (Reid (Google)); PXR0037 at -238.

        112.    There are crossovers between search and AI behavior. Rem. Tr. 3160:1–12

(Muhlheim (Mozilla)).

        2.      Google And GenAI: GenAI In Search And Google’s Gemini App

        113.    Google has used AI technologies deeply for more than a decade across its most

important products, including Search. Rem. Tr. 2455:13–2457:4 (Pichai (Google)); Rem.

Tr. 3601:7–9 (Reid (Google)) (agreeing Google has been incorporating AI and LLM technology

into Search for years); Rem. Tr. 4055:17–4058:16 (Hitt (Def. Expert)) (indicating Google has a

long history of using GenAI technology in Search products).

        114.    Google thinks it is important to combine the superpowers of an LLM (Synthesis,

Creation & Execution, and Conversation) and the superpowers of Search (Reliability and

Breadth & Depth) to make the best search experience. Rem. Tr. 3631:4–3632:15 (Reid (Google))

(referencing PXR0034 at -516); PXR0034 at -516.

        115.    GenAI and Search overlap in different ways and GenAI cannot do all that Search

does and Search cannot do all that GenAI does. Rem. Tr. 4056:20–4058:16 (Hitt (Def. Expert))
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(describing the overlap of search and GenAI technologies including the ability to answer

questions). Rem. Tr. 2457:5–2458:9 (Pichai (Google)) (describing use cases for which Search

hasn’t done well including having chatbots write large sections of code or Gemini generating a

whole video).

       116.     The use of LLMs enhances Google Search. Rem. Tr. 3601:10–12 (Reid

(Google)); PXR0118* at -690 (2023 email from S. Pichai stating, “We’re already starting to

experiment with Gemini in Search. . . with a   % reduction in latency . . . alongside

improvements in quality.”); PXR0040* at -208 (noting that GenAI models “enhance various

facets of the search experience, including comprehending queries, summarizing content, and

personalizing results.”).

       117.     Quality is an important component of Google Search. Rem. Tr. 3619:10–12 (Reid

(Google)).

       118.     Quality wins reported to Google’s Board of Directors for Q2 2024 included

improved answer quality, reinforced TnS protections, improved predictability, and factuality

(significant gains through improvement in inputs and empowered by post-hoc evidence).

PXR0037 at -229.

       119.     Google Search trains and fine-tunes GenAI models on Google’s extensive search

data corpus, including user data and data from web publishers who have opted out of AI training

under the Google-Extended opt-out. Rem. Tr. 183:25–185:6 ((Durrett) (Pls. Expert)) (discussing

how Google pretrains Gemini models on the Google Common Corpus, which includes Docjoins,

the data structure Google uses to store URLs, page content and a number of search signals.”);

Des. Rem. Tr. 36:5–17, 37:16–21 (Parakh (Google) Dep.) (Google incorporates click-and-query

data into Search AI models.); Des. Rem. Tr. 47:1–7 (Parakh (Google) Dep.) (explaining that



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there are no privacy restrictions on using search user data in Google Search’s AI models); Des.

Rem. Tr. 56:23–58:14 (Parakh (Google) Dep.) (Google Search trains GenAI models designed to

classify and label queries using search data); Des. Rem. Tr. 105:13–106:11 (Parakh (Google)

Dep.) (Google trains Search-specific Gemini models on user search queries); Des. Rem.

Tr. 173:21–174:6 (Parakh (Google) Dep.) (describing how Google trains Search-specific Gemini

models on user query sessions and quality signals derived from user feedback); PXR0178*

at -156 (Gemini pretrains on Search data); PXR0014* at -600 (The goal of Google Search’s

GenAI models is “maximizing value from Gemini for K&I which includes training on search

data as one of the primary mechanisms.”).

       120.    Even beyond Search, Google trains its Gemini models on proprietary search

datasets not available to third parties. Des. Rem. Tr. 52:19–54:23 (Parakh (Google) Dep.)

(describing how Google trains its base Gemini models on Aquarium (Q&A pairs derived from

web documents in its index) and DocJoins); PXR0123* at -182, -188–89, -202–03 (Gemini v3

pre-training data card listing various proprietary training datasets derived from search data, like

DocJoins and “Search augmented [query-answer pairs]” from Aquarium).

       121.    Google’s proprietary DocJoins dataset is comprised of all the data Google knows

about the web documents in its search index, including the content of each web document and

associated ranking signals. PXR0061* at -943 (explaining history and contents of Google’s

DocJoins dataset).

       122.    Google has explored using user-side data and quality signals from Search to pre-

train Gemini models used outside of Search. Des. Rem. Tr. 141:6–10, 144:16–145:20, 146:15–

147:4, 148:3–17, 150:4–13 (Parakh (Google) Dep.) (discussing PXR0227, a data card exploring

use of sensitive search data and signals to pre-train the Gemini v3 foundation model); PXR0227



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at -983–86 (describing Google’s intended use of AI Overview responses scraped from

anonymized user queries, Google Search question-answer pairs, anonymized user search

sessions, and search signals for training data filtering and Gemini model pre-training);

PXR0184* at -113 (Gemini v2 pre-training data filtering document showing Google’s use of a

Google Common Corpus crawlability filter and “query based removals” for filtering);

PXR0016* at -865 (Google valuing search signals and using them to help Gemini pretrain so it

can upweight good, authoritative pages and downweight the “untrustable” ones).

       123.    Google incorporates GenAI technology in Google Search today. Des. Rem.

Tr. 25:13–26:1 (Parakh (Google) Dep.) (explaining that Project Magi was Google’s effort to

combine “a large number of GenAI ideas” into Search, which ultimately became AI Overviews);

Des. Rem. Tr. 36:5–17, 37:16–21 (Parakh (Google) Dep.) (describing how Google incorporates

click-and-query data into AI models used for Search); PXR0019 at -817 (“[AI Overviews] was

designed as a customized integration of generative AI into Search—specifically fine-tuned for

knowledge and information journeys, and therefore built on a foundation of quality.”);

PXR0158* at -911 (“[AI Overviews] is a customized integration of generative AI into Search

that is rooted in [Google’s] core ranking and quality systems, which [Google has] been honing

for decades to surface high quality information.”).

       124.    Google considered several ways to integrate Gemini into Search to grow

information and retrieval and task completion with AI, including putting Gemini suggestions into

the SERP, identifying a Gemini search mode within Google Search, and including a persistent

Gemini entry point within Google Search. Rem. Tr. 3650:2–3653:7 (Reid (Google)); PXR0109

at -812–13 (“Project Goal Explore integration of conversational Gemini into Search”), -817

(Objectives included best enabling Search to use GenAI and driving daily active users of the



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Gemini App and Gemini advanced), -819 (Explorations included “Gemini Suggestions,” a

“Search Mode” where “[u]sers explicitly switch between search and a Gemini-powered

conversational mode,” and a “[p]ersistent Gemini entry point.”).

       125.   Google is bringing its state-of-the-art Gemini models directly into Search. Rem.

Tr. 2491:23–2492:1 (Pichai (Google)) (agreeing Google is bringing its state-of-the-art Gemini

models directly into Search); Rem. Tr. 3601:3–6 (Reid (Google)) (agreeing Google is

incorporating AI tech and LLM technology into Google Search); Des. Rem. Tr. 27:16–28:4

(Parakh (Google) Dep.) (describing evolution of Google Search’s use of Gemini models for

Search, from early KITE models built from Gemini models to more direct integration of fine-

tuned models); Des. Rem. Tr. 60:9–62:12 (Parakh (Google) Dep.) (The AI models powering AI

Overviews today are built atop Google’s Gemini models.); PXR0032 at -208 (describing KITE

program, which evolved into Google Search’s current usage of Gemini models, the purposes of

which were to “bring Gemini to K&I [i.e., Search],” “driv[e] K&I Gemini evolution and

maximiz[e] ROI.”); PXR0208* at -714–15 (describing how Gemini and Search could integrate);

PXR0222* at -180 (“Gemini will be deeply integrated into Chrome in the flow of your

browsing”); PXR0029* at -164–65 (describing “continued collaboration[s]” between Google

Search, Gemini, and the Gemini App).

       126.   The Google Search Team builds its own custom large language models derived

from Gemini models. Rem. Tr. 2489:9–16 (Pichai (Google)); Des. Rem. Tr. 60:9–62:12 (Parakh

(Google) Dep.) (The AI models powering AI Overviews today are built atop Google’s Gemini

models.).

       127.   Google has found that its Gemini models can improve the Search experience.

Rem. Tr. 2489:17–23 (Pichai (Google)); PXR0032 at -208 (describing early KITE program,



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wherein Gemini models were integrated into Search to improve “personalization to drive

growth,” “[a]ds specialization,” and “further maximize the utility of Gemini in [Search]

products.”); PXR0029* at -164–65 (describing “continued collaboration[s]” between Google

Search, Gemini, and the Gemini App “to ensure [Search] is getting the most we can out of the

latest models that Google is investing in”).

       128.     Google recognizes that incorporating GenAI into Search expands Google’s user

base and queries. Des. Rem. Tr. 77:22–25, 78:1–3, 78:5–18, 81:7–8, 81:10–19, 81:21–82:4,

85:3–86:6 (Fox (Google) Dep.); PXR0032 at -208 (describing one goal of integrating Gemini

models into Search as improving “personalization to drive [user] growth.”).

       129.     In 2024, Google incorporated AI Overviews, a GenAI search feature relying on a

branch of the Gemini LLM family, into the Google Search product. Des. Rem. Tr. 36:9–14,

36:17–19, 36:21–23 (Fox (Google) Dep.). AI Overviews used to be branded as Search

Generative Experience (“SGE”). Rem. Tr. 3549:16–23 (Reid (Google)); Des. Rem. Tr. 109:21–

110:16 (Fox (Google) Dep.); Des. Rem. Tr. 66:17–19 (Parakh (Google) Dep.) (explaining that

the brand “Search Generative Experience” was used while AI Overviews was a prototype in

Google Labs).

       130.     AI Overviews are a Search feature that provide a GenAI generated response to a

user’s query based on the Search results. Rem. Tr. 3550:2–3552:3 (Reid (Google)); Des. Rem.

Tr. 35:8–19, 36:9–14, 36:17–19, 36:21–23 (Fox (Google) Dep.); Des. Rem. Tr. 39:1–24 (Parakh

(Google) Dep.) (describing how AI Overviews both grounds on Google Search results and

provides links to said results); Des. Rem. Tr. 64:6–14 (Parakh (Google) Dep.) (describing the

technical architecture for AI Overviews, which integrates Google’s search stack to “serve




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answers at scale to billions of people”); Des. Rem. Tr. 66:25–67:9 (Parakh (Google) Dep.)

(affirming that Google views AI Overviews as a Search feature).

       131.    AI Overviews appear on a search engine’s results page. Rem. Tr. 3610:1–4 (Reid

(Google)) (agreeing AI Overviews appear on a search engine’s results page). AI Overview

provides a user with an overview of their question and lets the user continue to explore the web

based on the AI Overview. Rem. Tr. 3610:1–4 (Reid (Google)) (“You can’t fill the response until

you have a query”).

       132.    The Gemini model that runs AI Overviews, which is unique to Google Search, is

trained on Search signals and relies on the Google Search web index. Rem. Tr. 3613:21–3614:5

(Reid (Google)) (agreeing the Gemini model that runs AI is trained on Search signals and relies

on the Google Search index).

       133.    AI Overviews incorporate Google’s search results and ranking signals to

determine relevance for any given user query. Rem. Tr. 3613:10–3614:1 (Reid (Google))

(agreeing AI Overviews incorporates Google Search quality, ranking, and search features such as

the knowledge graph and explaining it uses Search signals to train Search’s Gemini model);

Rem. Tr. 3615:5–11 (Reid (Google)) (agreeing Google, to ensure AI Overviews are high quality,

integrated its “core web rankings systems into this experience, which are fundamentally designed

to surface reliable and relevant information”); Des. Rem. Tr. 79:25–80:22, 81:1–25, 82:1–5,

82:16–83:8, 83:13–84:7 (Parakh (Google) Dep.) (describing how the GenAI model powering AI

Overviews automatically determines whether an AI Overview will be useful or relevant to a user

query); Des. Rem. Tr. 84:18–85:16, 85:25–86:6 (Parakh (Google) Dep.) (explaining how Google

uses its Tangram model and relevance signals to predict when search features like AI Overviews

will be relevant to user queries—including tail queries); PXR0038 at -302 (“How AI Overviews



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in Search Work”), -303 (“AI Overviews use a customized Gemini model, which works in tandem

with existing Search systems – like our quality and ranking systems and the Google Knowledge

Graph” and “To ensure AI Overviews are high quality, we’ve integrated our core web ranking

systems into this experience, which are fundamentally designed to surface reliable and relevant

information”); PXR0158* at -911 (“[AI Overviews] is a customized integration of generative AI

into Search that is rooted in [Google’s] core ranking and quality systems, which [Google has]

been honing for decades to surface high quality information.”); PXR0036* at -660 (Google’s

“Universal RankBrain (formerly RankBrain) is a relevance and user-preference prediction deep

[GenAI] model” applied “across all Search results, including AI Overviews.”).

       134.    AI Overviews incorporates Knowledge Graph to improve factuality and accuracy.

Des. Rem. Tr. 205:17–206:19 (Fox (Google) Dep.).

       135.    As Google itself states, AI Overviews have been widely successful, reaching

many of Search’s users and driving Search’s query volume higher. Des. Rem. Tr. 187:15–23

(Fox (Google) Dep.); PXR0025 at -478 (describing the “success of AI overviews” due to

“significant improvements in [their] quality, latency, and capacity.”).

       136.    AI Overviews (codenamed Magi) are a top priority for Google—and a primary

vehicle for delivering AI advancements to Google’s users at scale. Des. Rem. Tr. 44:5–13

(Parakh (Google) Dep.); Des. Rem. Tr. 64:6–14 (Parakh (Google) Dep.) (AI Overviews “serve

answers at scale to billions of people.”); PXR0018* at -258 (explaining one of the “keys to help

land Magi” includes “embarking on the next chapter of Search.”); PXR0014* at -598–600

(describing Magi as “the most important client for Search,” the “top priority,” and “the company

priority” that “[Google executives] are all behind.”).




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        137.     Currently, AI Overviews is powered by a family of models known as MAGIT.

Des. Rem. Tr. 60:9–62:12 (Parakh (Google) Dep.). The AI Overviews model is tuned for

factuality. Rem. Tr. 3622:22–3623:19 (Reid (Google)).

        138.     As of October 2024, AI Overviews triggered on       % of total U.S. queries. Rem.

Tr. 3617:22–3618:4 (Reid (Google)) (confirming that        % of searches on Google Search trigger

an AI Overview response today) (citing Des. Rem. Tr. 100:5–8 (Reid (Google) Dep.)); Des.

Rem. Tr. 188:23–189:7 (Fox (Google) Dep.); PXR0033 at -244.

        139.     As of February 2025, AI Overviews triggered on roughly      % of all U.S. queries.

Des. Rem. Tr. 76:22–77:2 (Parakh (Google) Dep.) (“[I]t was above        percent, something of

that—          percent, in that range.”).

        140.     Today, 1.5 billion Search users interact with AI through AI Overviews. Rem.

Tr. 2490:19–21 (Pichai (Google)) (agreeing that today 1.5 billion Search users interact with AI

through AI Overviews”); Des. Rem. Tr. 64:6–14 (Parakh (Google) Dep.) (AI Overviews “serve

answers at scale to billions of people.”).

        141.     People who use AI Overviews actually use Search more and are more satisfied

with their results. Rem. Tr. 3615:12–3616:2 (Reid (Google)) (agreeing that people who use AI

Overviews actually use Search more and are more satisfied with their results); Rem.

Tr. 3615:12–3616:2 (Reid (Google)) (agreeing AI has led to a measurable increased number of

queries at Google Search); PXR0038 at -303 (“[P]eople who use AI Overviews actually use

Search more and are more satisfied with their results”).

        142.     Google Search queries in the United States have increased 1.5 to 2 percent since

the introduction of AI Overviews. Rem. Tr. 3616:6–3617:4 (Reid (Google)) (conceding Google




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Search queries in the United States had increased 1.5 to 2 percent since the introduction of AI

Overviews”).

       143.     As of October 2024, AI Overviews was approaching 1B “users.” PXR0033

at -244.

       144.     As of October 2024, AI Overviews had increased the amount of Search usage by

“more than hundreds of millions of queries a month in the U.S. alone.” Des. Rem. Tr. 193:10–21

(Fox (Google) Dep.); PXR0033 at -244. Google’s VP of Search reported to Google’s Board of

Directors that the number of queries that trigger an AI Overview will continue to increase over

time. Rem. Tr. 3617:22–3618:16 (Reid (Google)) (explaining she reported to Google’s Board of

Directors that the number of queries that trigger an AI Overview will continue to increase over

time); PXR0037 at -229 (describing to the Google Board of Directors that AI Overviews was a

Q2 2024 win).

       145.     Google Search chose to tune its LLM higher on the factuality spectrum, giving up

some of the creative powers of LLM. Rem. Tr. 3622:11–21 (Reid (Google)); PXR0019 at -817

(The models powering AI Overviews were “specifically fine-tuned for knowledge and

information journeys,” thereby “maximizing the quality and reliability of the output, and

minimizing low-quality or harmful information from being presented to users.”); PXR0029*

at -153 (highlighting that, as of February 2024, the model powering    % of AI Overviews was

“optimized for maximal groundedness (using inputs from search) and factuality”).

       146.     AI Overviews do not hallucinate as much as other LLMs. Rem. Tr. 3622:25–

3623:3 (Reid (Google)); PXR0019 at -817 (The models powering AI Overviews were

“specifically fine-tuned for knowledge and information journeys,” thereby “maximizing the

quality and reliability of the output, and minimizing low-quality or harmful information from



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being presented to users.” Google has also been “rolling out model updates and improvements

consistently at a rapid pace” to minimize hallucinations.).

       147.    AI Overviews are more accurate than other LLMs because Google has integrated

the web pages more directly in producing the overview, weighing the web pages more

significantly, compared to other models that produce output from the model and then double-

check with the web pages. Rem. Tr. 3622:25–3623:19 (Reid (Google)).

       148.    Google recently introduced “AI Mode,” which is a feature of Search rather than a

separate product, in which users are asking questions twice as long as before. Rem. Tr. 2490:5–

2491:12 (Pichai (Google)).

       149.    AI Mode is an experimental feature available as a tab in Google Search today, but

Google CEO Sundar Pichai expects it to become “a deeper part of the Search experience” over

time. Rem. Tr. 2491:6–21 (Pichai (Google)).

       150.    Links to the web will remain a core part of the Google Search experience. Rem.

Tr. 2492:19–21 (Pichai (Google)).

       151.    In the future, Google intends to more fully integrate GenAI into Google Search.

Rem. Tr. 3556:10–3557:7 (Reid (Google) (explaining how GenAI can impact Google Search

going forward); Rem. Tr. 2458:10–2460:15 (Pichai (Google)) (stating in response to the Court’s

question that “AI technology is going to deeply transform Google Search” and that “the rate at

which it will make Search evolve...will be very profound”).

       152.    Search and GenAI products, such as the Gemini App and ChatGPT, overlap in

certain use cases, but also have distinct uses. Des. Rem. Tr. 74:20–76:8 (Fox (Google) Dep.)

(Google Search executive recognizing that there is overlap between chatbots like ChatGPT and

Search); Des. Rem. Tr. 76:20–21, 76:23–77:11 (Fox (Google) Dep.) (Google Search executive



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explaining that there is a spectrum or Venn diagram-like relationship between search and GenAI

chatbots); Des. Rem. Tr. 57:1–17 (Fox (Google) Dep.) (describing a market perception of a leap

forward with products like ChatGPT); Des. Rem. Tr. 39:5–18 (Kim (Samsung) Dep.) (Samsung

executive recognizing a distinction between Search and certain GenAI products).

       153.    Google will be able to translate its superior search index into winning the AI

battle. Rem. Tr. 874:18–875:17 (Weinberg (DuckDuckGo)) (Google is poised to continue to

keep an AI advantage due to its distribution advantage.).

       154.    Google released its own GenAI chatbot, Bard, in February 2023, about three

months after ChatGPT was released to the public in late 2022. Rem. Tr. 2498:19–25 (Pichai

(Google)).

       155.    The Gemini App was formerly called Bard. Rem. Tr. 3627:18–3628:2 (Reid

(Google)); Des. Rem. Tr. 51:14–23 (Pancholi (Google) Dep.).

       156.    The Gemini App is a GenAI product that relies on Gemini LLM models to

produce results. Rem. Tr. 625:6–15 (Hsiao (Google)); Des. Rem. Tr. 29:2–14 (Google-EC

30(b)(6) Dep.) (“The Gemini chatbot integrates the Gemini model and a Google Search API to

provide the response.”).

       157.    The Gemini App is still largely a chatbot. Rem. Tr. 3628:9–12 (Reid (Google)).

       158.    The Gemini App today is complementary to Google Search. Rem. Tr. 3629:6–8

(Reid (Google)); PXR0019 at -819 (“While [the Gemini App] is complementary to Search, it is a

separate experience that serves as a collaborator to help people create and get things done.”).

       159.    The Gemini App and Google Search are a bit of an intersecting diagram where

they have some overlapping uses and some distinct uses. Rem. Tr. 3629:9–15 (Reid (Google)).




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       160.    The Gemini App can address certain user needs that Google Search does not, and

Google Search can address some user needs the Gemini App cannot. Rem. Tr. 3629:9–15 (Reid

(Google)); PXR0019 at -819 (“While [the Gemini App] is complementary to Search,” Google

views the Gemini App and AI Overviews as “two separate experiences that each helps users with

a distinct set of user needs.”); PXR0027* at -734 (recognizing that users’ expectations that

Gemini’s capabilities mirror Search’s capabilities can create a disconnect).

       161.    The case for Google Search is more focused on information need-based queries.

Rem. Tr. 3629:25–3630:2 (Reid (Google)); PXR0019 at -819 (Compared to the Gemini App, AI

Overviews are “designed for information journeys that are focused on seeking out knowledge

and consulting a range of sources and perspectives on the web.”); PXR0102* at -720 (AI

Overviews is a Gemini model customized for Google Search, which gives the user a summary

and links to learn more and “greater . . . satisfaction with Search.”).

       162.    While GenAI chatbots do not yet cannibalize Search, the Gemini App relies upon

Google Search to generate responses to users’ queries. Rem. Tr. 647:21:2–648:16, 648:24–

649:21, 638:23–641:20 (Hsiao (Google)); Des. Rem. Tr. 29:2–14 (Google-EC 30(b)(6) Dep.)

(“The Gemini chatbot incorporates a Gemini model and Google Search.”); Des. Rem. Tr. 63:11–

19 (Google-EC 30(b)(6) Dep.) (“So when you send a prompt to the Gemini application, it can

use search results in its response.”); Des. Rem. Tr. 124:25–125:5, 125:11–14 (Parakh (Google)

Dep.) (explaining that the Gemini App has access to the Google Search API, including Google’s

FastSearch API, to retrieve search results for use in its responses to user queries).

       163.    Gemini App today grounds itself into the Fast Search system. Rem. Tr. 3635:1–6

(Reid (Google)); PXR0177* at -239, -242–44 (email thread discussing Fast Search and other

lightweight search APIs for use in Bard/Gemini App).



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       164.    The Gemini App relies on Search technologies, grounding in Search results, the

Knowledge Graph, Related Questions, and Oneboxes. Des. Rem. Tr. 124:25–125:5, 125:11–14

(Parakh (Google) Dep.) (explaining that the Gemini App has access to the full Google Search

API, including Google’s FastSearch API, to retrieve search results for use in its responses to user

queries); PXR0153 at -481 (Oct. 2024 Google presentation noting what Search features the

Gemini App has access to).

       165.    Long press power (“LPP”) is an action users can execute to invoke the Gemini

App by pressing the power button on Android devices for several seconds. Rem. Tr. 635:14–20

(Hsiao (Google)); Des. Rem. Tr. 173:14–174:2 (Kim (Samsung) Dep.) (Samsung users can

access Gemini by using the side key on Samsung devices.).

       166.    A Hotword includes a user speaking the phrase “Hey Google” or “Hey Gemini”

to the Android device to activate the Gemini App. Rem. Tr. 635:6–13 (Hsiao (Google));

PXR0571 at -389 (Gemini-Samsung Commercial Agreement calling out “Hey Google” and

“Hey Gemini” as Gemini Hotword invocations).

       167.    Beginning in 2024 and continuing into 2025, Google began to rollout a process of

upgrading the Google Assistant on Android devices to the Gemini App. Rem. Tr. 634:9–17

(Hsiao (Google)); PXR0150 at -412 (June 2024 Google presentation discussing Assistant

transition (via waivers)).

       168.    The Gemini App is free to users and also offers a paid subscription service for

$20/month called Gemini Advanced, which offers access to additional features and LLMs within

the Gemini App. Rem. Tr. 627:11–25 (Hsiao (Google)).




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        169.    As of October 2024, the Gemini App had over     M unique daily active users

globally. Rem. Tr. 626:14–627:7 (Hsiao (Google)). Unique users are those who had logged into

their Google account through the Gemini App. Rem. Tr. 628:4–22 (Hsiao (Google)).

        170.    Until recently, the Gemini App could only be accessed by signed-in users, but

now users can access the App without signing in. Rem. Tr. 628:4–22 (Hsiao (Google)).

        171.    As of October 2024, the Gemini App had nearly       M monthly active users, and

saw the potential to add    M through an upgrade of Google Assistant to the Gemini App.

PXR0226 at -740–41.

        172.    As of October 2024, the Gemini App had      M Advanced subscribers globally,

with    % of those subscribers paying and    % in a free Advanced trial period. Rem. Tr. 629:10–

630:4 (Hsiao (Google)); PXR0226 at -740–41.

        173.    As of October 2024, the Gemini App’s monthly subscription revenue was roughly

$      M. Rem. Tr. 630:5–9 (Hsiao (Google)) (testifying that multiplying the number of paying

subscribers by $20 would provide the rough subscription revenue).

        174.    Google CEO Sundar Pichai believes the Gemini App will expand overall Search

use. Rem. Tr. 2492:24–2493:1 (Pichai (Google)).

        175.    GenAI chatbots like the Gemini App will not replace search engines without

incorporating some of the search engine functionality. Rem. Tr. 3630:3–15 (Reid (Google)).

        3.      Competitors In GenAI

        176.    Competitors in the GenAI chat products market include, among others, DeepSeek,

Grok, Meta’s standalone chatbot, Claude, Perplexity, OpenAI’s ChatGPT. Rem. Tr. 2461:14–

2463:21 (Pichai (Google)); Rem. Tr. 3818:1–12 (Cue (Apple)) (“The more interesting areas have

been in the AI space with Perplexity, . . . ChatGPT and Anthropic and Claude, Grok,

DeepMind”).
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       177.      The distribution of GenAI provides opportunities for differentiated experiences on

mobile devices. Des. Rem. Tr. 23:7–24:8 (Laflamme (Motorola) Dep.); Des. Rem. Tr. 114:19–

117:1 (Laflamme (Motorola) Dep.) (Motorola recognized a market interest in having

differentiation from Apple and Google, and GenAI was a good opportunity to provide that

differentiation.); PXR0137 at -170 (“The market is keen on a differentiated solution from iOS

and Google.”).

       178.      GenAI distribution also provides an opportunity to reshape some of the

economics and financial landscape of the mobile ecosystem. Des. Rem. Tr. 23:7–24:8

(Laflamme (Motorola) Dep.); Rem. Tr. 3842:23–3845:10 (Cue (Apple)) (AI is a “huge

technology shift” that is “creating new opportunities for new entrants that just wouldn’t exist

otherwise.”).

       179.      OpenAI offers both a consumer-facing AI application, ChatGPT, and a developer

API for deploying application on top of OpenAI’s AI models. Rem. Tr. 373:2–10, 374:10–

375:21 (Turley (OpenAI)).

       180.      One of ChatGPT’s core use cases includes answering user questions—questions

for which users would otherwise turn to Google. Rem. Tr. 382:5–383:17, 386:1–388:8 (Turley

(OpenAI)) (“[W]hat we observed is that users were doing a slice of things that they used to do on

Google.com or in Google Search in general, using ChatGPT,” like asking factual questions.).

       181.      OpenAI’s goal is to build a differentiated “Super Assistant” GenAI Product that

can handle any task, including search—not to replicate Google Search. Rem. Tr. 374:10–375:21,

386:1–388:8, 389:17–390:2, 523:19–524:7 (Turley (OpenAI)).




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       182.   Perplexity offers search and assistive capabilities, similar to Google Search and

the Gemini App. Rem. Tr. 712:24–713:22, 714:2–5 (Shevelenko (Perplexity)) (referencing

PXR0805).

       183.   Some competitors, such as Perplexity, do not build their own foundational models

and instead take open-source models and tweak or post-train them. Rem. Tr. 705:5–23, 706:11–

22, 794:7–9 (Shevelenko (Perplexity)).

       184.   Perplexity has sought distribution deals with OEMs and carriers but has had little

success to date, despite its exhaustive efforts. Rem. Tr. 712:24–713:22, 714:2–24 (Shevelenko

(Perplexity)); Rem. Tr. 717:9–13 (Shevelenko (Perplexity)) (Dmitry Shevelenko, Perplexity’s

CBO, estimates that the great majority of his focus is on obtaining distribution deals with OEMs

and carriers. (referencing PXR0805)).

       185.   Perplexity has sought to be included as a default search engine choice in

browsers, such as       , directly competing with Google Search. Rem. Tr. 712:24–713:22,

716:9–717:8 (Shevelenko (Perplexity)) (referencing PXR0805).

       186.   Perplexity has also sought to be included as an assistant on         devices,

directly competing with the Gemini App. Rem. Tr. 712:24–713:15, 714:2–5, 714:6–24

(Shevelenko (Perplexity)); PXR0805 (Perplexity Rosetta Stone listing OEMs and carriers).

       187.   Samsung offers a GenAI powered assistant on Samsung devices called Bixby,

which provides a more device-control experience as compared to a chatbot experience. Des.

Rem. Tr. 247:8–248:9 (Kim (Samsung) Dep.).

       188.   Anthropic offers a consumer-facing chatbot product called Claude.ai. Des. Rem.

Tr. 275:11–25 (Fox (Google) Dep.).




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       189.    Today, Google currently offers a grounding service to third parties through

Google’s Cloud Platform, called Vertex AI, relying on Google’s Fast Search API. Rem.

Tr. 3637:22–3638:4 (Reid (Google)); Rem. Tr. 3640:18–3641:2 (Reid (Google)) (confirming in

response to a question by the Court that Vertex AI uses Fast Search); Des. Rem. Tr. 69:2–70:11

(Pancholi (Google) Dep.); Des. Rem. Tr. 29:17–30:11, 36:19–37:3, 39:6–18 (Google-EC

30(b)(6) Dep.); Des. Rem. Tr. 104:11–22, 104:24–105:3, 107:12–14, 107:16, 107:18 (Fox

(Google) Dep.); Rem. Tr. 4164:20–4165:3 (Hitt (Def. Expert)) (web results offered to Vertex are

of lower quality compared to what the Gemini App received); PXR0153 at -478 (explaining how

grounding with Google Search on Vertex AI works), -488 (identifying the biggest customers that

have adopted grounding with Google Search); PXR0105 at -305 (explaining grounding allows

the Gemini model to check search results before generating an answer, which increases the

accuracy of the model’s response).

       190.    Google’s internal Fast Search API is built to allow quicker grounding on web

results for Google’s grounded GenAI Products and for the Vertex product, but it only includes a

subset of Google Search results. Rem. Tr. 3635:2–3636:20 (Reid (Google)).

       191.    Google generates revenue from the provision of its Vertex grounding services to

third parties. Rem. Tr. 3638:1–20 (Reid (Google)).

       192.    Google’s Vertex grounding is a web-results only grounding service that does not

include the additional services around Knowledge Graph and verticals that are offered to the

Gemini App. Rem. Tr. 3648:17–3649:20 (Reid (Google)); PXR0153 at -481 (“Gemini app will

continue to get much richer search results with Knowledge Graph, Oneboxes, and RelQ than

what’s offered to Vertex (web results only)”).




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       193.   Although Google’s Grounding with Google Search API is commercially available

to developers, it is currently only available through Google’s GenAI models; third-party

foundational models cannot currently access Google’s Grounding with Google Search API. Des.

Rem. Tr. 39:4–40:19 (Google-EC 30(b)(6) Dep.) (discussing restrictions to Google’s

commercially available search grounding API); PXR0153 at -478 (explaining how Grounding

With Google Search on Vertex AI works).

       194.   Google provides a custom Search API for Meta to ground its LLMs in Google

Search. Des. Rem. Tr. 69:2–70:11 (Pancholi (Google) Dep.); Des. Rem. Tr. 278:7–16 (Fox

(Google) Dep.); Rem. Tr. 412:2–24, 414:9–23 (Turley (OpenAI)) (describing Google’s offering

to Meta and OpenAI’s desire to have similar access to Google’s Search API); PXR0101

(discussing Google’s grounding pilot with Meta); PXR0345* at -965 (internal Google

calculations for grounding Meta AI with conclusion that doing so would have a “

      ” overall impact on Google Search revenues due to user click-through rates to Google—

“                                                        ”).

       195.   Google has partnered with Snap, the company behind Snapchat, to bring Google

LLM, Search, and Ads capabilities to Snap’s GenAI application, MyAI. PXR0099* at -217–18

(“We have been working to build GenAI capabilities for Snap’s app, powered by Google LLM,

Search, and Ads.”).

       196.   As part of Google’s GenAI partnership with Snap, Google has explored both

displaying its Search and Ads results within an OpenAI-powered chatbot and integrating

Microsoft’s search and ads results into a Google-powered chatbot. PXR0099* at -218 (tracking

“critical points” during Snap partnership’s “test phase,” including “Google Search & Ads results




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being displayed within an OpenAI powered chatbot” and “Google Cloud LLM powered chatbot

being integrated with Search & Ads from MSFT”).

       197.   Around October 2024, Anthropic sought a deal with Google to ground

Anthropic’s models. Des. Rem. Tr. 274:9–14, 276:1–6, 276:8–24 (Fox (Google) Dep.);

PXR0153 (Oct. 2024 Google presentation discussing an Anthropic grounding deal).

       198.   While considering Anthropic’s request, Google recognized that providing GenAI

competitors with the ability to ground with Search poses a competitive threat. Des. Rem.

Tr. 282:23–283:15, 286:11–24 (Fox (Google) Dep.); PXR0153 at -477, -481.

       199.   Providing a Search web results API would pose a risk to the Gemini App, which

grounds in richer web results than what Google offers to third parties. Des. Rem. Tr. 282:23–

283:15, 284:5–19, 285:9–19, 285:23–286:2, 286:4–24 (Fox (Google) Dep.); Des. Rem.

Tr. 115:15–25, 116:18–22, 117:11–118:6, 118:8–9, 118:12–13, 120:19–24, 121:1–122:1,

122:25–123:15, 124:25–125:5, 125:11–14 (Parakh (Google) Dep.); PXR0153 at -477, -481.

       200.   The Gemini App has access to the Knowledge Graph, Oneboxes, and Related

Questions via Search grounding. PXR0153 at -481.

       201.   Google understands that providing grounding capabilities to competitors both

improves the competitor’s product and provides Google with access to more data. Des. Rem.

Tr. 287:22–288:2, 288:4–8, 288:12–23, 288:25–289:11 (Fox (Google) Dep.).

       202.   Google innovates its GenAI products in response to competition and because

Google is trying to innovate. Rem. Tr. 2498:15–18 (Pichai (Google)).

       203.   Google’s Search & other revenues increased from more than $175 billion in 2023

to more than $198 billion 2024. Rem. Tr. 2499:19–2500:8 (Pichai (Google)); PXR0334 at -607.




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        204.   Google’s research and development expenditures, which included Search,

increased from more than $45 billion in 2023 to more than $49 billion in 2024. Rem. Tr. 2500:9–

25 (Pichai (Google)); PXR0334 at -610.

   B.      On-Device AI

        205.   “On-device AI” is a type of artificial intelligence (AI) model that runs on a device

instead of on a cloud server. On-device AI includes a large language model (LLM) or universal

language model (ULM) stored entirely on a device. Rem. Tr. 249:9–17 (Fitzgerald (Google));

Des. Rem. Tr. 20:13–21:13, 22:4–16 (Google-EC 30(b)(6) Dep.) (discussing on-device Gemini

Nano and Gemma models); Des. Rem. Tr. 49:11–50:1 (Google-EC 30(b)(6) Dep.) (explaining

how on-device AI does not rely on the cloud).

        206.   Gemini Nano is a Google on-device LLM. Rem. Tr. 249:2–4 (Fitzgerald

(Google)); Des. Rem. Tr. 20:13–21:13, 22:4–16 (Google-EC 30(b)(6) Dep.) (discussing on-

device Gemini Nano and Gemma models).

        207.   Google developed Gemini Nano specifically for mobile use cases on Google

platforms such as Android or Chrome. Des. Rem. Tr. 23:5–18 (Google-EC 30(b)(6) Dep.).

        208.   Running on-device LLMs can reduce the costs typically associated with

connecting to cloud-based LLMs. PXR0160* at -573 (Rick Osterloh, Head of Google’s

Platforms and Devices Products division, noting that on-device “could take enormous pressure

off our tpu capacity in the cloud, both reducing costs [a]nd opening up an enormous amount of

other opportunity for new revenue creation using our totally backlogged Cloud TPUs.”).

        209.   Today, even small LLMs require a lot of memory to run on-device, meaning that

a typical mobile device can only hold one on-device LLM. Des. Rem. Tr. 45:19–47:16, 48:18–

49:10 (Google-EC 30(b)(6) Dep.) (discussing how Gemini Nano requires up to half of mobile

memory, so there is not room for another on-device LLM).
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          210.   Many modern smartphones, including Android smartphones, contain specialized

AI accelerators. Rem. Tr. 1554:20–1555:3 (Mickens (Pls. Expert)) (modern smartphones have

AI accelerators).

          211.   AI models run more efficiently if they run on specialized hardware like NPUs or

TPUs called AI accelerators. Rem. Tr. 1553:5–1554:19, 1555:4–10 (Mickens (Pls. Expert))

(explaining efficiency differences between CPUs and AI accelerators).

   C.        Publishers

          212.   A “publisher” means any person who controls the legal right to any information

published or otherwise made available on any website or through any mobile app. Publishers

have tools to control what information is crawled from their website or app, as well as which

crawlers can access that information. Rem. Tr. 404:21–405:6 (Turley (OpenAI)) (responding to

Court question and explaining that publishers select different crawling permissions on a crawler-

by-crawler basis); Rem. Tr. 407:21–408:17 (Turley (OpenAI)) (responding to Court and

explaining how publishers can opt-out of OpenAI’s web crawl); Des. Rep. Tr. 83:25–84:12

(OpenAI-NT 30(b)(6) Dep.) (Access to publicly available web content depends on the voluntary

participation of web content providers.).

          213.   Google is aware that its GenAI search features, such as AI Overviews, can

influence whether publisher websites receive user traffic. Des. Rem. Tr. 177:2–4, 177:6–23

(Parakh (Google) Dep.) (“I know that people are concerned about how the traffic is sent through

[AI Overviews].”); Des. Rem. Tr. 193:19–194:15, 194:18–25, 195:16–20 (Parakh (Google)

Dep.) (

                                                         ); PXR0001 at -613 (As far back as

2019, Google saw a           % abandonment rate for queries with a good answer at the top of the

[SERP]” and “                    in clicks to results” when Google’s first-party “WebAnswer”
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search feature triggers.); PXR0158* at -910 (“When AI Overviews appear, pages that appear as a

corroborating link get more clicks than if the page had appeared as a traditional ‘blue link’ listing

for that query.”).

         214.   Google’s placement of first-party search features such as WebAnswers and AI

Overviews on its SERP has significantly reduced user interactions with organic web results.

PXR0001 at -612–13 (User web result interactions on Google “dropped under           % of all

interactions some time” before 2019, and Google has seen a “          % abandonment rate for

queries with a good answer at the top of the [SERP],” including “                    in clicks to

results” when Google’s first-party WebAnswers trigger.).

         215.   Google has a partnership with Reddit, whereby Google can pre-train its Gemini

models on user content from Reddit. Des. Rem. Tr. 107:6–108:4, 108:8–109:12 (Parakh

(Google) Dep.) (discussing PXR0050 and describing how AI Overviews use Reddit data, which

are “                                              ”); Des. Rem. Tr. 113:15–18 (Parakh (Google)

Dep.) (confirming that Google pretrains its Gemini models on Reddit data); PXR0050 at .001,

.003–.004 (describing Reddit data for Google GenAI models as “



        ” when used for grounding and “

           ” when used for pre-training); PXR0123* at -196 (listing Reddit data connected to

Google’s Reddit partnership in the Gemini v3 pre-training data card).

         216.   Google views Reddit data as                                          of its GenAI

Products, with Reddit data improving the quality of GenAI responses when used for either pre-

training or grounding. PXR0050 at .001, .003–.004 (describing Reddit data for Google GenAI

models as “



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                                              ” when used for grounding and “

                                                    ” when used for pre-training); PXR0123* at -196

(listing Reddit data connected to Google’s Reddit partnership in the Gemini v3 pre-training data

card).

III.        ECONOMIC PRINCIPLES FOR REMEDIES

       A.      Considerations In Restoring Competition

            217.   There are two broad economic goals in evaluating the proposed remedies: First, to

restore competition to where it would have been absent the anticompetitive conduct; and second,

to deter future anticompetitive conduct by ensuring that a dominant firm does not continue to

benefit from its past conduct. Rem. Tr. 2132:21–2133:8 (Chipty (Pls. Expert)).

            218.   The goal of restoring competition is no different whether the firm has engaged in

monopoly maintenance or monopoly acquisition. In both cases, the goal is to restore the

competitive rivalry that was diminished by the dominant firm’s conduct. Rem. Tr. 2133:9–16

(Chipty (Pls. Expert)).

            219.   Remedies focus on the competitive process, not the ultimate outcomes of that

process. Rem. Tr. 2134:15–23 (Chipty (Pls. Expert)).

            220.   Focusing on the competitive process requires focusing on the barriers to entry in

the market. Rem. Tr. 2134:24–2135:4 (Chipty (Pls. Expert)).

            221.   The barriers to competition in general search services are distribution, scale,

brand, and capital costs. Rem. Tr. 2135:5–9 (Chipty (Pls. Expert)).

            222.   Google’s conduct reinforced or protected all these barriers to entry. Rem.

Tr. 2135:10–23 (Chipty (Pls. Expert)); Rem. Tr. 4602:18–4603:15 (Chipty (Pls. Expert)).

            223.   As a matter of economics, remedies need not target only the specific conduct

found to be anticompetitive. Rem. Tr. 2137:17–2138:2 (Chipty (Pls. Expert)).

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         224.   Conduct that reinforced one barrier to competition might be offset by a remedy

that helps lower another barrier. Rem. Tr. 2137:17–2138:2 (Chipty (Pls. Expert)). A remedy does

not have to target just the specific barriers that were reinforced by the unlawful conduct, as it

may be more efficient to employ other remedial tools as well. Rem. Tr. 2293:1–6 (Chipty (Pls.

Expert)).

         225.   Understanding the findings of the Court and other factual evidence of the case

helps craft remedies to be consistent with the economic goals of remedies. Rem. Tr. 4198:14–

4199:2 (Murphy (Def. Expert)).

         226.   Narrow remedies may be appropriate in cases where there is not yet significant

harm or the harm is easy to rectify, but such remedies are not appropriate in this case because

Google’s conduct has gone on for many years. Rem. Tr. 4604:7–4605:9 (Chipty (Pls. Expert)).

         227.   A remedy that stops only the anticompetitive conduct at issue may not restore

competition. For example, if conduct allows a firm to get an insurmountable advantage over

rivals, then simply stopping the conduct will preserve the firm’s dominance. Rem. Tr. 4605:10–

4606:15 (Chipty (Pls. Expert)).

         228.   Narrow remedies that stop only the anticompetitive conduct, what Prof. Murphy

refers to as “corrective remedies,” are not designed to disgorge the fruits of anticompetitive

conduct from the defendant. Rem. Tr. 4340:7–17 (Murphy (Def. Expert)).

    B.      Chicken-And-Egg Problem In This Case

         229.   The chicken-and-egg problem starts with the fact that general search firms need

scale to create a high-quality search product. But users, distributors, and advertisers want a

general search product that is already of high quality. As a result, it is difficult for a small general

search firm to get scale to build quality. Rem. Tr. 2135:24–2136:12 (Chipty (Pls. Expert)).



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        230.   Data moats built by Google become cold start problems for competitors. Rem.

Tr. 1792:15–1793:1 (Epstein (adMarketplace)) (“[The cold start problem is] anything where

once you kind of overcome it and you’re able to get the access, you could then easily make your

technologies and your deal making really effective, but you don’t even get a chance to do that if

you can’t get over the cold start problem.”).

        231.   The chicken-and-egg problem does not necessarily mean that Google would have

maintained its monopoly even without engaging in anticompetitive conduct. Rem. Tr. 2136:21–

2137:15 (Chipty (Pls. Expert)). If rivals had no chance to challenge Google’s monopoly, then

Google would not have paid billions of dollars annually for exclusive distribution. Rem.

Tr. 2136:21–2137:15 (Chipty (Pls. Expert)).

        232.   Given more than ten years and the significant technological advances over this

period, it is reasonable to expect that one or more rivals would have slowly chipped away at

Google’s monopoly had Google not engaged in anticompetitive conduct. Rem. Tr. 2136:21–

2137:15 (Chipty (Pls. Expert)).

        233.   The chicken-and-egg problem highlights the time it would take for rivals to

challenge Google. Rem. Tr. 2136:21–2137:15 (Chipty (Pls. Expert)). Today, it would take even

more time for rivals to challenge Google, because Google’s conduct amplified the chicken-and-

egg problem. Rem. Tr. 2136:21–2137:15 (Chipty (Pls. Expert)).

   C.      The Risks Of Antitrust Remedies

        234.   Antitrust remedies are not a precise tool. Even if one knew exactly what would

have happened absent Google’s anticompetitive conduct, it would not be possible to perfectly or

painlessly engineer those outcomes after the fact. Rem. Tr. 2134:15–23 (Chipty (Pls. Expert)).

        235.   When choosing a remedy in an antitrust case, the risk of doing too little to restore

competition is that the remedy will preserve the status quo and allow the dominant firm to
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continue to benefit from its past anticompetitive conduct and potentially further those

anticompetitive effects into the future. Rem. Tr. 2315:20–2316:1 (Chipty (Pls. Expert)).

      D.      Google’s Exclusionary Conduct Significantly Contributed To Maintaining Its
              Monopolies

           236.   The facts identified below and adduced in the liability and remedies phase trials

demonstrate that Google’s conduct contributed significantly to the maintenance of its

monopolies and thus had a significant causal connection to the durability and strength of

Google’s monopoly positions. For example, Google “constrained the query volumes of its rivals,

thereby inoculating Google against any competitive threat,” Mem. Op. at 234. The fruits of

Google’s anticompetitive conduct include its freedom from competitive threats, such as by

significantly weakening existing competitors and raising barriers to entry; significantly enhanced

scale advantages, including greater user data, ads data, and search-index data; and a significant

enhancement in the quality of Google’s GSE, including its search index. Mem. Op. at 216, 226–

34.

           237.   Google’s anticompetitive conduct significantly contributed to a lack of new

investment and “limited [rivals’] ability to reinvest in quality improvements (both as to search

and general search text ads).” Mem. Op. at 237, 264.

           238.   For example, Google’s conduct significantly contributed both to Microsoft’s

decision not to put additional investment into Bing and to Neeva’s decision to exit. Mem. Op.

at 237, 239.

           239.   Google’s conduct has significantly contributed to venture capital firms viewing

general search as a “no-fly zone.” Mem. Op. at 23.




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        240.      Google’s anticompetitive conduct “ensure[d] that advertisers w[ould] continue to

spend 90% of their text ad dollars with Google, regardless of increases in prices or decreases in

quality,” Mem. Op. at 264–65.

        241.      Google’s conduct has significantly contributed to rivals’ inability to obtain

distribution. Mem. Op. at 201 (“Time and again, Google’s partners have concluded that it is

financially infeasible to switch default GSEs or seek greater flexibility in search offerings

because it would mean sacrificing the hundreds of millions, if not billions, of dollars that Google

pays them as revenue share.”); Rem. Tr. 812:7–22 (Weinberg (DuckDuckGo)) (“Most broadly

they [Google] prevent us from reaching users, between the agreements with brothers and OEMs

and the self-preferencing we see in Chrome and Android, it’s just hard to meaningfully compete

with users.”).

        242.      It is not possible to predict precisely what the world would look like but-for

Google’s conduct. Rem. Tr. 2220:14–20 (Chipty (Pls. Expert)) (“[I]t is not possible for anyone to

predict how that world would have played out.”); Rem. Tr. 2221:24–2222:8 (Chipty (Pls.

Expert)) (explaining that the design of products has been influenced by Google’s conduct, and so

it is not possible to predict what products might have come to market absent Google’s conduct);

Rem. Tr. 4633:14–4634:1 (Chipty (Pls. Expert)) (One would have to predict over ten years of a

competitive process that never got to play out.); Rem. Tr. 3293:20–3294:5 (Israel (Def. Expert))

(“[I]t sounds like a very difficult exercise.”).

        243.      In contrast to Sutter Health, a regression analysis cannot quantify differences

from the but-for world in this case because there are no suitable comparison markets where

competition played out without Google’s anticompetitive conduct. Rem. Tr. 4635:2–12 (Chipty

(Pls. Expert)).



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        244.   As Google’s economic expert Professor Kevin Murphy agrees, “in many cases—

if there is substantial harm to competition going forward, you might” need what Professor

Murphy calls “restorative remedies,” i.e., remedies that go beyond merely “prohibiting the

conduct found anticompetitive.” Rem. Tr. 4332:8–13, 4342:1–11 (Murphy (Def. Expert)).

        245.   In his written direct testimony in New York v. Microsoft Corp., Prof. Murphy

opined: “Finally, it is important to note that my analysis does not require that we determine

whether the anticompetitive acts reduced the actual level of competition in the market for Intel-

compatible PC operating systems. As I stated a substantive reduction in potential competition

would qualify as establishing a causal connection under my analysis.” Rem. Tr. 4352:15–

4355:19 (Murphy (Def. Expert)) (emphasis in original) (discussing ¶ 186, Professor Murphy’s

direct testimony from New York v. Microsoft Corp., Apr. 12, 2002).

        246.   Google’s distribution partners requested more flexibility than Google offered.

Rem. Tr. 4374:19–4375:6 (Murphy (Def. Expert)).

IV.     PLAINTIFFS’ PROPOSED REMEDIES WORK TOGETHER TO RESTORE
        COMPETITION

        247.   Plaintiffs’ RFPJ hits the essential elements, each element being necessary but not

sufficient on its own. Rem. Tr. 814:22–815:10 (Weinberg (DuckDuckGo)) (The RFPJ is a little

long, but for a good reason.); Rem. Tr. 814:22–815:10 (Weinberg (DuckDuckGo)) (Distribution

remedies without scale remedies will not be successful.); Rem. Tr. 812:23–814:21 (Weinberg

(DuckDuckGo)) (There is no silver bullet with regard to remedies; an effective package has to

simultaneously address multiple issues.).

        248.   Bans on payments and defaults work together. Rem. Tr. 890:3–12 (Weinberg

(DuckDuckGo)) (If rev shares are not banned they become the functional equivalent of a default

placement.).


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       249.    Payment bans unlock search access points while data and syndication (for both

organic search and ads) accelerate rivals’ ability to improve quality. Payment bans without data

and syndication remedies would take much longer to restore competition, and data and

syndication remedies would not help without payment bans to provide a path to market and

incentives to invest. Rem. Tr. 2168:18–2169:3 (Chipty (Pls. Expert)).

       250.    Even with data and syndication remedies, competitors need time to increase

quality and overcome Google’s monetization advantage, which will only take longer if Google is

permitted to pay for defaults. Rem. Tr. 2185:13–2186:22 (Chipty (Pls. Expert)) (explaining how

the data and distribution remedies work in tandem in response to the Court’s question); Rem.

Tr. 2184:7–2185:6 (Chipty (Pls. Expert)) (explaining that even with more flexibility Google

would still win defaults because of Google’s quality and monetization advantages).

       251.    Syndication would help rivals immediately improve and develop their products,

whereas data sharing would accelerate rivals’ progress in the medium-to-long term. Rem.

Tr. 424:18–425:24 (Turley (OpenAI)); Rem. Tr. 844:19–845:9 (Weinberg (DuckDuckGo));

Rem. Tr. 2164:2–13 (Chipty (Pls. Expert)).

       252.    Even if Google cannot win defaults, users and distributors would not be harmed

because the data and syndication remedies would improve the quality of rivals. Rem.

Tr. 2168:10–17 (Chipty (Pls. Expert)).

       253.    Even if Google cannot win defaults, the remedies would facilitate greater

competition that would benefit users and distributors. Rem. Tr. 2168:10–17 (Chipty (Pls.

Expert)).

       254.    Plaintiffs’ remedies work to lower each of the barriers to entry that were raised by

Google’s unlawful conduct and that will persist as fruits of its violation unless addressed by the



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remedy. See, e.g., Rem. Tr. 2194:3–2195:3 (Chipty (Pls. Expert)) (explaining that Plaintiffs’

remedies lower the distribution, scale, brand, and high-capital cost barriers to entry and

expansion, while Google’s remedies do not); Rem. Tr. 4602:18–4603:20 (Chipty (Pls. Expert)).

V.     PROHIBITION ON FORECLOSING OR OTHERWISE EXCLUDING
       COMPETITORS THROUGH CONTRACTS WITH THIRD PARTIES
       THAT MAINTAIN GOOGLE’S MONOPOLIES

       A.      Gemini App Is A Search Access Point

       1.      With The Gemini App Presenting An Emerging Means For Users To Engage
               With The Web, Google Has Begun To Build Gemini’s Position In The
               Market

       255.    The Court found that Google’s default positions on the most efficient search

distribution channels, including queries on Chrome and other search access points, is “a major

barrier to entry.” Mem. Op. 159.

       256.    AI is creating new Search access points. Rem. Tr. 3608:9–11 (Reid (Google))

(agreeing AI is creating new Search access points); Des. Rem. Tr. 23:8–13 (Microsoft-DS

30(b)(6) Dep.) (describing Copilot and GenAI Products grounded in search as “potential future

search entry points”); PXR0041* at -280 (Google opting to negotiate as part of Gemini

agreements or ACIA an integrated AI widget as an entry point on new and legacy devices).

       257.    Google is actively testing new Search access points. Rem. Tr. 3607:25–3608:23

(Reid (Google)) (agreeing that “AI is creating new search access points, and “Google is

exploring new access points for Search”); PXR0113 at -846 (“AI is creating new search access

points, allowing other providers to reach users rapidly; Google should meet users where they are

or risk ceding a new ecosystem. . . . Response: explore new Google access points (in AI/in apps),

by testing an embedded Search experience for 2 partner segments: Browsers/Search Engines (AI)

and Mobile Apps (AI/non-AI)”).



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       258.    Users can access the Gemini App through mobile applications on Android and

iOS and at the Gemini website, gemini.google.com, as well as through the Hotword and long

press power entry points. Rem. Tr. 625:6–12 (Hsiao (Google)); Des. Rem. Tr. 54:5–15 (Pancholi

(Google) Dep.); Des. Rem. Tr. 175:23–176:25 (Kim (Samsung) Dep.) (discussing the ways users

can access Gemini on Samsung devices); PXR0102* at -719.

       259.    The Gemini App currently provides a means for users to run Search queries and

access a Google search engine results page, all from within the Gemini App. Rem. Tr. 637:11–

638:5, 640:1–641:20, 643:5–644:10, 647:15–20 (Hsiao (Google)) (explaining what the “G”

button in the Gemini App does, including corroborate answers and provide Search related

topics); Des. Rem. Tr. 63:2–10 (Google-EC 30(b)(6) Dep.) (“[Y]ou could define the Gemini

application as an agent that can also use Search.”); Des. Rem. Tr. 124:25–125:5, 125:11–14

(Parakh (Google) Dep.) (explaining that the Gemini App has access to the Google Search API,

including Google’s FastSearch API, to retrieve search results for use in its responses to user

queries); PXRD005 (showing how the Gemini App takes a user to Google Search); PXR0113

at -846 (introduction of AI is creating new access points).

       260.    Nick Fox, head of Google Search, would consider the Gemini App a search

access point if it has the ability to issue a query to Google Search through the app. Des. Rem.

Tr. 304:1–12, 304:18–305:15, 306:2–16 (Fox (Google) Dep.) (“[I]t would be a Search access

point if it – if it provides an affordance whereby someone can issue a Search query that would

take them to our regular Search results page.”).

       261.    Internally, Google recognized that the Gemini App would eventually begin to

siphon queries from Google Search and expressed the urgency of incorporating ads or finding a




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means to “kick back to Search.” Rem. Tr. 655:17–662:3, 663:3–21 (Hsiao (Google)); PXR0112

at -136 (discussing monetization of the Gemini App).

       262.    Google has internally evaluated the revenue the Gemini App may generate if

Google were to start serving ads, estimating the value to be ~$    on Android. PXR0150

at -445 (June 2024 Google presentation slide “Sizing the Ad Opportunity on Gemini vs.

Search”).

       263.    In Google’s Gemini App agreement with Samsung, Google has accounted for the

app’s potential ad revenue by including ads revenue sharing provisions. Rem. Tr. 252:19–22

(Fitzgerald (Google)); PXR0571 at -384–85.

       2.      The Market, And Google, Have Begun To Recognize Gemini As An SAP

       264.    Google recognized that GenAI competitors sought distribution through typical

search access point channels and accordingly strategized to secure the Gemini App on those

access points. Des. Rem. Tr. 89:21–92:18 (Pancholi (Google) Dep.) (explaining that PXR0150

was prepared to present a Gemini distribution strategy to the K&I and Platforms and Devices

teams); Des. Rem. Tr. (Pancholi (Google) Dep.) 96:17–98:19 (explaining that Google recognized

that AI competitors were seeking to distribute through search access points); Des. Rem.

Tr. 23:11–24:20 (OpenAI-NT 30(b)(6) Dep.) (describing OpenAI’s

“existential fear” that it would be locked out of Google’s access points because “everyone’s

using their distribution to lock us out.”); Des. Rem. Tr. 30:18–31:18 (Beard (Microsoft) Dep.)

(discussing failed Motorola deal for Copilot distribution, which focused on

                     ); Des. Rem. Tr. 248:12–249:8 (Beard (Microsoft) Dep.) (discussing

Microsoft’s understanding that Motorola sought permission from Google to enter into a Copilot

distribution agreement but was told doing so would violate Google’s RSA); Des. Rem.

Tr. 252:8–253:15 (Beard (Microsoft) Dep.) (describing Microsoft’s understanding that Google
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provided Motorola with financial incentives to cancel a planned Copilot distribution deal);

PXR0150 at -403, -407 (June 2024 Google presentation observing that AI companies are

aggressively pursuing distribution, including through search access points); PXR0150 at -403,

-406 (June 2024 Google presentation on Gemini distribution strategy that states: “To succeed on

Android, and given inclusion in the MADA/RSA will be challenged, scaling is contingent upon

strategic alignment and standalone deals with Samsung and other OEMS”); PXR0150 at -412,

-416 (June 2024 Google presentation discussing 2024–25 Gemini distribution strategy on

Android to secure placement of the Gemini App); PXR0150 at -419 (June 2024 Google

presentation discussing key terms for Gemini App deals, including homescreen placement and

widgets); PXR0198* at -778, -785, -788 (June 2024 Google presentation discussing Gemini

distribution on Android); PXR0267* at -177 (Microsoft dropped pursuit of its Copilot

preinstallation plan with Samsung after Samsung said Copilot preinstallation would violate

Google’s RSA.).

       265.    Distribution partners have requested Gemini be covered as a search access point

under the RSA. Des. Rem. Tr. 35:3–36:5 (Ezell (AT&T) Dep.) (AT&T asked to make Gemini a

search access point in 2024 RSA extensions.); Des. Rem. Tr. Dep.) 37:10–38:5 (Ezell (AT&T)

(Google would not include Gemini as a SAP in the Dec. 2024 RSA extensions, but it might be

discussed at a later date.); PXR0131 at -847 (AT&T internal email stating that “Google stiff-

armed us on making Gemini Assistant a search entry point (for now, they say . . . ).”).

       266.    AT&T asked to make the Gemini App a search access point covered by the RSA

but was told by Google to wait. Des. Rem. Tr. 35:3–36:5 (Ezell (AT&T) Dep.) (AT&T asked to

make Gemini a search access point in 2024 RSA extensions.); Des. Rem. Tr. 37:10–38:5 (Ezell

(AT&T) Dep.) (Google would not include Gemini as an SAP in the Dec. 2024 RSA extensions,



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but it might be discussed at a later date.); PXR0131 at -847 (AT&T internal email stating that

“Google stiff-armed us on making Gemini Assistant a search entry point (for now, they say . . .

).”).

        267.   Verizon had internal discussions to include Gemini as a search access point under

the RSA so that Verizon could earn Search Revenues through Gemini; despite Verizon’s

attempts, Gemini is not included as a search access point under the RSA. Des. Rem. Tr. 61:15–

62:19, 64:12–18 (Boulben (Verizon) Dep.) (discussing PXR0128 at -593).

        268.   Verizon expects Gemini will at some point behave like a search engine. Des.

Rem. Tr. 61:15–62:19, 64:12–18 (Boulben (Verizon) Dep.) (discussing PXR0128 at -593).

        269.   Google has begun to integrate the Gemini App into third-party web browsers,

including Mozilla Firefox. Des. Rem. Tr. 248:5–19, 253:2–254:4 (Pancholi (Google) Dep.);

PXR0164 at -877.

        270.   Other third-party browsers have also sought Gemini App integrations. Des. Rem.

Tr. 254:19–24 (Pancholi (Google) Dep.); PXR0164 at -875.

        271.   Google has also explored deeper browser integrations with Mozilla’s Firefox.

Des. Rem. Tr. 266:11–267:7 (Pancholi (Google) Dep.).

        272.   If remedies do not apply to GenAI apps, Google may be able to exclude GenAI-

based general search rivals like it has historically excluded traditional general search rivals. Rem.

Tr. 2171:1–17 (Chipty (Pls. Expert)); Rem. Tr. 2172:6–18 (Chipty (Pls. Expert)) (discussing how

Google could use the Gemini App to circumvent distribution remedies that exclude GenAI apps,

leading to no change in the market).




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        273.    GenAI apps are a nascent threat to Google because they are developing general

search capabilities that might compete with traditional general search firms in the future. Rem.

Tr. 2170:9–25 (Chipty (Pls. Expert)).

        274.    GenAI apps that are developing general search capabilities should qualify for the

data and ads sharing and syndication remedies so that they will make the investments necessary

to compete with Google. Rem. Tr. 2170:9–2171:17 (Chipty (Pls. Expert)).

        275.    Google may use the Gemini App to circumvent the remedies in order to protect its

lucrative general search monopoly. Rem. Tr. 2171:18–2172:5 (Chipty (Pls. Expert)).

        276.    Google would have a reduced ability to use the Gemini App as a way to

circumvent search distribution remedies if GenAI apps are treated like other search access points.

Rem. Tr. 2172:19–24 (Chipty (Pls. Expert)).

        277.    The remedy should be forward-looking and so should focus on the next

generation of potential entrants. Rem. Tr. 2239:12–2240:3 (Chipty (Pls. Expert)) (in discussion

of why remedies might extend to OpenAI as a potential entrant).

        278.    Google could potentially circumvent the payment bans on preinstallation if GenAI

apps including Gemini are not treated on equal footing with other search access points. Rem.

Tr. 2296:19–2297:21 (Chipty (Pls. Expert)); Rem. Tr. 2301:10–13 (Chipty (Pls. Expert)) (“[I]t’s

important for forward-looking remedies to anticipate circumvention.”); Rem. Tr. 4176:23–

4177:13 (Hitt (Def. Expert)) (acknowledging a world where Google could foreclose distribution

in GenAI).

   B.        Circle To Search Is A Search Access Point

        279.    Circle to Search is a feature on mobile devices that allows a user to circle a

portion of the mobile display and execute a Google Search. Rem. Tr. 244:3–8 (Fitzgerald

(Google)); Rem. Tr. 3553:13–3555:16 (Reid (Google)); Des. Rem. Tr. 34:12–17 (Google-EC
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30(b)(6) Dep.) (“Circle to Search is functionality where the user can press part of their phone and

then highlight an area of the screen and then effectively use [Google] Lens to search that

content.”); Des. Rem. Tr. 225:16–226:1, 226:6–10 (Kim (Samsung) Dep.) (While technically

possible, today, Circle to Search only invokes Google Search, not rival search experiences.);

Rem. Tr. 3823:11–3824:13 (Cue (Apple)) (Google Lens is “the ability to search” but with an

image.).

        280.    Circle to Search relies on GenAI technology. PXR0197* at -954 (Google

presentation highlighting that Circle to Search is a way in which Google leads in AI).

        281.    Circle to Search can return a search engine results page in response to a user’s

query. Rem. Tr. 244:9–14 (Fitzgerald (Google)).

        282.    Circle to Search allows a user to circle something of interest and ask a query

based on what they’ve seen. Circle to Search then returns a results page in response to a query.

Rem. Tr. 2494:8–16 (Pichai (Google)).

        283.    Circle to Search and the Gemini App are two of the reasons Android continues to

expand its lead in AI. PXR0197* at -954.

   C.        Preferential Treatment And Payments To Non-Apple Third Parties Prohibited

        1.      Google’s Exclusionary Contracts Continue Today

        284.    Google’s default and preinstallation contracts continue today and have even in

some instances begun to cover the nascent potential threat of GenAI. Rem. Tr. 239:4–6

(Fitzgerald (Google)) (The only change to Samsung’s RSA extension signed in July 2024 was

extending the term.); Rem. Tr. (Fitzgerald (Google)) 243:2–6 (AT&T currently receives revenue

for any search access point that is defaulted to Google.); Rem. Tr. 246:22–247:1 (Fitzgerald

(Google)) (Google and Samsung have entered into an agreement to distribute the Gemini App.);

Rem. Tr. 259:14–25 (Fitzgerald (Google)) (Google and Motorola have entered into an agreement

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to distribute the Gemini App); Rem. Tr. 472:3–473:15 (Turley (OpenAI)) (ChatGPT only serves

a small fraction of user search queries compared to Google because of Google’s default status

and distribution); Des. Rem. Tr. 24:20–25:9 (Ezell (AT&T) Dep.) (AT&T and Google extended

the RSA in Dec. 2024 through Sept. 2025.); Des. Rem. Tr. 28:16–29:1 (Ezell (AT&T) Dep.)

(AT&T have placement and default obligations they must meet before receiving revenue share

payments on search access points.); Des. Rem. Tr. 67:18–68:23 (Beard (Microsoft) Dep.)

(Motorola’s RSA would not allow Copilot preinstallation carveouts, requiring Microsoft to

pursue an RSA-compatible distribution deal that was worse for users.); Des. Rem. Tr. 248:12–

249:8 (Beard (Microsoft) Dep.) (discussing Microsoft’s understanding that Motorola sought

permission from Google to enter into a Copilot distribution agreement with Microsoft but was

told doing so would violate Google’s RSA); Des. Rem. Tr. 252:8–253:15 (Beard (Microsoft)

Dep.) (describing Microsoft’s understanding that Google provided Motorola with financial

incentives to cancel a planned Copilot distribution deal); Des. Rem. Tr. 34:13–16 (Laflamme

(Motorola) Dep.) (Motorola and Google extended their RSA agreement in Feb. 2025); PXR0567

at -340–41 (amendment extending Google’s RSA with Samsung); PXR0515 at -119–20

(amendment extending Google’s RSA with AT&T in which Google pays a revenue share for

every access point that is defaulted to Google); PXR0608 (A new RSA signed between Google

and Samsung in Apr. 2025 in which Google pays a revenue share for every access point that is

defaulted to Google.); PXR0571 (Google’s commercial agreement with Samsung to distribute

the Gemini App.); PXR0535 (Google’s commercial agreement with Motorola to distribute the

Gemini App.); PXR0541 (Feb. 2025 RSA with Motorola); PXR0067* at -595 (confirming

Google interest in standardizing “key OEM contracts asap” to include Gemini App

preinstallation).



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       285.    Google’s CEO Sundar Pichai acknowledged the Court determined during the

liability phase that Google had paid billions related to the search distribution agreements. Rem.

Tr. 2479:23–2480:1 (Pichai (Google)).

       286.    Google has proposed continuing its use of revenue share agreements for Search,

meaning Google would continue to pay for defaults in Search on an access point by access point

basis. In fact, Google has already been updating its search distribution agreements to align with

its proposal to the Court. Rem. Tr. 2471:4–2472:22, 2480:10–23 (Pichai (Google)). Under the

most recent RSAs, Android OEMs and carriers maximize the money they receive from Google

by setting Google as the default on all search access points and sending as much traffic as

possible to Google via those access points. See, e.g., PXR0597, at -321–22, -324–26, -328

(Verizon); PXR0515, at -119–25 (AT&T); PXR0541, at -195–201 (Motorola); PXR0608,

at -046, -048–49, -060–69 (Samsung); PXR0610* at -894–95 (T-Mobile).

       287.    The 2024 Samsung RSA requires Google defaults, preinstallations, and

placements to earn a revenue share for each search access point. Rem. Tr. 239:4–6 (Fitzgerald

(Google)) (The only change to Samsung’s RSA extension signed in July 2024 was extending the

term.); PXR0567 (amendment extending Google’s RSA with Samsung).

       288.    Just days before trial, Google executed a new, six-month RSA with Samsung,

effective April 1, 2025, and extending through September 2025. Rem. Tr. 318:2–18 (Fitzgerald

(Google)) (acknowledging that Google extended the RSA two days before trial); Rem.

Tr. 318:19–319:11 (Fitzgerald (Google)) (The new RSA runs through September 2025, much

shorter than the previous agreement.); Rem. Tr. 317:4–12 (Fitzgerald (Google)) (referencing

PXR0608); PXR0608 at -039 (new Samsung-Google RSA); UPX5530 at -392 (2020 Samsung-

Google RSA effective July 1, 2020 through June 30, 2024).



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       289.   Motorola and Google extended their RSA agreement in February 2025. Des. Rem.

Tr. 34:13–16 (Laflamme (Motorola) Dep.).

       290.   Google and Motorola’s Feb. 2025 RSA extension continued to lock down access

points in favor of Google. Des. Rem. Tr. 60:14–61:3, 61:5–9, 61:12–22, 62:3–17 (Laflamme

(Motorola) Dep.); PXR0541.

       291.   Google and Motorola’s Feb. 2025 RSA extension still places restrictions on

Motorola before receiving certain revenue share payments, including default assistive service

requirements and Search widget and Chrome placement requirements. Des. Rem. Tr. 56:17–

57:2, 57:5–58:4, 59:10–60:6, 60:9 (Laflamme (Motorola) Dep.); Des. Rem. Tr. 69:15–70:11,

70:14–18 (Laflamme (Motorola) Dep.) (Motorola receives less revenue if they do not place the

Google Search widget on devices.); PXR0541.

       292.   Weeks before trial, and just days after the close of fact discovery, Google

extended its revenue share agreement with Mozilla. Rem. Tr. 3166:10–3167:3 (Muhlheim

(Mozilla)) (Mozilla exercised an option to extend their agreement with Google by a year.);

PXR0370* (Mar. 13, 2025 email extending the Mozilla-Google agreement, produced on May 1,

2025, the eve of Mr. Muhlheim’s testimony).

       293.   Google also extended revenue share agreements with U.S. carriers, including

Verizon, AT&T, and T-Mobile. Des. Rem. Tr. 24:20–25:9 (Ezell (AT&T) Dep.) (AT&T-Google

Dec. 2024 RSA extension through Sept. 2025); PXR0515 at -119–20 (amendment extending

Google’s RSA with AT&T); PXR0597 (Verizon-Google Jan. 2025 RSA extension through

September 2025); PXR0610* (T-Mobile-Google Mar. 2024 RSA extension through June 2025).

       2.     Google Has Leveraged Its Position To Stifle Emerging GenAI Competition

       294.   In response to GenAI companies’ attempts to distribute through typical search

access points, Google has responded with Gemini App distribution of its own. Rem. Tr. 246:22–
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247:1 (Fitzgerald (Google)) (Google and Samsung have entered into an agreement to distribute

the Gemini App.); Rem. Tr. 259:14–25 (Fitzgerald (Google)) (Google and Motorola have

entered into an agreement to distribute the Gemini App.); Des. Rem. Tr. 89:21–92:18 (Pancholi

(Google) Dep.) (explaining that PXR0150 was prepared to present a Gemini distribution strategy

to the K&I and Platforms and Devices teams); Des. Rem. Tr. 96:17–98:19 (Pancholi (Google)

Dep.) (explaining that Google recognized that AI competitors were seeking to distribute through

search access points); PXR0150 at -403, -407 (June 2024 Google presentation observing that AI

companies are aggressively pursuing distribution, including through search access points);

PXR0150 at -403, -406 (June 2024 Google presentation on Gemini distribution strategy that

states: “To succeed on Android, and given inclusion in the MADA/RSA will be challenge,

scaling is contingent upon strategic alignment and standalone deals with Samsung and other

OEMS”); PXR0150 at -412, -416 (June 2024 Google presentation discussing 2024–25 Gemini

distribution strategy on Android to secure placement of the Gemini App); PXR0150 at -419

(June 2024 Google presentation discussing key terms for Gemini App deals, including

homescreen placement and widgets); PXR0067* at -595 (discussing Google’s April 2024

decision to “lean into Gemini as the default assistant” and “push for standardization of key OEM

contract[s] asap” to include Gemini App preinstallation).

       295.    To stifle GenAI competitors’ progress, Google sought to secure Gemini App

distribution with OEMs through preinstallation, placement, and exclusivity. Rem. Tr. 266:9–11

(Fitzgerald (Google)) (Google wanted Samsung to preload the Gemini App on the home screen.);

Rem. Tr. 268:18–25 (Fitzgerald (Google)) (Google expressing the importance of preloading the

Gemini App on the Default Home Screen of Samsung devices); Rem. Tr. 340:20–23 (Fitzgerald

(Google)) (Samsung was considering deals with Google competitors for GenAI distribution.);



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Des. Rem. Tr. 89:21–92:18 (Pancholi (Google) Dep.) (explaining that PXR0150 was prepared to

present a Gemini distribution strategy to the K&I and Platforms and Devices teams); Des. Rem.

Tr. 157:11–25 (Kim (Samsung) Dep.) (Google and Samsung began Gemini discussions in the

summer of 2024); PXR0269 at -489–90 (Mar. 2024 Google email discussing the importance of

placing the Gemini App on Samsung device’s Default Home Screen); PXR0269 at -494–95

(Mar. 2024 Google email thread discussing a proposed Gemini App term sheet with Samsung);

PXR0270* (Mar. 2024 email from Peter Fitzgerald to Jay Kim of Samsung passing alone the

Gemini App term sheet); PXR0125 at -450 (Mar. 2024 internal Google emails discussing

Samsung’s response to the Gemini App term sheet); PXR0280 at -942 (June 2024 Google

presentation proposing Gemini App RSA requirements alongside Search requirements);

PXR0278 at -097, -099, -106 (Sept. 2024 Google presentation reviewing potential Samsung deal

package spanning Search and Gemini); PXR0278 at -106 (Sept. 2024 Google presentation in

which Google recognizes that Samsung has gotten other deal offers from GenAI competitors);

PXR0278 at -117 (Sept. 2024 Google presentation showing a Samsung-Gemini deal

                             ); PXR0150 at -403, -406, -412; PXR0150 at -419 (June 2024

Google presentation discussing “key terms” for Gemini App agreements including placement,

preinstallation, and exclusivity); PXR0067* at -595 (discussing Google’s April 2024 decision to

“lean into Gemini as the default assistant” and “push for standardization of key OEM contract[s]

asap” to include Gemini App preinstallation); PXR0267* at -167 (Microsoft “will need to bring

large [dollars] to make up for [Samsung’s] lost revenue from Google” if it wants Samsung to

preinstall Copilot instead of the Gemini App.); PXR0267* at -177 (Microsoft dropped its Copilot

preinstallation plan with Samsung after Samsung said Copilot preinstallation would violate

Google’s RSA.).



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       296.    One deal framework Google considered was the Android Commercial Incentive

Agreement (“ACIA”), which combined preinstallation and exclusivity of Search, Chrome, and

GenAI products, including the Gemini App, in exchange for revenue share payments. Rem.

Tr. 321:10–18 (Fitzgerald (Google)) (Google was interested in exploring “a strategic, more

comprehensive Gemini deal” spanning multiple areas with Samsung.); Rem. Tr. 324:5–7

(Fitzgerald (Google)) (Google was considering the a new RSA framework referred to as the

ACIA); Rem. Tr. 329:18–330:11 (Fitzgerald (Google)) (Google was evaluating conditioning

partner revenue share payments on the combination of Search, Chrome, and Gemini App

requirements.); Rem. Tr. 334:19–335:6 (Fitzgerald (Google)) (As part of the ACIA, Google

contemplated requirements related to Search, Chrome, and Gemini before partners received

revenue share payments.); PXR0272* at -247, -371 (July 2024 internal Google Business Council

agenda stating that the “ACIA will better suit current market context . . . replacing RSA and

GTM/Chowa, which is scheduled to expire in September”); PXR0280 at -935, -942, -944, -004;

PXR0272* at -478–79.

       297.    As part of the ACIA, Google contemplated including Circle to Search and AICore

as requirements for revenue share payments. Rem. Tr. 337:1–5, 337:14–17 (Fitzgerald

(Google)); PXR0280 at -943, -945, -004.

       298.    Google recognized in June 2024 that inclusion of Gemini in the MADA/RSA may

be challenged, so Google may have to spend $ B-$      B to secure Gemini on Android. Des. Rem.

Tr. 89:21–92:18 (Pancholi (Google) Dep.) (explaining that PXR0150 was prepared to present a

Gemini distribution strategy to the K&I and Platforms and Devices teams); PXR0150 at -406;

PXR0067* at -595 (discussing Google’s April 2024 decision to “lean into Gemini as the default

assistant” on mobile devices, with “all resources focusing on making Gemini successful”);



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PXR0202* at -062 (“Google may need to spend $ B-$        B(      ) to secure Gemini on

Android.” (emphasis omitted)).

       299.    Google never entered into any ACIA agreements with US distribution partners,

even without Gemini, due to this Court’s decision. Rem. Tr. 343:19–344:3 (Fitzgerald (Google))

(Google decided to pause the ACIA in early Aug. 2024.); Rem. Tr. (Fitzgerald (Google))

344:21–345:3 (Google has put the ACIA “on pause.”); PXR0165 at -302 (Sept. 2024 Google

document discussing Google’s decision to put the ACIA on pause in Aug. 2024); PXR0165

at -302 (Sept. 2024 Google document stating that Google “still believe[s] in the principles behind

[the ACIA] framework”).

       300.    To scale Gemini App reach, Google strategized to establish standalone deals with

Samsung and other OEMs, including Assistant upgrades to Gemini, strategic partnerships, and

“dedicated OS-level contextual entry points.” Des. Rem. Tr. 110:2–113:11 (Pancholi (Google)

Dep.) (discussing OS-level entry points, including LPP and the hotword); Des. Rem. Tr. 89:21–

92:18 (Pancholi (Google) Dep.) (explaining that PXR0150 was prepared to present a Gemini

distribution strategy to the K&I and Platforms and Devices teams); Des. Rem. Tr. 174:3–7,

174:9–10 (Kim (Samsung) Dep.) (Samsung executive recognizing that LPP is an “easy way for

[the] consumer to find the generative AI service”); PXR0150 at -412, -416; PXR0150 at -406;

PXR0067* at -595 (discussing Google’s April 2024 decision to “lean into Gemini as the default

assistant” on mobile devices and “push for standardization of key OEM contract[s] asap” to

include Gemini App preinstallation while retiring Google Assistant); PXR0271* at -312–13

(June 2024 email to Samsung proposing discussions around Gemini experiences including the

Floaty, placement on the -1 Screen, and an integrated Gemini AI widget); PXR0276* at -981–83




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(Aug. 2024 email to Samsung proposing Gemini terms that include implementation of Gemini

widgets, Gemini placement, and default status).

       301.    Google considered LPP access, the Hotword, and placement of the Gemini App

and widget on the home screen as “key levers” to negotiate with partners. Des. Rem. Tr. 115:25–

116:14, 118:15–119:11, 121:14–123:14, 89:21–92:18 (Pancholi (Google) Dep.) (explaining that

PXR0150 was prepared to present a Gemini distribution strategy to the K&I and Platforms and

Devices teams); Des. Rem. Tr. 164:11–23 (Kim (Samsung) Dep.) (recognizing that the

Samsung-Gemini deal benefits Google by helping Google understand how users engage with

Gemini through different access points); Des. Rem. Tr. 174:3–7, 174:9–10 (Kim (Samsung)

Dep.) (Samsung executive recognizing that LPP is an “easy way for [the] consumer to find the

generative AI service”); PXR0150 at -419.

       302.    Google planned for carriers, not just OEMs, to remain important for Gemini App

distribution through the ACIA. Des. Rem. Tr. 142:19–144:10 (Pancholi (Google) Dep.)

(providing foundation for PXR0143); PXR0143 at -806 (June 2024 Google email exchange

observing that “carriers will remain important as part of the Gemini distribution strategy”).

       303.    During this period, Google also began to pursue separate standalone Gemini App

deals with carriers that required placing the Gemini App on the default home screen of Android

devices. Des. Rem. Tr. 154:10–155:25 (Pancholi (Google) Dep.) (providing foundation for

PXR0154); PXR0154 at -103 (June 2024 Google email exchange in which Google was “[a]sking

VZ to preload Gemini app on Android devices in instances where Google has not already aligned

on such a deal with the OEM(s)”); PXR0275* at -309.

       304.    Google sought to leverage other distribution deals, including Search, to offer

Samsung a comprehensive deal package and beat out other GenAI competitors. Des. Rem.



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Tr. 139:22–140:5, 204:1–205:1, 205:4–6 (Kim (Samsung) Dep.) (discussing how Samsung

viewed the financial impact across multiple deals with Google in parallel); PXR0125 at -448

(Mar. 2024 Google email acknowledging that Samsung was seeking a more “comprehensive

Gemini deal between the companies”); PXR0278 at -097, -099, -106 (Sept. 2024 Google

presentation reviewing potential Samsung deal package spanning Search and Gemini); PXR0278

at -106 (Sept. 2024 Google presentation in which Google recognizes that Samsung has gotten

other deal offers from GenAI competitors); PXR0278 at -117 (Sept. 2024 Google presentation

showing a Samsung-Gemini deal operating loss of $2.8B over three years); PXR0267* at -167

(describing how Microsoft would “need to bring large [dollars] to make up for [Samsung’s] lost

revenue from Google” if Microsoft wanted Samsung to preinstall Copilot).

       305.    Beginning on January 1, 2025, Google entered into a three-year agreement with

Samsung, including a one-year extension option, to implement Gemini App experiences on

Samsung devices. Rem. Tr. 245:14–246:4, 246:22–247:1 (Fitzgerald (Google)); PXR0571

at -363–64.

       306.    Samsung only receives payments on “Gemini Qualified Devices,” which must

meet preinstallation, placement, default, and usage requirements. Rem. Tr. 247:13–16, 251:4–9,

254:9–17 (Fitzgerald (Google)); Des. Rem. Tr. 173:7–9, 173:12 (Kim (Samsung) Dep.)

(agreeing that the more devices on which Samsung preinstalls Gemini, the more money Samsung

receives); PXR0571 at -368–69, -384–85 (§ 2.3, Attachment A).

       307.    To qualify a device as a Gemini Qualified Device, Samsung must preinstall the

Gemini App and place it in the App Tray, either in alphabetical order or next to the Play Store

icon. Rem. Tr. 255:9–18 (Fitzgerald (Google)); Des. Rem. Tr. 173:7–9, 173:12 (Kim (Samsung)




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Dep.) (agreeing that the more devices on which Samsung preinstalls Gemini, the more money

Samsung receives); PXR0571 at -389 (Attachment B).

       308.   To qualify a device as a Gemini Qualified Device, Samsung must set the LPP

action and the Hotword to invoke the Gemini App by default and allow Google to choose other

entry point offerings during device setup. Rem. Tr. 248:9–13, 254:18–255:5, 255:21–256:4

(Fitzgerald (Google)); PXR0571 at -368–69, -389 (§ § 2.3(a), 2.3 (c)(i), Attachment B).

       309.   Samsung must also install AICore and Gemini Nano to qualify a device as a

Gemini Qualified Device. Rem. Tr. 248:20–23 (Fitzgerald (Google)); Des. Rem. Tr. 161:3–5,

161:8–162:3 (Kim (Samsung) Dep.) (acknowledging the Gemini deal as encompassing Nano as

an “on-device solution”); PXR0571 at -369 (§ 2.3(d)).

       310.   Google’s Gemini Agreement payments to Samsung include fixed, revenue share,

and bounty payments. Rem. Tr. 250:21–24, 251:14–17, 252:19–22, 253:8–11 (Fitzgerald

(Google)); PXR0571 at -384–85 (Attachment A).

       311.   Samsung receives up to $     million a month in fixed payments if Samsung’s

Gemini Qualified Devices meet certain Gemini App usage levels, or “Key Performance

Indicators” (“KPIs”). Rem. Tr. 250:21–251:12 (Fitzgerald (Google)); PXR0571 at -384–87

(Attachments A, A-1).

       312.   Google’s fixed monthly payments to Samsung could go down “if certain KPIs

weren’t met.” Rem. Tr. 251:4–9 (Fitzgerald (Google)); PXR0571 at -384–85 (Attachment A).

       313.   Samsung also receives a bounty payment, up to $         per device for premium

devices sold in the United States, for activation of Gemini Qualified Devices. Rem. Tr. 251:14–

252:9 (Fitzgerald (Google)); PXR0571 at -388 (Attachment A-2).




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        314.      Samsung receives    % of Net Gemini Ad Revenue and Net Gemini Subscription

Revenue per month. Rem. Tr. 252:19–25 (Fitzgerald (Google)); PXR0571 at -364–65, -367,

-384–85 (§ § 1.9, 1.19, 1.22, 1.39–1.40, 1.46–1.48, 1.50, Attachment A).

        315.      Net Gemini Ad Revenue is defined as    % of all ad revenue generated on Gemini

Qualified Devices. PXR0571 at -364–65, -367 (§ § 1.9, 1.19, 1.39).

        316.      Net Gemini Subscription Revenue is defined as    % of all subscription revenue

generated on Gemini Qualified Devices. PXR0571 at -364–65, -367 (§ § 1.9, 1.40, 1.50).

        317.      Google also established Gemini agreements with Motorola. In June 2024, Google

entered into an agreement with Motorola to preload and place the Gemini App on the Default

Home Screen on certain devices. Rem. Tr. 259:14–16, 261:11–14 (Fitzgerald (Google));

PXR0535 at -067–68 (§ 2.2).

        318.      In exchange for Motorola’s preload and placement of the Gemini App, Google

agrees to pay Motorola a bounty for Gemini App subscriptions. PXR0535 at -067–67, -069–70

(§ § 2.2, 4.1).

        319.      Motorola and Google separately signed a $           marketing agreement in

June 2024 to promote Google services, including the Gemini App. Des. Rem. Tr. 43:11–44:21

(Laflamme (Motorola) Dep.); PXR0537*.

        320.      The June 2024 marketing agreement with Motorola placed restrictions on

Motorola, requiring the OEM to only promote Google assets, predominately Gemini. Des. Rem.

Tr. 45:4–10, 45:13–46:20 (Laflamme (Motorola) Dep.); PXR0537* at -280.

        321.      Except for narrow exceptions, Motorola could not use the funds to market non-

Google assistive services, namely Gemini, pursuant to the June 2024 marketing agreement. Des.

Rem. Tr. 46:21–47:1, 47:5–48:5 (Laflamme (Motorola) Dep.); PXR0537* at -280.



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       322.    The June 2024 Gemini marketing agreement with Motorola was the only

marketing agreement at the time. Des. Rem. Tr. 48:15–21 (Laflamme (Motorola) Dep.).

       323.    The goal of the June 2024 Gemini marketing agreement with Motorola was to

bring Motorola closer to where the OEM sought to be with revenue share payments. Des. Rem.

Tr. 49:16–20, 50:1–6 (Laflamme (Motorola) Dep.).

       324.    Motorola and Google signed a new Gemini funding agreement around the same

time as the February 2025 RSA extension. Des. Rem. Tr. 71:6–72:1 (Laflamme (Motorola)

Dep.); PXR0543.

       325.    Google and Motorola’s February 2025 Gemini Funding Agreement allocates

marketing funds specifically to Gemini related activities. Des. Rem. Tr. 72:9–73:3 (Laflamme

(Motorola) Dep.); PXR0543.

       326.    The Gemini App, Google’s GenAI product, now comes preinstalled on all U.S.

Samsung devices. Rem. Tr. 633:8–23 (Hsiao (Google)); Des. Rem. Tr. 156:6–10, 156:13–20,

156:23–25 (Kim (Samsung) Dep.); PXR0067* at -595 (discussing Google’s decision to “push

for standardization of key OEM contract[s] asap” to include Gemini App preinstallation).

       327.    The Gemini App comes preinstalled on new Pixel devices and some qualifying

Motorola Android devices. Rem. Tr. 633:8–18 (Hsiao (Google)); PXR0535 at -067–68;

PXR0067* at -595 (discussing Google’s decision to “push for standardization of key OEM

contract[s] asap” to include Gemini App preinstallation).

       328.    Google CEO Sundar Pichai would like to execute more Gemini distribution

agreements. Rem. Tr. 2495:5–10 (Pichai (Google)).

       329.    While Google secured Gemini distribution on Motorola and Samsung, Google left

partner RSAs provisions in place that prevented alternative assistive services, only waiving those



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requirements in the week leading up to trial. Rem. Tr. 369:3–10 (Fitzgerald (Google)) (Google

sent letters that changed partners obligations to Motorola, Verizon, and AT&T one week before

trial.); Des. Rem. Tr. 47:3–48:14 (                Dep.) (         was concerned that the RSA

prohibited Perplexity as an alternative assistant service, and did not want to put itself in the

position of breaching the RSA.); Des. Rem. Tr. 67:18–68:23 (Beard (Microsoft) Dep.) (Google

prohibited Motorola from pursuing a Copilot default carveout under their RSA.); Des. Rem.

Tr. 248:12–249:8 (Beard (Microsoft) Dep.) (discussing Microsoft’s understanding that Motorola

sought permission from Google to enter into a Copilot distribution agreement with Microsoft but

was told doing so would violate Google’s RSA); Des. Rem. Tr. 252:8–253:15 (Beard (Microsoft)

Dep.) (describing Microsoft’s understanding that Google provided Motorola with financial

incentives to cancel a planned Copilot distribution deal); Des. Rem. Tr. 64:5–65:19 (Laflamme

(Motorola) Dep.) (Motorola pushed for the Feb. 2025 RSA extension to remove ambiguity

around whether partners like             or Perplexity would be excluded by earlier RSA

agreements.); PXR0571 at -363 (Samsung-Gemini Commercial Agreement with effective date of

Jan. 1, 2025); PXR0535 at -064 (Motorola-AI Premium Agreement with a launch date of June

25, 2024); PXR0606* at -035–36 (Apr. 16, 2025 Google letter to AT&T waiving RSA assistant

requirements); PXR0607* at -037–38 (Apr. 16, 2025 Google letter to Motorola waiving RSA

assistant requirements); PXR0609* at -073–74 (Apr. 17, 2025 Google letter to Verizon waiving

RSA assistant requirements).

       330.    Google has actively intervened to stop rivals from distributing GenAI products on

mobile devices. Des. Rem. Tr. 66:11–67:5, 67:18–68:23 (Beard (Microsoft) Dep.) (Motorola

wanted to pursue a Copilot distribution carveout agreement with Microsoft, but Google

prohibited the carveout.); Des. Rem. Tr. 109:15–110:7, 251:21–253:15 (Beard (Microsoft) Dep.)



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(                , Motorola,           ,       , and         were all interested in a Copilot deal with

Microsoft, but the deals fell through in part due to Google’s intervention.); Des. Rem.

Tr. 248:12–249:8 (Beard (Microsoft) Dep.) (discussing Microsoft’s understanding that Motorola

sought permission from Google to enter into a Copilot distribution agreement with Microsoft but

was told doing so would violate Google’s RSA); Des. Rem. Tr. 252:8–253:15 (Beard (Microsoft)

Dep.) (describing Microsoft’s understanding that Google provided Motorola with financial

incentives to cancel a planned Copilot distribution deal); PXR0156 at -424 (Before Motorola and

Microsoft could finalize a Copilot mobile integration deal, “Google ultimately intervened with a

significant financial offer and Motorola cancelled the Razr [Copilot] integrations.”).

          331.      The “economic arrangement” between Google and Samsung makes it difficult for

rival AI apps to get distribution on Samsung devices. Des. Rep. Tr. 37:2–12 (

30(b)(6) Dep.) (               is in preliminary conversations for distribution on Samsung devices but

believes there is a low probability of success.); Des. Rep. Tr. 43:14–44:6 (                 30(b)(6)

Dep.) (             understands that the “economic arrangement” between Google and Samsung is

an impediment to a deal with Samsung.); PXR0267* at -167 (For Microsoft to get Copilot

distribution on Samsung devices, Microsoft “will need to bring large [dollars] to make up for

[Samsung’s] lost revenue from Google.”); PXR0267* at -177 (Microsoft dropped its Copilot

preinstallation plan with Samsung after Samsung said Copilot preinstallation would violate

Google’s RSA.).

          332.      OpenAI concluded it had no hope of distributing on Android, leading it to take a

                    with Apple that resulted in

distribution. Des. Rem. Tr. 23:11–24:20 (OpenAI-NT 30(b)(6) Dep.) (“[T]he thing we were

existentially worried about is being locked out of Google, being locked out of Apple, which is



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why we entered the deal with Apple, which is                        . . . . [E]veryone’s using their

distribution to lock us out.”); Des. Rem. Tr. 26:24–27:7 (OpenAI-NT 30(b)(6) Dep.) (OpenAI

merely received “the ability to distribute using Siri” in Apple deal).

       333.     Fears of being locked out from distribution led OpenAI to accept

      to gain                distribution through Apple. Des. Rep. Tr. 23:11–24:20 (OpenAI-NT

30(b)(6) Dep.) (OpenAI’s deal with Apple is                        ); Des. Rep. Tr. 30:3–31:3

(OpenAI-NT 30(b)(6) Dep.) (OpenAI projected that it would

through its Apple deal but did the deal because                     ); Des. Rep. Tr. 78:10–79:14

(OpenAI-NT 30(b)(6) Dep.) (Under OpenAI’s deal with Apple,                                         );

Des. Rep. Tr. 27:8–16 (OpenAI-NT 30(b)(6) Dep.) (OpenAI’s deal with Apple is                           );

Des. Rep. Tr. 75:11–76:9 (OpenAI-NT 30(b)(6) Dep.) (If Google could block OpenAI from

being the default AI on both Apple and Android, it would make it “very, very difficult for

[OpenAI] to distribute [its] product”); Des. Rep. Tr. 23:11–24:20 (OpenAI-NT 30(b)(6) Dep.)

(OpenAI entered their deal with Apple because it was “existentially worried about being locked

out by Google”).

       334.     Today, the vast majority of ChatGPT’s distribution remains on OpenAI’s own

owned surfaces (e.g., the ChatGPT.com) despite interest in other distribution channels. Rem.

Tr. 467:10–17, 472:19–473:15 (Turley (OpenAI)).

       335.     According to Mr. Turley of OpenAI, when it comes to distribution, “the amount

of friction that you have in getting to [the] product is very, very important” which impacts the

quality of ChatGPT because “the more people use [ChatGPT], especially for niche things, the

more we’re able to improve [it].” Rem. Tr. 463:14–465:14 (Turley (OpenAI)).




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          336.   The Perplexity app provides assistive services on Android devices. Rem.

Tr. 708:7–15, 710:9–711:5 (Shevelenko (Perplexity)) (in response to the Court asking what it

means to be the “default assistant” on Android).

          337.   After going through an onerous process on Android, users can change the default

assistant from Gemini to Perplexity, which allows Perplexity further capabilities on the Android

device. Rem. Tr. 708:16–710:08 (Shevelenko (Perplexity)).

          338.   Setting Perplexity as the default assistant grants Perplexity further Android device

permissions, such as accessing and instructing other apps to complete tasks. Rem. Tr. 708:16–

710:08 (Shevelenko (Perplexity)).

          339.   Perplexity has had limited success convincing           distributors, who are

beholden to Google, to distribute Perplexity. Rem. Tr. 716:6–8 (Shevelenko (Perplexity))

(Perplexity has not reached a deal with U.S. carriers including            ,          , and        .);

Rem. Tr. 712:24–714:5 (Shevelenko (Perplexity)) (Perplexity is neither the default search engine

nor assistant on            or                    devices.); Rem. Tr. 714:10–24 (Shevelenko

(Perplexity)) (Perplexity has not been able to reach a deal with           .); PXR0805 (Rosetta

Stone listing OEMs and carriers).

          340.          sought to negotiate distribution deals with Perplexity, but did not want to

put themselves in a position of breaching the RSA. Des. Rem. Tr. 47:3–48:14 (

Dep.) (          was concerned that the RSA prohibited Perplexity as an alternative assistant

service, and did not want to put itself in the position of breaching the RSA.).

          341.   While investors have shown interest in Perplexity, Perplexity has had to turn

away some investments due to its inability to secure distribution. PXR0120* at -410 (Dec. 2023

internal Perplexity email stating in response to an investment inquiry that “[w]hile we aren’t



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proactively raising capital, if we can develop a game-changing distribution partnership we’d be

open to an equity investment.”).

       342.    Even where Perplexity has reached a deal with Motorola, due to contractual

constraints with Google and despite interest from both parties, Perplexity is merely preloaded as

an application on the second screen and not set as the default assistant. Rem. Tr. 717:14–718:2

(Shevelenko (Perplexity)) (Perplexity will come preloaded on some new Motorola devices.);

Rem. Tr. 718:3–16 (Shevelenko (Perplexity)) (Perplexity and Motorola sought to make

Perplexity the default assistant, but could not due to Motorola’s obligations with Google.); Rem.

Tr. 718:17–719:18 (Shevelenko (Perplexity)) (Perplexity will only be preloaded on the second

screen, despite wanting placement on the default home screen, and is not accessible via

Hotword.); Rem. Tr. 719:3–721:5 (Shevelenko (Perplexity)) (Perplexity does not have access to

a Hotword, while Google’s Gemini does, which makes Perplexity harder to use.); PXR0805

(Rosetta Stone listing OEMs and carriers); Rem. Tr. 749:21–750:7 (Shevelenko (Perplexity))

(any of the distribution progress Perplexity has made is because of this trial and the fact that it

has made distributors more willing to have conversations with rivals).

       3.      Payment Prohibitions Unlock The Ecosystem

                       a)      Payment Prohibitions Allow For Rivals To Win Defaults And
                               Begin Building Competitive Products

       343.    Google’s payments to distributors significantly contributed to barriers to entry and

distribution that have helped maintain its monopolies and will continue to do so unless addressed

by the remedy. As the Court found in its opinion, Google’s “payments ‘provide an incredibly

strong incentive for the ecosystem to not do anything” and “their ‘net effect . . . [is to] basically

freeze the ecosystem in place[.]’” Mem. Op. 201–02.




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       344.    Plaintiffs’ proposed bans on payment for distribution are an important first step to

opening the door to an actual contest among Google’s general search competitors to become the

default. Rem. Tr. 812:23–814:21 (Weinberg (DuckDuckGo)) (“[P]referential payments and . . .

revenue share agreements are the root cause of Google’s distribution advantage . . . .”); Rem.

Tr. 816:3–21 (Weinberg (DuckDuckGo)) (“[I]f you just have revenue shares but you still have

preferential payments . . . to make the default or otherwise have payments that are flowing, you

get to the same point because you can work around one and use the other to end up with the same

financial incentives.”); Rem. Tr. 817:8–25 (Weinberg (DuckDuckGo)) (If Google is allowed to

make any payments, it will lead to the same incentives as paying for defaults today.); Rem.

Tr. 726:6–727:8 (Shevelenko (Perplexity)) (Perplexity cannot simply replace Google’s revenue

because of Google’s size and will need time to get up to the scale to replace payments.); Rem.

Tr. 818:15–24 (Weinberg (DuckDuckGo)) (Section IV.A ban on payments for non-Apple third

parties is a necessary, though not sufficient, part of the solution to the distribution problem.);

Rem. Tr. 819:7–24 (Weinberg (DuckDuckGo)) (Section IV.B ban on payments to Apple is part

of the solution to the distribution problem.); Rem. Tr. 821:11–19 (Weinberg (DuckDuckGo))

(Section IV.E is “another key piece” to restore competition.); Des. Rem. Tr. 105:16–106:2

(Beard (Microsoft) Dep.) (explaining that distribution without default placement “isn’t enough to

have user adoption.”).

       345.    Without distribution, rival search engines and nascent GenAI competitors cannot

build the necessary userbase to compete. Rem. Tr. 463:14–464:11 (Turley (OpenAI)) (describing

distribution as “existential” for OpenAI); Rem. Tr. 1015:20–1016:8 (Schechter (Microsoft));

Des. Rem. Tr. 46:24–15, 51:3–21 (Beard (Microsoft) Dep.) (discussing need to invest in Copilot

distribution—through, e.g., a            distribution deal codenamed                 —to get enough



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user engagement for Copilot to be a success); Des. Rep. Tr. 23:11–24:20 (OpenAI-NT 30(b)(6)

Dep.) (OpenAI entered their deal with Apple because it was “existentially worried about . . .

being locked out of Google.”).

       346.    The payment bans in Plaintiffs’ proposed remedies would likely cause many

distributors to shift their defaults away from Google because rivals could pay for defaults but

Google couldn’t. Rem. Tr. 2141:2–15 (Chipty (Pls. Expert)).

       347.    The payment bans in Plaintiffs’ proposed remedies would create competition

among rivals for the defaults. Rem. Tr. 2141:2–15 (Chipty (Pls. Expert)).

       348.    Section IV payment bans may induce third parties likes Apple, independent

browsers, and OEMs to enter GSE market; split defaults, institute choice screens, or make

switching easier. Rem. Tr. 819:7–820:5 (Weinberg (DuckDuckGo)).

       349.    If rivals were to win defaults, they’d have access to scale. And over time, they

would be able to make investments to improve search quality and create greater competitive

rivalry against Google and also against each other. Rem. Tr. 2141:16–22 (Chipty (Pls. Expert)).

       350.    Given the importance of defaults, particularly on mobile, winning a default would

start to close the scale gap and give competitors the ability to improve search quality. Rem.

Tr. 711:9–712:1 (Shevelenko (Perplexity)) (Setting Perplexity as the default would drive future

growth, including in usage.); Rem. Tr. 464:15–465:14 (Turley (OpenAI)) (more distribution

would help OpenAI improve both its core GenAI Products and its search functionality

specifically); Rem. Tr. 1015:20–1016:8 (Schechter (Microsoft)) (Without mobile defaults,

Microsoft is in a “vicious cycle” of not getting the users and data it needs to close the scale gap.);

Rem. Tr. 175:11–176:10 (Durrett (Pls. Expert)) (Today, Google receives 19 times the number of

mobile queries as all rivals combined.).



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       351.    Having default placement would allow a competitor to win some users from

Google. Rem. Tr. 711:9–712:2 (Shevelenko (Perplexity)) (If Perplexity is set as the default, it

allows them to acquire more users.); Rem. Tr. 819:7–24 (Weinberg (DuckDuckGo))

(Section IV.B. payment ban may induce Apple to set other GSEs as default, especially in

different modes.); Rem. Tr. 820:7–821:3 (Weinberg (DuckDuckGo)) (Sections IV.A–B payment

ban may result in different default winners.); Rem. Tr. 1018:17–1019:3, 1020:4–22 (Schechter

(Microsoft)) (With more distribution, Bing could gain users and improve its quality.); Des. Rem.

Tr. 105:16–106:2 (Beard (Microsoft) Dep.) (explaining that mobile user engagement is not just

about distribution).

       352.    Dr. Chipty calculated that Plaintiffs’ proposed distribution remedies, including

payment bans and the Chrome divestiture, would potentially shift on the order of 38 percentage

points of market share from Google to rival search engines, leaving Google with a market share

on the order of 51 percent. This calculation assumes Google would lose its defaults and would

recover a portion of queries based on historical clawback rates. Rem. Tr. 2138:15–2140:6

(Chipty (Pls. Expert)). The vast majority of the 38 percentage-point shift would come from

mobile. Rem. Tr. 2156:7–16 (Chipty (Pls. Expert)). This share shift also does not account for any

increase in rivals’ quality resulting from the data and syndication remedies. Rem. Tr. 2140:7–17

(Chipty (Pls. Expert)).

       353.    Of those 38 percentage points of potential share shift, 31 percentage points are a

result of the payment bans. Rem. Tr. 2142:4–12 (Chipty (Pls. Expert)).

       354.    Of those 31 percentage points of potential share shift due to payment bans, 18

percentage points are from Apple devices, 13 percentage points are from Android devices, and




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less than one percentage point is from third-party browsers. Rem. Tr. 2142:13–19 (Chipty (Pls.

Expert)).

       355.       This potential share shift calculation is not meant to be the day-one prediction

because there might be distributors who decide on day one to keep Google because Google is

better and they may not want to disrupt their user experience. Rem. Tr. 2144:12–2146:16 (Chipty

(Pls. Expert)).

       356.       The payment bans would increase the business case for entry because potential

entrants would no longer have to overcome Google’s revenue share payments. Rem.

Tr. 2141:23–2142:3 (Chipty (Pls. Expert)).

       357.       Payment bans may induce Apple and Mozilla to enter GSE market. Rem.

Tr. 820:7–821:3 (Weinberg (DuckDuckGo)).

                         b)      Payment Prohibitions Give Partners Flexibility And
                                 Negotiating Power

       358.       Android carriers and OEMs prefer differentiation and giving consumers many

different choices that fit their needs, specifically in search and GenAI. Des. Rem. Tr. 45:2–46:14

(Ezell (AT&T) Dep.) (AT&T wants to give its consumers choices across multiple products.);

Des. Rem. Tr. 53:16–54:2 (Ezell (AT&T) Dep.) (Differentiation of applications and services is

important to AT&T.); Des. Rem. Tr. 55:20–56:19 (Ezell (AT&T) Dep.) (AT&T finds freedom to

choose AI and search services important.); Des. Rem. Tr. 70:13–71:9 (Ezell (AT&T) Dep.)

(AT&T would like flexibility in selecting the default AI.); Des. Rem. Tr. 79:20–80:1 (Ezell

(AT&T) Dep.) (AT&T would like to have flexibility to work with different AI service providers

and LLMs.); Des. Rem. Tr. 66:11–67:5, 67:18–68:23 (Beard (Microsoft) Dep.) (Motorola

wanted to preinstall Copilot on a subset of its devices, but Google prohibited the RSA carveout.);

Des. Rem. Tr. 109:14–110:7, 251:21–253:15 (Beard (Microsoft) Dep.) (                    , Motorola,


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         ,       , and          were all interested in a Copilot deal with Microsoft, but the deals

fell through in part due to Google’s intervention.); Des. Rem. Tr. 25:18–21, 26:3–21 (Laflamme

(Motorola) Dep.) (explaining that Motorola wants flexibility with AI partners to optimize the

consumer experience and Motorola’s financials); Rem. Tr. 52:8–53:10 (Laflamme (Motorola)

Dep.) (Motorola was pushing for assistive service and search engine flexibility in January 2025

RSA negotiations.); Des. Rem. Tr. 114:19–117:1 (Laflamme (Motorola) Dep.) (Motorola

recognized a market interest in having differentiation from Apple and Google, and GenAI was a

good opportunity to provide that differentiation.); Des. Rem. Tr. 96:12–23, 100:20–101:11 (Kim

(Samsung) Dep.) (explaining that Samsung did not want an exclusive AI service); PXR0137

at -170 (“The market is keen on a differentiated solution from iOS and Google.”).

       359.    Carriers and OEMs cannot develop third-party relationships when Google has

complete control over the Android ecosystem. Des. Rem. Tr. 52:2–53:15 (Ezell (AT&T) Dep.)

(Allowing third-party applications on an Android device is a negotiation process and if the OS

provider defines the experience, there is no way to differentiate.); Des. Rem. Tr. 57:15–58:9

(Ezell (AT&T) Dep.) (AT&T finds Google very hard to negotiate with, and that Google

essentially has a framework that AT&T must follow.); Des. Rem. Tr. 66:11–67:5, 67:18–21,

67:23–68:23 (Beard (Microsoft) Dep.) (Motorola wanted to pursue a Copilot distribution

carveout agreement with Microsoft, but Google prohibited the carveout.); Des. Rem. Tr. 109:15–

110:7, 251:21–253:15 (Beard (Microsoft) Dep.) (              , Motorola,            ,       , and

        were all interested in a Copilot deal with Microsoft, but the deals fell through in part due

to Google’s intervention.); Des. Rem. Tr. 248:12–249:8 (Beard (Microsoft) Dep.) (discussing

Microsoft’s understanding that Motorola sought permission from Google to enter into a Copilot

distribution agreement with Microsoft but was told doing so would violate Google’s RSA); Des.



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Rem. Tr. 121:22–122:7, 122:10–13, 122:15–18, 133:4–7, 133:10–15 (Laflamme (Motorola)

Dep.) (Google’s control of the mobile Android ecosystem means that Motorola does not have “a

viable option to recoup what [it] receive[s] from Google today” because Motorola does not “have

much leverage to negotiate against [Google].”); PXR0258 at -112–13 (AT&T discussing how

opening up the Android ecosystem could increase AT&T influence over third-party search and

AI experiences on devices); PXR0138 at -590 (observing Google’s “stronghold” on the mobile

ecosystem in the context of Motorola negotiating with Microsoft); PXR0156 at -424 (Before

Motorola and Microsoft could finalize a Copilot integration deal, “Google ultimately intervened

with a significant financial offer and Motorola cancelled the Razr [Copilot] integrations.”).

       360.    Motorola specifically had been seeking more flexibility in its RSA that would not

limit search engine and assistive service partnerships, stating that Motorola had to “make

absolutely sure that nothing forces us to have Gemini as the default assistant.” Des. Rem.

Tr. 53:21–55:10 (Laflamme (Motorola) Dep.); Des. Rem. Tr. 64:5–65:19 (Laflamme (Motorola)

Dep.) (discussing Motorola pushing for specific carveouts for GenAI apps in the Feb. 2025 RSA

amendment); PXR0136 at -894; PXR0541 at -196.

       361.    Motorola recognizes that if there were more viable general search competitors in

the market, then Motorola would have more leverage in RSA negotiations with Google when

asking for larger payments. Des. Rem. Tr. 68:17–19, 68:22–69:8, 69:12–14 (Laflamme

(Motorola) Dep.) (Motorola signed an underpaying RSA because they had no other option but

would have had more leverage were there more options available.).

       362.    Motorola has explored AI partnerships with multiple companies, due to Google’s

lower revenue share payments and for purposes of providing user choice. Des. Rem. Tr. 29:6–

30:3 (Laflamme (Motorola) Dep.); Des. Rem. Tr. 95:12–98:11 (Laflamme (Motorola) Dep.)



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(Motorola has explored assistant service experiences with Microsoft and Perplexity.); Des. Rem.

Tr. 132:3–10 (Laflamme (Motorola) Dep.) (Motorola has internally discussed reaching out to

         but has not connected with them.).

       363.    Google’s                              Motorola over the years have been

than those made to other partners, which Motorola has raised with Google. Des. Rem. Tr. 29:6–

30:3, 36:7–37:5, 38:10–13 (Laflamme (Motorola) Dep.).

       364.    Based on Motorola’s internal analysis, Motorola does not get revenue share

payments for devices sold through carriers. Des. Rem. Tr. 31:4–16 (Laflamme (Motorola) Dep.).

       365.    Google’s                                      Motorola emphasizes partners’ need

for multiple search and GenAI providers. Des. Rem. Tr. 29:6–30:3 (Laflamme (Motorola) Dep.)

(explaining that Motorola wants multiple GenAI partners to supplement Google’s

                        ).

       366.    Google has reduced its dollar payments to Verizon under the RSA. Des. Rem.

Tr. 65:20–66:22, 67:1–5, 68:3–5 (Boulben (Verizon) Dep.) (discussing PXR0129 at -638).

       367.    Mozilla’s CFO thinks it is undesirable to be reliant on one company—Google—

for 85% of Mozilla’s revenue. Rem. Tr. 3164:3–6, 3165:4–9 (Muhlheim (Mozilla)).

       368.    Mozilla’s Steering Committee told Mozilla’s Board that it was important to

diversify revenue to be less reliant on Google, but that effort was progressing slower than

Mozilla’s CFO had hoped. Rem. Tr. 3167:6–3169:19 (Muhlheim (Mozilla)) (discussing

PXR0254 at -601).

       369.    Mozilla has spent “an awful lot of time looking at” what effect it would have on

Mozilla if Mozilla could no longer receive revenue share payments or other consideration from




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Google in exchange for setting Google Search as the default in Firefox in the United States.

Rem. Tr. 3134:12–19 (Muhlheim (Mozilla)).

        370.    Payment prohibitions also unlock the ecosystem for advertising competitors.

Exclusive placement arrangements with publishers impede adMarketplace’s ability to improve

its AMP Results product by impeding its ability to distribute ads. Rem. Tr. 1792:2–11 (Epstein

(adMarketplace)).

        371.    Google’s exclusive control of search access points and queries prevents

adMarketplace from competing for those queries. Rem. Tr. 1797:8–1798:7 (Epstein

(adMarketplace)) (“So the more that . . . Google has control of the search input box, which is

really . . . to me the publishers’ . . . property, then it makes it difficult for us to compete and to do

anything in that search input box and get access to these queries. So that’s why a lot of our

business is now on AMP Find, where we’re around the box, because we can’t always get into the

box.”), 1798:14–1799:17 (THE COURT: . . . So with respect to the Results product . . . some

number of publishers have made deals with Google that when a user enters a query, the query

goes to Google as opposed to somebody, a company like your own? THE WITNESS: To Google

and only Google. . . . I don’t mind competing with Google for who has the highest paying ad or

the most relevant ad. I’m sure there’s a lot of other firms that can compete on who has the best

search result or whatever else. But it’s an all-or-nothing deal.”).

        372.    Google’s proposed distribution remedies are likely to maintain the status quo.

Rem. Tr. 2179:10–2180:19, 2315:3–19 (Chipty (Pls. Expert)).

        373.    Google’s proposed distribution remedies allow Google to pay for defaults, which

will impede rivals’ ability to access users in the short term. Des. Rem. Tr. 105:16–106:2 (Beard




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(Microsoft) Dep.) (explaining that mobile user engagement depends on default placement, not

just distribution); Rem. Tr. 2179:19–2180:19, 2315:3–19 (Chipty (Pls. Expert)).

        374.   Google’s proposed remedies do not unlock search access points that Google

secured through its historical exclusionary agreements. Rem. Tr. 2179:19–2180:19 (Chipty (Pls.

Expert)).

        375.   As Google’s economic expert Professor Kevin Murphy agrees, if Google is

allowed to pay for defaults, as Google’s remedies would permit, “Google likely, in the very short

run, and probably in the medium-to-longer run is going to outbid because they have better

monetization and a better product.” Rem. Tr. 4325:23–4328:16 (Murphy (Def. Expert)).

        376.   If Google is allowed to offer unconditional revenue share, then it is “the likely

outcome” that distributors will continue setting Google Search as the default. Rem. Tr. 4367:19–

4369:17 (Murphy (Def. Expert)).

        377.   Google’s proposed remedies will take much longer to promote competition

because rivals would still have to compete with Google being able to pay—with its “enormous

monetization advantages”—for defaults. Rem. Tr. 2180:20–2181:10 (Chipty (Pls. Expert)).

        378.   One-year exclusive distribution agreements would continue to deny rivals access

to the user data needed to increase the incentives for rivals to innovate and invest. Rem.

Tr. 2183:10–2184:6 (Chipty (Pls. Expert)).

        379.   Limiting distribution exclusives to one year does not address the competition

concern. Rem. Tr. 2183:10–2184:6 (Chipty (Pls. Expert)).

   D.       Preferential Treatment And Payments To Apple Prohibited

               1.      Apple Continues To Rely On Google For Search And Other Services

        380.   Rather than building out Apple’s own search capabilities, Apple continues to rely

upon Google to prop up its search products and capabilities. Des. Rem. Tr. 212:25–214:15 (Fox

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(Google) Dep.) (discussing using Search for long-tail queries in Apple’s Spotlight); PXR0274

at -368–71.

       381.    Google continues to further plan Search integrations into Apple’s devices. Des.

Rem. Tr. 216:21–220:12 (Fox (Google) Dep.) (discussing integrating Search suggestions into the

Safari suggestion box to increase revenue); PXR0274 at -235–37, 350, -360–61 (July 2024

Google email and presentation discussing new and continuing ways to integrate Search into

Apple devices); PXR0274 at -372–75 (Apple could increase revenue by integrating Search

suggestions into the Safari search bar over Apple’s suggestions.).

       382.    In early 2024, Google and Apple discussed integrating Gemini into Apple

Intelligence. Des. Rem. Tr. 129:18–130:8 (Fox (Google) Dep.); Rem. Tr. 3838:17–3839:18 (Cue

(Apple)) (Apple evaluated a deal with Google to incorporate Gemini into Apple Intelligence.);

PXR0257 at -948 (Google proposed terms for Gemini deal with Apple.); PXR0088 at -029–31

(Apple proposed terms for Gemini deal with Google); PXR0115* at -267–68, -271–73 (internal

Google slide deck describing proposed terms of a Gemini-Apple integration deal).

       383.    In April 2024, Google explored Gemini App integrations with Apple that

                        , including default status and    % revenue share payments. Des. Rem.

Tr. 195:8–197:14 (providing foundation for PXR0273), 209:312, 209:20–210:6 (Pancholi

(Google) Dep.); PXR0273 at -141–42 (Apr. 2024 Google term sheet discussion with Apple that

includes Gemini as the default); PXR0273 at -146 (Apr. 2024 Google term sheet discussion with

Apple in which Apple requested     % Gemini revenue share and Google countered with       % net

revenue share and tapering subscription revenue share).

       384.    Google CEO Sundar Pichai and Apple CEO Tim Cook discussed a Gemini App

distribution agreement during a couple calls in 2024. Their respective teams at Google and Apple



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were working through the details at that time. Rem. Tr. 2495:11–2496:8 (Pichai (Google));

PXR0115* at -266–74 (internal Google slide deck describing negotiations with Apple for

Gemini App distribution and deeper Gemini-Apple integration).

         385.   Google has forecasted that a Gemini-Apple integration generates

                          . Des. Rem. Tr. 238:16–240:1 (Fox (Google) Dep.); PXR0149 at -501–

02.

         386.   Google forecasted a gross positive profit margin of                         Des.

Rem. Tr. 243:19–22, 243:24–25 (Fox (Google) Dep.); PXR0149 at -501–02.

         387.   While Google points to ChatGPT “winning” the AI competition with Apple,

today, Google is negotiating a Gemini integration with Apple. Des. Rem. Tr. 188:22–190:22

(Pancholi (Google) Dep.)) (On Feb. 5, 2025, Apple approached Google to begin discussions

about a Gemini integration.); Des. Rem. Tr. 191:15–192:25 (Pancholi (Google) Dep.)) (Google

and Apple’s February 5, 2025 meeting included key stakeholders from both sides.); Des. Rem.

Tr. 216:15–20 (Pancholi (Google) Dep.)) (Feb. 5, 2025 is when Apple reengaged Google about a

Gemini integration.); Des. Rem. Tr. 44:18–45:17 (Fox (Google) Dep.) (Google was interested in

an OpenAI type integration with Apple.); Des. Rem. Tr. 130:9–16 (Fox (Google) Dep.) (Apple

and Google continue to discuss integrations as of Feb. 2025); Des. Rem. Tr. 227:21–23, 228:1–

229:15, 229:18–24 (Fox (Google) Dep.); Rem. Tr. 3853:7–25 (Cue (Apple)) (Apple is still

discussing Gemini integrations.).

         388.   Apple signed a GenAI distribution agreement with ChatGPT, but Mr. Cook

informed Mr. Pichai that Apple plans to expand GenAI distribution to other providers this year.

Rem. Tr. 2496:9–18 (Pichai (Google)).




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       389.   Google CEO Sundar Pichai is hoping to execute a Gemini distribution agreement

with Apple to power Apple intelligence by mid-2025. Rem. Tr. 2496:19–22 (Pichai (Google)).

       390.   As of February 2025, Google was holding weekly technical meetings with Apple

to design a Gemini integration. Des. Rem. Tr. 193:1–14 (Pancholi (Google) Dep.)) (As of Feb. 7,

2025, Google and Apple were holding weekly technical meetings.); Des. Rem. Tr. 188:22–

190:22 (Pancholi (Google) Dep.)) (On Feb. 5, 2025, Apple approached Google to begin

discussions about a Gemini integration.); Des. Rem. Tr. 216:15–217:23 (Pancholi (Google)

Dep.)) (Apple wanted to quickly engage with Google in Feb. 2025 to build an integration for the

Fall 2025 Apple devices.); PXR0115* at -266–69, -271–74 (describing technical discussions and

negotiations between Google and Apple regarding Gemini-Apple integration).

       391.   Google has considered integrating visual Search, including Lens and Circle to

Search, with Apple devices. PXR0274 at -362–67.

       392.   Google has also expanded its ISA agreement with Apple, amending the agreement

to include the emerging Google Search technology, Google Lens. Des. Rem. Tr. 225:19–227:3,

227:12–15, 240:16–21 (Pancholi (Google) Dep.); Rem. Tr. 3823:11–3825:2 (Cue (Apple));

PXR0151 at -291.

       393.   Google and Apple’s Lens addendum provides users with the ability to access

Search through the camera on Apple products. Des. Rem. Tr. 237:16–238:22 (Pancholi (Google)

Dep.) (explaining that Lens users on Apple can access Google Search results through the camera

app); PXR0151 at -293.

       394.   Any revenue generated through the Google Lens experience on Apple devices is

                                                   . Des. Rem. Tr. 238:23–239:17 (Pancholi




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(Google) Dep.) (explaining that any revenue generated through the Lens addendum is

                      ); PXR0151 at -293.

       2.      Prohibiting Payments Opens Up A Major Distribution Channel And
               Incentivizes Apple To Enter

       395.    Google’s revenue share payments disincentivize Apple from entering the general

search market. Rem. Tr. 3825:7–3829:2 (Cue (Apple)) (Apple’s SVP of Services “can’t say [he]

would disagree” that “it was a disincentive for us to do a search engine based on the payments

that we were receiving from Google”); Rem. Tr. 3825:7–3829:2 (Cue (Apple)) (If a competitor

like Apple could build a search engine of Google’s quality “it would be great to do that from a

financial point of view”).

       396.    Cutting off all search-related payments from Google to Apple would strongly

alter Apple’s incentives. Rem. Tr. 3825:7–3829:2 (Cue (Apple)) (Apple’s SVP of Services

“can’t say [he] would disagree” that “it was a disincentive for us to do a search engine based on

the payments that we were receiving from Google”); Des. Rem. Tr. 26:13–27:7, 30:11–31:3

(OpenAI-NT 30(b)(6) Dep.) (OpenAI agreed to                          Apple deal because they

were                                              by a Google-Apple AI partnership.).

       397.    Moreover, eliminating the revenue share between Google and Apple would give

Apple a much stronger incentive to enter the market for general search services. Rem.

Tr. 3825:7–3829:2 (Cue (Apple)) (Apple’s SVP of Services “can’t say [he] would disagree” that

“it was a disincentive for us to do a search engine based on the payments that we were receiving

from Google”); Rem. Tr. 2141:2–15 (Chipty (Pls. Expert)); Rem. Tr. 819:7–24 (Weinberg

(DuckDuckGo)) (It’s hard to predict but Apple could enter search themselves.); Rem. Tr. 820:7–

821:3 (Weinberg (DuckDuckGo)) (The monetization gap may induce Apple to enter the GSE

market.).


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       398.    Owning a search engine of Google’s quality would be a financial boon to Apple.

Rem. Tr. 3825:7–3829:2 (Cue (Apple)) (If a competitor like Apple could build a search engine

of Google’s quality “it would be great to do that from a financial point of view”).

       399.    Apple has been investing in building search infrastructure. Rem. Tr. 3852:7–

3853:1 (Cue (Apple)) (Apple continues to make search-related investments, to work on search-

related projects, and to index the web).

       400.    Apple currently uses its own searching capability in limited ways on its devices.

Rem. Tr. 3852:14–23 (Cue (Apple)) (Apple invests in its own capabilities for Siri and Spotlight).

       401.    When considering its options, the revenue share Apple receives from Google

strongly affected Apple’s decision to remain with Google as the default on Safari. Rem.

Tr. 3825:7–3829:2 (Cue (Apple)) (Apple’s SVP of Services “can’t say [he] would disagree” that

“it was a disincentive for us to do a search engine based on the payments that we were receiving

from Google”).

       402.    Because Google could not pay Apple for the default or for showing a choice

screen, Apple would be incentivized to replace Google as the default on Safari, potentially with a

new GenAI search service that Apple has been “actively looking at.” Rem. Tr. 3833:23–3836:13

(Cue (Apple)) (Apple is “actively looking at” adding an AI provider as a search choice in Safari);

Rem. Tr. 2144:12–2146:16 (Chipty (Pls. Expert)) (discussing how payment bans and the data

and syndication remedies would allow rivals to earn defaults with Apple).

       403.    Apple is open to changing or modifying the default on Safari. Rem. Tr. 3825:7–

3829:2 (Cue (Apple)) (Apple likes having competition and other search providers); Rem.

Tr. 3825:7–3829:2 (Cue (Apple)) (The combination of LLMs and search indices could be a

revolutionary technology that unseats Google’s share); Rem. Tr. 3833:23–3836:13 (Cue (Apple))



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(Apple is “actively looking at” adding an AI provider as a search choice in Safari); Rem.

Tr. 3833:23–3836:13 (Cue (Apple)) (Apple expects to add AI chatbots into the search engine

choice in Safari over the coming year).

       404.    Section IV.B. ban on default placement for Apple may induce Apple to institute

choice screens. Rem. Tr. 819:7–820:5 (Weinberg (DuckDuckGo)) (Apple could make a choice

screen.).

       405.    Section IV.B. ban on default placement for Apple may induce Apple to make

switching the search default easier. Rem. Tr. 819:7–820:5 (Weinberg (DuckDuckGo)) (Apple

could make switching GSEs defaults easier.).

       406.    Even new GenAI companies, such as Perplexity, could not reach an agreement

with        to be placed even as an optional secondary default on       . Rem. Tr. 716:9–717:8

(Shevelenko (Perplexity)); PXR0805 (Perplexity Rosetta Stone listing OEMs and carriers).

       407.    Apple has “no choice” but to set Google as the default search provider today.

Rem. Tr. 3825:7–3829:2 (Cue (Apple)) (As the market currently stands, Apple “do[es not] really

have a choice today” apart from Google).

       408.    Apple’s devices are an important distribution channel, with Safari being a widely

used browser in the United States and by far the most important search access point on Apple

devices. Mem. Op. at 102–03.

       409.    Google recognizes the importance of accessing Apple users, and has pushed for

Apple to keep users signed into Google on the Safari browser to increase revenue. Des. Rem.

Tr. 221:4–22 (Fox (Google) Dep.); PXR0274 at -376–78.

       410.    Under OpenAI’s deal with Apple, OpenAI

                       distribution. Des. Rep. Tr. 29:9–16, 30:3–31:3 (OpenAI-NT 30(b)(6)



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Dep.) (OpenAI projected that it would                                through its Apple deal);

Des. Rep. Tr. 75:11–76:7, 76:9 (OpenAI-NT 30(b)(6) Dep.) (If Google could block OpenAI

from being the default AI on both Apple and Android, it would make it “very, very difficult for

[OpenAI] to distribute [its] product”).

        411.   Google’s proposed remedies would allow Google to continue paying Apple for

defaults. Rem. Tr. 2480:16–18 (Pichai (Google)); Rem. Tr. 4366:22–4367:7 (Murphy (Def.

Expert)). Google’s proposed remedies allow Google to pay Apple, which would discourage

Apple from either entering or sponsoring an entrant. Rem. Tr. 2179:19–2180:19 (Chipty (Pls.

Expert)) (“[U]nder Google’s proposals, they would still be able to pay Apple, and that would

[dis]courage entry by Apple or Apple sponsoring entry.”).

        412.   Google’s carve-out of Apple privacy mode in its distribution remedies proposal is

too narrow because it does not allow for other modes that might exist in the future. Rem.

Tr. 2182:1–2183:2 (Chipty (Pls. Expert)).

   E.      Exclusionary Agreements With Publishers Prohibited

        413.   Google has structured its publisher agreements in ways that prevent nascent rivals

from accessing important web content. Rem. Tr. 423:9–15 (Turley (OpenAI)) (Accessing content

silos available to Google is “very important” as OpenAI builds its own search index.); Rem.

Tr. 462:6–11 (Turley (OpenAI)) (discussing formal contractual restrictions by Google).

        414.   Although publishers can technically opt out of being crawled by Google, that

would be “economically prohibitive” for most content providers because they receive the

majority of their traffic from Google. Des. Rep. Tr. 84:13–25 (OpenAI-NT 30(b)(6) Dep.)

(Although publishers can technically opt out of being crawled by Google, that would be

“economically prohibitive” for most content providers because they receive the majority of their

traffic from Google); PXR0169* at -816 (The “value exchange is well established” for
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publishers giving Google Search access to their content, such that the “vast majority [of

publishers] do not [opt out] because [Google] send[s] valuable traffic” to websites.).

        415.     Google has an advantage in accessing third-party content through its long-

standing position as the world’s leading search engine provider. Des. Rep. Tr. 83:16–73:24

(OpenAI-NT 30(b)(6) Dep.); PXR0169* at -816 (The “value exchange is well established” for

publishers giving Google Search access to their content, such that the “vast majority [of

publishers] do not [opt out] because [Google] send[s] valuable traffic” to websites.).

   F.      Conditional Access And Retaliation Prohibited

        416.     Under the MADA, Google conditioned its “must have” Play Store on the

exclusive distribution of the Google Search App, the Google Search Widget, and Chrome. Mem.

Op. at 210–12.

        417.     Plaintiffs’ proposed remedies prohibit Google from using these same tactics going

forward, including with new “must have” offerings and in response to cutting-edge technologies.

Rem. Tr. 726:6–21 (Shevelenko (Perplexity)) (stating “if you use one Google product, you have

to use all of them”); Rem. Tr. 807:16–808:10 (Shevelenko (Perplexity)) (explaining in response

to the Court’s question that banning default status payments and preventing Google from

conditioning certain products is the solution to allowing choice on Android).

        418.     OEMs view marketing agreements and the RSA agreements to blend together and

that the marketing agreements are a bridge to the RSA. Des. Rem. Tr. 79:14–16, 79:18–80:21

(Laflamme (Motorola) Dep.); Des. Rem. Tr. 139:22–140:5, 204:1–205:1, 205:4–6 (Kim

(Samsung) Dep.) (discussing how Samsung viewed the financial impact across multiple deals

with Google in parallel).




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       419.    Google looks broadly across its deals with Verizon, including the RSA, the

marketing agreement, and others to manage Google’s overall investment in Verizon. Des. Rem.

Tr. 103:8–11, 103:13–106:2 (Boulben (Verizon) Dep.) (discussing PXR0133).

       420.    Android partners recognize the array of assets under Google’s control that Google

could leverage to retaliate against Android partners to dictate agreements with third-parties. Des.

Rem. Tr. 108:14–110:15 (Laflamme (Motorola) Dep.) (Motorola feared retaliation from Google

on multiple fronts if Motorola was to strike a deal with another partner.); Des. Rem. Tr. 169:9–

170:14, 191:9–192:2, 192:5–17 (Laflamme (Motorola) Dep.) (Motorola feared losing marketing

funds because Motorola is required to get Google’s approval before executing a marketing

plan.); Des. Rem. Tr. 139:22–140:5, 204:1–205:1, 205:4–6 (Kim (Samsung) Dep.) (discussing

how Samsung viewed the financial impact across multiple deals with Google in parallel).

       421.    To the extent there is retaliation or even a fear of retaliation, distributors would be

more likely to set Google as the default. Des. Rem. Tr. 108:14–110:15 (Laflamme (Motorola)

Dep.) (Motorola feared retaliation from Google on multiple fronts if Motorola was to strike a

deal with another partner.); Des. Rem. Tr. 169:9–170:14, 191:9–192:2, 192:5–17 (Laflamme

(Motorola) Dep.) (Motorola feared losing marketing funds because Motorola is required to get

Google’s approval before executing a marketing plan.); Rem. Tr. 2185:7–12 (Chipty (Pls.

Expert)) (“[T]o the extent there is or even fear of retaliation, that would just increase the chances

that distributors would set Google as the default.”); PXR0139 at -177 (“We indicated that we

need . . . [c]ommitment from MSFT that they would back us up (as we would be very exposed to

retaliation [from Google]) . . . .”). Rem. Tr. 723:7–21 (Shevelenko (Perplexity)) (explaining how

Google operates “like a mob boss” with regards to mobile OEMs and carriers); Rem. Tr. 726:6–

21 (Shevelenko (Perplexity)) (explaining an appropriate remedy from Perplexity’s view noting



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the if “you have to default to Google ones, you have a gun to your head”); Rem. Tr. 727:9–23

(Shevelenko (Perplexity)) (explaining that Perplexity “feared retribution from Google” if it

participated in this litigation).

        422.    Even where Google doesn’t place specific restrictions on marketing agreements,

the requirement for Motorola to get permission from Google before executing a marketing

program has chilled Motorola’s willingness to partner for other on-device products and services.

Des. Rem. Tr. 169:9–170:14 (Laflamme (Motorola) Dep.) (Motorola feared losing marketing

funds if because Motorola is required to get Google’s approval before executing a marketing

plan.); Des. Rem. Tr. 191:9–192:2, 192:5–17 (Laflamme (Motorola) Dep.) (Motorola fears

placing a       search widget, even if technically allowed, because it could impact Motorola’s

relationship with Google in other areas, including marketing agreements.).

        423.    Motorola explored a Copilot agreement with Microsoft but had to abandon a

partnership in part because of the uncertainty it would create with Google’s MADA and RSA

agreements and Microsoft’s inability to make Motorola whole on any lost payments. Des. Rem.

Tr. 101:13–104:20, 108:4–109:15 (Laflamme (Motorola) Dep.); PXR0139 at -177 (Microsoft

would have to provide something comparable to Google’s RSA).

        424.    Motorola feared that Google would retaliate if Motorola partnered with Microsoft

on a Copilot deal. Des. Rem. Tr. 108:14–110:15 (Laflamme (Motorola) Dep.); PXR0139 at -177

(“We indicated that we need . . . [c]ommitment from MSFT that they would back us up (as we

would be very exposed to retaliation [from Google].”).

        425.    OpenAI understands that its ability to obtain distribution on Android devices has

been impacted by Google because, in part, Google “always has more leverage over” Android

ecosystem participants due to revenue and other “tie-ins to the Google ecosystem,” i.e., “Google



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offers many things,” including the Android operating system, the Play Store, and Search. Rem.

Tr. 474:18–475:5 (Turley (OpenAI)).

   G.      Revenue Share Payments Prohibited

        426.   If given the opportunity to continue payments, Google will leverage its dominant

position and partners’ limited negotiating strength to continue controlling defaults on search

access points. Rem. Tr. 2315:3–19 (Chipty (Pls. Expert)) (explaining that allowing Google to

continue to pay for defaults will maintain the “status quo”); Rem. Tr. 2180:20–2181:10 (Chipty

(Pls. Expert)) (explaining how Google’s huge monetization advantages will lead to winning

defaults); Rem. Tr. 726:6–727:8 Shevelenko (Perplexity)) (Perplexity cannot simply replace

Google’s revenue because of Google’s size and will need some time to get up to the scale to

replace payments.); Rem. Tr. 807:7–13 Shevelenko (Perplexity)) (explaining that a remedy

should not have a loophole); Rem. Tr. 807:16–808:10 Shevelenko (Perplexity)) (explaining in

response to the Court’s question that banning default status payments and preventing Google

from conditioning certain products is the solution to allowing choice on Android); Des. Rem.

Tr. 57:15–58:9 (Ezell (AT&T) Dep.) (AT&T has been subjected to Google’s deal framework

and has had “limited negotiating power” in discussions.); Des. Rem. Tr. 66:11–67:5, 67:18–21,

67:23–68:23 (Beard (Microsoft) Dep.) (explaining that Motorola wanted to pursue a Copilot

carveout deal with Microsoft but the deal fell through because Google would not permit a

carveout if Motorola wanted to keep Google’s revenue sharing.); Des. Rem. Tr. 252:8–253:15

(Beard (Microsoft) Dep.) (describing Microsoft’s understanding that Google provided Motorola

with financial incentives to cancel a planned Copilot distribution deal); Des Rem. Tr. 133:4–7,

133:10–15, 69:6–8, 69:12–14 (Laflamme (Motorola) Dep.) (Motorola does not have much

leverage to negotiate against Google).



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       427.    If Google revenue share payments remain, carriers and OEMs have the incentive

to only replace Google Search where competitors can offer similar levels of revenue. Rem.

Tr. 2180:20–2181:10 (Chipty (Pls. Expert)) (explaining how Google’s huge monetization

advantages will lead to winning defaults); Rem. Tr. 726:6–727:8 (Shevelenko (Perplexity))

(explaining that, due to Google’s monetization advantage, it will take a long time for any

challenger to “directly replace [Google] dollar for dollar”); Rem. Tr. 806:3–15 (Shevelenko

(Perplexity)) (Carriers and OEMs have revenue dependency); Des. Rem. Tr. 117:14–119:22

(              Dep.) (        requested payments for a Microsoft Copilot deal that were

directionally consistent with Google’s revenue share payments, were they to lose those

payments.); Des. Rem. Tr. 107:8–109:15 (Laflamme (Motorola) Dep.) (agreeing during

discussion of PXR0139 at -177 that Motorola indicated to Microsoft that Motorola needed a deal

“comparable to what Motorola gets with Google”); PXR0139 at -177.

       428.    Google will have a monetization advantage over entrants. Rem. Tr. 4325:23–

4328:16 (Murphy (Def. Expert)) (“Google will have an -- over those entrants a monetization

advantage.”); Rem. Tr. 472:19–473:15 (Turley (Open AI)) (OpenAI was under the impression

that its distribution discussions with Android OEMs stalled because the OEMs believed OpenAI

could not pay them as much money as Google, telling OpenAI it would need “significantly more

money to offer and that [OpenAI] couldn’t compete on any other grounds”).

       429.    In the medium to longer run, Google is likely to outbid rivals because it has better

monetization and a better product. Rem. Tr. 4325:23–4328:16 (Murphy (Def. Expert)) (“So I

think Google likely, in the very short run, and probably in the medium-to-longer run is going to

outbid because they have better monetization and a better product.”).




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        430.   Google’s proposed remedies allow it to pay distributors an unconditional revenue

share, which will likely result in Google being set as the default, replicating the outcome in the

actual world. Rem. Tr. 4367:19–4369:17 (Murphy (Def. Expert)) (Describing how paying an

“unconditional revenue share” could result in Google being set as the default and admitting that

“I [Professor. Murphy] think that is the likely outcome.”).

        431.   Google’s revenue share payments also incentivize carriers and OEMs to partner

with Google on GenAI distribution, limiting AI competitors’ negotiating strength. Rem.

Tr. 726:6–727:8 Shevelenko (Perplexity)) (Perplexity cannot simply replace Google’s revenue

because of Google’s size and will need some time to get up to the scale to replace Google’s

payments.); Des. Rem. Tr. 26:13–27:7, 30:11–31:3 (OpenAI-NT 30(b)(6) Dep.) (OpenAI agreed

to                     Apple deal because they were

by a Google-Apple AI partnership.).

        432.   Unless Google is banned from making revenue share payments, OEMs and

carriers will not have a true choice of offering alternative search and GenAI products. Rem.

Tr. 807:7–13 (Shevelenko (Perplexity)) (Banning revenue share payments gives OEMs and

carriers a true choice to offer alternative products.); Rem. Tr. 807:16–808:10 (Shevelenko

(Perplexity)) (explaining in response to the Court’s question that banning default status payments

and preventing Google from conditioning certain products is the solution to allowing choice on

Android); Rem. Tr. 726:6–727:8 (Shevelenko (Perplexity)) (Perplexity cannot simply replace

Google’s revenue because of Google’s size and will need some time to get up to the scale to

replace payments.); Rem. Tr. 2315:3–19 (Chipty (Pls. Expert)) (explaining that allowing Google

to continue to pay for defaults will maintain the “status quo”); Rem. Tr. 2180:20–2181:10

(Chipty (Pls. Expert)) (explaining how Google’s huge monetization advantages will lead to



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winning defaults); Des. Rem. Tr. 66:11–67:5, 67:18–21, 67:23–68:23 (Beard (Microsoft) Dep.)

(Motorola wanted to preinstall Copilot as a default on a subset of its devices, but Google

threatened to stop all revenue share payments.); Des. Rem. Tr. 252:8–253:15 (Beard (Microsoft)

Dep.) (describing Microsoft’s understanding that Google provided Motorola with financial

incentives to cancel a planned Copilot distribution deal); Des. Rem. Tr. 29:6–30:3 (Laflamme

(Motorola) Dep.) (When seeking GenAI partners, Motorola has considered Google revenue share

payments as a baseline to either replace or supplement with partner agreements.).

        433.   “True freedom” on Android devices means preventing Google from making

payments to be the default. Rem. Tr. 806:3–15, 806:25–808:10 (Shevelenko (Perplexity)).

        434.   Google’s proposed remedy of merely removing exclusivity from distribution

agreements does not fix the harm created by Google’s conduct. Rem. Tr. 2315:3–19 (Chipty (Pls.

Expert)) (explaining that allowing Google to continue to pay for defaults will maintain the

“status quo”); Rem. Tr. 792:13–793:8 (Shevelenko (Perplexity)) (Perplexity does not see

Google’s proposed remedy unlocking user choice.).

        435.   Google’s agreement with Samsung requires Samsung to implement a number of

Gemini entry points to receive revenue share. Rem. Tr. 2495:1–4 (Pichai (Google)).

   H.      Permitted Payments And Other Means For Google To Compete

        436.   Even without the ability to pay for defaults, Google can compete for users. Rem.

Tr. 2159:16–2160:9 (Chipty (Pls. Expert)) (Google can use app store ads and promotional

reminders in other Google properties, such as Gmail and YouTube, to promote downloading

Google Search app, pay users to search on Google.com, innovate to encourage use of Google

Search, and encourage distributors to set Google as the default without payment).




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        437.   Even if Google isn’t the default, users can access Google Search. Rem.

Tr. 2158:3–20 (Chipty (Pls. Expert)) (users can download Google Search app, search on

Google.com, and change the default.).

        438.   Under Plaintiffs’ remedies, Google still has various ways to pay for users. Rem.

Tr. 2158:3–2160:18 (Chipty (Pls. Expert)).

        439.   Google can still compete by continuing to market and advertise Google Search,

by paying users directly for Search engagement, and by continuing to innovate Search. Rem.

Tr. 2159:16–2160:18 (Chipty (Pls. Expert)).

        440.   Microsoft and Brave offer rewards programs that reward consumers for searches

and activity in adjacent markets. Rem. Tr. 4360:22–4361:16 (Murphy (Def. Expert)); Rem.

Tr. 2160:10–20 (Chipty (Pls. Expert)) (explaining that there is precedent for direct-to-consumer

incentives or payments both in the general search market and in adjacent markets).

        441.   Today, Ecosia encourages users to search by planting trees in exchange for user

engagement. Rem. Tr. 4362:12–19 (Murphy (Def. Expert)).

        442.   Google also may, and likely would, continue to innovate to attract users to Search.

Rem. Tr. 2160:21–23 (Chipty (Pls. Expert)) (Under Plaintiffs’ remedies, Google would continue

to innovate and has historically innovated in competitive markets.).

        443.   Google may also continue to make payments unrelated to Search. Google’s

payments to Verizon that are not related to search, including the MFA or MSI, offer direct

promotion contribution to Verizon supporting the Android ecosystem; payments related to search

are not required to support Android. Des. Rem. Tr. 118:1–120:23 (Boulben (Verizon) Dep.).

   I.      Prior Notification Of Acquisitions And Investments

        444.   Plaintiffs’ acquisition and investment notification requirements do not impose a

burden on the GenAI market, because, as Google’s own economic expert opines, GenAI firms
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are highly competitive and well-funded by non-Google entities. Rem. Tr. 4048:17–4049:20 (Hitt

(Def. Expert)) (“[T]here seems to be a lot of money floating around in AI.”).

           445.    Innovation in the GenAI space is also reliant on more than just capital

investments; GenAI firms require data, talent, and computing power, which are all readily

available to competitors. Rem. Tr. 4027:13–4028:22 (Hitt (Def. Expert)) (discussing ways for

competitors to access data generally and observing that “[b]ottom line on all these . . . things is

that all these sources are generally available to anybody building an AI model, and they

generally tend to be nonexclusive.”); Rem. Tr. 4019:19–4020:20 (Hitt (Def. Expert)) (“This high

mobility of talent means that talent is available in the market.”); Rem. Tr. 4020:23–4023:6 (Hitt

(Def. Expert)) (There’s “an active entry and progress . . . [s]o it’s competitive in that sense”

within the computing chip space and “there are many providers of cloud computing services.”).

           446.    Google already holds the lead in search-related GenAI and has expressed an

interest in further integrating GenAI into Google Search. Rem. Tr. 3622:25–3623:19 (Reid

(Google)) (AI Overviews is more accurate than other LLMs.); Rem. Tr. 3631:4–3632:15 (Reid

(Google)) (Google finds it important to combine the superpowers of an LLM and Search to make

the best Search experience.).

VI.        PROHIBITION ON FORECLOSING OR OTHERWISE EXCLUDING GSE AND
           SEARCH TEXT AD COMPETITORS THROUGH OWNERSHIP OR CONTROL
           OF RELATED PRODUCTS

      A.        Chrome Divestiture Could Further Lower Barriers To Distribution

           1.      Browsers Are An Important Distribution Channel For General Search
                   Services

           447.    Chrome is an important distribution channel for online services, including search.

Rem. Tr. 1603:7–10 (Tabriz (Google)) (confirming a significant number of Google Search

queries start from Chrome home screen and noting the omnibox is one of Chrome’s most popular


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features); Rem. Tr. 1603:14–20 (Tabriz (Google)) (stating that the Chrome Omnibox is an

integrated experience for navigating the web and conducting queries); Rem. Tr. 1612:8–20

(Tabriz (Google)) (“search is a critical functionality of a browser”); Rem. Tr. 728:9–19

(Shevelenko) (Perplexity)) (In Perplexity’s view, Chrome is a valuable distribution channel

because of its “millions and millions” of users.); Rem. Tr. 825:7–15 (Weinberg (DuckDuckGo))

(Chrome is “the gateway for the Internet for most people.”); Rem. Tr. 821:20–822:15 (Weinberg

(DuckDuckGo)) (“Chrome is the dominant browser.”); Rem. Tr. 2153:10–14 (Chipty (Pls.

Expert)) (Chrome “most widely used U.S. browser in the last ten years”); Rem. Tr. 2153:10–21

(Chipty (Pls. Expert)) (“on mobile, Chrome has accounted for about 40 percent of U.S. web

traffic”); Rem. Tr. 2152:22–2153:9 (Chipty (Pls. Expert)) (In 2024, 35 percent of Google’s U.S.

queries came from Chrome.); PXR0196* at -846 (“Chrome and [the Android Google Search

App] are by far the major entry points to Search” on Android devices.); PXR0218* at -543

(Chrome is a “key distribution channel for Search and assistive technologies”); Rem. Tr. 1602:4–

14 (Tabriz (Google)) (confirming Google Search has been the default in Chrome for over 10

years).

          448.   The Court previously found that “20% of all general search queries in the United

States flow through user-downloaded Chrome, which defaults to Google” Mem. Op. at 25 (citing

Liab. Tr. at 5762:22–5763:13 (Whinston (Pls. Expert)) (discussing UPXD104 at 37)). Dr. Chipty

calculates that nearly 40% of US web traffic flows through Chrome. Rem. Tr. 2153:10–21

(Chipty (Pls. Expert)).

          449.   Google describes Chrome as a “gateway to the web loved by billions” and a

“critical endpoint for Google across all modern devices” that drives value by expanding

Google’s reach, preventing disintermediation, and serving as a “key distribution channel” for



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both Search and AI technologies. PXR0218* at -542–43 (describing Google’s Chrome

investment thesis); PXR0209* at -580 (Chrome Platform slide deck, with comments dated June

2024, listing as one of its strengths that it’s “Suitable for AI: Web technologies align well with

AI/agents”); PXR0212* at -608 (Platforms & Ecosystems 2022 annual planning deck stating

“Chrome serves as a critical endpoint for Google businesses on all modern Desktop and Mobile

OS”); PXR0206 at -505 (explaining the “tangible value Chrome is delivering” for Search,

YouTube, Ads, among other Google products).

       450.    Google recognizes that Chrome is a “key distribution channel for Search and

assistive technologies, including the Gemini app.” PXR0218* at -543; PXR0351* at -281

(“Gemini distribution with both users and developers as Chrome is uniquely positioned to

accelerate both model and app adoption.”); PXR0217* at -157 (Chrome 2025 planning document

stating Chrome is a “critical Gemini distribution channel”).

       451.    Google built Chrome from the “ground up” to facilitate the use of Google web

applications. Rem. Tr. 2466:23–2467:21 (Pichai (Google)) (describing Google’s development of

Chrome as a way to support dynamic web applications); PXR0241* at -033 (Pichai describing

that “Google Chrome was a browser we built from the ground up within Google” because “the

web was evolving from just being like web pages with content to actually being an application . .

. like Gmail, Google Maps, Flickr”).

       452.    Google recognizes the power that Chrome has over users’ experiences, describing

it as Google’s virtual operating system. PXR0219* at -151; PXR0220 at -200 (“Chrome is

Google’s ‘OS’ for desktop web”); PXR0218* at -542 (Chrome is an “OS atop OS” with “unique

cross-platform reach”).




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       453.    Search and GenAI companies would have interest in distributing through an

independent Chrome. Rem. Tr. 728:9–19 (Shevelenko (Perplexity)) (Perplexity would have

interest in partnering with an independent Chrome.); Rem. Tr. 476:23–479:4 (Turley (OpenAI))

(describing OpenAI’s interest in both greater distribution and the potential for a deeper AI

integration into Chrome); Rem. Tr. 1996:9–20 (Locala (Pls. Expert)) (opining potential buyers

could view Chrome as a distribution platform for AI services).

       454.    Web browsers are a valuable distribution path for search engines because most

queries happen within the browser search bar. Rem. Tr. 1250:10–14 (Provost (Yahoo));

PXR0081* at -264 (noting that during research regarding Yahoo’s need for a browser, “the

strategic value of a browser in aiding nearly every Yahoo product to compete going forward

became very clear.”). About 60% of queries are conducted in a web browser. Rem. Tr. 1250:25–

1251:3 (Provost (Yahoo)).

       2.      A Chrome Divestiture Would Likely Allow A Rival General Search Firm To
               Gain Access To An Efficient Distribution Channel

       455.    Chrome divestiture would “lower distribution barriers,” because rivals would be

able to compete for the Chrome default, something that has “not been historically possible. Rem.

Tr. 2153:22–2154:10 (Chipty (Pls. Expert)).

       456.    Because of the incentives created by rivals’ ability to pay for default status, if

Chrome is divested, a rival is likely to become the new default on Chrome, especially once there

is a good alternative to Google. Rem. Tr. 2291:2–14 (Chipty (Pls. Expert)); Rem. Tr. 2153:22–

2154:10 (Chipty (Pls. Expert)).

       457.    A Chrome divestiture would shift search market share to a Google general search

competitor. Rem. Tr. 2154:11–2155:7 (Chipty (Pls. Expert)) (Dr. Chipty calculated a “7 percent

share shift from Google to rivals[] from user-downloaded Chrome” and some share shift from


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“Android[‘s] 13 percent” share if new owner could obtain pre-installation for Chrome on

Android). About half of this share shift would occur on mobile. Rem. Tr. 2156:7–15 (Chipty

(Pls. Expert)).

       458.       Yahoo projects that if it acquired Chrome and set Yahoo as the default browser,

that it would increase Yahoo’s general search market share from 3% to double digits, which

would be a significant increase for Yahoo. Rem. Tr. 1253:3–17 (Provost (Yahoo)). Yahoo

projects that if it acquired Chrome, query volume and search quality would increase. Rem.

Tr. 1254:11–19 (Provost (Yahoo)).

       3.         Chrome Is A Significant Barrier To Entry

       459.       Google is set as the default search engine on 92% of Windows Chrome browsers,

95% of Mac Chrome browsers, 98% of Android Chrome browsers, and more than 99% of iOS

Chrome browsers. PXR0224* at -712 (cataloguing share of Chrome browsers with Google as

default search engine).

       460.       Chrome is hostile to Google’s general search competitors when users try to switch

defaults. Rem. Tr. 821:20–822:15 (Weinberg (DuckDuckGo)) (In a fair market it would be easy

to switch search engines.).

       461.       Chrome uses “dark patterns” to prevent switching to a competing general search

engine. Rem. Tr. 821:20–824:1 (Weinberg (DuckDuckGo)) (Chrome’s pop-ups and dark

patterns cut DDG’s install rate by half.).

       462.       Google uses Chrome to promote access to Google products, including Search, and

to prevent disintermediation of Google Search by operating system providers. PXR0218* at -542

(Google describes Chrome as a “critical endpoint” that drives value by expanding Google’s

reach and preventing disintermediation.); PXR0350* at -191 (“Chrome is a key entry point for

Search”). Google recognizes the importance of Chrome as a tool to maintain Search share if
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Google loses default status on other search access points. PXR0350* at -191 n.1 (noting that “in

today’s world (where most Safari queries come to Google), there’s lower incremental value from

users on iGA/Chrome” but that if the fact of most Safari queries coming to Google “changes for

any number of potential reasons” then it would be more valuable to shift users from Safari to

Chrome).

        463.    When Microsoft attempted to use Windows 11 to shift users from Chrome to

Edge and create “friction” for switching back, Google used its other products to aggressively

trigger users to switch their default browser back to Chrome. PXR0216* at -714, -715 (Google

internally tracks how Microsoft has taken actions in Windows 11 to attempt to take back share

from Chrome.); PXR0216* at -719 (Microsoft created “high friction” for switching default to

Chrome.); PXR0216* at -717; -719 (Google changed the user experience of its products by

getting “[m]ore aggressive” in triggering users to download or switch their default browser back

to Chrome.).

        464.    Google projected that aggressively triggering users to switch their default browser

back to Chrome would increase Chrome’s daily and weekly active user counts. PXR0216*

at -719 (projecting increases in DAUs and WAUs).

   B.        Chrome Divestiture Is Technically And Administratively Feasible

        1.      Chrome Is An Attractive Asset

        465.    Chrome is an attractive asset given its leading market position, immense usership,

and well-known product features, and it will likely generate revenue for the divestiture buyer.

Rem. Tr. 476:23–477:16 (Turley (OpenAI)) (describing value OpenAI would receive from

Chrome distribution and what value they would provide to Chrome); Rem. Tr. 479:5–7 (Turley

(OpenAI)) (OpenAI would be interested in acquiring Chrome); Rem. Tr. 728:9–729:8

(Shevelenko (Perplexity)) (Perplexity would be interested in offering a revenue, both

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subscriptions and ads, share agreement to the independent Chrome owner.), Rem. Tr. 808:14–17

(Shevelenko (Perplexity)) (Perplexity would be interested in acquiring Chrome.); Rem.

Tr. 825:7–15 (Weinberg (DuckDuckGo)) (Chrome is the gateway for the Internet for most

people. All the big tech companies would be interested in buying it.); Rem. Tr. 1994:20–1995:9,

1995:17–1996:20 (Locala (Pls. Expert)) (explaining that Chrome is an attractive acquisition

opportunity given user base and well-known product features); Rem. Tr. 2708:12–21 (Zenner

(Def. Expert)) (agreeing a divested Chrome would have value in the marketplace); Rem.

Tr. 2002:7–2003:2 (Locala (Pls. Expert)) (explaining there are multiple potential avenues for a

new owner of Chrome to generate revenue); Rem. Tr. 2008:16–2009:10 (Locala (Pls. Expert))

(noting that “just because Google’s internal [financial] reporting practices . . . show that there is

no revenue next to Chrome, that that doesn’t mean that independent Chrome wouldn’t generate

revenue”); Rem. Tr. 2013:11–24 (Locala (Pls. Expert)) (opining that divested Chrome could

generative sufficient revenue to be financially viable given how Google monetizes the Chrome

userbase, the amount of Search revenue generated outside the U.S., and its current cost

structure).

        466.   Chrome has a leading market position with 4.1 billion monthly active users.

PXR0206 at -511 (May 2024 Chrome Review presentation providing Chrome has 1.8B DAU

and 4.1B MAU worldwide across platforms and its usership is grown by a rate of 5% YoY);

Rem. Tr. 1607:7–1608:13 (Tabriz (Google)) (confirming PXR0206 at -513 provides Chrome’s

market share by platform as of May of 2024); PXR0206 at -513 (May 2024 Chrome Review

presentation providing browser market share by platform, with 80% on Android, 12.9% on iOS,

68.4% on Windows, and 59.9% on MacOS); Rem. Tr. 1608:14–16 (Tabriz (Google)) (agreeing

that Chrome has majority of the share on all platforms except for Apple mobile devices); Rem.



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Tr. 1620:13–15 (Tabriz (Google)) (agreeing Chrome DAUs continue to grow today); Rem.

Tr. 1619:23–1620:6 (Tabriz (Google)) (stating over 80% of Chrome MAUs are outside of the

United States); PXR0204* at -336 (Chrome has “4.1B [active users over 28 days].”); Rem.

Tr. 1998:2–23 (Locala (Pls. Expert)); PXR0211* at -190–91, -202, -209, -216, -218, -224

(showing browser share on major platforms); PXR0216* at -707.

       467.    Even on Chrome’s weakest platform, iOS, the browser’s usership is growing

rapidly, increasing by 21% from 2023 to 2024. PXR0204* at -336 (“Chrome on iOS (Bling)

107M DAU (+21.0% y/y)”); PXR0206 at -511 (“iOS is the fastest growing platform [for

Chrome] with a 21% YoY increase in DAU, driven by continued success with marketing,

incremental product bets, and rollout of iOS choice screens in EU.”); PXR0214* at -449

(Chrome strategy document, dated Jan. 2024, noting among the platforms, Chrome on iOS

experienced the fastest growth rate).

       468.    Today, Chrome is available to users across every major operating system and a

wide range of device form factors. PXR0215 at -251 (highlighting Chrome’s availability on

Android, iOS, Windows, MacOS, and ChromeOS, as well as on a wide array of devices like

phones, laptops, tablets, extended reality devices, and automobiles).

       469.    Chrome’s well-known features include cross-platform availability, speed, and

customization. Rem. Tr. 1998:24–1999:16 (Locala (Pls. Expert)) (highlighting value to users of

Chrome’s cross-platform availability, speed, and customization); Rem. Tr. 1674:25–1675:7

(Tabriz (Google)) (describing Chrome’s cross-platform availability); Rem. Tr. 1668:9–19

(Tabriz (Google)) (speed). Of course, feature differentiation is not unique to Chrome, and other

browsers have found their own way to add value to the user experience. Rem. Tr. 3147:10–

3148:23 (Muhlheim (Mozilla)) (describing “incredibly dynamic way” in which Firefox promotes



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search engine choice); Rem. Tr. 1076:11–25 (Schechter (Microsoft)) (highlighting integrations

of Microsoft CoPilot into Microsoft Edge).

       470.    An independent Chrome would have available to it multiple potential revenue

streams. Rem. Tr. 2002:7–2003:2 (Locala (Pls. Expert)).

       471.    The new owner of Chrome could look to how Google and other independent

browsers monetize through search and ads displayed directly on the browser. Rem. Tr. 2002:14–

2003:2 (Locala (Pls. Expert)) (“The bulk of independent Chrome revenues are going to come

from ways that . . . Google itself existing currently monetizes the Chrome users and those would

be through search and display ads. . . . Mozilla’s Firefox and Opera, they also monetize their

users in the same manner”); Rem. Tr. 2003:3–20 (Locala (Pls. Expert)) (opining on availability

of revenue-share agreements); Rem. Tr. 2713:12–2714:1, 2714:16–2715:5 (Zenner (Def.

Expert)).

       472.    The new owner of Chrome could also monetize through the distribution of GenAI

services. Rem. Tr. 2005:2–18 (Locala (Pls. Expert)) (“I think buyers will take [the possible

revenue streams from AI distribution agreements] into account in the scenarios that they develop

when they are modeling what an acquisition might look like for them”). Multiple representatives

from AI firms at trial testified that they would be interested in securing distribution partnerships

with an independent Chrome. Rem. Tr. 476:23–477:12 (Turley (OpenAI)) (describing value

OpenAI would receive from Chrome distribution); Rem. Tr. 477:17–478:16 (Turley (OpenAI))

(“I would imagine that you could offer a really incredible experience where either the use

chooses or better, we have an opportunity to introduce people into what an AI first experience

looks like when they type into Chrome . . . you could imagine very, very deep integrations like

that over time”); Rem. Tr. 728:9–729: 8 (Shevelenko (Perplexity)) (“[W]e would be happy to



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enter a revenue-sharing agreement that would not just encompass future advertising revenues but

subscription revenues, which is . . . where we see . . . the business model shift potentially

happening in this space over time.”).

       473.    Chrome is valuable to Google and generates significant indirect revenue,

predominantly through search advertising. Rem. Tr. 1610:15–1611:1 (Tabriz (Google))

(confirming PXR0206 at -491 depicts the financial impact of various components of Chrome on

Google Search and other products); Rem. Tr. 1615:2–14 (Tabriz (Google)) (confirming

PXR0206 at -491 asserts that Search and Ads are the only Google products listed as having an

extra-large financial impact from Chrome); PXR0206 at -491 (May 2024 Chrome Review

presentation with slide on “[h]ow Chrome creates value for Google”); PXR0162 at -899–901

(displaying all Chrome indirect revenue streams for fiscal year 2023); PXR0212* at -613

(Platforms & Ecosystems 2022 annual planning deck noting 5% Chrome share loss would equate

to ~$2B in annual revenue lost that Google wouldn’t otherwise recapture); Rem. Tr. 2007:3–

2009:13 (Locala (Pls. Expert)) (discussing PXRD011 at 11 and explaining wide variety of

indirect advertising revenue that flows through Chrome).

       474.    In 2023, Chrome generated $       billion in revenue, $   billion of which is

attributable to Search. PXR0206 at -500 (May 2024 Chrome Review presentation stating “ B or

  % of Google’s 2023 Search & Display Revenue flowed through Chrome clients”); Rem.

Tr. 1616:7–1617:14 (Tabriz (Google)) (confirming PXR0206 at -502 shows the 2023 Google

Search revenue by platform that flows through Chrome); Rem. Tr. 2007:3–2009:13 (Locala (Pls.

Expert)) (discussing PXRD011 at 11 and explaining wide variety of indirect advertising revenue

that flows through Chrome); PXR0162 at -899–901 (displaying all Chrome revenue streams for

fiscal year 2023); PXR0206 at -502 (disaggregating $       billion in indirect Search revenue by



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platform); PXR0209* at -582 (June 2024 Chrome Platform presentation listing one threat to

“[m]onetization” is the “[p]otential illegality of iOS/Google search deal”).

       475.    Approximately $       billion of the $   billion in indirect Search revenue

generated by Chrome was organic search revenue, and nearly half of indirect Search revenue was

driven by searches in the United States. PXR0215 at -261 ($          billion in organic search

revenue channeled through Chrome in 2023); Rem. Tr. 2007:3–2009:13 (Locala (Pls. Expert))

(discussing PXRD011 at 11 and explaining wide variety of indirect advertising revenue that

flows through Chrome); PXR0215 at -259 (       percent of Chrome indirect search revenue was

from the United States).

       476.    “A disproportionate amount of [Chrome’s] value” comes from Windows Chrome

users, where nearly all Chrome is user-downloaded. PXR0215 at -258 (showing that Windows is

24 percent of Chrome daily active users but channels “nearly       of its revenue”).

       477.    In 2023, Chrome’s costs were only $      billion, of which only $       billion was

necessary to develop and support Chrome. PXR0215 at -257 (July 2024 Chrome slide deck

identifying, as of 2023, ~$   B in “[c]osts to Chrome,” which includes “$      B to develop &

support Chrome”); Rem. Tr. 1636:3–10 (Tabriz (Google)) (clarifying that in PXR0215 at -257,

$   B is the total costs to Chrome and $    B represents the cost of developing and supporting

both the Chrome browser applications and Chromium).

       478.    Several potential buyers have already expressed interest in acquiring Chrome.

Rem. Tr. 479:5–7 (Turley (OpenAI)) (OpenAI would be interested in acquiring Chrome, as

would many other parties); Rem. Tr. 808:14–17 (Shevelenko (Perplexity)) (Perplexity would be

interested in acquiring Chrome.); Rem. Tr. 825:16–23 (Weinberg (DuckDuckGo)) (DDG would

be interested in buying Chrome for the right price.); Rem. Tr. 1252:20–1253:2 (Provost (Yahoo))



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(Yahoo would be interested in bidding to buy Chrome); Rem. Tr. 1999:22–2000:22 (Locala (Pls.

Expert)) (noting the trial testimony from these firms “is consistent with my opinion that Chrome

would be an attractive acquisition opportunity”).

        479.   Mr. Weinberg projected that “pretty much all the big tech companies would be

interested” in purchasing Chrome, leading to a “bidding war.” Rem. Tr. 825:7–15 (Weinberg

(DuckDuckGo)); Rem. Tr. 2711:21–2713:7 (Zenner (Def. Expert)) (based on recent large cash

acquisitions of entire companies in the technology sector, “[i]t’s definitely possible” that a

motivated buyer could raise the capital necessary to buy Chrome at the value range of $20–50

billion).

        480.   Yahoo is interested in bidding on Chrome. Rem. Tr. 1252:20–22 (Provost

(Yahoo)). Yahoo is aware of Plaintiff’s proposed remedy for Google to divest Chrome. Rem.

Tr. 1252:12–19 (Provost (Yahoo)). Yahoo has done cursory work to evaluate the potential

acquisition of Chrome. Rem. Tr. 1253:18–25 (Provost (Yahoo)). Yahoo estimated Chrome will

be valued in the tens of billions of dollars range. Rem. Tr. 1254:1–8 (Provost (Yahoo)). Yahoo

would work with Apollo in a potential acquisition of Chrome. Rem. Tr. 1254:9–10 (Provost

(Yahoo)).

        481.   While Chrome certainly has a dominant share amongst other browsers today,

Google itself has described competition amongst browsers today as “increasingly strong.”

PXR0206 at -495, -496 (identifying significant investment from incumbents and new entrants).

        482.   The provision in the Plaintiffs’ Revised Proposed Final Judgment prohibiting

Google from releasing a browser during the term of the final judgment would make the divested

Chrome business more attractive to potential buyers. Rem. Tr. 2001:1–2002:3 (Locala (Pls.

Expert)) (explaining a noncompete would be important to potential buyers because it gives the



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new owner time to “ramp up monetization” and reduces the possibility of any gamesmanship by

Google re the allocation of assets and other resources).

       483.    A buyer of Chrome will have every incentive to make the product successful.

Rem. Tr. 2291:19–24 (Chipty (Pls. Expert)); Rem. Tr. 2292:13–15 (Chipty (Pls. Expert)) (“Q: A

new owner of Chrome would certainly be able and incentivized to pay for distribution of

Chrome; correct? A: Yes.”).

       2.      Divesting Chrome Is Technically Feasible

       484.    A Chrome divestiture is feasible from a technical perspective. Rem. Tr. 1429:4–

13 (Mickens (Pls. Expert)) (stating opinion); Rem. Tr. 1448:2–16 (Mickens (Pls. Expert))

(feasible to divest without “break[ing] too much” and to keep Chrome running); Rem.

Tr. 1457:5–8 (Mickens (Pls. Expert)) (feasible from an engineering perspective).

       485.    Chrome and other mainstream browsers are not deeply integrated with remote

infrastructure, and therefore can be feasibly separated. Rem. Tr. 1448:2–10 (Mickens (Pls.

Expert)) (integrations not deep); Rem. Tr. 1453:21–23 (Mickens (Pls. Expert)) (Chrome is not

deeply integrated with Google’s back-end services.).

       486.    Chrome is a standalone piece of software that can operate as a browser without

connecting to any cloud services. Rem. Tr. 1457:14–23 (Mickens (Pls. Expert)) (divestiture

would not impact Chrome’s ability to render and display web pages); Rem. Tr. 1448:17–1449:14

(Mickens (Pls. Expert)) (describing PXRD010 at 25) (Chrome is fundamentally a piece of client-

side software independently connecting to the web).

       487.    Google is not the only U.S. company capable of running a browser. Rem.

Tr. 2468:4–2469:4 (Pichai (Google)).




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       488.   A Chrome divestiture would not impact Chrome’s ability to render and display

web pages. Rem. Tr. 1457:14–23 (Mickens (Pls. Expert)); Rem. Tr. 1449:18–1450:3 (Mickens

(Pls. Expert)) (Chromium code provides rendering functionality).

       489.   Chrome’s client-side code connects to Google’s back-end infrastructure through

simple, well-defined APIs. Rem. Tr. 1437:13–1438:7 (Mickens (Pls. Expert)) (defining API);

Rem. Tr. 1448:17–1449:14 (Mickens (Pls. Expert)) (Chrome connects to back-end through

APIs); Rem. Tr. 1454:12–1455:1 (Mickens (Pls. Expert)) (Chrome’s APIs hide complexity,

discussing PXR0321*); PXR0321* at -172 (diagram of Chrome architecture).

       490.   The number of APIs connecting Chrome’s client-side code to Google’s back-end

infrastructure is usual for a software of Chrome’s size. Rem. Tr. 1453:5–10 (Mickens (Pls.

Expert)) (several hundred Chrome APIs is normal amount).

       491.   Google has designed Chrome’s client-side code to be easily decoupled from

Google’s back-end infrastructure. Rem. Tr. 1444:10–1445:8 (Mickens (Pls. Expert)) (best

practice to design APIs with loose coupling); Rem. Tr. 1453:11–15 (Mickens (Pls. Expert))

(Chrome designed following best practices); Rem. Tr. 1453:16–20 (Mickens (Pls. Expert))

(Chrome loosely coupled).

       492.   The APIs connecting Chrome to Google’s back-end infrastructure abstract away

the complexity of Chrome’s cloud-enabled services. Rem. Tr. 1444:10–1445:8 (Mickens (Pls.

Expert)) (loosely coupled APIs hide complexity); Rem. Tr. 1454:12–1455:1 (Mickens (Pls.

Expert)) (Chrome’s APIs hide complexity of cloud services, discussing PXR0321* at -172);

Rem. Tr. 1532:1–15:33:2 (Mickens (Pls. Expert)) (Borg hides complexity of managing

hardware); PXR0321* at -172 (diagram of Chrome architecture).




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       493.    The APIs connecting Chrome to Google’s back-end infrastructure hide the

implementation details for Chrome’s cloud-enabled services. Rem. Tr. 1444:10–1445:8

(Mickens (Pls. Expert)) (best practice to design APIs to hide implementation details); Rem.

Tr. 1453:11–15 (Mickens (Pls. Expert)) (Chrome designed following best practices).

       494.    As the complexity of Chrome’s cloud-enabled services increases, the integration

between Chrome and Google’s back-end infrastructure does not become deeper. Rem.

Tr. 1455:18–23 (Mickens (Pls. Expert)) (increased complexity of cloud services does not impact

depth of integration if APIs designed following best practices); Rem. Tr. 1453:11–15 (Mickens

(Pls. Expert)) (Chrome designed following best practices).

       495.    Google’s cloud-enabled services run on Google datacenters managed by a cluster

management system called Borg. Rem. Tr. 1445:9–1446:7 (Mickens (Pls. Expert)) (use of cluster

manager is best practice for observability); Rem. Tr. 1531:1–1533:2 (Mickens (Pls. Expert))

(Google uses cluster manager).

       496.    Cluster management systems like Google’s Borg are standard in the industry and

are both deployed in other cloud providers and available open source. Rem. Tr. 1532:14–1533:

21 (Mickens (Pls. Expert)) (most hyperscalers use a cluster manager and Kubernetes is open

source).

       497.    A Chrome divestiture buyer could use a cloud provider for its hardware needs.

Rem. Tr. 2547:22–2551:16 (Nieh (Def. Expert)) (“Maybe you use some cloud provider [for your

hardware infrastructure] but then you’re paying a third party for some service.”); Rem.

Tr. 2646:3–2647:19 (Nieh (Def. Expert)) (“So a public cloud provider could be used for the

hardware infrastructure and would also provide some amount of software infrastructure.”).




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        498.    A Chrome divestiture buyer could use a cloud provider for its infrastructure

software. Rem. Tr. 2646:3–2647:4 (Nieh (Def. Expert)) (recognizing that a divestiture buyer

could rely on a public cloud provider to “provide some amount of software infrastructure” so that

“you can use somebody else’s stuff instead of building your own”); Rem. Tr. 2647:10–19 (Nieh

(Def. Expert)) (“You delegate the problem to the cloud provider, the problem of scaling up the

infrastructure, their infrastructure.”).

        499.    For each API connecting Chrome’s client-side code to Google’s back-end

infrastructure, a Chrome divestiture buyer could either (i) maintain the API connection with

Google either directly or through a proxy, (ii) substitute for an API provided by the divestiture

buyer or a third-party, or (iii) disable the API. Rem. Tr. 1458:9–1459:5 (Mickens (Pls. Expert))

(discussing PXRD010 at 36–37).

        500.    From a technical perspective, it would be feasible for Google to make a private

API available to a divestiture buyer. Rem. Tr. 1460:16–21 (Mickens (Pls. Expert)).

        501.    If the divestiture buyer wanted to leave an API call unmodified, the new owner of

Chrome would need only to acquire an API key from Google that would allow Google’s servers

to verify that the requests were coming from Chrome. Rem. Tr. 1459:6–23 (Mickens (Pls.

Expert)) (work required to make API call available is simply providing API key).

        502.    The type of coordination that would be required to maintain API connections

between Google and Chrome post-divestiture, including billing, is very similar to the type of

coordination currently required for Google to support pre-existing API key agreements. Rem.

Tr. 1572:6–21 (Mickens (Pls. Expert)) (level of coordination required to maintain APIs is similar

to current work); Rem. Tr. 1460:22–1461:5 (Mickens (Pls. Expert)) (large-scale tech companies

like Google are “very skilled” at exposing and maintaining APIs); Rem. Tr. 1461:6–20 (Mickens



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(Pls. Expert)) (Google could easily create billing structure for Chrome APIs); Rem. Tr. 1461:21–

1462:5 (Mickens (Pls. Expert)) (API billing is common in industry); Rem. Tr. 1462:6–19

(Mickens (Pls. Expert)) (Google already bills for APIs like SafeBrowsing and Maps).

       503.    Post-divestiture, Google could secure the connections between Chrome and

Google’s back-end infrastructure. Rem. Tr. 1459:6–23 (Mickens (Pls. Expert)) (API keys could

prevent unauthorized access).

       504.    If Chrome’s new owner maintained API connections to Google’s back-end

infrastructure, from a user’s perspective the corresponding Chrome functionality would not

change. Rem. Tr. 1462:21–1463:4 (Mickens (Pls. Expert)) (maintaining API connections would

cause Chrome to look the same).

       505.    From a technical perspective, it would be feasible for the divestiture buyer to

identify and substitute APIs. Rem. Tr. 1464:13–1465:10 (Mickens (Pls. Expert)) (If the

divestiture buyer wanted to substitute the API call, the divestiture buyer would need to find a

new service provider, identify the places in the Chrome code where the API is invoked, and

make sure all those invocations are compatible.); Rem. Tr. 1465:11–14 (Mickens (Pls. Expert))

(Substituting Chrome’s API calls would not require work that is fundamentally different from

the type of work required to update software.).

       506.    If Chrome’s new owner substituted API connections from Google to a third-party,

the functionality of Chrome might change, and may improve. Rem. Tr. 1465:15–25 (Mickens

(Pls. Expert)) (If the divestiture buyer substituted the API call, Chrome’s functionality may

change, perhaps for the better.).

       507.    Some of Chrome’s back-end services are the types of services regularly created

by software companies as a matter of course. Rem. Tr. 1576:15–21 (Mickens (Pls. Expert))



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(software companies create auto-update systems as a matter of course); Rem. Tr. 1567:25–

1568:3 (Mickens (Pls. Expert)) (other browsers provide crash reporting).

       508.    Other Chromium-derived browsers have substituted, disabled, or added to

Chromium’s in-built API calls to Google’s back-end infrastructure. Rem. Tr. 1544:10–15:6:5,

1583:7–18 (Mickens (Pls. Expert)) (Microsoft underwent a per-API analysis to build Edge on

Chromium, exactly the type of analysis needed for Chrome).

       509.    The work required to divest Chrome is not substantially different from the work

previously done by Microsoft, Vivaldi, and Brave. Rem. Tr. 1467:7–1468:21 (Mickens (Pls.

Expert)) (referencing PXRD010 at 43) (Microsoft, Vivaldi, and Brave did similar work to build

their browser on top of Chromium).

       3.      Divesting Chrome Is Administratively Feasible

       510.    Divestitures generally follow well-established corporate practices that provide a

framework for executing a Chrome divestiture. Rem. Tr. 1995:10–14 (Locala (Pls. Expert));

Rem. Tr. 2018:11–2021:8 (Locala (Pls. Expert)) (explaining the three steps of a typical divesture

process: preparation, buyer identification, and final negotiations, signing, and closing).

       511.    “Divestitures are a commonly used corporate tool for companies in all industries,

including the technology industry.” Rem. Tr. 2017:10–19 (Locala (Pls. Expert)).

       512.    Companies typically begin the divestiture process by addressing broad, big-

picture issues and resolve increasingly specific questions as they progress through the process.

Rem. Tr. 2017:20–2018:10 (Locala (Pls. Expert)); Rem. Tr. 2707:19–2708:11 (Zenner (Def.

Expert)) (buyers are typically initially given a short document with limited information on the

front end, with more detailed analysis provided later in the divestiture process).




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       513.    Potential buyers typically submit preliminary bids based on limited, summary

information about the business to be divested. Rem. Tr. 2018:20–2020:7 (Locala (Pls. Expert));

Rem. Tr. 2021:23–2022:10 (Locala (Pls. Expert)).

       514.    The definition of Chrome in the Plaintiffs’ Revised Proposed Final Judgment is

sufficient to attract buyer interest to provide a preliminary bid in a divestiture process. Rem.

Tr. 2058:4–2061:8 (Locala (Pls. Expert)).

       515.    In a typical divestiture process, an initial bidding process is followed by extensive

discussions and disclosures of information. Rem. Tr. 2018:20–2020:15 (Locala (Pls. Expert)). A

legally mandated divestiture would follow a similar, multi-stage process. Rem. Tr. 2021:9–17

(Locala (Pls. Expert)).

       516.    Chrome is not unique in relying on other parts of Google for administrative

services like finance, human resources, and marketing. Rem. Tr. 2027:7–2028:25 (Locala (Pls.

Expert)) (describing typical process for handling shared personnel resources during divestiture);

PXR0162 at -856 (Chrome relies on the rest of Google for finance, human resources, marketing,

and other services).

       517.    Chrome and Chromium represent an individual product group within Google,

which relies on the larger Google organization for certain administrative and technical

infrastructure, but which comprises a distinct and identifiable organizational unit.

       518.    Chrome is managed by a distinct team within Google, which has its own

leadership and an employee headcount allocation of approximately 1,200 individuals. Rem.

Tr. 1662:7–10 (Tabriz (Google)); PXR0351* at -266–67 (Chrome workforce strategy and

employee headcount planning). The Chrome team is responsible for both the browser application

and web platform, including Google’s code contributions to the open-source Chromium project.



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Rem. Tr. 1662:18–1663:2 (Tabriz (Google)) (defining role at Chrome to encompass both the

browser application and Chromium); Rem. Tr. 1647:18–1648:5 (Tabriz (Google)) (Chrome acts

as a platform for web developers); PXR0351* at -267, -288.

       519.    The Chrome team relies on certain shared resources and infrastructure provided

by Google, such as physical facilities, data centers, and software. Rem. Tr. 1563:22–1565:5

(Mickens (Pls. Expert)). Technical infrastructure allocation from outside the Chrome team

accounts for    % of Chrome’s operating expenses. Rem. Tr. 2009:14–2011:21 (Locala (Pls.

Expert)) (discussing PXRD011 at 12) (citing PXR0206 at -551; PXR0162 at -864) (Technical

infrastructure allocations account for $   million, or    %, of Chrome’s $      billion operating

expenses.).

       520.    Intellectual property allocation, personnel allocation, and transition services

agreements are standard issues that are often not finalized until the signing of the divestiture

agreement. Rem. Tr. 2024:21–2025:22 (Locala (Pls. Expert)); Rem. Tr. 2025:23–2026:14

(Locala (Pls. Expert)) (IP allocation); Rem. Tr. 2027:7–2028:8 (Locala (Pls. Expert)) (personnel

allocation); Rem. Tr. 2029:1–2030:4 (Locala (Pls. Expert)) (TSAs).

       521.    Divestiture transactions in the technology sector have successfully navigated

complex intellectual property allocation issues. Rem. Tr. 2026:15–2027:6 (Locala (Pls. Expert))

(referring to Symantec-Broadcom transaction as an example of technology-related divesture

involving complex IP issues).

       522.    The successful divestitures of other technology products and highly integrated

companies demonstrate that a Chrome divestiture is feasible from a corporate perspective. Rem.

Tr. 2023:12–2024:10 (Locala (Pls. Expert)) (technology products); Rem. Tr. 2038:15–2039:1




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(Locala (Pls. Expert)) (highly integrated companies); Rem. Tr. 2697:22–2699:15 (Zenner (Def.

Expert)) (highly integrated companies).

       4.     Potential Risks Of A Chrome Divestiture

       523.   A Chrome divestiture will not end industry support for open-source Chromium,

including support by Google. Rem. Tr. 1666:8–25 (Tabriz (Google)) (confirming that there are a

variety of browsers and other products built on Chromium); Rem. Tr. 1691:6–22 (Tabriz

(Google)) (agreeing that other companies besides Google contribute to Chromium, including

Igalia, Opera, Microsoft, and Samsung); Rem. Tr. 1692:5–9 (Tabriz (Google)) (agreeing that

Igalia, Opera, Microsoft, and Samsung have an incentive to continue making Chromium better);

Rem. Tr. 1692:14–17 (Tabriz (Google)) (confirming the web browsers built on Chromium

include Vivaldi, Edge, Opera, Brave, Arc, Samsung, UCBrowser, Ecosia, Amazon Silk, and

Island, as listed on RDXD-12 at .003); Rem. Tr. 1693:19–1694:8 (Tabriz (Google)) (confirming

there are other open-source browser platforms, Mozilla’s Gecko and Apple’s Web Kit, and

agreeing these companies have their own incentives to improve their open source web browsers);

Rem. Tr. 1694:14–1695:4 (Tabriz (Google)) (agreeing Meta, Microsoft, and Opera have pledged

support of the Linux Foundation’s Supporters of the Chromium-Based Browsers initiative);

Rem. Tr. 788:11–20 (Shevelenko (Perplexity)) (If Perplexity were to acquire Chrome, they

would commit to indefinitely supporting Chromium and investing in it.); Rem. Tr. 518:17–19

(Turley (OpenAI)) (OpenAI has explored building a browser based on Chromium); Des. Rem.

Tr. 15:17–16:18, 17:7–17(OpenAI-NT 30(b)(6) Dep.) (OpenAI still exploring building products

built on Chromium); Des. Rem. Tr. 128:20–129:20 (Standal (Opera) Dep.) (Opera, in becoming

a member of the Supporters of Chromium-Based Browser initiative, made an initial contribution

of $100,000); Rem. Tr. 1470:4–24 (Mickens (Pls. Expert)) (many technology companies have a

deep interest in ensuring web browsers are fast and safe); Rem. Tr. 1471:1–14, 1477:12–18
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(Mickens (Pls. Expert)) (developers of Chromium-based browsers have a particular interest in

maintaining Chromium); Rem. Tr. 1476:8–1477:11 (Mickens (Pls. Expert)) (Google has

technologies built on Chromium, like Webview, such that Google would have incentive to

maintain Chromium post-divestiture).

       524.   If a divested Chrome could still partner with Google, Google’s ability to pay

would restrict rival distribution through Chrome. Rem. Tr. 477:17–479:4 (Turley (OpenAI))

(explaining that OpenAI could not outspend Google for distribution through an independent

Chrome).

       525.   Prior migrations of open-source projects have been successful. Rem. Tr. 1472:2–

1474:10 (Mickens (Pls. Expert)) (discussing PXRD010 at 45) (Kubernetes, Firefox, and Blender

migrations were successful).

       526.   If the new owner of Chrome decided to maintain API calls to Google’s back-end

infrastructure, the new owner could prevent unauthorized access using API keys. Rem.

Tr. 1459:6–1460:14 (Mickens (Pls. Expert)) (use of API keys prevents unauthorized access).

       527.   If the new owner of Chrome decided to maintain API calls to Google’s back-end

infrastructure, the new owner could protect sensitive information by encrypting it. Rem.

Tr. 1446:8–1447:1, 1447:9–12 (Mickens (Pls. Expert)) (encryption is best practice of distributed

systems followed by Google); Rem. Tr. 2339:4–2340:6 (H. Adkins (Google)) (there are ways to

secure data exchanges, including cryptographic authentication).

       528.   Google is replacing the existing version of ChromeOS with Project Aluminium,

which will launch in 2026. Rem. Tr. 3989:25–3990:2 (Samat (Google)); PXR0317* at -426.

Project Aluminium will help Google distribute new AI features faster and at a greater scale than

the current version of ChromeOS. Rem. Tr. 3990:3–3991:23 (Samat (Google)).



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       5.      No National Security Concerns

       529.    A Chrome divestiture will not raise national security concerns. See Pls. RPFJ §

V.A. (“The evaluation of any potential buyer shall” be performed by the United States “at its sole

discretion” and include evaluation of “any potential risks to national security.”).

       530.    Many of the security innovations developed by Google are now available for

purchase or free use by other companies. Rem. Tr. 2324:11–25 (H. Adkins (Google)) (Google’s

innovative security keys are now available on the market); Rem. Tr. 2331:3–16 (many of

Google’s security innovations have been “pushed out of Google into either open-source projects

or products that we offer or are done through coalitions that are now available” and others “are

now considered the recommended advanced practice”); Rem. Tr. 2342:16–2343:10 (H. Adkins

(Google)) (some of Google’s security infrastructure is “available on the market” and others are

“increasingly becoming recommended standards”).

       531.    Google’s Vice President of Security Engineering confirmed it was “nearly

impossible” for Google to verify the people, processes, and technologies of another company.

Rem. Tr. 2359:5–2360:21 (H. Adkins (Google)).

       532.    The Google executives that expressed concerns about the cybersecurity

implications of Plaintiffs’ proposed remedies acknowledged their ignorance about the

cybersecurity of a future, yet-identified qualified competitor or divestiture buyer. Rem.

Tr. 2378:4–17 (H. Adkins (Google)) (recognizing that she was “not providing testimony about

the cybersecurity systems that a future divestiture buyer has in place”); Rem. Tr. 2481:7–

2482:22, 2483:24–2484:8 (Pichai (Google)) (admitting the impossibility of knowing the

cybersecurity posture of as-yet unidentified third parties while claiming general cybersecurity

concerns).



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       533.    Google executives and employees do not speak for the United States Government

on issues of national security. Rem. Tr. 2505:12–14 (Pichai (Google)) (Google CEO conceded he

did “not speak for the United States Government on issues of national security”); Rem.

Tr. 2356:10–12 (H. Adkins (Google)) (Google VP of Security Engineering agreed she did “not

speak for the United States on issues of national security”).

       534.    The security of complex systems is driven significantly by the initial design of the

system, which has already been completed for Chrome. Rem. Tr. 2325:1–16 (H. Adkins

(Google)) (asserting that “you have to design the security in the beginning of the design process”

and “[Google has] done this with our technology”); Rem. Tr. 2481:11–2482:14 (Pichai (Google))

(recognizing that Chrome has a “multi-process security architecture” where Google “buil[t]

many, many layers of protection” into Chrome); PXR0307* at -487 (noting that Google “bake[s]

in security from the beginning” to make its products “secure by default”).

       535.    Google is not especially equipped to avoid security vulnerabilities and breaches.

Rem. Tr. 2333:1–2334:11 (H. Adkins (Google)) (an attack advanced within Google in 2021);

Rem. Tr. 2361:17–22 (H. Adkins (Google)) (Google, like all software manufacturers, has

vulnerabilities in its software and has discovered zero days within); Rem. Tr. 2365:21–23 (H.

Adkins (Google)) (Google has had data breaches in past, albeit fewer than others have).

       536.    While Google touts its own cybersecurity prowess, Google has internally

recognized its own security investment and funding shortcomings. PXR0305* at -654 (internal

Google document recognizing that “[i]n 2023 and 2024 most cybersecurity teams at Google saw

a reduction in people and opex (between         % depending) and report they are struggling to

keep up.”); PXR0305* at -654 (internal Google document recognizing that “[o]ur Beyond

Security plan needs funding . . . there is substantial investment required over the short-medium



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term that would be unachievable within our current funding envelopes.”); PXR0305* at -655

(internal Google document in which H. Adkins notes that last major cybersecurity investment

was “[n]early 16 years ago after operation aurora”); PXR0209* at -581 (Chrome Platform slide

deck, dated June 2024, listing as one of its “Security and Privacy Concerns” that “[s]ecurity

vulnerability and the lack of strong privacy controls lead to pervasive tracking and reliance on

user prompts”).

       537.    In 2024, Google ranked similarly to peers like Microsoft and Apple on its

cybersecurity capabilities. Rem. Tr. 2385:1–18, 2386:14–2387:11 (H. Adkins (Google))

(discussing PXR0306) (One 2024 benchmark put Google’s cybersecurity scores within three

points of other notable peers—and behind financial institutions like Bank of America.);

PXR0306 at -352 (benchmarking Google’s cybersecurity within three points of Apple, Meta,

Amazon, and Microsoft).

       538.    It is possible to securely move data between two locations. Rem. Tr. 2339:4–

2340:6 (H. Adkins (Google)) (there are ways to secure data exchanges, including cryptographic

authentication).

       539.    Many of the advancements in cybersecurity rely on cross-industry collaboration,

not something intrinsic to Google. Rem. Tr. 2345:13–2346:1 (H. Adkins (Google)) (Google and

rest of industry shares information through government body); Rem. Tr. 2379:22–2382:8 (H.

Adkins (Google)) (describing Google’s benefits from participation in industry collaboration,

standard-setting, and information sharing); PXR0307* at -489 (Google “do[es]n’t just design

solutions to protect our users, we collaborate with partners, companies, and governments, so that

together, we can secure the Internet as a whole.”).




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        540.   Google engages in information sharing relationships with industry peers to bolster

its internal cybersecurity threat awareness. Rem. Tr. 2380:1–2382:8 (H. Adkins (Google))

(describing Google’s information sharing partnerships).

        541.   Google’s systems rely on third-party companies and software whose security

Google cannot control. Rem. Tr. 2367:11–2368:2 (H. Adkins (Google)) (Google relies on 30–40

external vendors for cybersecurity alone); Rem. Tr. 2369:22–2370:10 (H. Adkins (Google))

(Google cannot make ultimate decisions about changes to third-party software in Google’s

software supply chain); Rem. Tr. 2370:14–19 (H. Adkins (Google)) (Google uses close to 19,000

third-party open-source software packages, including in Chrome); Rem. Tr. 2374:15–2375:12

(H. Adkins (Google)) (in 2024, Google had not yet developed a solution to mitigate risks caused

by its third-party software); PXR0302 at -304, -327, -328 (outlining Google’s use of and risks

inherent in third-party software).

        542.   Google relies on external vendors for some of its cybersecurity needs, because

Google cannot address cybersecurity issues on its own. Rem. Tr. 2367:11–2368:2 (H. Adkins

(Google)) (estimating that Google relies on 30–40 external cybersecurity vendors, some of

whom provide “unique capability”); Rem. Tr. 2483:2–7 (Pichai (Google)) (acknowledging

Google’s reliance on other vendors to meet cybersecurity needs).

        543.   Google relies on government leadership to protect its systems. PXR0304* at -832

(“Our security-first approach builds on awareness of an evolving threat environment, industry-

wide information sharing, and the leadership of the international security community.”).

   C.      Google Overstates Its Investments In Chrome

        544.   Google’s rate of investment in Chrome has lagged behind the incremental rate of

Search profits that flow through Chrome. Rem. Tr. 1637:5–11 (Tabriz (Google)) (discussing

PXR0215 at -257); PXR0215 at -252, -257 (showing Chrome indirect revenues far outpacing
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Chrome investments in both absolute value and growth rate); PXR0212* at -664 (Platforms &

Ecosystems 2022 annual planning deck noting “historically revenue growth has been 3x

investment growth” and showing that search revenue through Chrome grew 19 percent per year

from 2017 to 2021, compared to a 6 percent annual growth in investment). In 2023, Chrome’s

total operating expenses were $       billion, even though Chrome purported to identify only $

million in operating revenue. PXR0206 at -551 (Chrome 2023 P&L statement).

       545.    Marketing investments have fueled most of the growth of Chrome usage.

PXR0206 at -497 (May 2024 Chrome Review presentation stating “strong marketing

investments have fueled growth but it’s now essential to grow underfunded product teams”).

       546.    Chrome’s product teams are underfunded. PXR0206 at -497 (May 2024 Chrome

Review presentation stating “it’s now essential to grow underfunded product teams” and noting

Google headcount growth was at      % while Chrome headcount growth was at          % over the past

five years); PXR0206 at -498 (May 2024 Chrome Review presentation stating “it’s now essential

to increase investments towards product development and reinvest in our partnership teams to

drive future growth, innovation, and differentiation” after being “ruthless rebalancing resources

due to limited headcount growth over the past 5 years”).

       547.    Google’s investment in Chrome represents a very small percentage of the Search

revenue generated via Chrome. PXR0215 at -257 (Chrome generates $           billion in indirect

Search and Display revenue, compared to $       billion in costs.).

       548.    In April of 2025, Google abandoned its plans originally announced in 2020 to

phase out support for third-party cookies in Chrome, which would have enhanced user privacy.

Rem. Tr. 1697:2–7 (Tabriz (Google)) (agreeing third party cookies collect browser users’

personal information and can raise privacy concerns); Rem. Tr. 1697:8–18 (Tabriz (Google))



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(confirming Google announced plans in 2020 to phase out support for third-party cookies in

Chrome and stating the “motivation of the project” was preventing cookies’ “covert types of

tracking”); Rem. Tr. 1698:22–1699:9 (Tabriz (Google)) (“[W]e have said that we will not

deprecate third-party cookies at scale.”); PXR0214* at -449 (Chrome strategy document, dated

Jan. 2024, noting “Google’s 3rd Party Cookie deprecation (3PCD) and privacy sandbox efforts

are intended to improve privacy on the web, but present risks to web site breakage and Chrome’s

browser share.”).

   D.        Self-Preferencing Prohibited

        1.        Google Is Already Self-Preferencing Its Search Access Points In Chrome

        549.      Google views Chrome as a means to “bring Gemini to scale and put AI in the

hands of billions of users around the world through both Google Search and deeply integrated

browser features.” Rem. Tr. 1642:5–9 (Tabriz (Google)) (confirming that she sees an opportunity

for Chrome to deeply integrate with Gemini); PXR0164 at -875; PXR0218* at -543–44 (A

Chrome “Segment[] of Focus” is to “[d]eeply integrate Google AI capabilities” including the

Gemini App to “drive awareness and usage.”); PXR0217* at -157 (Chrome 2025 planning

document stating Chrome is a “critical Gemini distribution channel”).

        550.      Google intends to “move towards a fully AI-powered browser.” PXR0219*

at -152.

             a)      Google Lens Integration

        551.      In 2024, Google integrated Google Lens into the Chrome browser. Rem.

Tr. 1639:7–16 (Tabriz (Google)); PXR0220 at -194 (Chrome + Gemini Live presentation).

        552.      Today, Chrome users can only access Google Lens if they set Google Search as

their default search engine. Rem. Tr. 1658:9–14 (Tabriz (Google)).



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           b)      Gemini In The Omnibox

       553.     Google knows that Chrome is a key access point for GenAI. PXR0208* at -714

(Rick Osterloh, Google’s Senior Vice President of Platforms and Devices, stating: “In the future

when you use AI, where do you start? I’d be surprised if not [C]hrome as that’s what they’[re]

use[d] to. What is the [entry point] experience? Right now, it’s Search in the omnibox.”).

       554.     Google has integrated Gemini in the Chrome omnibox. Rem. Tr. 1645:1–11

(Tabriz (Google)) (confirming the steps to access Gemini in the Chrome omnibox); PXR0285*

at -351–52, -357, -363, -373–74.

       555.     Gemini is preloaded as the default GenAI product that can be accessed from the

Chrome omnibox. Rem. Tr. 1645:1–20, 1647:1–10 (Tabriz (Google)).

           c)      Gemini Agents In Chrome

       556.     In Google’s view, the coming wave of AI agents will “revolutionize how people

interact with and build for the web.” PXR0220 at -195; Rem. Tr. 1639:1–6 (Tabriz (Google)) (AI

agents “could be the next transformation in computing.”); PXR0029* at -152 (Google is

researching “how [it] can build the best AI agent in the world that’s integrated into search.”);

PXR0206 at -482 (Google envisions that Chrome will “continue to evolve from being a ‘window

to the web’ into a personalized, helpful user agent that can adapt to each person’s unique,

multifaceted needs.”).

       557.     Google plans to make Gemini the “primary agent” in Chrome, prioritizing its

integration over Gemini’s rivals and building on Google’s history of making switching the

default difficult in Android. Mem. Op. at 28; Rem. Tr. 1643:6–1644:2 (Tabriz (Google))

(agreeing with her statement in PXR0203 that she envisions a future “where Chrome integrates

deeply with Gemini (as primary Agent and one we’ll prioritize)”); PXR0203 at -074 (June 2024

email from Google’s VP of Chrome titled “Quick perspective on Chrome+Agents”); PXR0219*

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at -153–54 (June 2024 speaker notes for internal meeting with Google’s CEO outlining next

steps for AI agent integration into Chrome).

       558.      Rival GenAI agents will be limited to integration into Chrome as Extensions.

PXR0220 at -282.

       2.        Google Is Already Self-Preferencing Its Search Access Points In Android

            a)      Circle To Search

       559.      Circle to Search is a search access point. Des. Rem. Tr. 34:12–17, 59:5–61:2

(Google-EC 30(b)(6) Dep.) (discussing process for accessing search through Circle to Search);

Rem. Tr. 3907:14–3908:22 (Samat (Google)) (discussing Circle to Search on Android); Rem.

Tr. 824:11–25 (Weinberg (DuckDuckGo)) (describing Circle to Search as a newly-introduced

search access point that cannot be changed to a rival search engine).

       560.      Google has integrated Circle to Search into the Android operating system. Rem.

Tr. 3908:23–3910:24 (Samat (Google)) (discussing the technical details of Circle to Search);

Rem. Tr. 3978:22–3979:9 (Samat (Google)).

       561.      Samsung’s implementation of Circle to Search defaults to Google. Rem.

Tr. 3908:23–3909:16 (Samat (Google)).

            b)      AICore

       562.      AICore is an Android subsystem that Google designed to manage the loading and

operation of on-device LLMs like Gemini Nano. Des. Rem. Tr. 55:1–56:12 (Google-EC 30(b)(6)

Dep.); Rem. Tr. 3955:25–3956:15 (Samat (Google)).

       563.      Currently, AICore only supports Google’s on-device Gemini Nano model. Rem.

Tr. 1557:18–1558:1 (Mickens (Pls. Expert)) (Gemini Nano is the only model running on

AICore.); Des. Rem. Tr. 56:13–22 (Google-EC 30(b)(6) Dep.); PXR0102* at -720 (“Google AI

is at the core of Android’s operation system . . . .” Gemini Nano is “built for on-device

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experiences . . .”); PXR0201* at -221 (Google presentation titled “AICore Plan of Record”

noting the “[d]anger of others becoming the de-facto on-device solution”).

       564.   Google recognizes the importance of securing on-device LLM models, such as

Gemini Nano. PXR0160* at -573 (“Nano is a critical part of our ongoing strategy [f]or premium

devices [a]nd it will become a core part of the Android developer story going forward.”);

PXR0160* at -573 (“As part of the Gemini deal, we can and should require the bundling of the

Nano model.”); PXR0160* at -573 (“[I]t could take enormous pressure off of our capacity in the

cloud, both reducing costs [a]nd opening up an enormous amount of other opportunity for new

revenue creation using our totally backlogged Cloud TPUs.”); PXR0223* at -047, -072

(describing Gemini “[o]n-device [for Android and Pixel] [a]s very strategic” and discussing

“[r]isks of not moving quickly” including “[i]ncreased Android [f]ragmentation” and “losing

feedback loops and lock-in” (emphasis omitted)).

       565.   Rick Osterloh, head of Google’s Platforms and Devices product area, internally

noted the huge financial implications of securing Google’s Gemini Nano on Samsung devices.

PXR0160* at -573 (“I could see this being worth hundreds of millions and perhaps more

annually.”); PXR0160* at -573 (“The Gemini side of the deal starts to feel like a must win to me.

We also need to make sure it includes [a] requirement to bundle the [N]ano model [a]nd have it

resident in [RAM].”).

       566.   Carriers and OEMs have sought freedom in selecting GenAI products, including

on-device AI models. Des. Rem. Tr. 64:9–24 (Ezell (AT&T) Dep.) (AT&T executives ask

internally whether they could have models beyond Gemini Nano on Android devices.); Des.

Rem. Tr. 65:14–66:11 (Ezell (AT&T) Dep.) (AT&T wants flexibility to deal with different

GenAI partners on Android.); Des. Rem. Tr. 25:18–21, 26:3–21 (Laflamme (Motorola) Dep.)



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(explaining that Motorola wants flexibility with AI partners to optimize the consumer

experience); Des. Rem. Tr. 52:18–53:10 (Laflamme (Motorola) Dep.) (Motorola was pushing for

“more flexibility around having other assistive services on-device” in January 2025 RSA

negotiations.); Des. Rem. Tr. 96:12–23, 100:20–101:11 (Kim (Samsung) Dep.) (explaining that

Samsung did not want an exclusive AI service); PXR0248 at -113 (AT&T email discussing

whether additional GenAI models may be loaded on Android devices in addition to Gemini

Nano).

         567.   Android apps can only access a phone’s AI accelerators through the AICore

system service. Rem. Tr. 1555:11–1557:1 (Mickens (Pls. Expert)).

         568.   Google publicly states that AI models run faster through AICore than outside of

AICore due to the access to AI accelerators. Rem. Tr. 1556:5–1557:1 (Mickens (Pls. Expert)).

         569.   Google controls which AI models can run inside AICore. Rem. Tr. 1557:8–17

(Mickens (Pls. Expert)).

         570.   Google distributes AICore by preloading it onto Android devices. Rem.

Tr. 3960:7–3961:10 (Samat (Google)).

         571.   The number of on-device AI models that can run simultaneously on Android

devices is limited by the device’s system memory, or RAM. Rem. Tr. 3966:12–3968:15 (Samat

(Google)).

         572.   Google has considered developing future capability for AICore that will allow on-

device models to route queries that need search functionality to remote servers, which could, in

turn, access the internet for features like RAG. Rem. Tr. 3986:17–3989:9 (Samat (Google))

(discussing PXR0042 at -900).




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        573.    Although an OEM could build its own system service comparable to AICore,

most OEMs would not want to do that. Rem. Tr. 1558:2–9 (Mickens (Pls. Expert)).

        574.    Google has a significant financial incentive to use Android to preference access to

Google Search. Rem. Tr. 3996:18–3997:23, 3998:17–3999:7, 4001:14–4002:17 (Samat

(Google)) (discussing PXR0162); PXR0162 at -875 (showing Google Search represents

approximately     % of the profit margin Google earns from Android devices), -886 (Aug. 2024

P&D CFO Briefing – Overview Deck showing significant indirect Search revenues that Google

attributes to Android).

        575.    Distributing Search is a strategic part of why Android exists. Rem. Tr. 4003:24–

4004:6 (Samat (Google)).

        576.    Google’s proposed remedies do not directly address existing Android devices that

have pre-installations that were carried out under agreements the Court found unlawful. Rem.

Tr. 4366:7–13 (Murphy (Def. Expert)).

VII.    DISCLOSURES OF SCALE-DEPENDENT DATA NECESSARY TO COMPETE
        WITH GOOGLE

   A.        Index-Data Sharing Remedies Will Help Make Rivals More Competitive

        1.      Google Has A Scale Advantage In Building A Web Index

        577.    Google’s conduct significantly contributed to data scale advantages that have

helped it maintain its monopolies and will continue to do so unless addressed by the remedy. For

example, Google’s anticompetitive conduct “has given Google access to scale that its rivals

cannot match,” including user data, ads data, and data used in its search index. Mem. Op. at 224,

258–59. This significantly contributed to the maintenance of its monopolies.




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       578.    Google has used its unlawfully enhanced scale advantage “to improve its search

product and ads monetization.” Mem. Op. at 226. Google’s anticompetitive conduct has

“substantially contributed” to rivals’ competitive disadvantage in scale. Mem. Op. at 234.

       579.    “Armed with its scale advantage” obtained from exclusionary agreements, Google

used “that data to improve search quality” including to “expand the index, re-rank the SERP, and

improve the ‘freshness’ of results.” Mem. Op. at 230. Without scale it is impossible for rivals to

build an index like Google’s index. Rem. Tr. 836:21–837:23 (Weinberg (DuckDuckGo)) (Half a

dozen companies have tried to match Google scale and gone out of business because it is too

costly.); Rem. Tr. 842:4–13 (Weinberg (DuckDuckGo)) (DDG could never get its long-tail index

up to scale of Google without index data sharing.).

       580.    Scale is used to understand both what to crawl and how to store that information

in an index. Mem. Op. at 35 (“GSEs must determine the order in which they crawl the web. User

data helps GSEs determine which sites to crawl, because it allows general search providers to

understand the relative popularity of various sites. . . . User data also helps GSEs determine the

frequency with which to crawl websites.”); Mem. Op. at 35–36 (“User side data also helps

determine where a webpage resides within the larger index. . . . Each page is assigned to a tier

based on how fresh it needs to be, and the fresher tiers are rebuilt more frequently.”); Rem.

Tr. 404:2–20 (Turley (OpenAI)) (“When sources are less common, we may not know that they

even exit, and we may, thus, not discover what makes the best source.”); Rem. Tr. 840:22–

842:13 (Weinberg (DuckDuckGo)) (Only Google has crawled the web at scale to know what’s

spam and what needs to be indexed.); Rem. Tr. 399:21–402:5 (Turley (OpenAI)) (User location

and click-and-query data are helpful when building out a new search index.).




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       581.    Due to Google’s scale, publishers permit Google to crawl web content not

available to other web crawlers. Rem. Tr. 404:2–20, 407:11–20 (Turley (OpenAI)); Rem.

Tr. 404:21–405:6 (Turley (OpenAI)) (responding to Court question and explaining that

publishers select different crawling permissions on a crawler-by-crawler basis); Rem.

Tr. 406:24–407:9 (Turley (OpenAI)) (responding to Court’s question and explaining that

OpenAI wants to scale quickly so it is attractive to publishers who currently do not permit

OpenAI to crawl their content).

       582.    Google’s search index scale advantages are particularly pronounced for fresh,

local, and long-tail queries. Rem. Tr. 404:2–20 (Turley (OpenAI)) (“When sources are less

common, we may not know that they even exit, and we may, thus, not discover what makes the

best source.”); Rem. Tr. 842:4–13 (Weinberg (DuckDuckGo)) (DDG could never get its long-tail

index up to scale of Google without index data sharing.); Des. Rem. Tr. 51:17–22 (Microsoft-DS

30(b)(6) Dep.) (“[U]nless you’re sharing tail queries, the information is not terribly useful for a

search engine to improve its own product and bridge the scale-gap.”).

       2.      Google Has A Scale Advantage In Building A Knowledge Graph

       583.    A Knowledge Graph is a collection of search indices. Rem. Tr. 839:10–25

(Weinberg (DuckDuckGo)).

       584.    Google’s Knowledge Graph is a first-party data repository that contains a large

amount of facts about the world, which Google users can query for factual information. Des.

Rem. Tr. 202:12–203:4, 203:12–204:3 (Parakh (Google) Dep.) (describing Knowledge Graph).

       585.    To build its Knowledge Graph, Google imports data from many sources. Rem.

Tr. 2879:15–18 (Allan (Def. Expert)).

       586.    Google imports data from the open web to build its Knowledge graph. Rem.

Tr. 2879:15–21 (Allan (Def. Expert)). To the extent that Google is using web pages to build its
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Knowledge Graph where robots.txt is keeping others out, it would have access to data not

available to other search engines. Rem. Tr. 2880:21–2881:3 (Allan (Def. Expert)).

       587.    Google also imports data from its first party database. Rem. Tr. 2881:9–18 (Allan

(Def. Expert)). For local information, it incorporates information from Google’s Geo Index.

Rem. Tr. 2881:12–18 (Allan (Def. Expert)). Incorporating geo index information into the

Knowledge Graph can influence the ranking and retrieval of queries like “restaurants near me.”

Rem. Tr. 2881:19–23 (Allan (Def. Expert)).

       588.    User-generated content is content that is directly supplied by the user to Google.

Rem. Tr. 2884:3–17 (Allan (Def. Expert). Google similarly solicits information from businesses.

Rem. Tr. 2884:19–23 (Allan (Def. Expert). Google’s scale incentivizes users, including

businesses, to generate content for Google. Rem. Tr. 1018:17–1019:6 (Schechter (Microsoft))

(Google’s scale incentivizes businesses to provide information “like their opening hours or if

they’re closed for a special event.”); Rem. Tr. 832:10–833:13 (Weinberg (DuckDuckGo)) (“So

given Google is where most of the traffic is coming from, there is a strong incentive for

[businesses] to [enter updates directly into Google] that they are not doing on either

[DuckDuckGo] or other partners.”).

       589.    Google’s user-generated content is a source of information that Google imports

into the Knowledge Graph for local information. Rem. Tr. 2883:7–2884:1 (Allan (Def. Expert))

(describing DX0208 at -924); DX0208 at -924 (“Much of our [user-generated content] that

represents facts about businesses (e.g. business names, locations, hours, phone numbers, or even

richer data such as restaurant menus) ends up in the Knowledge Engine.”).




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       590.    User-generated content provides a significant amount of local information to

Google. Rem. Tr. 2886:5–12 (Allan (Def. Expert)) (discussing DX0208 at -921); DX0208 at -

921 (In 2019, 50 percent of the new places on Google Maps came from users.).

       591.    Plaintiffs’ RPFJ calls for Google to provide the databases necessary to construct

their own Knowledge Graph (for example, databases containing business hours), not the

underlying technology needed to construct that data. Rem. Tr. 2886:15–24 (Allan (Def. Expert)).

       3.      Plaintiffs’ Index Data-Sharing Remedies Will Accelerate Innovation And
               Competition

       592.    Providing information about Google Search index to third parties could bridge the

quality gap that is a barrier to entry for competition. Rem. Tr. 3848:5–3949:17 (Cue (Apple))

(The only thing besides AI that could aid in the competitive landscape is “to accelerate

[competitors’] ability to hav[e] bigger search indexes [sic].”); Rem. Tr. 392:17–394:16 (Turley

(OpenAI)) (OpenAI views building its own search index as essential to ensure the accuracy of its

GenAI products.).

       593.    Plaintiffs’ index-sharing remedy is similar to what Google originally shared under

its agreement with Yahoo Japan to syndicate organic results and features and provide other

services. Rem. Tr. 2851:22–2852:2 (Allan (Def. Expert)) (Information provided to Yahoo Japan

is very similar to the search index information Plaintiffs have proposed be shared with qualified

competitors.); Rem. Tr. 3083:7–3084:3 (J. Adkins (Google)) (same); Des. Rem. Tr. 51:10–52:6

(Google-JA 30(b)(6) Dep.) (“[F]rom 2010 to 2018, Google provided Yahoo Japan with the

components of the index identified in Section 2.9 of Exhibit 4 [PXR0598]? A. Yes.”) (discussing

PXR0598 at -726 (Google-Yahoo Japan Google Services Agreement)).

       594.    Like the Yahoo Japan agreement, the RFPJ does not require sharing Google’s

web index in its entirety, but rather requires sharing information about the web index, for


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example, DocIDs, a DocID to URL map, whether the document is a duplicate, and a device-type

notation (e.g., whether a page is set up to display on a phone or a laptop). Rem. Tr. 3086:21–

3089:23 (J. Adkins (Google)); Pls. RPFJ § VI.A.

       595.    The RPFJ also requires Google share three static signals about the documents

contained in Google’s search index: popularity, quality and spam. Pls. RPFJ § VI.A.3; Rem.

Tr. 2874:7–11 (Allan (Def. Expert). Popularity is a “notion of how popular a page is.”

PXR0171* at -097. It is based on Chrome visits the website receives. PXR0171* at -098;

PXR0356 at -744.

       596.    Qualified Competitors can use these signals to identify which webpages to crawl

and index first. Rem. Tr. 2874:21–2875:6 (Allan (Def. Expert)). In addition, data related to

duplicates will help rivals significantly focus their crawling and web content processing efforts.

RDX0062 at -216 (“To reduce the               links to       ” rivals can use “[d]e-duplication,

which means determining if a link likely returns the same copy as an already known link

(http://microsoft.com vs http://www.microsoft.com)”). The device-type flag will allow rivals to

focus on building a mobile-friendly index. Liab. Tr. 2649:15–20 (Parakhin (Microsoft))

(“[D]evice form factor . . . The most distinct sort of basic ones is desktop and mobile . . . .

Different advertisers have different affinity to different form factors. For example, on the

desktop, you tend to research something that takes more time. Like if you’re looking for a new

mortgage[.] . . . If you’re searching for a restaurant, you’re much more likely to be on your

cellphone, because it’s more likely to be in the moment, where we should eat right now or have

dinner later. . . And it’s not always a sharp boundary, here is a spectrum. But different -- whether

it’s a desktop ad or mobile ad is very much significant for advertisers.”).




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         597.    Even with the index information called for under Plaintiffs’ RPFJ, industry

participants will still need to invest in significant hardware and infrastructure to crawl, retrieve,

and process content from the web to create an inverted index. Rem. Tr. 2870:1–2872:24 (Allan

(Def. Expert)) (discussing RDX0062 at -217); RDX0062 at -217 (“A major challenge Indexing

Engine faces is that it must process billions of URLs at sufficient speed to keep the web index

fresh.”).

         598.    Building out their core index would help improve the accuracy of a rival’s search

and GenAI responses. Rem. Tr. 399:21–402:5 (Turley (OpenAI)) (User location and click-and-

query data are helpful when building out a new search index.); Rem. Tr. 391:16–392:10, 393:22–

394:16 (Turley (OpenAI)) (OpenAI views building its own search index as essential to ensure

the accuracy of its GenAI products.).

         599.    Providing Qualified Competitors with access to information about Google’s

search index will accelerate the development of rival search indices and incentivize innovation.

Rem. Tr. 409:11–410:22 (Turley (OpenAI)) (describing value to both OpenAI’s search index

development and its ability to pursue broader AI and consumer innovations).

    B.        Plaintiffs’ Publisher Opt-Out Remedy Provides Publishers With More Control
              Over Their Content

         1.      Google Extended Opt-Out Only Applies To DeepMind Model Training

         600.    Google uses crawl data in its index to train its foundation models, like the Gemini

model. Rem. Tr. 3348:19–22 (Collins (Google)) (Gemini models are pre-trained on web data.);

PXR0123* at -182–236 (Gemini v3 pre-training data card listing extensive datasets Google uses

to pre-train its Gemini models, including data from the Google Common Corpus).




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       601.    Publishers today can opt out of the Google Extended Program. Opting out permits

a website not to be included in training for Google’s foundational models, the Gemini App, and

Cloud. Rem. Tr. 3654:7–15 (Reid (Google)).

       602.    Under the Google Extended Opt Out, if a publisher opts out, that data cannot be

used by any form of training in Google DeepMind. Rem. Tr. 3351:25–3352:11, 3353:9–19

(Collins (Google)).

       603.    Publishers can ostensibly use the Google Extended Opt Out to prevent Google

from pretraining its AI models on their content. Des. Rem. Tr. 214:13–215:6 (Parakh (Google)

Dep.) (explaining the Google-Extended opt out).

       604.    In April 2024, Google considered how granular it would make publisher’ ability

to opt-out of use of their content for SGE training and grounding, and chose to maintain the

status quo. This option—referred to internally as “do what we say, say what we do, but

carefully”—permitted Google to “[s]ilently update” its existing documentation, but not “shout it

to the world.” Rem. Tr. 3656:7–3660:2 (Reid (Google)) (discussing PXR0026 at -290). Google

continues to use ambiguity and a lack of transparency to train its GenAI models on publishers’

information. PXR0026 at -290 (“do what we say, say what we do, but carefully”); PXR0026

at -290 (“Do not say this opts them out of training, as we don’t want to get into the details of

distinction between Gemini training and SGE training . . . .”); PXR0026 at -290 (“Recommend

not saying this opts them out of grounding, as this is evolving into a space for monetization.”).

       2.      Google Extended Opt-Out Does Not Apply To Search AI Model Training

       605.    The Google-Extended Opt Out does not restrict what the Google search team can

use to train an AI model for a search-specific purpose. Rem. Tr. 3352:8–16, 3353:9–24 (Collins

(Google)).



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          606.   Even if a publisher opts out of Google’s AI training through the Google-Extended

opt-out, Google Search still trains its GenAI models on that publisher’s content. Des. Rem.

Tr. 220:13–15 (Parakh (Google) Dep.) (Google-Extended only applies to core Gemini model

training, not to GenAI model training within Google Search.).

          607.   The Google Extended Program does not apply to Google Search or AI Overviews.

A publisher opting out of Google Extended is still crawled by Google’s web index, will still be a

part of Google’s Search results, and would still appear in response to an AI Overview. Rem.

Tr. 3654:16–3655:4, 3660:4–22 (Reid (Google)).

          608.   The Search team can use the publishers’ opted-out content to further pretrain a

customized search model. Rem. Tr. 3354:19–3355:10 (Collins (Google)).

          609.   The Seach team continues to use the publishers’ opted-out content to fine-tune its

customized search models. Rem. Tr. 3660:13–21 (Reid (Google)).

          3.     To Opt Out Of Search Ai Model Training, A Publisher Would Need To Be
                 Willing To Forego All Search Traffic

          610.   Google provides no way to selectively opt out of AI Overviews; publishers must

either opt out of having snippets of their content appear on Google’s SERP or opt out of

appearing on Google’s SERP altogether. Des. Rem. Tr. 215:7–216:12 (Parakh (Google) Dep.)

(explaining that Google-Extended does not cover use in AI Overviews, so publishers would need

to, at minimum, use the no-snippets meta tag to opt out of all of Google’s snippets,

WebAnswers, and AI Overviews features); Des. Rem. Tr. 310:17–311:2 (Fox (Google) Dep.)

(explaining that publisher’s opting out via robots.txt means opting out of Google’s entire search

index).




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         611.    Google leverages its scale advantages to restrict what agreements rivals can enter

into with publishers. Rem. Tr. 461:19–462:16 (Turley (OpenAI)) (discussing both publishers’

incentives and formal contractual restrictions by Google).

         612.    Google has levered its position to limit the control publishers have over how their

content is used. Des. Rep. Tr. 84:13–25 (OpenAI-NT 30(b)(6) Dep.) (Although publishers can

technically opt out of being crawled by Google, that would be “economically prohibitive” for

most content providers because they receive the majority of their traffic from Google); PXR0026

at -266 (discussing how to limit publisher opt-out options to best benefit Google.); Rem.

Tr. 3660:4–21 (Reid (Google)) (Opted-out content can be used to train search models and can be

displayed as part of AI Overviews.).

         613.    More user traffic to rival search engines and GenAI Products will give publishers

more flexibility to decide when to opt-out of Google’s web crawl or GenAI model training. Rem.

Tr. 405:8–406:18 (Turley (OpenAI)) (describing OpenAI’s goals of increasing traffic to

publishers and improving ecosystem for publishers who want to control how their content is

used).

   C.         User-Side Data Remedies Will Help Make Rivals More Competitive

         1.      User-Side Data Is Critical To Enhancing GSE Quality

         614.    As this Court found, “Google’s exclusive agreements have a[n] . . . important

anticompetitive effect: They deny rivals access to user queries, or scale, needed to effectively

compete.” Mem. Op. at 226. User data is a “critical input” used “[a]t every stage of the search

process” to “directly improve[] quality.” Mem. Op. at 35; Rem. Tr. 1015:20–1016:8 (Schechter

(Microsoft)) (“Search is really dependent on scale”); Rem. Tr. 1246:20–1247:13 (Provost

(Yahoo)) (Yahoo collects user data to improve the quality of Yahoo products.). Rem.

Tr. 2849:9–13 (Allan (Def. Expert)) (It is well understood in the field of information retrieval

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that user-side data can improve the quality of a search engine). Google uses user-side data in

many parts of its search stack. Rem. Tr. 2849:14–2850:2 (Allan (Def. Expert)). Google’s conduct

contributed significantly to Google’s advantage in user-side data advantages and thereby

contributed significantly to the maintenance of Google’s monopolies.

       615.    Via default distribution, Google “derives extraordinary volumes of user data from

such searches” which “[i]t then uses . . . to improve search quality”, “[g]reater query volume

means more user data, or ‘scale,’” and “Google has used its scale advantages to improve the

quality of its search product . . . user data is a critical input that directly improves quality.” Mem.

Op. at 2, 34–35.

       616.    Users demand accuracy and relevance for every search; even a single inaccuracy

can undermine a user’s trust in a rival search engine. Des. Rem. Tr. 195:23–196:7 (Parakh

(Google) Dep.) (“[E]very time we’ve sort of worked on quality in [the search] product, users

return. They value it. It provides them with their daily need.”); Rem. Tr. 1017:16–25 (Schechter

(Microsoft)) (discussing user retention issues due to inaccurate results); Rem. Tr. 1034:22–

1035:8 (Schechter (Microsoft)) (Inaccurate responses to, e.g., local queries are “extinction

events” for Copilot’s userbase.); Rem. Tr. 1080:4–17 (Schechter (Microsoft)) (“[I]f the

relevance, the quality of the results is poor, users will not retain, and we get what we call a leaky

bucket where we’re pouring users in but they’re coming out the bottom.”); PXR0025 at -480

(“Trust is still one of the biggest differentiators for Google.”).

       617.    Google’s scale advantages are particularly pronounced for fresh, local, and long-

tail queries. Rem. Tr. 1016:11–19, 1018:1–16, 1019:10–1020:3 (Schechter (Microsoft))

(describing Bing’s struggle to accurately answer fresh, local, and tail queries); Rem.

Tr. 1018:17–1019:3 (Schechter (Microsoft)) (Local businesses are more likely to share local data



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with search rivals who reach scale.); Des. Rem. Tr. 51:17–22 (Microsoft-DS 30(b)(6) Dep.)

(“[U]nless you’re sharing tail queries, the information is not terribly useful for a search engine to

improve its own product and bridge the scale-gap.”).

       618.     Significantly because of Google’s contracts denying it scale, Microsoft has been

limited in its ability to improve its search index and effectively compete with Google. Liab.

Tr. 2666:21–2667:12 (Parakhin (Microsoft)); Rem. Tr. 1015:20–1016:19 (Schechter

(Microsoft)).

       619.     Quality is an important component of Google Search. Rem. Tr. 3619:10–12,

3620:15–21 (Reid (Google)) (agreeing quality is an important component of Google Search).

The definition of high quality is whether these are good answers for the user, based on whatever

subset one is looking at. Rem. Tr. 3619:13–25 (Reid (Google)) (defining high quality as good

answers for the user, based on whatever subset one is looking at).

       620.     Everything starts with the query. Rem. Tr. 3610:1–4 (Reid (Google)) (“You can’t

fill the response until you have a query”). Queries have an impact on the overall quality. Rem.

Tr. 3610:5–8 (Reid (Google)) (“Queries have an impact on the overall quality”); PXR0171* at

-067 (“starting with a user query . . .”) (emphasis in original).

       621.     Query understanding benefits from user-side data. Mem. Op. at 36–37 (“Because

humans are imperfect, so too are their queries. Google relies on user data to decipher what a user

means when a query is typed imprecisely. For example, user data allows Google to identify

misspellings and reformulate queries using synonyms to produce better results.”).

       622.     Glue is, essentially, a “super query log” used to create ranking signals based on

users’ interactions with the SERP. Rem. Tr. 2808:2–2812:17 (Allan (Def. Expert)); Liab.

Tr. 1807:3–12 (Lehman (Google)) (“[Glue is] not a machine learning model. It’s a big table of



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data. . . . [A] typical entry in this Glue data would be something like. . . a person did this query,

and they scrolled through the list of newspaper articles.”). Glue extends Navboost to include user

interaction with search features. Rem. Tr. 2808:13–2809:6 (Allan (Def. Expert)) (“So Glue

contains -- for example, . . . Navboost information.”); Liab. Tr. 6403:3–5 (Nayak (Google))

(“Glue is just another name for [N]avboost that includes all of the other features on the page.”).

        623.   User-side data at scale, including clicks, queries, and more, train and refine many

of the search signals that ranking algorithms use to identify high quality search results. Mem. Op.

at 36–39; Des. Rem. Tr. 36:5–17, 37:16–21 (Parakh (Google) Dep.) (explaining that Google

Search’s ranking components, including Navboost and Glue models, are built using click-and-

query data); Des. Rem. Tr. 209:3–6, 209:13–20 (Parakh (Google) Dep.) (Google uses search

quality signals derived from, for example, user query sessions, to determine the authoritativeness

of different search results.); Rem. Tr. 843:5–12 (Weinberg (DuckDuckGo)) (User-side data is

fed into machine learning modules to learn how to rank links.); Rem. Tr. 3620:1–4 (Reid

(Google)) (Google uses user feedback as a signal to decide what constitutes a high-quality

result.).

        624.   Plaintiffs have requested that the user-side data used to build Glue be shared, not

the underlying technology that Google uses to build Glue. Rem. Tr. 2808:13–2809:6 (Allan (Def.

Expert)) (“Glue itself is not being asked to be revealed, it’s the data used to construct Glue.”).

        625.   Another key component of a general search service is its whole page ranking

algorithm. Liab. Tr. 10284:8–10285:23 (Oard (Pls. Expert)). Tangram (formerly, Tetris) is a

system that determines the ranking of all items on the SERP. Liab. Tr. 6408:8–24 (Nayak

(Google)). Glue data is a key signal that affects Tangram’s output. UPX0262 at -989 (Glue “is a

critical signal in Tetris.”); Liab. Tr. 6408:22–24 (Nayak (Google)); Des. Rem. Tr. 78:5–18



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(Parakh (Google) Dep.) (describing Google’s use of user feedback data in Tangram, Google’s

system for ranking and organizing all organic features on its SERP); Des. Rem. Tr. 79:25–80:22,

81:1–82:5 (Parakh (Google) Dep.) (describing how Google uses user search queries and search

signals to determine whether an AI Overview is useful or relevant to a user query).

       626.    There are different types of user data. Mem. Op. at. 34. User data includes

information regarding when, where, and how the users issue a query. Rem. Tr. 399:21–402:5

(Turley (OpenAI)) (explaining that user location is helpful when building out a search index);

Liab. Tr. 2256:11–2257:10 (Giannandrea (Apple)) (Location and time of day are also useful

search signals.); Liab. Tr. 6416:24–6417:4 (Nayak (Google)) (Google tracks what type of device

from which each query is issued.). In the ordinary course, Google defines “User Data” as “any

data collected or processed from or about a User while the User is interacting with Alphabet

Company Products. User Data is also any data observed, inferred, or derived from other User

Data where the original User can be identified or original data recreated.” PXR0173* at -451.

       627.    User-side data is also useful for building an index because it is a proxy for quality

content that should be surfaced in response to a user query. Rem. Tr. 411:3–19 (Turley

(OpenAI)) (discussing value of user-side data to build a search index and identify quality search

results for the long tail of user queries); Rem. Tr. 401:13–402:5 (Turley (OpenAI)).

       628.    Microsoft believes Google’s proposal to comply with the DMA “falls short of

providing the minimum necessary click and query information to be useful to a search engine to

‘optimise [sic] their services.’” PXR0255* at -805.

       2.      User-Side Data At Scale Gives Google A Competitive Advantage In Building
               A GSE

       629.    To return useful information, search engines use a number of signals to detect a

useful result. Rem. Tr. 2854:12–18 (Allan (Def. Expert)). Raw signals include things like clicks,


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terms on a document, and terms within a query. Rem. Tr. 2854:22–2855:25 (Allan (Def.

Expert)). Raw signals can be transformed or used to build other signals. Rem. Tr. 2855:1–12

(Allan (Def. Expert)). There are several different types of techniques used to build search

signals. Rem. Tr. 2856:1–6 (Allan (Def. Expert)).

       630.    One method to create signals is to use a counting method. Rem. Tr. 2859:3–9

(Allan (Def. Expert)) (This would be the case where a signal is merely the number of times

something happens, and . . . that would be counted up.”). Navboost provides a signal that is

based on counting clicks on a document. Rem. Tr. 2860:3–21 (Allan (Def. Expert)) (“Yes, the

information about the number of clicks a document got for a query is a counting signal for that

query document pair.”); UPX0191 at -223 (Navboost is a “glorified counting-based system for

memorizing clicks.”). Glue extends Navboost to count user interactions on other items on the

SERP. Liab. Tr. 1806:3–15 (Lehman (Google)) (“[]Glue . . . is well understood as sort of relative

to Navboost. . . . Navboost records clicks on search results for queries, but there are other types

of interactions with a search page, and there are other things on a search page besides just web

search results. There can be all kinds of little boxes with data and images and all that kind of

stuff. And . . . Glue attempts to record all those other interaction types on all those other elements

of the search page for different queries.”).

       631.    Query understanding systems like spelling and synonyms are also counting

models. UPX0191 at -184, -223.

       632.    Google believes count-based systems are transparent. UPX0191 at -223. A system

like Navboost is easy to understand. Rem. Tr. 2936:22–24 (Allan (Def. Expert)); Mem. Op. at 37

(“[Navboost] allows Google to remember which documents users clicked after entering a query

and to identify when a single document is clicked in response to multiple queries.”); Liab.



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Tr. 1805:6–13 (Lehman (Google)) (“Navboost is not a machine learning system. It’s just a big

table. It says . . . for this search query, this document got two clicks.”).

        633.    Another method to create search signals is to use a deep-learning model like

RankEmbedBert. Rem. Tr. 2860:23–2861:10 (Allan (Def. Expert)). RankEmbedBert is a deep

learning system that embeds documents and queries into a dimensional space and then uses the

distance between documents and queries as a measure of relevance. Liab. Tr. 6356:3–20 (Nayak

(Google)) (“[I]f you embedded all these queries [and] documents in this way, if you’re given a

new query, you embedded into the space and you look in the neighborhood around it for

documents that are close by and you retrieve those documents.”). While trained on fewer data

count-based systems, they are trained on user-side data nonetheless. Mem. Op. at 37.

        634.    Unlike “transparent” counting-based systems, for LLM or deep learning models it

is “difficult to characterize what [the model] is actually doing.” Rem. Tr. 2861:13–22 (Allan

(Def. Expert)). This why LLMs or deep-learning models are sometimes referred to as “black

boxes.” Rem. Tr. 2862:4–6 (Allan (Def. Expert)); Rem. Tr. 2936:25–2937:4 (Allan (Def.

Expert)) (“[I]t’s hard to understand what [RankEmbed] is doing inside that black box . . . .”).

        635.    The lack of transparency in LLM-based signals can be a disadvantage. Rem.

Tr. 2936:25–2937:7 (Allan (Def. Expert)). Almost all of Google ranking signals are not built

using an LLM based approach. Rem. Tr. 2937:8–15 (Allan (Def. Expert)) (“Many of the signals

that Google constructs are nonmachine-learned signals.”); PXR0356 at -743 (“Google wants

their signals to be fully transparent so they can troubleshoot and improve them.”).

        636.    Systems like RankEmbed can also perform poorly at the tail. PXR0098* at -197

(“Embeddings do very well on the head and torso, terribly on the tail. That’s why first

impressions are very misleading. With current [neural network] tech anyone can spin up



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something that looks credible until you run a rigorous eval on real traffic.”); PXR0357 at -748

(RankEmbed is “high quality on common queries but can perform poorly on tail queries.”).

       637.    In addition, deep learning systems like RankEmbed “may not be so good at

memorizing facts, but they’re really good at understanding language.” Mem. Op. at 37 (quoting

Liab. Tr. 1846:18–22 (Lehman (Google)) (“Such systems are ‘designed to fill holes in [click]

data’; they allow Google to generalize from situations where it has data to situations it does

not.”); Mem. Op. at 37 (quoting Liab. Tr. 1896:2–19 (Lehman (Google)).

       638.    Google believes that using a mostly non-ML approach to building search signals

is a “big advantage that Google has over Bing and others.” Rem. Tr. 2938:13–18 (Allan (Def.

Expert)); PXR0356 at -743 (“Microsoft builds very complex systems using techniques to

optimize functions. So it’s hard to fix things to know where to go and how to fix functions. And

deep learning has made that even worse.”); Rem. Tr. 1023:19–1024:14 (Schechter (Microsoft))

(responding to the Court’s question and clarifying that Bing’s search ranking is performed by AI

models).

       639.    Google’s non-ML, count-based systems (like Navboost and Glue), however, are

incredibly scale dependent. UPX0191 at -223 (“NavBoost (a glorified counting-based system for

memorizing clicks) is still by far the most important component in search. Its power comes from

memorization: model is huge (       ). This is         times larger than the largest ML model used

in Search: RankBrain (         )[.]”).

       640.    The amount of data Google uses to build count-based systems is not available to

its rivals without Plaintiffs’ data-sharing remedies. Mem. Op. at 37 (“Thirteen months of user

data acquired by Google is equivalent to over 17 years of data on Bing.”) (emphasis in original);

UPX0005 at 811 (“Glue Cache (13 months)”).



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       3.      Plaintiffs’ User-Side Data-Sharing Remedies Will Accelerate Innovation And
               Competition

       641.    Providing Qualified Competitors with access to Google’s user-side data at scale

will help rivals close the scale gap and improve the quality of their GSE. Rem. Tr. 1016:11–19

(Schechter (Microsoft)) (describing value of fresh, tail, and local queries); Des. Rem. Tr. 51:17–

22 (Microsoft-DS 30(b)(6) Dep.) (“[U]nless you’re sharing tail queries, the information is not

terribly useful for a search engine to improve its own product and bridge the scale-gap.”).

       642.    Tail queries particularly benefit from additional scale because these queries are

not frequently observed by GSEs. Mem. Op. at 35, 230; Liab. Tr. 2675:14–24 (Parakhin

(Microsoft)) (Less frequent queries like tail or location-specific queries tend to benefit more

from scale.); UPX1079 at -996 (“[T]he vast number of queries we see rarely or even just once

[are] the tail [queries].”); Liab. Tr. 10343:2–10345:9 (Oard (Pls. Expert)) (“And so it follows

exactly what you would expect, that the long tail queries are where user-side data can be

particularly valuable, because if I have a head query, a query that’s occurring very often . . . then

I don’t have to have a whole lot of user-side data before I’ve seen a lot of [that head query]. And

if I see a lot more [of that head query] I’m not probably going to get a whole lot better. But if I’m

seeing zero or 20, there’s a big difference.”).

       643.    Mobile scale is necessary to improve the quality of mobile search and compete in

general search. Mem. Op. at 34, 230, 234; Liab. Tr. 3495:23–3496:16 (Nadella (Microsoft))

(User quality for search requires participation in both desktop and mobile.); Liab. Tr. 2260:22–

25 (Giannandrea (Apple)) (Differences between mobile and desktop make access to mobile

queries at scale important to search quality on mobile.).

       644.    And fresh queries at scale are important for a GSE to provide useful responses to

queries, as the meaning of search queries and search results change over time. Mem. Op. at 35;


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Liab. Tr. 10337:12–10339:6 (Oard (Pls. Expert)) (By observing users, Google learns that words

have new meanings based on new events.); Liab. Tr. 1899:25–1902:4 (Lehman (Google))

(“[O]ld school techniques” that train on fresh user-side data are used to keep up with current

events.).

       645.    Google sharing its user-side data will allow rivals to accelerate the development

of a competitive search product. Rem. Tr. 2163:8–2165:9, 2194:3–2195:3 (Chipty (Pls. Expert))

(explaining how data remedies are needed to supplement distribution remedies to allow

competitors to develop and have a chance at catching up to Google); Rem. Tr. 409:11–411:3–19

(Turley (OpenAI)) (Accessing Google’s user-side data would enable OpenAI to accelerate the

development of its own index, invest more in core AI innovations, and compete more quickly.);

Rem. Tr. 843:5–17 (Weinberg (DuckDuckGo)) (DDG does not have the queries nor scale to

acquire enough user-side data to properly rank links.); Rem. Tr. 843:24–844:18 (Weinberg

(DuckDuckGo)) (User-side data could move DuckDuckGo forward by years because indices are

so difficult to build.); Rem. Tr. 1248:5–20 (Provost (Yahoo)) (Google click-and-query data

would be useful to Yahoo to refine the quality of Yahoo products.).

       646.    Industry participants could use these data to build out their core index and ranking

technology, and it would also help improve the accuracy of an answer and search grounding.

Rem. Tr. 399:21–402:5 (Turley (OpenAI)) (User location and click-and-query data are helpful

when building out a new search index.); Rem. Tr. 1248:21–24 (Provost (Yahoo)) (If the Court

ordered the data sharing remedies recommended by Plaintiffs, Yahoo would use that data.).

       647.    Sharing Google’s user-side data will enable faster competition by overcoming

rivals’ cold-start problem for long-tail queries. Rem. Tr. 411:3–19 (Turley (OpenAI)); Des. Rem.

Tr. 51:17–22 (Microsoft-DS 30(b)(6) Dep.) (“[U]nless you’re sharing tail queries, the



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information is not terribly useful for a search engine to improve its own product and bridge the

scale-gap.”).

        648.      Sharing user-side data would reduce the importance of scale as a barrier to entry.

Rem. Tr. 2162:22–2163:7 (Chipty (Pls. Expert)). It would also enable potential entrants and

rivals who do not win defaults to invest. Rem. Tr. 2163:8–2164:1 (Chipty (Pls. Expert)). Further,

it would allow rivals to develop their own capabilities faster than they otherwise could. Rem.

Tr. 2163:8–2169:1 (Chipty (Pls. Expert)).

   D.      Data Sharing Remedies Are Feasible

        649.      Plaintiffs’ data sharing remedies are feasible from a technical perspective. Rem.

Tr. 1523:5–21 (Mickens (Pls. Expert)) (Plaintiffs’ proposed data sharing remedies are feasible).

        650.      As part of its indexing process, Google already creates intermediate files with

relevant search index prerequisites. Rem. Tr. 1525:11–1526:8 (Mickens (Pls. Expert)) (Google

creates documents called Cdocs that summarize the most important parts of each webpage,).

        651.      Google’s distributed systems are already designed to facilitate data sharing within

and among Google’s systems. Rem. Tr. 1524:1–16 (Mickens (Pls. Expert)) (Google’s distributed

systems have technical mechanisms to allow data sharing tasks.); Rem. Tr. 1533:24–1534:20

(Mickens (Pls. Expert)) (Taking data sets and making them available to some tasks but not other

tasks is something that hyperscaler companies like Google do all the time.); Rem. Tr. 1533:24–

1534:20 (Mickens (Pls. Expert)) (What Plaintiffs’ data sharing remedies require are things that

Google’s infrastructure is already good at doing.); Rem. Tr. 1536:15–1537:9 (Mickens (Pls.

Expert)) (What Plaintiffs’ data sharing remedies require are things that Google’s infrastructure

already does.).

        652.      Plaintiffs’ data sharing remedies could be implemented in multiple ways. Rem.

Tr. 1535:22–1536:14, 1539:22–1541:4 (Mickens (Pls. Expert)) (asserting that Plaintiffs’ data
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sharing remedies could be implemented in multiple different ways); Rem. Tr. 1537:10–1538:10

(Mickens (Pls. Expert)) (could give Qualified Competitors ability to run tasks in Google data

centers or export data over IP to own data centers); Rem. Tr. 1539:22–1540:22 (Mickens (Pls.

Expert)) (could ship physical storage devices to QCs).

         653.   Google’s pre-existing search infrastructure is amenable to providing search

engine prerequisites and user data to qualified competitors on-demand. Rem. Tr. 1523:5–21

(Mickens (Pls. Expert)) (Google’s pre-existing search infrastructure is amenable to providing

data to qualified competitors.); Rem. Tr. 1524:1–16 (Mickens (Pls. Expert)) (Google could

comply with the Plaintiffs’ proposed remedies by leveraging their pre-existing technical

infrastructure.).

         654.   Google’s hardware and back-end software infrastructure is technically capable of

scaling to manage an increased workload without additional engineering work. Rem. Tr. 1531:1–

25 (Mickens (Pls. Expert)) (Google runs a cluster manager to efficiently allocate tasks).

         655.   It is feasible for Google to isolate qualified competitors’ data requests to prevent

Google from seeing what data competitors are requesting. Rem. Tr. 1537:10–1539:21 (Mickens

(Pls. Expert)) (describing isolation techniques).

    E.      User Side Data Can Be Shared While Preserving Privacy

         656.   The data that is at issue in the proposed remedy can be safely shared by Google in

a way that assures privacy while providing utility to Qualified Competitors. Rem. Tr. 1182:12–

1183:23 (Evans (Pls. Expert)) (“The purpose for the [Q]ualified [C]ompetitors is to improve their

own search engine and improve their products for [their] users . . . not for one particular user

. . . . [T]here are solutions that can be done in a principled way that satisfy those utility goals that

the remedy has and that don’t compromise any privacy risk.”); Rem. Tr. 1163:20–1165:8 (Evans

(Pls. Expert)) (explaining that there are multiple privacy-enhancing techniques that could be
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used, and that they could be used together to preserve privacy, and that “the data that is at issue

in the proposed remedy can be safely shared by Google in a way that assures privacy while

providing utility”); Rem. Tr. 1133:5–22 (Evans (Pls. Expert)) (explaining that even Google’s

privacy expert agrees it is possible to share user-side data while preserving privacy); Rem.

Tr. 1165:9–1166:6 (Evans (Pls. Expert)) (responding to the Court’s question and explaining that

today’s privacy-enhancing techniques prevent bad actors from re-identifying individuals in a

released dataset); Rem. Tr. 3730:2–12, 3805:24–3806:7 (Culnane (Def. Expert)) (explaining

generally that useful data can be shared while protecting privacy).

       657.    While data security focuses on preventing unintended releases of data, data

privacy focuses on preventing the disclosure of sensitive information when intentionally

releasing data. Rem. Tr. 1134:14–1135:19 (Evans (Pls. Expert)) (comparing data security versus

privacy).

       658.    When a data release is for private actors who have agreed to maintain the

confidentiality of the data, the protections do not necessarily need to be as strict as if for a public

release. Rem. Tr. 3685:8–3686:12 (Culnane (Def. Expert)) (stating that “public releases are often

deemed the most at risk because by definition everyone has access to it”).

       659.    Companies like Google collect information about individual users in the form of

raw data, which they can then process in various ways before using or transferring the data. Rem.

Tr. 1134:14–1135:19 (Evans (Pls. Expert)) (explaining the general steps a company takes when

collecting data).

       660.    Google collects a wide array of user-side data for use in its search engine,

including user queries, click-through rates, how long users hover over links, and location data.

Des. Rem. Tr. 36:5–17, 37:16–21 (Parakh (Google) Dep.) (explaining that Google Search trains



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its AI models and ranking algorithms, including Navboost and Glue models, on click-and-query

data it collects from users); Des. Rem. Tr. 101:1–102:3 (Parakh (Google) Dep.) (describing how

Google collects user feedback data for its AI Overviews Search feature); Des. Rem. Tr. 105:13–

106:11 (Parakh (Google) Dep.) (Google trains Search-specific Gemini models on user search

queries.); Rem. Tr. 3694:2–21 (Culnane (Def. Expert)) (Google uses and protects location data in

determining whether a user making a commercial query translates to a physical in-store

purchase.); Rem. Tr. 1136:12–1137:5 (Evans (Pls. Expert)) (describing various types of user-side

data that Google could share with Qualified Competitors).

       661.    Over the last two decades, the privacy field has made significant strides in

formalizing definitions of privacy that mathematically ensure that privacy will be protected.

Rem. Tr. 1138:19–1139:13 (Evans (Pls. Expert)) (describing advances in the privacy field since

2000); Rem. Tr. 1163:20–1164:9 (Evans (Pls. Expert)) (“[T]here are hundreds of different

privacy definitions [today], many more being invented by the academic community every

month.”); Rem. Tr. 1165:9–1166:6 (Evans (Pls. Expert)) (responding to the Court’s question and

explaining that today’s privacy-enhancing techniques prevent bad actors from re-identifying

individuals in a released dataset).

       662.    The strongest formal definition of privacy is differential privacy, which

guarantees a mathematical limit on anything that could be exposed in a data release. Rem.

Tr. 1140:1–1141:1 (Evans (Pls. Expert)) (responding to the Court’s question and explaining

scope of formal privacy guarantees); Rem. Tr. 3686:22–3687:16 (Culnane (Def. Expert))

(“[d]ifferential privacy in its purest form can have a guarantee”); PXR0167* at -569 (Google

document stating that differential privacy has “[r]obust privacy guarantees,” making it

“mathematically impossible to extract more information from the data than intended”).



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       663.    Privacy-enhancing techniques (“PETs”) are mechanisms that satisfy formal

privacy definitions such that sensitive, private information is protected when releasing data.

Rem. Tr. 1133:5–22, 1134:1–1135:19, 1139:14–1141:1 (Evans (Pls. Expert)) (responding to the

Court and explaining how companies can use PETs to assure privacy beyond just anonymity).

       664.    PETs are designed to preserve privacy for both direct identifiers, like Social

Security numbers, and indirect identifiers, which may identify an individual when paired with

other data. Rem. Tr. 1137:6–1141:1:1 (Evans (Pls. Expert)) (addressing the Court’s question and

describing how privacy mechanisms can ensure privacy for both direct and indirect identifiers);

Rem. Tr. 1188:11–19 (Evans (Pls. Expert)) (explaining why just removing direct identifiers

would not be an appropriate way to balance privacy and utility).

       665.    There are several well-established PETs that can be used to protect privacy while

providing Qualified Competitors with high-utility data. Rem. Tr. 1134:1–13 (Evans (Pls.

Expert)) (“There are many well-established privacy-enhancing techniques. There are many

different ways to use them, to combine them” in order to “ensure privacy while providing high

utility.”); Rem. Tr. 1139:14–1141:1 (Evans (Pls. Expert)) (responding to the Court and

explaining how companies can use PETs to assure privacy beyond just anonymity); Rem.

Tr. 1163:20–1164:9 (Evans (Pls. Expert)) (“[T]here are hundreds of different privacy definitions

. . . . And then there are lots of different mechanisms to satisfy those definitions.”); Rem.

Tr. 3731:25–3732:14 (Culnane (Def. Expert)) (agreeing with Plaintiffs’ privacy expert that many

formal privacy definitions exist and many privacy-techniques can be applied to satisfy the many

privacy definitions).

       666.    Determining the appropriate PETs to apply to a data release depends on

understanding both the properties of the data and the intended use cases for that data, then



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conducting a privacy-utility tradeoff. Rem. Tr. 1164:18–1165:8 (Evans (Pls. Expert)) (explaining

factors that someone would need to consider in order to make the appropriate privacy-utility

tradeoff for a data release); Rem. Tr. 1166:22–1169:8 (Evans (Pls. Expert)) (referencing

PXRD007 at 31–37) (explaining the privacy-utility tradeoff curve and how different

combinations of PETs can achieve better privacy-utility tradeoffs); Rem. Tr. 1170:2–1171:7

(Evans (Pls. Expert)) (responding to the Court and explaining that, to understand the appropriate

utility level in this case, a Technical Committee would need to understand the Qualified

Competitors’ specific use cases); Rem. Tr. 1171:8–1173:25 (Evans (Pls. Expert)) (referencing

PXRD007 at 39) (describing how organizations across industry and government, including

Google, conduct privacy-utility tradeoffs in the ordinary course); Rem. Tr. 1174:1–1179:8

(Evans (Pls. Expert)) (responding to the Court’s questions and detailing one way the Technical

Committee could determine the appropriate PETs to use when sharing data in this case); Rem.

Tr. 1181:9–1182:11 (Evans (Pls. Expert)) (referencing PXRD007 at 43) (explaining importance

of having the Technical Committee make this determination); Rem. Tr. 1214:19–1217:11 (Evans

(Pls. Expert)) (walking through one potential process for determining the appropriate privacy-

utility tradeoff); Rem. Tr. 1217:22–1219:3 (Evans (Pls. Expert)) (referencing RDXD083)

(explaining the privacy-utility tradeoff policy generally and that you learn a little about privacy

and a little about the use cases, learning more as the process goes along, making the process

iterative rather than linear); Rem. Tr. 3735:7–15 (Culnane (Def. Expert)) (determining which

privacy-enhancing techniques to apply is technical and iterative).

       667.    The objective in performing the privacy-utility tradeoff is to maximize utility

while maintaining an acceptable level of privacy. Rem. Tr. 1236:15–1237:11 (Evans (Pls.




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Expert)); Rem. Tr. 3733:22–9 (Culnane (Def. Expert)) (“That’s a reasonable level to get – while

analyzing it . . . .”).

        668.     The technical committee is well-positioned to assess the proper levels of privacy

and utility. Rem. Tr. 1237:2–12 (Evans (Pls. Expert)) (explaining the technical committee will

need input from the Qualified Competitors and from Google to make assessment decisions);

Rem. Tr. 3680:1–22 (Culnane (Def. Expert)) (explaining that the privacy assessment is not a

mathematical or numerical line, but an analysis of properties); Rem. Tr. 3686:22–3687:16

(Culnane (Def. Expert)) (stating that privacy experts look at “risk assessments as opposed to

absolute guarantees”); Rem. Tr. 3735:16–23 (Culnane (Def. Expert)) (explaining the need for a

privacy expert and either a search engine expert or an information retrieval expert to perform the

utility use case analysis); Rem. Tr. 3806:4–3807:4 (Culnane (Def. Expert)) (making general

recommendations, including applying differential privacy techniques to aggregate data,

remaining open to applying different privacy protections, and having independent experts

examine data releases).

        669.     For most data use cases, a combination of different PETs will achieve the best

balance of privacy and utility. Rem. Tr. 1166:22–1170:1 (Evans (Pls. Expert)) (referencing

PXRD007 at 31–37) (“For the remedy, it’s probably not just one [privacy-enhancing] technique

. . . And most uses of privacy-enhancing techniques, at least many uses, find the best solution is

to combine several.”); Rem. Tr. 3732:15–3733:1 (Culnane (Def. Expert)) (stating that privacy-

enhancing techniques can be combined); PXR0167* at -573–74 (Google has proposed

combining differential privacy, k-anonymity, and generalization in the past to release click data,

view data, ranking metrics, and query counts.).




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       670.    There are three main categories of PETs: those that add noise to data, like

differential privacy mechanisms; those that add frequency bounds to data, such as those meant to

satisfy k-anonymity; and those that use cryptographic methods to enable data usage while

keeping the data encrypted. Rem. Tr. 1141:12–1142:11 (Evans (Pls. Expert)); Rem. Tr. 1145:2–

1146:23 (Evans (Pls. Expert)) (explaining how one can mathematically ensure that noise protects

privacy by satisfying differential privacy).

       671.    Adding noise to data entails adding random values from a probability distribution

to each data entry in a data release. Rem. Tr. 1142:12–1144:25 (Evans (Pls. Expert)) (responding

to the Court and explaining how applying noise to the data in this case could preserve privacy).

       672.    Adding noise to a data release will distort the specific value of each data entry but

will still provide highly useful data to recipients. Rem. Tr. 1142:12–1144:25 (Evans (Pls.

Expert)) (responding to the Court and explaining how applying noise to the data in this case

could preserve privacy).

       673.    Adding random noise to a dataset is a privacy-enhancing technique meant to

satisfy differential privacy. Rem. Tr. 1145:2–1146:23 (Evans (Pls. Expert)) (describing

mathematical basis for ensuring privacy using differentially private noise).

       674.    The privacy loss parameter, epsilon, allows for precise control over the privacy

utility tradeoff when applying a differential privacy mechanism to a data release. Rem.

Tr. 1145:2–1146:23 (Evans (Pls. Expert)) (“[B]y picking that [epsilon] value and using this

definition [of privacy], you have precise control over the privacy utility trade-off.”); PXR0167*

at -574 (Google document that views privacy loss parameters as means to “control ‘how much’

personal information is revealed in the worst case”).




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       675.      Under differential privacy, a higher epsilon value provides more utility with less

noise while a lower epsilon value provides more privacy with more noise. Rem. Tr. 1146:24–

1147:17 (Evans (Pls. Expert)) (responding to the Court’s question and explaining that the privacy

loss parameter is set depending on the use and privacy needs for a data release).

       676.      Under differential privacy, there is no absolute rule on what the correct value of

epsilon should be; the appropriate value for epsilon depends on what the dataset includes and

what the desired use cases for the data are. Rem. Tr. 1147:18–1148:14 (Evans (Pls. Expert))

(responding to the Court’s question and explaining standards for setting the epsilon value for a

data release).

       677.      Both in industry and government, organizations have already applied privacy-

enhancing techniques to achieve differential privacy when releasing data. Rem. Tr. 1148:15–

1149:1 (Evans (Pls. Expert)) (discussing PXRD007 at 18).

       678.      Another formal definition of privacy is k-anonymity, which is satisfied if every

record in a released dataset is indistinguishable from at least k-1 other records. Rem. Tr. 1150:1–

1151:3 (Evans (Pls. Expert)).

       679.      Organizations like Google need not set a k-threshold based only on raw data to

preserve user privacy when sharing data; they can also apply several techniques like

generalization, suppression, and query-intent grouping to process data such that high-utility data

can still be shared while preserving privacy under k-anonymity. Rem. Tr. 1154:19–1156:10

(Evans (Pls. Expert)) (explaining steps Google could take to release more and higher quality

search data while satisfying k-anonymity); Rem. Tr. 1158:17–1160:20 (Evans (Pls. Expert))

(responding to the Court’s question and identifying several techniques Google could have used

to release more data under the DMA data release while preserving privacy); Rem. Tr. 3795:9–



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3797:10 (Culnane (Def. Expert)) (responding to the Court’s question and explaining that

generalization (grouping queries by intent) is a technique that can meet a noisy threshold to

satisfy differential privacy); Rem. Tr. 3798:23–3800:24 (Culnane (Def. Expert)) (describing by

way of example several different ways to generalize and suppress data including enlarging a

geographic area, increasing a data range, or suppressing the date all together (discussing

RDXD0029 at -.022)).

       680.    Across industry and government, organizations routinely frequency thresholds—

often when paired with other PETs—to preserve privacy when releasing sensitive data. Rem.

Tr. 1156:11–1157:21 (Evans (Pls. Expert)) (discussing PXRD007 at 24–25) (describing several

examples, including examples from Google).

       681.    Basic forms of data processing, such as generalizing user locations and correcting

spelling typos, would be trivial to implement while increasing the amount of data that Google

could release. Rem. Tr. 1161:15–1163:9 (Evans (Pls. Expert)) (describing steps Google failed to

take for the DMA data release); Rem. Tr. 1210:18–1212:10 (Evans (Pls. Expert)) (responding to

the Court and explaining that generalization and suppression could even enable Google to share

some useful data from search queries containing users’ addresses).

       682.    The data encompassed in the AOL data release is not comparable to the data

sharing remedy proposed in this case. Rem. Tr. 1162:22–1169:8 (Evans (Pls. Expert)).

       683.    The 2006 AOL data release did not involve the use of any privacy-enhancing

techniques. Rem. Tr. 1137:16–1138:18 (Evans (Pls. Expert).

       684.    When AOL released user search query data logs in 2006, it only swapped users’

names with numerical identifiers, making it easy to re-identify an individual based on their

queries. Rem. Tr. 1137:16–1138:18 (Evans (Pls. Expert)).



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         685.   The 2006 AOL data release was reckless even by the standards of 2006, resulting

in AOL firing the engineers responsible. Rem. Tr. 1137:16–1138:18 (Evans (Pls. Expert)).

         686.   Today, Google automatically removes all personally identifiable information from

user queries and QSessions before it uses them to improve its search engine and GenAI Products.

Des. Rem. Tr. 170:6–24, 171:7–20, 171:24–25 (Parakh (Google) Dep.) (describing how Google

automatically strips all PII from query data before use as part of its standard user logs processing

pipelines); Rem. Tr. 3731:13–17 (Culnane (Def. Expert)) (acknowledging that Google would use

mechanisms to remove PII); Rem. Tr. 3523:4–3524:23 (Reid (Google)) (describing how “other

techniques to remove things like Social Security numbers and credit card numbers” are generally

“easier” techniques).

         687.   Specifically, Google has used differential privacy on several occasions to preserve

user privacy when collecting and releasing similar data to the data at issue in this case. Rem.

Tr. 1149:2–25 (Evans (Pls. Expert)) (describing Google’s use of differential privacy for search

data, user keyboard entries, and location data); Rem. Tr. 1179:19–1181:3 (Evans (Pls. Expert))

(responding to the Court and describing examples of Google using differential privacy to safely

release high-utility data); PXR0282* at -499 (Google document providing an example of Google

using differential privacy in the regular course of business); PXR0167* at -569–70 (Google

document describing Google’s use of differential privacy to release, e.g., “multiple datasets to

help researchers and health officials fight the pandemic”).

         688.   Google has used k-anonymity to safely release sensitive search query data,

location data, and more. Rem. Tr. 1156:23–1157:21 (Evans (Pls. Expert)) (discussing PXRD007

at 25) (describing recent examples of Google voluntarily sharing sensitive search and location

data).



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       689.    Google uses spelling correction techniques every day. Rem. Tr. 3792:24–3793:5

(Culnane (Def. Expert)); Rem. Tr. 3810:16–23 (Culnane (Def. Expert)) (discussing PXRD023 at

4) (showing Google’s spell correction techniques when searching for Taylor Swift’s birthday).

       690.    Google groups queries by intent every day. Rem. Tr. 3793:6–15 (Culnane (Def.

Expert)); Rem. Tr. 3794:19–23 (Culnane (Def. Expert)) (discussing PXRD023 at 4) (showing

Google’s ability to group different queries by intent when searching for Taylor Swift’s birthday).

       691.    Google has explored ways to privately share user data with Apple for the purpose

of integrating Google products with Apple Intelligence. Des. Rem. Tr. 214:16–216:7 (Fox

(Google) Dep.) (discussing a deal to integrate with Apple Intelligence to provide user data in a

privacy safe manner); PXR0274 at -369, -371.

       692.    There were adequate ways in which Google could protect user privacy while

sharing data through Apple Intelligence. Des. Rem. Tr. 216:16–20 (Fox (Google) Dep.).

       693.    Google publicly announced that it would comply with the European Parliament’s

2022 Digital Markets Act provision requiring Google to share click-and-query data with third

parties. Rem. Tr. 2501:09–2502:5 (Pichai (Google)).

       694.    The DMA analysis cannot be used as a substitute for a new analysis here because

it is a different data set. Rem. Tr. 3738:20–3739:3 (Culnane (Def. Expert)) (explaining that

because the data is different here, he could not rely on the DMA privacy analysis—a new

analysis would need to be performed); Rem. Tr. 3790:1–3, 3790:9–11 (Culnane (Def. Expert))

(did not evaluate the use cases or perform a utility analysis here).

       695.    Google’s approach to k-anonymity under the DMA resulted in the company

removing 99 percent of all queries from its data release. Rem. Tr. 1159:13–1160:20 (Evans (Pls.

Expert)) (responding to the Court’s question and stating “[Google] released about 1 percent of



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the queries. And that meant they were removing the other 99 percent.”); Rem. Tr. 1163:10–19

(Evans (Pls. Expert)) (Google’s approach under the DMA “does not seem like the approach one

would use if you wanted to release high utility data.”); Rem. Tr. 870:4–17 (Weinberg

(DuckDuckGo)) (“In the guise of privacy [Google] removed 99 percent of the queries,” making

the released information “useless.”); Des. Rem. Tr. 73:4–19 (Microsoft-DS 30(b)(6)) (describing

how Google cited privacy concerns as the basis to resist “any meaningful data sharing of click

and query data in Europe.”).

       696.    For its DMA data release, Google applied a k-threshold only on exact query text,

meaning a single typo could be enough to remove a non-sensitive query from the released

dataset. Rem. Tr. 1159:13–1160:20 (Evans (Pls. Expert)) (responding to the Court and

explaining the shortcomings of Google’s approach using exact query matches); Rem.

Tr. 3705:24–3706:6 (Culnane (Def. Expert)) (responding to the Court that the data released

under the DMA did not group queries by intent—“this is purely unique . . . there isn’t any

attempt to save queries in this mechanism”); Rem. Tr. 3795:3–8 (Culnane (Def. Expert))

(discussing PXRD023 at 4) (explaining that under the DMA the queries for Taylor Swift’s

birthday would not be released because more than one character difference exists); Rem.

Tr. 3812:5–12 (Culnane (Def. Expert)) (discussing PXRD023 at 4) (confirming that for purposes

of the DMA release, queries like in the Taylor Swift example, could not be released because the

strings differ by one character).

       697.    For its DMA data release, Google failed to perform a utility analysis. Rem.

Tr. 3706:19–3707:3 (Culnane (Def. Expert)) (explaining that he was not qualified “to look at

how to do that utility analysis”); Rem. Tr. 3736:6–15 (Culnane (Def. Expert)) (explaining that in

determining that a frequency threshold was the only technique that should be applied, he did not



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perform a utility analysis because he is not a utility analyst); Rem. Tr. 3739:6–9, 3790:4–8

(Culnane (Def. Expert)) (no utility analysis was performed).

       698.    For its DMA data release, Google failed to evaluate any use cases. Rem.

Tr. 3789:21–24 (Culnane (Def. Expert)).

       699.    Google is not the only U.S. company capable of protecting user privacy. Rem.

Tr. 3664:10–12 (Reid (Google)).

       700.    Privacy is an issue that all tech companies face. No company is perfect at

addressing privacy concerns, including Google. Rem. Tr. 2484:21–2485:6 (Pichai (Google));

Rem. Tr. 3664:15–18 (Reid (Google)) (acknowledging Google has its own history of issues with

data breaches and privacy breaches).

       701.    Google has dealt with privacy issues in the past. Rem. Tr. 2485:4–6 (Pichai

(Google)).

       702.    In some instances, companies have even rejected Google because they believed its

privacy standards were insufficient. Rem. Tr. 3105:14–25 (J. Adkins (Google)); Des. Rem.

Tr. 20:12–23:3 (Google-JA 30(b)(6) Dep.) (“[I]t was certainly an issue in ongoing negotiations

with any kind of partnership with Snapchat in any kind of potential ads deal that they simply

didn’t believe that it was good enough for their private data -- or their -- for their personal data

and for theirs. So there are definitely examples where companies in this industry don’t believe

that Google’s standards are good enough for them.”).

       703.    In 2011, the Federal Trade Commission alleged Google violated its own privacy

promises to its consumers with its social network, Google Buzz. Rem. Tr. 2486:7–12 (Pichai

(Google)).




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        704.   Google and the FTC ultimately entered into a consent order as a result of the

Google Buzz administrative proceeding. Rem. Tr. 2486:13–16 (Pichai (Google)). As a result of

this order, Google agreed in March 2011 to implement a comprehensive privacy program to

protect user data through 2031. Rem. Tr. 2486:21–2487:12 (Pichai (Google)); PXR0348. Google

has ongoing obligations related to that consent order today. Rem. Tr. 2488:4–8 (Pichai

(Google)); PXR0348.

        705.   In 2012, Google was fined $22.5 million for violating the Google Buzz consent

order. Rem. Tr. 2488:19–25 (Pichai (Google)) (discussing PXR0349).

        706.   Google is not the only U.S. company capable of providing data security to its

users. Rem. Tr. 2484:9–12 (Pichai (Google)) (explaining Google is not the only U.S. company

capable of providing data security to its users); Rem. Tr. 3664:6–14 (Reid (Google)) (Google is

not the only company capable of protecting user privacy.).

        707.   Google is not the only U.S. company capable of preventing data breaches. Rem.

Tr. 2484:9–16 (Pichai (Google)).

        708.   Google has not experienced any data breaches in its process of implementing the

Digital Market Act’s data-sharing requirement. Rem. Tr. 2503:4–8 (Pichai (Google)).

        709.   Yahoo protects the user data that it tracks. Rem. Tr. 1249:15–24 (Provost

(Yahoo)). In the past 3 years, there have been no major data breaches at Yahoo. Rem.

Tr. 1238:21–24, 1249:25–1250:2 (Provost (Yahoo)).

        710.   Yahoo can use Google user data even if it is anonymized. Rem. Tr. 1248:25–

1249:5 (Provost (Yahoo)).

   F.      Ads Data Sharing Remedies Will Improve Competition

        711.   Section VI.E of the RFPJ generally requires disclosure to Qualified Competitors

of Ads Data serving as inputs into the components of Google’s auction and Prediction stack,
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including models computing “predicted click-through rates”, or similar models predicting if a

click is good.

       712.      This Court recognized the critical role scale and access to Ads Data played in

maintaining Google’s monopoly: “Understanding which advertisements users click on (or scroll

past) enables Google to evaluate ad quality and serve more relevant ads in the future. . . . The

more precisely targeted an ad, the greater likelihood that it will be clicked, which translates into

higher revenues that Google uses to make larger revenue share payments.” Mem. Op. at 230.

       713.      This Court also noted, and trial evidence confirmed, that user scale “improves

search ads monetization”—and thus the ability to compete—by enabling ads algorithms to select

higher quality, more relevant ads, improving predicted and actual click-through rates; thereby

improving per-query and per-impression revenue. Mem. Op. at 230; Rem. Tr. 3304:14–3305:4

(Israel (Def. Expert)) (agreeing that “all else equal,” more scale improves ads quality); Rem.

Tr. 1803:23–1804:13 (Epstein (adMarketplace)) (Ads data sharing permits “data scientists to go

in and start to back test different algorithms and see how they would work, and that is -- that is

useful for sure.”); Rem. Tr. 845:23–847:12 (Weinberg (DuckDuckGo)) (About a third of queries

return ads. Although users want some ads, ads displayed at the wrong time, e.g., on navigational

queries, will upset users.); Rem. Tr. 851:17–852:7 (Weinberg (DuckDuckGo)) (Ads data would

help Microsoft and DDG fine tune the ads network that DDG participates in.).

       714.      The Ads Data sharing remedies will increase competition in the search text ads

marketplace by enabling rivals to overcome the scale barrier. Rem. Tr. 1814:20–1815:11

(Epstein (adMarketplace)). Sharing ads data would reduce the importance of scale as a barrier to

entry, Rem. Tr. 2162:22–2163:7 (Chipty (Pls. Expert)), and would allow rivals to develop their




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own capabilities faster than they otherwise could, Rem. Tr. 2163:8–2169:1 (Chipty (Pls.

Expert)).

        715.     Google uses a large amount of user data other than the search query in its ad

models. Rem. Tr. 4407:21–4408:22 (Muralidharan (Google)).

        716.     Google’s LLM advertising models train on some user interaction data. Rem.

Tr. 4459:22–4460:8 (Muralidharan (Google)).

        717.     LEMs trained on user interaction data and used in Google’s ad stack drive 85–

90% of incremental search ads RPM; they are critical for ads in Google. Rem. Tr. 4463:16–

4464:2, 4464:14–23, 4466:6–9 (Muralidharan (Google)) (discussing PXR0246 at -164).

        718.     High quality algorithms do not eliminate the need for scale in improving ads

monetization. Rem. Tr. 1815:12–1816:7 (Epstein (adMarketplace)) (“[T]he algorithms aren’t

really the tough part. It’s the access to the data that’s difficult. You can, you know -- if you have

enough data, you can run algos all day and just A/B test and figure out the ones that are the most

effective. But if you don’t have access to, you know, the data, then you can have the most

brilliant algorithm in the world, you’re never going to be able to test it and see if it works, or A/B

test it or tune it.”).

        719.     The ads data sharing provision in Section VI.E requires only the raw data serving

as inputs to the identified models, not any outputs from those models; for interim models trained

on outputs from other models, Section VI.E seeks only the constituent raw data underpinning the

interim outputs, not any interim outputs themselves.

        720.     For a platform serving search ads, “relevance is revenue,” and monetization

depends on the platform’s ability to serve relevant, targeted ads to the user. Rem. Tr. 1822:19–

1825:3 (Epstein (adMarketplace)); Rem. Tr. 1794:10–1797:3 (Epstein (adMarketplace)) (“[I]n



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search, if you don’t have a Grade A standard product, you’re just not going to have any chance to

do any of the other things like charge advertisers less or pay ad publishers more or, you know,

re-rank in ways that you find more compelling to audiences.”).

       721.       For GSE users, ad quality is an important component of overall search quality and

well-targeted, useful ads improve the overall user experience, attracting more users and

contributing to competition for queries. Rem. Tr. 845:23–847:12 (Weinberg (DuckDuckGo))

(About a third of queries return ads, and users even want some ads.); Rem. Tr. 848:9–21

(Weinberg (DuckDuckGo)) (When ads are good people don’t notice them, or even like them, but

complain about them when they are bad.); Rem. Tr. 4614:10–4615:16 (Chipty (Pls. Expert))

(discussing PXR0246 at -156 as well as PXR0240* at -033 and -064); Liab. Tr. 1328:14–1329:2

(Dischler (Google)) (“[W]e believe that it’s an actually a worse user experience to not have ads

on the page.”).

       722.       Plaintiffs’ Ads Data sharing remedies will enable rivals to improve their ad

algorithms. Rem. Tr. 1803:23–1804:13 (Epstein (adMarketplace)); PXR0047* at -427 (“Need

performance data (e.g., clicks), since Ads LLMs fine-tuned on content + performance data give

gains”); Rem. Tr. 4460:9–16 (Muralidharan (Google)) (LLMs are part of Google’s ad stack,

which is the set of models and algorithms Google relies on to select and serve search ads.).

       723.       Ads Data sharing will improve long-tail search results. Rem. Tr. 848:3–8

(Weinberg (DuckDuckGo)) (Fewer queries mean less ads data.).

       724.       Plaintiffs’ proposed remedy requiring that Google share its ads data contains

provisions safeguarding against any incentive concerns by requiring that any rival seeking data

or syndication services demonstrate a “plan to invest and compete” in a relevant market. Pls.

RPFJ § III.U.



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        725.   With Google sharing its ads data, rivals will have incentives to invest to

differentiate themselves from each other and Google, and Google will retain the incentive to

invest to avoid falling behind. Rem. Tr. 2166:12–2167:18 (Chipty (Pls. Expert)) (explaining that

data enables rivals to innovate, that rivals have incentives to differentiate themselves, and that

Google must respond to greater competitive rivalry); Rem. Tr. 4389:22–4390:3 (Murphy (Def.

Expert)) (agreeing that product differentiation is an important part of competition); Rem.

Tr. 4393:17–22 (Murphy (Def. Expert)) (saying that for browsers, “if you just copycat, you are

not providing independent value”).

        726.   Sharing ads data would enable potential entrants and rivals who do not win

defaults to invest. Rem. Tr. 2163:8–2169:1 (Chipty (Pls. Expert)).

        727.   Google’s concerns regarding reverse engineering are overstated and impractical.

Rem. Tr. 191:21–195:23 (Durrett (Pls. Expert)) (responding to the Court’s question and

explaining that an LLM trained on search results is not performing the same function as a GSE

and as such, one cannot reverse engineer the entire process of Google Search with an LLM);

Rem. Tr. 195: 24–197:19 (Durrett (Pls. Expert)) (explaining the difference between mimicking

and reverse engineering—one might be able to train a model to do the same thing, but that model

would not provide a copy of what Google’s system does, nor the component structure, for

something like the Fast Search system); Rem. Tr. 835:5–836:6 (Weinberg (Duck Duck Go))

(explaining that not enough information is provided in terms of code, subsystems, and outputs to

reverse engineer Google with syndicated search results).

   G.      Ads Data Sharing Is Feasible

        728.   Plaintiffs’ ads data sharing remedies are feasible from a technical perspective.

Rem. Tr. 1523:5–21 (Mickens (Pls. Expert)) (opining that Plaintiffs’ proposed data sharing

remedies are feasible).
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       729.    Google already logs ads data, which it stores in ads storage systems like FLOGs.

Rem. Tr. 1528:25–1530:12 (Mickens (Pls. Expert)) (As part of its ads serving process, Google

stores log data in ad storage systems, including FLOGS.).

       730.    Google’s FLOGS and Kansas databases are the primary systems used to store data

that ad models are trained on. Rem. Tr. 4411:12–4412:6 (Muralidharan (Google)).

       731.    FLOGS is very important for training some of the algorithms Google uses. Rem.

Tr. 4464:24–4465:9 (Muralidharan (Google)).

       732.    While the Kansas database contains individual user-level information, Google’s

FLOGS database does not contain individual user identifiers, although it may contain

information about user activity. Rem. Tr. 4411:12–4412: 9 (Muralidharan (Google)); PXR0247*

at -925 (“Flogs and Woodshed handle privacy compliance, data freshness, and other logs / data

management.”).

       733.    Google’s distributed systems are already designed to facilitate data sharing within

and among Google’s systems. Rem. Tr. 1524:1–16 (Mickens (Pls. Expert)) (Google’s distributed

systems have technical mechanisms to allow data sharing tasks.); Rem. Tr. 1533:24–1534:14

(Mickens (Pls. Expert)) (Taking data sets and making them available to some tasks but not other

tasks is something that hyperscaler companies like Google do all the time.); Rem. Tr. 1536:15–

1537:9 (Mickens (Pls. Expert)) (What Plaintiffs’ data sharing remedies require are things that

Google’s infrastructure already does.); Rem. Tr. 1533:24–1534:20 (Mickens (Pls. Expert)) (What

Plaintiffs’ data sharing remedies require are things that Google’s infrastructure is already good at

doing.).

       734.    Plaintiffs’ ads data sharing remedy could be implemented in multiple ways. Rem.

Tr. 1535:22–1536:14, 1539:22–1541:4 (Mickens (Pls. Expert)) (asserting that Plaintiffs’ data



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sharing remedies could be implemented in multiple different ways); Rem. Tr. 1537:10–1538:10

(Mickens (Pls. Expert)) (could give Qualified Competitors the ability to run tasks in Google data

centers or to export data over IP to own data centers); Rem. Tr. 1539:22–1541:4 (Mickens (Pls.

Expert)) (could ship physical storage devices to Qualified Competitors).

        735.   Google’s pre-existing search infrastructure is amenable to providing ads data to

Qualified Competitors on-demand. Rem. Tr. 1523:5–17 (Mickens (Pls. Expert)); Rem.

Tr. 1524:1–16 (Mickens (Pls. Expert)) (Google could comply with the Plaintiffs’ proposed

remedies by leveraging their pre-existing technical infrastructure.).

        736.   Google’s hardware and back-end software infrastructure is technically capable of

scaling to manage an increased workload without additional engineering work. Rem. Tr. 1531:1–

25 (Mickens (Pls. Expert)) (Google runs a cluster manager to efficiently allocate tasks.).

        737.   It is feasible for Google to isolate Qualified Competitors’ data requests to prevent

Google from seeing what ads data competitors are requesting. Rem. Tr. 1537:10–1539:21

(Mickens (Pls. Expert)) (describing isolation techniques).

VIII. SYNDICATION OF SEARCH RESULTS NECESSARY TO BUILD GSE
      QUALITY AND SCALE OF QUALIFIED COMPETITORS

   A.      Search Syndication Can Provide A Bridge For Competition

        738.   In the context of a general search engine, “search syndication” is when a GSE’s

search results and other organic content is syndicated for display on a different search engine’s

website. Rem. Tr. 2957:25–2958:9 (J. Adkins (Google)).

        739.   Using data to develop a high-quality service takes time, meaning that rivals need

syndication services to enter the markets and meaningfully compete in the short run. Rem.

Tr. 424:20–425:24 (Turley (OpenAI)) (responding to Court’s question and explaining that

syndication is helpful in the short-term because it will “immediately improve the quality of the


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product,” while data sharing and index remedies “aid[] us in the medium run, because it allows

us to own our own destiny and not just partner for real-time information but build a great, high-

quality index that is, you know, proprietary and that can serve our product over time”); Rem.

Tr. 426:2–427:19 (Turley (OpenAI)) (responding to Court’s question and explaining that, even

with full access to Google data, it would take OpenAI at least five years to determine whether

answering 100% of user queries with its own index is achievable); Rem. Tr. 827:16–828:12

(Weinberg (DuckDuckGo)) (SSL could save billions of dollars and many years of

development.); Rem. Tr. 828:20–829:9 (Weinberg (DuckDuckGo)) (SSL would help DDG close

the scale gap in the short term and build indices in the long term.); Rem. Tr. 844:19–845:9

(Weinberg (DuckDuckGo)) (“if you think about the remedies package as a whole, you know, we

-- if we start today and close the gap with syndication data, we need to be simultaneously

building up our own indexes so that as that tapers and the remedies ultimately expire, we can

transfer to our own indexes.”); Rem. Tr. 2164:2–13 (Chipty (Pls. Expert)) (“The syndication

remedy is more of an immediate solution that would give rivals the ability to more rapidly create

consumer-facing products”).

       740.    When implemented properly, organic syndication can encourage competition and

innovation. Rem. Tr. 423:16–424:8 (Turley (OpenAI)) (describing organic syndication as a

necessary component for OpenAI’s future “Super Assistant”); Rem. Tr. 424:20–425:24 (Turley

(OpenAI)) (responding to Court’s question and explaining that syndication is helpful in the

short-term by immediately improving their product quality, while data sharing remedies helps

OpenAI in the medium to long run by enabling OpenAI to improve its own search index); Rem.

Tr. 427:1–13 (Turley (OpenAI)) (“[I]f the index is slower, then we would need the API for

longer.”); Rem. Tr. 475:6–24 (Turley (OpenAI)) (syndication remedies would allow OpenAI to



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“build a better product faster,” both by improving the quality of real-time information used by

their product and “indirectly by accelerating [their] own research and development so that [they]

can focus on other parts”); Rem. Tr. 828:20–829:9 (Weinberg (DuckDuckGo)) (SSL would

allow the building of indices to compete independently with Google.); Rem. Tr. 2194:3–2195:3

(Chipty (Pls. Expert)) (explaining how syndication remedies are needed to allow competitors to

develop and have a chance at catching up to Google while still incentivizing innovation).

       741.    Search syndication can provide a bridge until a new search engine can become

fully independent. Rem. Tr. 3023:16–20 (J. Adkins (Google)); Rem. Tr. 3026:10–23 (J. Adkins

(Google)) (discussing PXR0189).

       742.    “Backfilling” is a technique where a new search engine could use syndicated

results to serve “backfilled” organic results or ads where the new search engine may not have

great quality results. Rem. Tr. 3025:9–23 (J. Adkins (Google)).

       743.    A search engine can use other search services in its early days while it is building

its own search engine to augment their own results and to improve. Rem. Tr. 3027:3–19 (J.

Adkins (Google)) (discussing PXR0189).

       744.    Qualified Competitors can also use syndicated search results and the Fast Search

API for Retrieval Augment Generation. Rem. Tr. 2933:1–6 (Allan (Def. Expert)). Using

syndicated search results for RAG would allow competitors to improve the accuracy of a

qualified competitor’s response to a user prompt. Rem. Tr. 2933:18–23 (Allan (Def. Expert)).

       745.    The proposed SSL would be less expensive than commercial SSLs. Rem.

Tr. 829:10–17 (Weinberg (DuckDuckGo)) (commercial SSLs are very expensive.).




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        746.      The proposed SSL would allow for reranking and product differentiation. Rem.

Tr. 830:6–18 (Weinberg (DuckDuckGo)) (Reranking allows competitors to distinguish their

search engines from Google.).

        747.      The proposed SSL would allow for removing spam. Rem. Tr. 830:19–831:10

(Weinberg (DuckDuckGo)) (DDG receives complaints about spam results but is not allowed to

remove them.).

        748.      SSL provides needed local data. Rem. Tr. 832:10–833:13 (Weinberg

(DuckDuckGo)) (DDG would improve significantly with local search data only Google has.);

Rem. Tr. 834:10–19 (Weinberg (DuckDuckGo)) (Local information allows DDG to minimize

rage quit queries.); Rem. Tr. 1018:1–16, 1019:4–9 (Schechter (Microsoft)) (discussing value of

local data and the fact that local businesses only provide that information to Google).

   B.      Synthetic Queries Can Assist With Quality

        749.      The proposed SSL would allow for storing synthetic queries to collect data that

can be used to improve ranking. Rem. Tr. 832:2–9 (Weinberg (DuckDuckGo)) (Storing synthetic

queries would improve ranking algorithms.).

        750.      Google has allowed its syndication partners to issue synthetic queries. Rem.

Tr. 2852:5–7 (Allan (Def. Expert)).

        751.      Synthetic queries are not generated by end-users. Rem. Tr. 2852:8–20 (Allan

(Def. Expert)).

        752.      The Yahoo Japan syndication agreement permits Yahoo Japan to submit machine

generated queries to Google to assist with Yahoo Japan’s own search quality initiatives, in

numbers capped to approximately thousands or tens of thousands per day. Rem. Tr. 3106:24–

3108:3, 3108:24–3109:5, 3109:11–24 (J. Adkins (Google)).



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        753.      The Yahoo Japan agreement permits Yahoo Japan to store user queries and clicks

to assist in its search quality initiatives. Rem. Tr. 3110:1–13 (J. Adkins (Google)).

        754.      While competitors have restrictions on the use of syndicated data, those

restrictions are part of a commercial offering, not a service offered as part of a remedial order.

Des. Rem. Tr. 110:9–21 (Microsoft-MS 30(b)(6) Dep.) (noting that restrictions are because the

purpose of their syndication products is because it is meant to “power search experiences” and

“not to enable others to create their own search engines.”).

   C.        Google Has Syndication Agreements Today

        755.      Google provides its syndicated search results through an API. Rem. Tr. 2999:4–8

(J. Adkins (Google)); Rem. Tr. 2850:8–12 (Allan (Def. Expert)) (“I learned that Google

syndicated search results in a couple of instances, yes.”).

        756.      Google’s current organic syndicated search offerings provide some of the features

on Google.com. Rem. Tr. 2999:4–3000:6 (J. Adkins (Google)); Rem. Tr. 2850:13–17 (Allan

(Def. Expert)).

        757.      Google has approximately six Web Search Syndication (WSS) partners in the

United States and between 22–40 total globally. Rem. Tr. 3008:1–7 (J. Adkins (Google)).

        758.      Factors that go into WSS pricing are historical pricing and how Google can

maintain good relationships with search partners. Rem. Tr. 3019:21–3021:1 (J. Adkins

(Google)).

        759.      While Google would price WSS-only syndication deals by price per 1000 queries

if sold as a stand-alone product, all existing United States WSS deals include an AFS component

that provides Google’s compensation for its services. Rem. Tr. 3021:3–3022:6 (J. Adkins

(Google)).



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       760.    Jesse Adkins, head of syndication for Google, is unaware of any efforts to

calculate the incremental cost of a query served through Google’s web search API. Rem.

Tr. 3022:17–3023:3 (J. Adkins (Google)).

       761.    Under a white labeling service, a user could enter a query into another search

engine which would return Google search results without the user ever knowing. Rem.

Tr. 3010:2–12 (J. Adkins (Google)).

       762.    PXR0364 accurately reflects the gross revenue Google receives from the search

syndication partners identified in it. Rem. Tr. 3014:8–3015:4 (J. Adkins (Google)).

       763.    Among Google’s syndication agreements is an agreement with Yahoo Japan to

provide syndication and other services. PXR0598 is the current Yahoo Japan contract in effect as

a result of renewals. Des. Rem. Tr. 32:24–33:15 (Google-JA 30(b)(6) Dep.); Des. Rem.

Tr. 32:24–33:15 (Google-JA 30(b)(6) Dep.). PXR0598 is the Yahoo Japan agreement that has

been amended and is currently in effect. Rem. Tr. 3079:3–9 (J. Adkins (Google)). Google’s

internal code name for the Yahoo Japan syndication agreement is “Wasabi.” Rem. Tr. 3012:5–14

(J. Adkins (Google)). Yahoo Japan is a different entity than, and has no corporate relationship

with, the United States-based search engine known as Yahoo, except that Yahoo Japan licenses

the name Yahoo from the U.S. entity. Rem. Tr. 3009:2–9 (Adkins (Google)).

       764.    Plaintiffs’ organic syndication remedy is similar to Google’s current practices

under its Yahoo Japan agreement. Rem. Tr. 3083:17–3084:3 (J. Adkins (Google)) (Jesse Adkins,

Google head of syndication, acknowledging that the Yahoo Japan agreement served as a

foundation for certain data-sharing remedies in Plaintiffs’ remedies).

       765.    Under the syndication agreement, Yahoo Japan has its own advertisers, but

Google provides the core ads technology to run Yahoo Japan’s search ads business. Rem.



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Tr. 3017:24–3018:23 (J. Adkins (Google)); PXR0192* at -177 (describing key deal terms of

Yahoo Japan agreement for ads), -174, -176 (illustrative Yahoo Japan SERPs).

       766.    Jesse Adkins, head of syndication for Google, has been responsible for

implementation of the Yahoo Japan agreement since 2020. Rem. Tr. 3077:16–3078:3 (J. Adkins

(Google)).

       767.    The Yahoo Japan syndication agreement is a white label service, which means

Google provides its search services and Yahoo Japan repackages them as it sees fit. Rem.

Tr. 3078:7–13 (J. Adkins (Google)); PXR0318 at -078; PXR0187* at -903, -917 (describing

white label search). “Since inception, YJ has always had flexibility in the implementation

. . . They can switch search providers entirely or in part (query by query) and customize the

results. . . . They can use any 1P or 3P monetization option, including [Google’s] white-labeled

ads system.” PXR0192* at -167, -171 (“Wasabi Key Deal Terms: Search”), -174, -176

(illustrative Yahoo Japan SERPs).

       768.    Google’s US-based partners would like white labeled, disaggregated individual

search results, including white labeled ads. PXR0191* at -254–55.

       769.    Section 2.9 of the Yahoo Japan agreement (PXR0598) identifies information

Google provided to Yahoo Japan for a period of the agreement; it has subsequently been

amended. Rem. Tr. 3083:7–16 (J. Adkins (Google)).

       770.    Google was obligated under its agreement to provide Yahoo Japan a variety of

information from its web index, including DocIDs, a DocID to URL map, a database of static

signals, and a variety of other signals. Rem. Tr. 3086:21–3089:23 (J. Adkins (Google)).




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       771.    From 2010 to 2018, Google provided Yahoo Japan information called for by

Section 2.9 of the agreement via a “data dump,” also called a file transfer. Rem. Tr. 3085:14–

3086:8 (J. Adkins (Google)). Des. Rem. Tr. 49:6–23, 50:9–52:3 (Google-JA 30(b)(6) Dep.).

       772.    After 2018, Google was obligated to provide the information addressed in

Section 2.9 of the agreement in real time via an API whenever Yahoo Japan submitted a query to

Google. Rem. Tr. 3086:9–20 (J. Adkins (Google)).

       773.    Much of the index information identified in Plaintiffs’ proposed index syndication

provisions mirrors the original Yahoo Japan agreement. Rem. Tr. 3090:6–3092:19 (J. Adkins

(Google)) (discussing PXR0598).

       774.    Appendix 2 of PXR0598 lists data provided by Google to Yahoo Japan (and vice

versa) in connection with the Yahoo Japan syndication agreement. Rem. Tr. 3093:7–3096:6 (J.

Adkins (Google)).

       775.    Google provided extensive search features to Yahoo Japan in connection with the

syndication services. Rem. Tr. 3096:7–3098:18 (J. Adkins (Google)).

       776.    Adkins did not see privacy concerns being implicated in connection with the data

sharing identified in 2.9 of the Yahoo Japan agreement, but rather viewed it as research and

development. Rem. Tr. 3103:7–3104:15 (J. Adkins (Google)).

       777.    During a negotiation with Snapchat, Snapchat rejected the syndication agreement

because Google’s privacy standards were not high enough for its private data. Rem. Tr. 3103:7–

3104:15 (J. Adkins (Google)).

       778.    Google negotiated a syndication agreement with Startpage that required Google to

present a different implementation of syndication to address Startpage’s privacy standards. Rem.

Tr. 3106:1–23 (J. Adkins (Google)).



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        779.    Under the Yahoo Japan agreement, Google syndicates portions of the knowledge

panel to Yahoo Japan. Rem. Tr. 3111:4–7 (J. Adkins (Google)).

   D.        Technical Feasibility Of Data Syndication

        780.    From a technical perspective, Google can feasibly satisfy the syndication

requirements in Plaintiffs’ RPFJ. Rem. Tr. 1523:5–21 (Mickens (Pls. Expert)) (Plaintiffs’

proposed syndication remedies are feasible); Rem. Tr. 1541:8–20 (Mickens (Pls. Expert))

(Google’s data centers are architected to permit the new tasks required by Plaintiffs’ syndication

remedies).

        781.    Google’s past syndication agreements provide a template for feasibly achieving

Plaintiffs’ syndication remedies. Rem. Tr. 1523:5–21 (Mickens (Pls. Expert)) (Google can draw

on its experience with syndicating its search feeds to satisfy Plaintiffs’ proposed syndication

remedies).

        782.    Google’s Yahoo Japan syndication is very similar to the syndication proposed by

Plaintiffs. Rem. Tr. 1541:8–1543:14 (Mickens (Pls. Expert)) (Google’s syndication agreement

with Yahoo Japan is very similar to the syndication required by Plaintiffs’ remedies from a

technical perspective and thus serves as a concrete existence proof); Rem. Tr. 1544:10–21

(Mickens (Pls. Expert)) (differences between proposed remedies and Yahoo Japan do not

undermine external validity).

        783.    Google’s hardware and back-end software infrastructure is technically capable of

scaling to manage an increased workload without additional engineering work. Rem. Tr. 1531:1–

25 (Mickens (Pls. Expert)) (Google runs a cluster manager to efficiently allocate tasks).

        784.    It is feasible for Google to isolate qualified competitors’ data requests to prevent

Google from seeing what qualified competitors are requesting. Rem. Tr. 1537:10–1538:2,

1538:11–1539:21 (Mickens (Pls. Expert)) (describing isolation techniques).
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        785.   When a web search syndicator makes a request, it passes Google its account

identifier for billing purposes, the user’s IP address, the query, and any optional parameters like

language or country code. Des. Rem. Tr. 14:21–15:10 (Google-JA 30(b)(6) Dep.).

   E.      Plaintiffs’ Search Ads Syndication Remedies Will Encourage Competition And
           Provide New Entrants A Bridge To Independence

        786.   In the context of a general search engine, search ads syndication is when the GSE

displays search ads from a third-party syndicator on the GSE’s SERP, often by the GSE

transmitting a user query to the syndicator who returns or otherwise serves search ads on the

GSE’s SERP. Rem. Tr. 2957:25–2958:17, 2959:25–2960:14 (J. Adkins (Google)) (describing a

typical process for syndicating search ads while referencing Google’s process).

        787.   Google currently offers an ads syndication product known as AdSense for Search

or AFS, which syndicates Google search text ads from Google.com advertisers who do not opt

out to Google’s “Search Partner Network,” i.e., third-party publishers. Rem. Tr. 2957:18–24,

2959:8–15 (J. Adkins (Google)) (describing AdSense for Search and the Search Partner

Network); RDX0420 at -461 (combined syndication/AFS contract referring to AdSense for

Search as AFS); PXR0242* at -114 (“AdSense for Search is a publisher product for serving

search (shopping, app, etc) ads on 3rd party search engines (i.e. ask.com, startpage.com, web.de)

and commerce sites (ebay.com, bestbuy.com).”).

        788.   Each of Google’s organic syndication (WSS) agreements with general search

engines in the United States includes an AFS component to compensate Google for the organic

syndication and to provide income to the syndicator. PFOF ¶¶ 757–59.

        789.   When an AFS partner requests an ad, it provides Google with its account

identifier, the query, an ad style identifier, and the maximum number of ads it should return;

Google then creates Google code that will create a direct connection with the user’s browser and


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that will collect the IP address of the user. Des. Rem. Tr. 15:11–17:13 (Google-JA 30(b)(6)

Dep.).

         790.   Currently, there exist only two syndicators of general search text ads of

significance—Google and Bing—and more networks would foment competition. Rem.

Tr. 849:14–850:8 (Weinberg (DuckDuckGo)) (responding to the Court’s question and explaining

that there are only two ad networks today); Rem. Tr. 851:17–852:14 (Weinberg (DuckDuckGo))

(Sharing ads data could “help people start other ad networks,” which would benefit

DuckDuckGo in the long term.).

         1.     The RPFJ’s Search Ads Syndication Remedy Contains Provisions Necessary
                To Fulfill Its Remedial Purpose

         791.   To satisfy its remedial purpose, the RPFJ requires Google to permit Qualified

Competitors using the ad syndication remedy to see or know the identity of and CPCs paid by

advertisers whose ads appear on the Qualified Competitors’ web sites. Pls. RPFJ § VIII.E

(Google must provide “the identity of the advertiser and CPC paid, and conversion data where

available, without restrictions on use of the Ads Data including restrictions on using it to market

or solicit advertisers for the Qualified Competitors’ own advertising products.”); Pls. RPFJ

§ VIII.C (Google must provide advertisers’ placement information.).

         792.   Google’s AFS product restricts publisher’s visibility into and control over the ads

appearing on their sites. Google displays AFS ads in an “iFrame” on the publisher’s web site,

which is a direct connection between the consumer viewing the web page and Google’s servers,

meaning that no ads data goes to the publisher’s computers or servers, including the identity of

the advertiser. Rem. Tr. 2959:25–2960:14 (J. Adkins (Google)). This means that AFS publishers

cannot see, and Google does not provide, the identity of the advertisers whose ads appear on the




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publisher’s website or the individual CPCs paid by those advertisers but instead receive only

some aggregated data. Rem. Tr. 2969:16–2970:16 (J. Adkins (Google)).

        793.     If advertisers know when their ads appear on a Qualified Competitor’s web site

and at what CPC and, conversely, if Qualified Competitors know what syndicated

advertisements appear on their web sites and at what CPC, syndicators can compete on price to

create direct relationships with advertisers, lowering advertiser costs and encouraging switching

between ad platforms. Rem. Tr. 1807:15–1809:1 (Epstein (adMarketplace)) (“[T]he advertisers

who were buying through Google could then see that they’re getting a substantial portion of

volume through us and come to our system directly. Now you’ve gotten rid of the backfill

problem. They’re now saving money on how much they’re spending per click, and yet you’re

still able to, you know, pay a lot to the publisher.”). Google acknowledges preventing this

competition is why it withholds advertiser information from its AFS syndicators. Rem.

Tr. 2970:5–16 (J. Adkins (Google)) (“[D]oes the information given include the identity of the

advertiser? A. No. Q. Why not? A. It’s important, I mean, it’s a trade secret for Google. It is our

customer list . . . .”).

        794.     To satisfy its remedial purpose, the RFPJ requires making the purchase of

syndicated ads by Qualified Competitors available to AFS advertisers on a nondiscriminatory

basis and also requires providing advertisers the option to appear on each individual Qualified

Competitor’s sites on a site-by-site basis. RPFJ § VIII.E. Thus, regardless of whether an

advertiser selects inclusion in Google’s Search Partner Network, it would have the freedom to

choose whether it is or is not eligible to appear on any Qualified Competitors’ site. Pls. RPFJ

§ VIII.E.




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       795.    Google provides its advertisers with limited opt-out rights for its AFS product:

advertisers placing campaigns must either opt out of the Search Partner Network entirely (and

thus appear only on Google owned and operated sites) or opt in to the Network while blocking

individual sites on a site-by-site basis. Rem. Tr. 2959:8–15 (J. Adkins (Google)). Google views

the percentage of Google.com advertisers who opt out of the Search Partner Network as

“basically our [AFS’] customer satisfaction signal.” PXR0232* at -759. The opt-out rate has

steadily climbed in recent years, and now approximately     % of advertiser spend on Google.com

opts out of Google’s existing Search Partner Network. Rem. Tr. 3005:1–3007:12 (J. Adkins

(Google)) (discussing PXR0806); PXR0232* at -758 (showing steadily increasing opt-out rate

for search partner network from 2022 to 2024); Rem. Tr. 1810:10–1812:13 (Epstein

(adMarketplace)) (responding to the Court’s question and explaining that AdSense for Search “is

not a very good feed”).

       796.    As is necessary to satisfy the remedial purpose, the RPFJ bars Google from

placing “any conditions on how any Qualified Competitor may use or display syndicated content

under this Paragraph VIII.E, including on scraping, indexing, or crawling the syndicated results.”

Pls. RPFJ § VIII.E.

       797.    Google bars its current ads syndication partners from scraping, indexing,

crawling, or storing the syndicated results. Rem. Tr. 2987:23–2990:3 (J. Adkins (Google))

(discussing RDX0420). Google imposes this restriction to prevent its current syndication

partners from using the syndicated results to build or improve the quality of their own search

engines, and the RPFJ accordingly removes this restriction. Pls. RPFJ § VIII.E; Rem.

Tr. 3030:6–19 (J. Adkins (Google)).




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       798.    Google restricts a syndicator’s ability to reorder ads, and the RPFJ removes this

restriction. Rem. Tr. 2971:24–2972:21 (J. Adkins (Google)); Pls. RPFJ § VIII.E. At trial, Google

presented a combined syndication/AFS contract with a GSE containing provisions requiring the

GSE to give AFS ads preferred placement over equivalent ads requested from other sources.

RDX0420 at -468 (“If for any Search Query (other than an EEA Query), Company requests

Equivalent AFS Ads, (a) Company will also request AFS Ads for that Search Query, and (b)

Company will display the AFS Ads on the applicable Results Pages so that no Equivalent AFS

Ads appear above or directly adjacent to the AFS Ads.”).

       799.    As is necessary to fulfill the remedial purpose, the RPFJ requires the ad

syndication remedy to provide “latency, reliability, and performance functionally equivalent to

what Google provides for Search Text Ads on its own SERP.” Pls. RPFJ § VIII.E. Provisions of

the ads syndication remedy requiring Google to provide latency, reliability, and performance

substantially equivalent to that on Google’s SERP impose no burden because Google claims to

already provide this for its existing syndication products. Rem. Tr. 2964:15–2965:22 (J. Adkins

(Google)) (comparing what Google provides through AFS to what it provides on its own SERP

and claiming that “generally, our goal is for the system to perform the same”).

       2.      The Ads Syndication Remedy Will Help Rivals Overcome The Cold Start
               Problem

       800.    New GSEs seeking to monetize through search advertising face two cold start

problems related to advertising: (1) a lack of access to scale, which impedes ad targeting and

query understanding and (2) a lack of advertiser liquidity, i.e., individual advertisers seeking to

place ads on the newcomer’s website. Rem. Tr. 1794:5–1797:3 (Epstein (adMarketplace))

(responding to the Court and describing three cold start problems present in this case as a lack of




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user-side data to scale query understanding, a lack of advertiser liquidity, and lack of data to

scale search keyword understanding).

       801.    The RFPJ’s syndication remedies will help overcome the cold start problem.

Rem. Tr. 1803:7–22 (Epstein (adMarketplace)) (“Q Do you believe that the government’s

proposed syndication advertising remedies will assist with what you call the cold start problem?

A Absolutely.”); Rem. Tr. 1809:2–21 (Epstein(adMarketplace)) (“I would call the syndication

remedies as kind of a temporary transition period to overcome the cold start problems, the data

motes that Google has built.”).

       802.    The effects of scale on ad targeting are described in Paragraphs 712–13.

       803.    Syndication enables Qualified Competitors to overcome the cold start problem

related to user scale, and build their own products. Rem. Tr. 1794:5–1797:3 (Epstein

(adMarketplace)) (responding to the Court’s question and describing how syndicating Google’s

“Suggest” API would help adMarketplace overcome its cold start problem for AMP Suggest ads,

how syndicating Google ads would help overcome the cold start problem for advertiser liquidity,

and how organic search syndication would help overcome the cold start problem for organic

search); Rem. Tr. 1800:11–18 (“Access to the Google API for Suggest” and “QBST [query-

based salient terms] . . . would be very helpful because, you know, the ability to have accurate

predictions of what the relevant search term is from a partial query is useful.”).

       804.    Syndication enables Qualified Competitors to overcome the cold start problem

related to advertiser inventory by using Search Text Ads syndication to “backfill” their own ads

on a query-by-query basis while building their own ad inventory. Rem. Tr. 1807:20–1809:1

(Epstein (adMarketplace)) (“[W]e’ll obviously be selling our own text -- our own text ads, but

we’re not going to have every advertiser . . . if we also could what we call backfill with the



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Google feed, then, you know, we’d have more liquidity, attract more supply, be able to, you

know, negotiate terms and pay out higher yields.”); Rem. Tr. 1794:5–1797:3 (Epstein

(adMarketplace)) (responding to the Court and describing cold start problems including

advertiser liquidity). Access to more advertisers—known as “advertiser liquidity” or

“inventory”—increases the possibility that search ad publishers will find a relevant match. Rem.

Tr. 1791:18–1792:1 (Epstein (adMarketplace)) (“[T]he more [advertiser] liquidity or inventory

you have, the more able you are to find a relevant match.”).

       805.    adMarketplace and other syndicators could help a new GSE entrant by building a

custom ad solution for the new entrant. Rem. Tr. 1813:14–1814:9 (Epstein (adMarketplace)) (“Q

To build on the Court’s question, do you believe adMarketplace would be helpful to a new

search engine -- general search engine entrant into the marketplace? A Yeah. With these

remedies? For sure. Q Why? A Because we could build a custom solution for them that would

include not only our own ads but Google-sold ads, and they’d have a lot of flexibility in how

they want to, you know, create that ad experience. And as long as -- you know, we just talked

about, the quality of the click is high, that’s, you know, like, we have skin in the game on that,

too, we have our own advertisers.”).

       806.    Using data to develop a high-quality service takes time, meaning that rivals need

syndication services to enter the markets and meaningfully compete in the short run. Rem.

Tr. 843:24–847:12 (Weinberg (DuckDuckGo)) (describing how using Google’s user-side data to

develop a high-quality search engine “will take years,” explaining how syndication can “close

the gap” with Google in the short term while a search engine builds up its own indexes, and

explaining that ads syndication gives new search entrants a path to a business model).




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       807.    Users of the Search Text Ads Syndication remedy will still invest in their own

technology and products. Rem. Tr. 1809:2–21 (Epstein (adMarketplace)) (“Q If adMarketplace

was able to use a text ad syndication remedy, would adMarketplace continue to invest in its own

technology and products? A Well, 100 percent. . . . [I]f all you’re doing is just brokering Google,

you’re not going to -- you know, there will be other competitors who will come in and do a lot

more than that, and we plan to be one of them.”).

       808.    The Search Text Ads Syndication pricing will disincentivize long-term reliance

on syndicated Google ads. RPFJ § VIII.E (permitting nondiscriminatory pricing of Search Text

Ads syndication; Rem. Tr. 1816:8–14 (Epstein (adMarketplace)) (explaining how the proposed

ad syndication remedies would enable competitors to undercut Google’s current

supercompetitive pricing, allowing advertisers to opt out of syndicated Google ads and

incentivizing Google to lower their pricing to advertisers).

       809.    When implemented properly, ad syndication can encourage competition and

innovation. Rem. Tr. 852:21–854:3 (Weinberg (DuckDuckGo)) (Access to Google’s search ads

syndication market would provide a “built-in business model” for new search entrants, “enabling

new businesses and existing ones to enter the market successfully.”); Rem. Tr. 1816:8–14

(Epstein (adMarketplace)) (explaining how the proposed ad syndication remedies would enable

competitors to undercut Google’s current supercompetitive pricing, incentivizing Google to

lower their pricing to advertisers).

       810.    Google’s Search Ads monetize at a higher rate than those on other search

platforms. Rem. Tr. 850:22–851:8 (Weinberg (DuckDuckGo)) (“[F]or the same queries or set of

queries [Google is] going to make more money than a DuckDuckGo would because they have




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more advertisers, to the judge’s point, bid in and it’s an auction that is going to result in higher

prices.”).

         811.   Under the Yahoo Japan contract, Yahoo Japan provides Google with Yahoo

proprietary data, as defined in Appendix 2 of the contract. Des. Rem. Tr. 35:21–36:10, 36:14–16

(Google-JA 30(b)(6) Dep.); PXR0598 at -749–50 (Appendix B of the Yahoo Japan contract).

         812.   Under the Yahoo Japan agreement, Google is explicitly prohibited from sharing

information from Yahoo Japan with Google sales in the Japan market, although ads engineers

have access to it. Des. Rem. Tr. 37:23–39:9 (Google-JA 30(b)(6) Dep.) (discussing PXR0598).

         813.   Google permits Yahoo Japan to issue machine-generated or synthetic queries to

enable Yahoo Japan to assess Google’s quality and suggest improvements. Des. Rem. Tr. 33:16–

35:18 (Google-JA 30(b)(6) Dep.) (discussing PXR0598 at -723).

         814.   Google’s contract with Yahoo Japan requires Google to provide Yahoo Japan an

impression log showing ads that appeared. Des. Rem. Tr. 41:16–44:15 (Google-JA 30(b)(6)

Dep.) (describing process where Google provides Yahoo Japan with advertiser-level impression

data showing when an ad appeared and when a user clicked on the ad).

         815.   Google does not provide Yahoo Japan information about its ad auction algorithms

or related calculations because “the purpose of this agreement is not for Yahoo Japan to build

their own ad service or improve their ad services.” Des. Rem. Tr. 45:8–47:2 (Google-JA 30(b)(6)

Dep.).

IX.      GENAI MODELS DO NOT REPLACE THE NEED FOR DATA-SHARING
         REMEDIES AND SYNDICATION REMEDIES

         816.   The scale gap between Google and its search rivals persists today despite the

advent of deep learning and GenAI. Rem. Tr. 1033:6–1034:1, 1082:1–1083:2 (Schechter

(Microsoft)) (explaining that the scale gap persists even after Bing’s GenAI improvements);


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Rem. Tr. 3601:13–15 (Reid (Google)) (agreeing that the advent of AI has not eliminated the

need for search).

       817.    GenAI products rely on search results to improve GenAI model outputs. Des.

Rem. Tr. 183:14–184:13 (Parakh (Google) Dep.) (explaining that a “[l]ack of good [search] APIs

is an innovation killer” for GenAI Products, which need access to accurate information in order

to scale); Rem. Tr. 388:9–389:6, 390:7–11, 390:20–22, 391:16–392:10, 417:6–418:5 (Turley

(OpenAI)) (explaining that “search technology is a necessary piece” of OpenAI’s product and

that OpenAI currently partners with multiple search results providers to improve its GenAI

model outputs); Rem. Tr. 699:16–701:5 (Shevelenko (Perplexity)) (explaining that Perplexity

currently partners with multiple search engine results aggregators to improve its GenAI model

outputs); Rem. Tr. 1036:21–1037:10 (Schechter (Microsoft)) (Improving Bing’s search results

would improve the quality of Copilot LLM responses.); PXR0025 at -481 (“[Google has]

differentiation in local/maps. [Search] can help with APIs so that we can call these sources of

information. Lack of good APIs is an LLM innovation killer.”); Rem. Tr. 177:6–179:20 (Durrett

(Pls. Expert)) (discussing how Google’s AI Overviews relies on Google Search to retrieve and

generate results).

       818.    “Search grounding is . . . often also referred to as RAG, or retrieval-augmented

generation.” Rem. Tr. 2853:6–2854:1 (Allan (Def. Expert)); Rem. Tr. 168:13–169:17 (Durrett

(Pls. Expert)) (describing how RAG allows an LLM to incorporate knowledge from outside an

LLM’s training data).

       819.    RAG can serve many purposes. Rem. Tr. 2853:6–2854:1 (Allan (Def. Expert)).

       820.    One purpose of RAG is to have a model answer using sources provided by a

retrieval system as opposed to what the model has learned during pre-training. Rem.



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Tr. 3366:24–3367:2 (Collins (Google)); Rem. Tr. 2853:6–2854:1 (Allan (Def. Expert))(“[M]ost

large language models, these are Generative AI models, typically are trained on up to a certain

point in time, and those grounding technologies, or retrieval-augmented generation technologies,

allow it to pull in additional information that’s newer.”); Rem. Tr. 3634:11–14 (Reid (Google))

(agreeing that “grounding is when an LLM model uses some class of data, often from the web, in

order to improve the accuracy of its response”); Rem. Tr. 391:16–392:10 (Turley (OpenAI)).

       821.    Another purpose of RAG is to pull “in material that is relevant to the query,

. . . and then instruct[] the Generative AI model to use that information to make references to

that, and so that’s where you might see the equivalent of links in a Generative AI output.” Rem.

Tr. 2853:6–2854:1 (Allan (Def. Expert)).

       822.    A typical use case for RAG is giving the model access to a database with real-

time information that the model can use in its responses. Rem. Tr. 3367:3–10 (Collins (Google))

(without RAG, AI chatbots can’t provide the scores to last night National-Phillies game).

       823.    AI hallucinations are incorrect or misleading results that LLMs, including Gemini

models, generate. Rem. Tr. 3369:23–3370:3 (Collins (Google)).

       824.    RAG can reduce hallucinations. Rem. Tr. 3370:15–3371:1 (Collins (Google));

Rem. Tr. 169:24–170:13 (Durrett (Pls. Expert)) (describing how “[s]earch is what anchors an AI

model’s output in reality”).

       825.    For GenAI Products that ground on search results, the quality of the search index

used is one of the most important factors for determining the quality of AI-generated responses.

Des. Rem. Tr. 93:13–94:5 (Parakh (Google) Dep.) (describing search grounding, or retrieval

augmented generation, as a way to “make sure the output [GenAI systems] produce is of higher

quality”); Rem. Tr. 417:2–418:5 (Turley (OpenAI)).



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       826.    Users demand accuracy and relevance for every search; even a single inaccuracy

can undermine user trust in rival GenAI Products. Des. Rem. Tr. 181:17–182:10 (Parakh

(Google) Dep.) (explaining how the quality and factuality of Google’s search product “builds

trust. And if people trust you, they come back.”); Rem. Tr. 399:21–401:11 (Turley (OpenAI))

(discussing need for user-side data to maintain quality and user trust in ChatGPT search

functionality and noting that “all it takes is one user running into a bad answer” to “go back to

their old habits of using the search engines they’re used to”).

       827.    Google’s Gemini App heavily integrates with Search for Search grounding. Rem.

Tr. 3367:11–14 (Collins (Google)).

       828.    Google’s advantages in search assisted in building high-quality GenAI models

and GenAI Search products. Rem. Tr. 174:23–176:10 (Durrett (Pls. Expert)).

       829.    When the Gemini App grounds with search, it is essentially reaching out to the

search engine and issuing a query. Rem. Tr. 3368:1–17 (Collins (Google)); Rem. Tr. 3368:19–

3369:8 (Collins (Google)) (“[The Gemini App] will generate a prompt, a search query based on

the user’s prompt. That search query will then be passed to the search API . . . to retrieve the

documents from Search, . . .[and] those documents will be given to the model and put in its

context window to be used when the model is asked to generate a response.”).

       830.    The Gemini App will often annotate the output and provide links to the URLs that

came back from the Search results. So that user could click through to the publisher if they want

to see the source document. Rem. Tr. 3369:9–21 (Collins (Google)).

       831.    Google’s GenAI chatbot, the Gemini App, relies on search to verify its responses

to user queries. Des. Rem. Tr. 29:2–14 (Google-EC 30(b)(6) Dep.) (“The Gemini chatbot

integrates the Gemini model and a Google Search API to provide the response.”); Des. Rem.



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Tr. 124:25–125:5, 125:11–14 (Parakh (Google) Dep.) (explaining that the Gemini App has

access to the Google Search API, including Google’s FastSearch API, to retrieve search results

for use in its responses to user queries).

        832.    AI Overviews, which are a GenAI feature that appear on some of Google’s

SERPs, call on search to find relevant information and “ground” the GenAI model output. Rem.

Tr. 3615:5–11 (Reid (Google)) (discussing PXR0038 at -303) (“To ensure AI Overviews are

high quality, we’ve integrated our core web ranking systems into this experience, which are

fundamentally designed to surface reliable and relevant information.”); Des. Rem. Tr. 29:17–

30:11 (Google-EC 30(b)(6) Dep.) (“[F]eatures like AI Overviews also incorporate Gemini

models and search results.”); Des. Rem. Tr. 39:1–40:23 (Parakh (Google) Dep.) (describing how

AI Overviews ground on both Google Search results and other Search features); Des. Rem.

Tr. 80:1–22, 81:1–25, 82:1–5 (Parakh (Google) Dep.) (describing how the GenAI model

powering AI Overviews incorporates search results and search signals to ground its responses

and determine whether an AI Overview will be useful or relevant to a user query); Rem.

Tr. 3626:11–3627:7 (Reid (Google)) (discussing PXR0037 at -238) (“Our AI Overviews will be

the most accurate, personal and powerful, capable of reasoning using tools and accessing

Search’s trillion[s] of data points.”).

        833.    AI Overviews also call on Google’s Knowledge Graph to find relevant

information and “ground” the GenAI model output. Rem. Tr. 3613:16–20 (Reid (Google))

(discussing PXR0038 at -303) (“AI Overviews use a customized Gemini model which works in

tandem with our existing Search systems, like our quality and ranking systems and the

Knowledge Graph.”).




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       834.    GenAI chatbots would not eliminate the need for GSEs anytime in the foreseeable

future, and in fact GenAI chatbots need to incorporate aspects of search engines to be successful.

Rem. Tr. 383:18–384:20 (Turley (OpenAI)) (LLMs like ChatGPT cannot do everything a search

engine can do and need to rely on search engines for real-time information); Rem. Tr. 697:5–17,

698:15–699:15 (Shevelenko (Perplexity)); Rem. Tr. 1033:15–1034:21 (Schechter (Microsoft))

(LLMs and GenAI Products need real-time information from search engines in order to generate

quality responses.); Rem. Tr. 3630:3–15 (Reid (Google)) (“I do not believe [chatbots] will

replace search engine[s] without incorporating some of the search engine experience in order to

do so.”).

       835.    Neither Google nor rival search engines have replaced traditional search results

with GenAI search features on their SERPs. Rem. Tr. 3376:3–5 (Collins (Google)); Rem.

Tr. 1037:11–16 (Schechter (Microsoft)) (“If you go to Bing, the traditional results are still the

primary interface you’ll see, but you can opt into Copilot Search or choose to use the Copilot

product.”).

       836.    Google trains the GenAI model that powers AI Overviews with search data. Des.

Rem. Tr. 105:16–106:11 (Parakh (Google) Dep.) (Google trains Gemini models powering AI

Overviews on user search queries); Des. Rem. Tr. 154:4–15, 169:20–170:5 (Parakh (Google)

Dep.) (describing how Google pre-trains and post-trains the GenAI model powering AI

Overviews on search data, including user queries and “inputs that would be relevant to that query

at that point in time and in that location”); PXR0014* at -600 (The goal of Google Search’s

GenAI models, including those used for AI Overviews, is “maximizing value from Gemini for

K&I which includes training on search data as one of the primary mechanisms.”).




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       837.    Industry participants recognize that user-side data would be very useful to their

GenAI products. Rem. Tr. 395:22–397:7 (Turley (OpenAI)) (“[A] bit more than half of what our

users want to do in ChatGPT relies on long-tail queries.”); Rem. Tr. 411:3–19 (Turley (OpenAI))

(explaining that access to Google’s click-and-query data would accelerate OpenAI’s GenAI

product development); Rem. Tr. 464:12–466:12 (Turley (OpenAI)) (User-side data is helpful

both for improving GenAI models and improving GenAI search integrations.); Rem. Tr. 706:23–

707:20 (Shevelenko (Perplexity)) (Perplexity leverages user-feedback data to refine Perplexity’s

systems, including Perplexity’s ranking algorithms.); Rem. Tr. 1033:15–1034:21, 1081:18–25

(Schechter (Microsoft)) (Microsoft’s GenAI Products need access to fresh, local, and long-tail

queries.); Rem. Tr. 1036:21–1037:10 (Schechter (Microsoft)) (More user data would improve

both Bing results and Copilot LLM responses.).

       838.    GenAI search innovations, including search back-end improvements and user-

facing search features, are not enough to close the scale gap between Google and its rivals. Des.

Rem. Tr. 183:14–184:13 (Parakh (Google) Dep.) (explaining that a “[l]ack of good APIs is an

innovation killer” for GenAI Products, which need access to accurate, real-time information in

order to scale effectively); Rem. Tr. 1020:23–1021:5, 1021:19–1022:5, 1023:9–1024:14,

1033:6–1034:21, 1081:18–1082:16 (Schechter (Microsoft)) (discussing Bing’s investments in

GenAI search improvements and how they didn’t overcome Google’s scale gap).

       839.    GenAI Products and search features do not obviate rivals’ need for user-side data.

Rem. Tr. 1033:15–1034:1 (Schechter (Microsoft)) (While GenAI can approximate some user

behavior, real user-side data is needed to close the scale gap—especially for local, and long-tail

queries.); Rem. Tr. 1082:1–1083:2 (Schechter (Microsoft)) (GenAI quality improvements can

never replace user-side data because user expectations and long-tail queries change over time.);



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Des. Rem. Tr. 45:8–23 (Microsoft-BU 30(b)(6) Dep.) (explaining that even the best algorithm,

cannot surmount a lack of scale).

X.      AN LLM CANNOT BE USED TO REPLICATE GOOGLE’S GSE

        840.   LLMs are black boxes and it is not generally understood how they learn. Rem.

Tr. 3348:23–3349:5, 3349:16–23 (Collins (Google)) (Google doesn’t understand how AI models

learn what they learn.); Rem. Tr. 193:1–194:10 (Durrett (Pls. Expert)) (“[W]e typically talk

about large language models as black boxes. And what that means is that when we use a large

language model, it is very, very difficult, effectively impossible to understand how exactly it

produced the output from the inputs that it’s given.”).

        841.   LLMs and search engines are fundamentally different pieces of technology. Rem.

Tr. 3373:18–20 (Collins (Google)); Rem. Tr. 173:22–174:22 (Durrett (Pls. Expert)) (explaining

the differences between LLMs and search engines). “LLMs by themselves cannot replace all of

search functionality.” Rem. Tr. 3601:20–23 (Reid (Google)).

        842.   Even a model trained on all of Google’s search logs and ranking information

would not be comparable to Google Search. Rem. Tr. 3374:1–3375:3 (Collins (Google)).

        843.   Google today hasn’t tried to supplant its entire search stack with an AI model.

Rem. Tr. 3376:3–5 (Collins (Google)).

        844.   Google’s VP of Product at DeepMind, Eli Collins, believes that no one in the

industry has taken the approach of supplanting a search engine with an LLM. Rem. Tr. 3378:3–

14 (Collins (Google)).

        845.   Google’s VP of Product at DeepMind, Eli Collins, believes the correct approach

is to teach a large language model how to use tools like search engines rather than trying to

replicate a search engine as an LLM. Rem. Tr. 3314:20–21, 3377:5–18 (Collins (Google)).



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       846.    RankEmbed, is just one component of Google Search; it is not equivalent to

Google Search. Rem. Tr. 3374:8–3375:3 (Collins (Google)); Rem. Tr. 2947:6–19 (Allan (Def.

Expert)) (“[RankEmbed] is not all of Google’s search technology.”); PXR0172 at -143–44

(depicting full Search stack).

       847.    Google’s Information Retrieval expert did not offer the opinion that a rival could

use an LLM to reverse engineer Google’s source code. Rem. Tr. 2846:7–12, 2847:16–2848:12

(Allan (Def. Expert)).

       848.    Google’s Information Retrieval expert’s “reverse engineering” opinion’s “goal

was to look at whether a [Qualified Competitor] could improve their systems, not whether they

could be as good as Google.” Rem. Tr. 2948:23–2950:1 (Allan (Def. Expert)) (providing an

example that a competitor could improve its product by 25%, not that it would be able to match

Google).

       849.    Google’s Information Retrieval expert did not offer the opinion that Google’s

end-to-end search stack could be reverse engineered using the data called for in Plaintiffs’ RPFJ.

Rem. Tr. 2951:22–2952:8 (Allan (Def. Expert)) (referencing PXR0172 at -143–44) (“I’m not

offering the opinion that these components could be determined based on the learning

approaches I talked about . . . it would be a long slog to get through all of them.”).

XI.    IF THE DATA-SHARING AND SYNDCATION REMEDIES WERE ORDERED,
       RIVALS WOULD STILL HAVE INCENTIVES TO INVEST

       850.    Building search engine technologies takes time, money, and talent, necessitating a

longer access period. Rem. Tr. 397:8–398:4 (Turley (OpenAI)) (responding to the Court and

explaining that, even without coverage for long-tail queries, building a search index is a “multi-

year project”); Rem. Tr. 426:1–427:13 (Turley (OpenAI)) (responding to the Court’s questions

and explaining that, even with full access to Google data and a “smart group of people” at


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OpenAI, it would take the company at least five years to determine whether it could build a

search index that could “stand on its own feet” without relying on third-party search providers);

Rem. Tr. 794:13–798:12 (Shevelenko (Perplexity)) (discussing the costs, time, and talent

required to build Perplexity’s search technologies); Rem. Tr. 2163:8–2165:9, 2194:3–2195:3

(Chipty (Pls. Expert)) (explaining how data and syndication remedies are needed to supplement

distribution remedies to allow competitors to develop and have a chance at catching up to

Google).

       851.    Even with Google sharing its user-side data, rivals will nonetheless have

incentives to invest to differentiate themselves from each other and Google, and Google will

retain the incentive to invest to avoid falling behind. Rem. Tr. 409:11–410:22 (Turley (OpenAI))

(explaining that having access to Google’s data would enable OpenAI to invest more in its core

GenAI products and differentiate itself); Rem. Tr. 2166:12–2167:18 (Chipty (Pls. Expert))

(explaining that data enables rivals to innovate, that rivals will want to differentiate themselves,

and that “Google would have to innovate in response to greater competitive rivalry”); Rem.

Tr. 1546:25–1547:19 (Mickens (Pls. Expert)) (offering opinion that qualified competitors would

want to differentiate themselves from Google if given Google’s user-side data); Rem.

Tr. 4389:22–4390:3 (Murphy (Def. Expert)) (agreeing that product differentiation is an

important part of competition); Rem. Tr. 835:5–836:6 (Weinberg (DuckDuckGo)) (stating that

it’s not a “good business strategy to just copy the competitor” because there’s “not enough

differentiation”); Rem. Tr. 4393:17–22 (Murphy (Def. Expert)) (saying of browsers that “if you

just copycat [Google’s current operation of Chrome], you are not providing independent value”).

       852.    Plaintiffs’ proposed remedy requiring that Google share its user-side data contains

provisions safeguarding against these incentive concerns by requiring that any rival seeking data



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or syndication services demonstrate a “plan to invest and compete” in a relevant market;

requiring rivals to achieve independence by tapering down the organic syndication services they

use; and allowing Google to set any non-discriminatory price it wants for ad syndication

services. Pls. RPFJ § § III.U., VII.C., VIII.E.

       853.    Google’s concerns regarding reverse engineering are overstated and impractical.

Rem. Tr. 835:5–836:6 (Weinberg (DuckDuckGo)) (explaining that the data sharing required

under Plaintiffs’ proposed remedies does not provide enough information for someone to

“reverse engineer” Google, and the idea that rivals could do so is “extremely far-fetched”); Rem.

Tr. 835:5–836:6 (Weinberg (DuckDuckGo)) (explaining how a Google syndicator, Startpage,

has tried to replicate Google Search “for the last 20 years and they’ve never gotten much market

share”).

       854.    Google defines “reverse engineering” overbroadly, including a syndication

partner using Google’s web results to enhance or compare the quality of their search results to

their own to help the development of their own search engine. Rem. Tr. 3028:12–3030:5 (J.

Adkins (Google)).

       855.    Building a search engine today would also require building an LLM. Rem.

Tr. 3851:1–7 (Cue (Apple)) (“If you wanted to build a general search engine today, you would

have to build a large language model as well.”).

       856.    Even fine-tuning an LLM to perform search-like tasks can be expensive. Rem.

Tr. 3350:24–3351:10 (Collins (Google)).

       857.    Building a search engine today would take “many, many years,” certainly more

than five and perhaps as many as thirty. Rem. Tr. 3851:1–3852:6 (Cue (Apple)) (stating that

building a search engine has “gotten harder,” such that building one in 30 years might even be a



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“low” estimate); Rem. Tr. 426:1–427:13 (Turley (OpenAI)) (responding to the Court’s questions

and explaining that, even with full access to Google data, it would take OpenAI at least five

years to determine whether it could build a search technology that could “stand on its own feet”

without relying on third-party search providers); Rem. Tr. 397:8–398:12 (Turley (OpenAI))

(responding to the Court’s question recognizing that the timeline for building a search

technology would be on the “order of years”); Rem. Tr. At 460:6–461:1 (Turley (OpenAI))

(explaining that OpenAI envisions “index technology” as a whole search system technology”).

       858.    Plaintiffs’ proposed data sharing and syndication remedies would also spur

innovation by Google to stay ahead of nascent or better-equipped competition, compounding the

incentives for rivals to invest. Rem. Tr. 2160:21–2161:23 (Chipty (Pls. Expert)) (opining that,

under Plaintiffs’ proposed remedies, “greater competitive rivalry” would cause “Google to

innovate more”); Rem. Tr. 2166:12–2167:18 (Chipty (Pls. Expert)) (observing that free-rider

effects must be balanced against the investment-enhancing effects of the proposed remedies and

that rivals would have “greater ability to innovate” under Plaintiffs’ proposed data sharing and

syndication remedies); PXR0035* at -405 (describing Google’s “innovator’s dilemma,” where

its “existing metrics only reward incremental improvements,” but without dramatic changes to

Search, Google “may not remain competitive for too long”).

       859.    To win distribution and users, Google’s rivals will need to differentiate

themselves from each other and Google, particularly if copying Google is easy. PXR0189 at -474

(internal notes from Jesse Adkins stating that syndicators would “need differentiated value

proposition or large marketing spend to switch users away from incumbents”); Rem. Tr. 835:5–

836:6 (Weinberg (DuckDuckGo)) (stating “I don’t think it’s a good business strategy to just copy

the competitor . . . I think you need to distinguish yourself with different user experience and



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ranking” and describing the possibility of reverse engineering Google Search as “extremely far-

fetched”); Rem. Tr. 2166:12–2167:18 (Chipty (Pls. Expert)) (“Rivals would also want to

differentiate themselves from each other because they’ll be competing to be the default provider.

And so the way to win is to provide a value proposition that someone else doesn’t. Rivals and

Google would have to differentiate from each other to win users.”).

XII.    SEARCH TEXT AD TRANSPARENCY AND REDUCTION OF SWITCHING
        COSTS

   A.      Search Query Report

        860.   As the Court previously determined, one way in which Google’s search text ads

product has degraded over time is that advertisers receive less information in search query

reports (SQRs). Mem. Op. at 263–64.

        861.   This has “diminished advertisers’ ability to tailor their ad strategy in light of such

[low-volume] queries.” Mem. Op. at 263.

        862.   Section VIII(A) provides certain metrics that Google must include in its SQRs

“for each Search Text Ad served or clicked . . . at the individual ad level,” as well as the means

by which such information must be made available. Pls. RPFJ § VIII.A. Although Google

currently provides most of the metrics called for by the RPFJ in its SQRs, it does so at a high

level of aggregation and only for clicked ads. Rem. Tr. 4429:22–4430:25 (Muralidharan

(Google)). Indeed, Google’s current SQRs only provide impression-level reporting at an

aggregated level. Rem. Tr. 4433:17–19 (Muralidharan (Google)). As discussed in more detail

below, aggregated data is less useful when analyzing ad spend. PFOF ¶¶ 871–74.

        863.   Moreover, although Google currently provides data for search text ads that appear

in response to some queries, Google has reduced the scope of queries for which data is reported

in SQRs, thereby diminishing the usefulness of the report to advertisers. As Mr. Vallez


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explained, “[Google’s search query report] has diminished over time in terms of what searches

are included in there. And we use that report for a lot of different services that we offer and so

it’s become less valuable over time as a result.” Rem. Tr. 1383:12–21 (Vallez (Skai)).

        864.    As for the requirement that Google include conversion data, that data is based on

information provided to Google by the advertiser receiving the report. Rem. Tr. 4410:9–11

(Muralidharan (Google)).

        865.    Section VIII.A also provides that the SQRs must include “any other metric

necessary for the advertiser to evaluate its ad performance.” Pls. RPFJ § VIII.A. The advertising

industry generally agrees on the key metrics that are important for understanding how ads are

doing. Rem. Tr. 4537:8–24, 4573:20–4574:11 (Jerath (Pls. Expert)). Section VIII.A thus gives

advertisers the flexibility to respond to changes as they happen in this industry, by requesting

that SQRs include new metrics that may be warranted. Rem. Tr. 4537:8–24, 4573:20–4574:11

(Jerath (Pls. Expert)).

        866.    Google’s behavior, including recent conduct, emphasizes the need to future-proof

the Section VIII.A. remedy and build in flexibility to include new metrics. Rem. Tr. 4537:25–

4538:12, 4573:20–4574:11 (Jerath (Pls. Expert)). For example, in October 2024, Google

announced that it was placing search text ads in its new AI Overview search feature. Rem.

Tr. 3623:45–3625:1 (Reid (Google)); PXR0231* at -050; PXR0019 at -819 (“Search ads are a

critical way for businesses to reach their customers and for people to find new information, and

they continue to be a core part of the Search experience with [AI Overviews].”); PXR0237*

at -007 (“Accompanying the AI-powered overview, ads in [AI Overviews] are providing useful

options for people to take action and connect with businesses across different use cases,” but

Google is “still in the early stages of understanding what a great user interface is for [AI



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Overviews]” and “actively experimenting with how ads will appear as part of [AI Overviews]—

such as building ads directly into the summarized results.”).

        867.   An internal communications document shows that Google anticipated being

“pressed on what’s actually in STR [search terms report],” including whether advertisers would

receive segmented reporting indicating when ads were shown as part of the AI Overviews, and

anticipated other questions such as the ROI for ads shown in AI Overviews and whether

advertisers could opt out of having their ads appear in AI Overviews. PXR0231* at -055–56.

Google disallowed advertisers to opt out and would not provide segmented reporting for AI

Overview, even as Google acknowledged that it did not yet know the ROI for ads appearing in

AI Overview. PXR0231* at -055–56.

        868.   Remedies witnesses universally rejected Google’s privacy justifications for

reducing granularity of its SQR in 2020. UPX0983 at -162 (SQR change “one of the egregious

examples of Google removing transparency from advertisers under the banner of ‘privacy’. . .

[SQR] data has always [been] inherently anonymized and aggregated.”); Mem. Op. at 94; Liab.

Des. Tr. 259:13–260:22 (James (Amazon) Dep.) (“I have no recollection of conversations

regarding privacy concerns in the search query report data prior to this change.”).

   B.      Access To Data Reports

        869.   Section VIII.C concerns data that is generated from advertisers’ own ad spend and

their own ad campaigns. Pls. RPFJ § VIII.C; Rem. Tr. 4541:6–4544:3 (Jerath (Pls. Expert)). This

remedy requires Google to permit advertisers to export data concerning only their own ad spend

and prohibits Google from placing limitations on such exports. Pls. RPFJ § VIII.C.

        870.   For context, advertisers bid for search text ads at the keyword level. Mem. Op.

at 63–64; Rem. Tr. 1377:9–1378:2 (Vallez (Skai)) (“We bid at the keyword level. . . . When we

make decisions, it’s at the keyword level[] . . . .”). Having access to data about their search text
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ad spend on a keyword level would benefit advertisers in managing their ad spend. Rem.

Tr. 1377:21–1378:22 (Vallez (Skai)). As Mr. Vallez of Skai explained, “[T]he more that we’re

able to get down to the user intent and give a relevant response, then the higher performance it’s

going to be. . . . [B]ecause the consumer is engaging at the keyword level, we want to engage at

the same level so we can have the right context and make better decisions on behalf of the

advertiser.” Rem. Tr. 1378:23–1380:2 (Vallez (Skai)) (responding to question from the Court);

Rem. Tr. 3309:9–22 (Israel (Def. Expert)) (agreeing that in general customers can better evaluate

options when they have more information).

       871.    Currently, only some of the data identified in Section VIII.C can be downloaded

using an API, and even then, the data is aggregated. Rem. Tr. 1377:9–1378:2 (Vallez (Skai))

(“[M]ore often than not, [the data Google provides is] aggregated at a higher level.”); Rem.

Tr. 4541:6–4544:3, 4581:9–11 (Jerath (Pls. Expert)). For example, advertisers cannot export

unaggregated raw data pertaining to their own ad spend that is contained within Ads Data Hub

and BigQuery. Rem. Tr. 4437:6–22 (Muralidharan (Google)). Moreover, the ads data that is

available for export is not updated in real time; rather, it can be delayed by as long as 24 hours.

PXR0009* at -856 (“In most cases, your account statistics (such as clicks, conversions, and

impressions) are delayed by less than 3 hours. . . . Conversions attributed using attribution

models other than “Last click” are typically delayed up to 15 hours. However, some metrics and

reports take longer to process or are only calculated once a day.”).

       872.    Indeed, the data that Google makes available to advertisers has declined over

time. Rem. Tr. 1380:3–16 (Vallez (Skai)) (“[O]ver the years, the amount of keyword data [Skai

has] been getting has diminished, and so it’s less and less.”); PXR0228* at -117 (March 2020

internal Kenshoo (later Skai) email) (“[We] have been informed that Google plans to entirely



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deprecate [conversion data] files next year. Additionally, Google explained that they have no

intention of providing a replacement to these files – essentially killing our ability to integrate this

data . . . . They did provide a few possible alternatives right now which mainly revolve around

Google capturing additional information (Kenshoo ID’s) in their Floodlight tags, however this

approach will need to be fully scoped (and will not be the same level of granular data that we see

in the current Data Transfer files).” (emphasis in original)).

       873.    The currently available aggregated data is insufficient for advertisers to conduct

their own advanced independent analysis of their ad spend. Rem. Tr. 4541:6–4544:3 (Jerath (Pls.

Expert)). Advertisers—both large and small—have alternative methods of analyzing their ad

spend outside of Google’s owned-and-operated products, such as using their own tools or those

offered by third parties. Rem. Tr. 4544:5–13, 4593:10–4594:17, (Jerath (Pls. Expert))

(“A]dvertisers also have their own software; they have third-party software. So we shouldn’t

think of advertisers as these, like, dumb people sitting there and Google being the smart one.”);

Rem. Tr. 4594:22–4595:2 (Jerath (Pls. Expert)) (“[S]maller ones can use third-party tools, and

the larger ones have in-house tools and they also use third-party tools.”). To conduct an

independent analysis, however, advertisers need to be able to join their Google ads data with

their own first-party data. Rem. Tr. 4541:6–4544:3 (Jerath (Pls. Expert)). As data gets more

aggregated, such as at a campaign level, “it’s harder to make more informed decisions.” Rem.

Tr. 1380:3–16 (Vallez (Skai)).

       874.    As advertisers can only download aggregated data, they are unable to join their

Google ads and first-party data with high fidelity. Rem. Tr. 4541:6–4544:3 (Jerath (Pls. Expert)).

The aggregated data currently available thus impedes advertisers’ ability to independently

analyze their ad spend. Rem. Tr. 4541:6–4544:3 (Jerath (Pls. Expert)); PXR0193* at -677



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(“BigQuery also requires any usage of this data to use Google specific systems. If a recipient

wants to work with this data day-to-day, they will need to actively use Google Cloud to do so,

and will never be able to fully decouple from Google Cloud, i.e. download a full copy of the data

for local processing.”); PXR0229* at -118 (“The inability to map campaign level performance

data from DCM into Kenshoo [Skai] can negatively impact a clients performance by not having

all conversions to leverage for optimization.”). In its own internal documents, Google concedes

that “[a]ggregate data [is] not informative enough for a robust statistical model.” Rem.

Tr. 4544:14–23 (Jerath (Pls. Expert)) (discussing PXR0243* at -910); PXR0243* at -910.

       875.    Having more data would enable advertisers to “make more informed decisions

and ultimately drive better performance.” Rem. Tr. 1378:3–22 (Vallez (Skai)); Rem. Tr. 3309:9–

22 (Israel (Def. Expert)) (agreeing that, in general, customers can better evaluate options when

they have more information). As an example, Mr. Vallez confirmed that having access to ad

spend data on a keyword level would enable Skai to innovate more and improve the quality of its

products, to advertisers’ benefit. Rem. Tr. 1378:3–12, 1384:9–1385:1 (Vallez (Skai)). Notably,

this includes improvement to Skai products that aid in reducing friction for advertisers and

shifting ad spend between search engine platforms. Rem. Tr. 1378:3–12 (Vallez (Skai)). As

Mr. Vallez explained, “[a] lot of value that [Skai] provide[s] is reducing friction” and giving

advertisers “the tools to be able to make better decisions around how to optimize [the] next dollar

spent,” which saves advertisers money. Rem. Tr. 1370:11–1371:5, 1374:4–17 (Vallez (Skai));

Rem. Tr. 4593:10–4594:17 (Jerath (Pls. Expert)) (discussing use of tools outside of Google).

       876.    If Google were to increase the granularity of impression and click-and-query data,

for example, that would enable Skai “to make more informed recommendations, and some of

those could lead to budget shifting.” Rem. Tr. 1385:2–11 (Vallez (Skai)); Rem. Tr. 4593:10–



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4594:17 (Jerath (Pls. Expert)) (“[T]here are outside autobidding tools which are very good,

potentially better than Google if Google would tell us what Google’s tools were, right.”). Google

recognizes internally that “with a lot more granularity of data . . . advertisers can use this precise

data to better understand the distribution.” PXR0230* at -932. Google, however, views that as a

risk because giving advertisers more data “makes it harder for [Google] to pursue [its] pricing

work.” PXR0230* at -932.

        877.   Sharing ads data while protecting privacy is feasible. For example, disclosure can

be limited to only those entities that have demonstrated the ability to protect user privacy—a

practice that is already in place in the industry today. Rem. Tr. 1402:23–1403:10 (Vallez (Skai)).

As Mr. Vallez explained, “The way the industry works today, the way we work with any data

that we receive from Google, it’s based on an authorization process, an approval process to

demonstrate that you have the tools, capabilities to maintain that data. And so I would just

assume that any data that we receive from Google or Bing would go through that same rigor and

same process. And so only individuals or entities that have demonstrated their ability to maintain

user privacy would have access to it. That’s the way it works today.” Rem. Tr. 1403:15–1404:5

(Vallez (Skai)).

   C.        Keyword Matching

        878.   This Court previously concluded that Google’s search text ads product has

degraded in part because advertisers “no longer can opt out of keyword matching.” Mem. Op.

at 263–64.

        879.   Section VIII.B concerns keyword matching and focuses on making available to

advertisers a “true exact match” option when selecting the keyword match for a particular

keyword. Pls. RPFJ § VIII.B; Rem. Tr. 4545:9–18 (Jerath (Pls. Expert)).



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       880.    Although Google has repeatedly pointed to the rise of autobidding as a basis for

rejecting Section VIII.B, having a “true exact match” option available is still important. Keyword

matching and autobidding play different roles. Rem. Tr. 4546:9–22 (Jerath (Pls. Expert)).

Keyword matching focuses on identifying when an advertiser would like for their ad to be

shown. Rem. Tr. 4546:9–22 (Jerath (Pls. Expert)). Autobidding, by contrast, focuses on what the

advertiser’s bid should be and what the price should be when their ad is eligible to be shown.

Rem. Tr. 4546:9–22 (Jerath (Pls. Expert)).

       881.    In addition, the “true exact match” option would allow advertisers to have precise

control over when their ad may be shown and at what price. Rem. Tr. 4546:23–4547:18 (Jerath

(Pls. Expert)). For example, advertisers may have unique value propositions for minor

fluctuations in spelling for a particular keyword. Rem. Tr. 4441:1–21 (Muralidharan (Google)).

With autobidding, by contrast, Google matches variations of the advertiser’s keyword to the

query, and the advertiser necessarily must accept Google’s estimate of the advertiser’s bid for

those queries—even if Google’s matching and bid do not align with what the advertiser wants.

Rem. Tr. 4546:23–4547:18 (Jerath (Pls. Expert)).

       882.    The “true exact match” option would thus allow advertisers to use their own

matching and bids instead of accepting Google’s. Rem. Tr. 4546:23–4547:18 (Jerath (Pls.

Expert)); Rem. Tr. 3284:4–9, 3311:10–14 (Israel (Def. Expert)) (agreeing that advertisers can

and should speak for themselves “with regard to how they design ad campaigns”).

       883.    The desire for a “true exact match” option is also evident in the fact that today

advertisers still accept Google’s “exact match” option but then use negative keywords to rule out

misspellings and other variants. Rem. Tr. 4548:18–4549:9 (Jerath (Pls. Expert)).




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        884.     Finally, the mere fact that advertisers use autobidding does not mean they only

and always use autobidding. Rem. Tr. 4584:6–11 (Jerath (Pls. Expert)). For example, some

advertisers value control over automation. Rem. Tr. 4457:6–18 (Muralidharan (Google));

PXR0233* at -912 (“[T]rust in Google Ads has dropped 5% between 2022 and 2023 . . . we

speculate that this may be related to perceived loss of control over time.”); PXR0238* at -040

(“Advertiser appetite for full automation may not be as high as initially thought – e.g.,

[automatically created assets] adoption hasn’t grown significantly in the past year and is

currently      % of search ads spend across Search and PMax campaigns.”). In fact,

Mr. Muralidharan, Google’s Vice President of Product Management on the Search Ads team,

conceded that multiple small advertising agency search advertising experts have told him that

they want more information on ad placement, performance, and additional metrics. Rem.

Tr. 4457:19–4458:12 (Muralidharan (Google)).

   D.       Search Text Ads Auction Changes

        885.     This Court previously found that “Google designs the auction and controls

underlying inputs that can affect the ultimate price generated by the auction.” Mem. Op. at 82.

This Court further found that Google influences auction outcomes and pricing by adjusting its

auction using “pricing knobs” and launches such as rGSP. Mem. Op. at 83–85.

        886.     Section VIII.D of Plaintiffs’ RFPJ concerns the required disclosure of changes

that Google makes to its search text ad auction. Pls. RPFJ § VIII.D.

        887.     Contrary to Google’s assertions at trial, requiring Google to disclose changes to

its search text ads auction would benefit advertisers. Rem. Tr. 4550:22–4551:5 (Jerath (Pls.

Expert)). Indeed, advertisers base their bidding choices on the auction rules, and when auction

rules change, advertisers respond to those changes. Rem. Tr. 4550:22–4551:5 (Jerath (Pls.

Expert)).
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       888.    Advertisers also consider auction rules when conducting experiments with their

ad spend. Rem. Tr. 4551:6–4552:17 (Jerath (Pls. Expert)). To conduct an experiment, as a first

step an advertiser needs to have a starting point, or bid. Rem. Tr. 4551:6–4552:17 (Jerath (Pls.

Expert)). The advertiser will then see the results of their experiment and determine how to

respond to those results. Rem. Tr. 4551:6–4552:17 (Jerath (Pls. Expert)). At each step—

determining a starting point and determining a response to results—the decision can be different

when auction rules change. Rem. Tr. 4551:6–4552:17 (Jerath (Pls. Expert)). And for different

auctions, the advertiser would experiment differently. Rem. Tr. 4551:6–4552:17 (Jerath (Pls.

Expert)).

       889.    In a similar vein, advertisers consider auction rules even when they use

autobidding. Rem. Tr. 4551:6–4552:17 (Jerath (Pls. Expert)). Advertisers provide the

autobidding program with inputs such as starting bid and budget. Rem. Tr. 4551:6–4552:17

(Jerath (Pls. Expert)). These inputs can be different if advertisers know the auction rules are

different. Rem. Tr. 4551:6–4552:17 (Jerath (Pls. Expert)).

       890.    Google’s assertions that advertisers would be harmed by the proposed auction

disclosures in Section VIII.D underestimate the outside tools available to advertisers and their

capabilities for evaluating their ad spend. Rem. Tr. 4593:10–4594:17 (Jerath (Pls. Expert)).

       891.    Although Google claims the disclosures required under Section VIII.D would be

unduly burdensome, evidence in the case shows otherwise. Jerry Dishler, then-head of Google

Ads, testified: “[W]e do roughly a thousand experiments per year in search ads quality. I would

say 20 percent of them are related to the auction in some way, and then only a fraction of those

are actually launches.” Tr. 1206:10–15 (Dischler (Google)). At the same time, advertisers are




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spending billions of dollars on Google search text ads. Rem. Tr. 4552:22–4553:16 (Jerath (Pls.

Expert)).

XIII. CHOICE SCREENS ON EXISTING NON-APPLE DEVICES, GOOGLE
      DEVICES, AND GOOGLE BROWSERS

   A.        Choice Screens For Google Search Access Points On Existing Non-Apple, Third-
             Party Devices

          892.   The Court found that Google’s contracts establishing it as the preloaded default

were exclusionary and has a significant effect in preserving Google’s monopoly. Mem. Op.

at 216.

          893.   Bias is a fundamental term in behavioral economics. Rem. Tr. 531:25–532:8

(Rangel (Pls. Expert)). Bias refers to changes in the decision context in the way the consumer

encounters the decision that affects the consumer’s decision but has no impact on the economic

fundamentals, the cost and benefits of the options, the number of options that the consumer has,

or the information that the consumer has about them. Rem. Tr. 531:25–532:8 (Rangel (Pls.

Expert)); Rem. Tr. 879:13–16 (Weinberg (DuckDuckGo)) (Users are “more receptive” to a

choice screen if they receive prior information about it.).

          894.   Allowing Google to retain defaults and preinstallation agreements, even with

some constraints, would continue to bias consumer choices in favor of Google. Rem. Tr. 559:1–9

(Rangel (Pls. Expert)).

          895.   Choice friction refers to the complexity and amount of effort that it takes to make

the choice. Rem. Tr. 533:15–17 (Rangel (Pls. Expert)). The impact of defaults increases with

choice friction. Rem. Tr. 560:9–561:10 (Rangel (Pls. Expert)).

          896.   Not all forms of distribution are created equal, in part because of sizable and

robust default effects. Des. Rem. Tr. 105:16–106:2 (Beard (Microsoft) Dep.) (explaining that

distribution without default placement “isn’t enough to have user adoption.”); Rem. Tr. 560:9–

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561:10 (Rangel (Pls. Expert)). When there is third-party distribution, but with much higher

choice friction, the default effect increases. Rem. Tr. 560:9–561:10 (Rangel (Pls. Expert)).

        897.   A choice screen is a user interface that asks the consumer to make an explicit

choice among a number of options. Rem. Tr. 532:9–24 (Rangel (Pls. Expert)). Choice screens on

pre-existing Android devices would address defaults on devices that have already shipped. Rem.

Tr. 2177:3–20 (Chipty (Pls. Expert)). Google’s proposed remedies do not address devices

already in customers’ hands. Rem. Tr 4366:7–21. (Murphy (Def. Expert)).

   B.       Choice Screen Design

        898.   Choice architecture refers to changes in how the information is presented to the

consumer that do not affect the economic fundamentals of decision, including cost, benefits, and

information of a set of options, but can have a powerful effect on the decisions that are made.

Rem. Tr. 532:25–533:5 (Rangel (Pls. Expert)). Examples of choice screen design include

randomizing the order the candidates are listed on the ballot in an election to avoid favoring the

one that is listed first or the number of clicks that have to be made to complete a decision. Rem.

Tr. 533:6–14 (Rangel (Pls. Expert)). How accessible the information is out of the options that are

being presented is another example of choice architecture. Rem. Tr. 533:6–14 (Rangel (Pls.

Expert)).

        899.   The technology industry is aware of the importance of choice architecture. Rem.

Tr. 548:8–13 (Rangel (Pls. Expert)). Google, for example, recognizes the importance of ordering

in the choice screen. Rem. Tr. 543:23–544:19 (Rangel (Pls. Expert)) (discussing PXRD004 at

14); UPX1103 at -775.

        900.   Not all choice screens are created equal. Rem. Tr. 534:9–15 (Rangel (Pls.

Expert)). Elements of the choice architecture affect the performance of a choice screen. Rem.

Tr. 549:21–23 (Rangel (Pls. Expert)). The performance of the choice screen will depend on the
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choice architecture; if the choice architecture is appropriate, it will be more effective. Rem.

Tr. 534:9–15 (Rangel (Pls. Expert)). Examples of such elements include that no option should be

set as a default, options should be listed in a random manner, consumers should have easily

useful and accessible information about the different options, the application should avoid fear

messaging, consumers should be required to scroll through so they see the full set of options

before making a selection, and the number of clicks should be minimized. Rem. Tr. 549:21–

551:5 (Rangel (Pls. Expert)) (discussing PXRD004 at 20–21); PXR0064* at -079.

       901.       Prior to deployment, the choice screen architecture should be reviewed by

someone with behavioral expertise to identify problems with the choice architecture that are

likely to generate biases and decrease the effectiveness. Rem. Tr. 547:16–548:7 (Rangel (Pls.

Expert)).

       902.       When the European choice screens were initially introduced, there were some

problems with the choice architecture. Rem. Tr. 864:1–865:4 (Weinberg (DuckDuckGo))

(European choice screens were only shown once.); Rem. Tr. 865:5–866:3 (Weinberg

(DuckDuckGo)) (European choice screens did not have a tagline, did not change all the search

access points, and did not allow users to go back to the choice screen.); Rem. Tr. 862:6–14

(Weinberg (DuckDuckGo)) (European choice screens had a small positive effect on

DuckDuckGo’s market share, though they would have had more with more advertising.); Rem.

Tr. 536:6–538:4 (Rangel (Pls. Expert)). Experts have estimated, using a counterfactual analysis,

that if some of the problems had been resolved, and all of the individuals in Android in Europe

had access to the choice screen, the effect would have been 3%. Rem. Tr. 536:6–538:4 (Rangel

(Pls. Expert)).




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       903.    The term for the practice to induce consumers to make product selections that are

consistent with technology companies’ objectives is “dark patterns.” Rem. Tr. 548:8–17 (Rangel

(Pls. Expert)). Google has designed choice architecture to increase the use of its products,

including Search. Rem. Tr. 548:18–549:20 (Rangel (Pls. Expert)).

       904.    Google has tracked the amount of choice friction associated with changing search

defaults and the amount of choice friction associated with privacy preferences. Rem. Tr. 548:18–

549:20 (Rangel (Pls. Expert)). Google has enforced contracts with third-party manufacturers to

make sure that the degree of choice friction stays high enough that defaults are hard to change.

Rem. Tr. 548:18–549:20 (Rangel (Pls. Expert)) (discussing PXRD004 at 19); UPX0149

at -062.001–.003.

       905.    Google, however, has also complained to the European Commission about the

Apple choice screen adding significant friction by forcing users to take the additional step of

opening the app store. Rem. Tr. 551:9–555:17 (Rangel (Pls. Expert)) (discussing PXRD004 at

22).

               1.      Search Access Point Choice Screen

       906.    Introducing choice screens would help reduce biases in consumer choice, both in

search applications and search engines, which are associated with previous defaults. Rem.

Tr. 533:18–24, 536:6–14 (Rangel (Pls. Expert)). The introduction of choice screens is unlikely to

harm consumer welfare. Rem. Tr. 534:20–535:10, 555:22–558:4 (Rangel (Pls. Expert)).

       907.    Despite the fact that choice screens will help, they will not be sufficient if

introduced by themselves, even if they are well designed, to fully undo the system that form

biases. Rem. Tr. 533:25–534:8 (Rangel (Pls. Expert)). Allowing Google to retain default

installation agreements, even with some constraints about their distribution, continues to

generate consumer bias in its favor. Rem. Tr. 535:11–20 (Rangel (Pls. Expert)).
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       908.    Choice screens result in a sizable reduction on the existing default biases. Rem.

Tr. 536:15–537:9 (Rangel (Pls. Expert)). For example, in 2023, Mozilla ran a study with 12,000

subjects across three countries in Europe about the impact of introducing choice screens for

browsers, not search engines, and they found that they had a sizable effect on consumer choices.

Rem. Tr. 538:5–25 (Rangel (Pls. Expert)); PXR0043*. Consumers were 13% more likely to

choose independent third-party browsers, defined as a browser older than Samsung, Chrome or

Edge, and this is in comparison to a condition where there was no choice screen and instead just

the defaults that came with the device. Rem. Tr. 538:5–25 (Rangel (Pls. Expert)).

       909.    As another example, the App Tracking Transparency choice screen introduced by

Apple in 2021 resulted in over 80% of users opting out through the use of a choice screen after

only a few months from its introduction. Rem. Tr. 539:1–19 (Rangel (Pls. Expert)).

       910.    Choice screens are well tested in the marketplace. Rem. Tr. 539:20–541:23

(Rangel (Pls. Expert)). Google itself uses choice screens, for example, when a consumer

downloads the Chrome browser app from the Apple Store for an iPhone. Rem. Tr. 539:20–

541:23 (Rangel (Pls. Expert)).

       911.    A study comparing the impact of defaults with a number of choice screens

showed that with a controlled condition with a basic choice screen, when Google users were

asked to switch to Bing, about 1.1% switched, consistent with the European data. Rem.

Tr. 544:20–546:14 (Rangel (Pls. Expert)). The study also incentivizes people in another control

who are Google users to use Bing for two weeks, and at the end of the two weeks, 33% stayed

with Bing, showing that when people tried a new product they may not have with only a choice

screen, given the strong brand familiarity with Google, discover they like another product and

want to stay with it at least in the short-term. Rem. Tr. 544:20–546:14 (Rangel (Pls. Expert)).



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        2.      Search Default Choice Screen

        912.    As Prof. Antonio Rangel explained, “[Choice screens] . . . by themselves, even if

the choice architecture is well designed, . . . will be unlikely . . . [to be] sufficient to fully undo

the persistent Google default biases.” Rem. Tr. 541:24–542:16 (Rangel (Pls. Expert)); (Apple has

not found choice screens to be highly effective, because people still choose the best product,

which today is Google.); Rem. Tr. 3848:5–3849:17 (Cue (Apple)) (Choice screens alone would

be insufficient to remedy Google’s anticompetitive conduct.).

        913.    If the Court introduces other remedies that improve the quality and distribution of

other engines, that would show up on the choice screens and make the choice screens more

effective. Rem. Tr. 541:24–542:16 (Rangel (Pls. Expert)).

        914.    There is a difference between introducing a default and removing it. Rem.

Tr. 542:21–543:22 (Rangel (Pls. Expert)). When there are defaults, consumers engage with these

search and search applications through strong defaults, that favor the defaults. Rem. Tr. 542:21–

543:22 (Rangel (Pls. Expert)).

        915.    Default applications build up a strong brand. Rem. Tr. 542:21–543:22 (Rangel

(Pls. Expert)). Other things being equal, when a consumer is put in an explicit situation to make a

choice, they are more likely to choose what is more familiar that has a stronger brand. Rem.

Tr. 542:21–543:22 (Rangel (Pls. Expert)). Default effects are higher for more familiar brands,

and options with a higher brand familiarity, and the history of exposure to the other default will

affect also that likelihood of switching. Rem. Tr. 586:20–587:11 (Rangel (Pls. Expert)).

        916.    The effectiveness of choice screens will change over time, especially as part of a

broader remedy package that improves the quality and distribution of the competition. Rem.

Tr. 546:15–21 (Rangel (Pls. Expert)). It matters how long the default has been in place. Rem.

Tr. 586:20–587:11 (Rangel (Pls. Expert)).
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       917.    There are cases in which choice screens can be very effective to mitigate certain

problems. Rem. Tr. 3175:8–16 (Muhlheim (Mozilla)). For example, choice screens give small

browsers a chance to compete against the dominant players that have self-preferencing issues.

Rem. Tr. 3175:8–16 (Muhlheim (Mozilla)).

       918.    Mozilla published a study about the effectiveness of browser choice screens in

2023. Rem. Tr. 3175:17–19, 3176:2–11 (Muhlheim (Mozilla)) (discussing PXR0716). Mozilla

concluded that “98% of the people who select a browser through a choice screen expect to

remain with it.” Rem. Tr. 3175:17–3176:11 (Muhlheim (Mozilla)) (discussing PXR0716

at -010). Mozilla’s report also concluded that 97 to 98% of the people in the survey reported that

they wanted to be shown a choice screen. Rem. Tr. 3177:5–3178:10 (Muhlheim (Mozilla))

(discussing PXR0716 at -048); Rem. Tr. 555:22–558:14 (Rangel (Pls. Expert)) (discussing

PXRD004 at 26).

       919.    In terms of the browser choice screen study, Mozilla’s CFO asserts that choice is

an important value for Mozilla, despite not supporting search engine choice screens. Rem.

Tr. 3178:19–3179:9 (Muhlheim (Mozilla)) (discussing PXR0716).

       920.    Choice screens on Chrome for as long as Google owns it address the issue of

opening up the search access points for which Google does not pay for defaults. Rem.

Tr. 2178:19–2179:9 (Chipty (Pls. Expert)). If Google were allowed to pay distributors to have a

choice screen rather than set a competing GSE as the default, it would be important to take steps,

including the additional remedies, to make the remedy effective. Rem. Tr. 2189:8–2191:18

(Chipty (Pls. Expert)) (explaining that if the Court allowed such payments, steps such as

allowing maximum payment flexibility, prohibiting payments to Apple, and the data and

syndication remedies are examples of steps to take to make the remedy more effective).



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        921.   There is a recently published economics article by Decarolis and several people in

which they study the impact of introducing choice screens in Europe, and what they found is that

the introduction of these choice screens early on decrease, on average, Google market share

between half and 1.5 percentage points, depending exactly on how the estimation was done,

which is consistent with a reduction of the default biases by that amount. Rem. Tr. 536:6–538:4

(Rangel (Pls. Expert)). The DeCarolis study leveraged the following: Before the choice screen is

introduced in each of the different European countries, there is a little bit of variation about the

market share of the competitors. And that allows them to ask if the impact of the choice screen is

larger in contrast to which of the competitors have a higher market share. And the answer is yes.

Rem. Tr. 544:20–546:14 (Rangel (Pls. Expert)).

XIV. INNOVATION AND INVESTMENT INCENTIVES

   A.      The Remedies Will Increase Distributors’ Incentives To Make A Rival Search
           Engine And Change The Default

        922.   The Court found that Google’s revenue share payments “undoubtedly have had”

the effect of “keeping Apple on the sidelines of search.” Mem Op. 242.

        923.   Apple would be incentivized to make a rival search engine the default if the

disincentive of Google’s revenue share payments disappeared. Rem. Tr. 3825:7–3829:2 (Cue

(Apple)) (Apple’s SVP of Services “can’t say [he] would disagree” that “it was a disincentive for

us to do a search engine based on the payments that we were receiving from Google.”).

   B.      The Remedies Will Increase Rivals’ Incentives To Invest And Innovate

        924.   Google’s conduct has “reduced the incentive to invest and innovate in search.”

Mem. Op. 236, 250.

        925.   In time, distributors and users would be better off under Plaintiffs’ remedies

because of greater competition. Rem. Tr. 2288:23–2289:5 (Chipty (Pls. Expert)).


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       926.    If Google is prohibited from making search distribution payments, it is possible

that payments to distributors will go down in the short run, but in the long run it is possible they

will go up because of the increase in competition. Rem. Tr. 2288:23–2289:9 (Chipty (Pls.

Expert)).

       927.    Distribution remedies target Google’s scale advantage, giving rivals both the

incentive and the ability to innovate. Rem. Tr. 2162:22–2163:7 (Chipty (Pls. Expert)) (“[S]cale is

a significant barrier in the relevant markets,” “there’s a close link between scale and quality in

both relevant markets,” and “Google’s [distribution] agreements have, for years, deprived rivals

of scale.”); Rem. Tr. 2166:12–2167:18 (Chipty (Pls. Expert)) (recognizing that rivals would

“have an incentive to innovate because they have access to distribution they didn’t have before”).

       928.    If competition spurred payments to Apple in the remedial or competitive worlds

that were high enough to disincentivize Apple’s entry into search, that would mean that the

competition problem would have been resolved through non-Apple competitors. Rem.

Tr. 2289:17–2290:5 (Chipty (Pls. Expert)).

       929.    The point of the remedies is to create competition through entry by non-Google

rival general search firms, with Apple as only one potential source of entry or sponsored entry.

Rem. Tr. 2289:17–2290:5 (Chipty (Pls. Expert)).

       930.    The remedies will create incentives for rivals to invest in product differentiation.

Rem. Tr. 2185:13–2186:22 (Chipty (Pls. Expert)) (responding to the Court’s question and

explaining that, “for rivals to compete against Google, they will have to differentiate” rather than

clone Google); Rem. Tr. 4257:21–4259:20 (Murphy (Def. Expert)) (respond to the Court and

stating, “I think rivals always have an incentive to differentiate their product”).




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        931.   The remedies will increase the incentives for rivals to invest. Rem. Tr. 2194:3–

2195:3 (Chipty (Pls. Expert)) (“[P]laintiffs’ remedies give rivals a much more important,

significant path to market, and so will increase their incentives to incur the high capital costs of

entry and expansion.”).

        932.   Many new entrants will succeed against Google by being differentiated and

providing consumers value. Rem. Tr. 4325:23–4328:16 (Murphy (Def. Expert)) (responding to

the Court and stating that “the most important thing is the way many of these rivals are going to

succeed is by being differentiated” and “by providing consumers value”).

   C.      The Remedies Will Increase Apple’s Incentive To Enter

        933.   Apple would be incentivized to make a rival search engine if the disincentive of

Google’s revenue share payments disappeared. Rem. Tr. 3825:7–3829:2 (Cue (Apple)) (Apple’s

SVP of Services “can’t say [he] would disagree” that “it was a disincentive for us to do a search

engine based on the payments that we were receiving from Google.”).

   D.      The Remedies Will Likely Increase Google’s Incentives To Invest And Innovate

        934.   Google did not innovate on AI in search because it does not have competition.

Rem. Tr. 874:18–875:17 (Weinberg (DuckDuckGo)) (“[I]t took Google two and a half years . . .

to roll out AI mode after ChatGPT launched.”).

        935.   Google will innovate more due to greater competitive rivalry. Rem. Tr. 2160:21–

2161:13 (Chipty (Pls. Expert)) (“[I]f remedies are successful in this case, I would expect Google

to innovate more because of greater competitive rivalry.”); Rem. Tr. 2161:14–23 (Chipty (Pls.

Expert)) (describing two examples of Google innovating in more competitive markets);

PXR0035* at -405 (Google describing its “innovator’s dilemma,” where its “existing metrics

only reward incremental improvements,” but without dramatic changes to Search, Google “may

not remain competitive for too long”).

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        936.   Over the past decade of Google’s monopoly, Search has not meaningfully

improved as a product. Rem. Tr. 3861:10–3862:7 (Cue (Apple)) (Search results have not gotten

better in the last 20 years, but they are starting to improve with AI.); Rem. Tr. 3865:15–3866:12

(Cue (Apple)) (Search technology improvements in the last five to ten years have been small.);

Rem. Tr. 3845:13–3847:3 (Cue (Apple)) (“There’s a lot of capabilities that I think searching can

get a lot better [at] than it is today.”); PXR0035* at -405 (describing Google’s “innovator’s

dilemma,” where its “existing metrics only reward incremental improvements,” but without

dramatic changes to Search, Google “may not remain competitive for too long”).

        937.   Integration of GenAI into generative Search could be disruptive. Rem.

Tr. 3818:13–3819:4 (Cue (Apple)) (AI competitors entering the search market is “the first time”

that “there are things that are more interesting happening in the space” than what Google is

doing.); Rem. Tr. 3822:22–3823:10 (Cue (Apple)) (Although Google’s Search quality has

improved since the fall of 2023, the “real opportunity” for “significant incremental

improvements[] is in the area of AI.”); Rem. Tr. 3822:22–3823:10 (Cue (Apple)) (AI Overviews

have made Google’s search product better.); Rem. Tr. 3837:12–3838:15 (Cue (Apple))

(responding to the Court’s question and explaining that “the combination of a search index and

the LLMs” could provide “way better results” than what search engines can currently provide);

Rem. Tr. 3842:23–3845:10 (Cue (Apple)) (“AI is a huge technology shift” that is “creating new

opportunities for new entries that just wouldn’t exist otherwise.”).

XV.     TIMELINES THAT INFORM THE DURATION OF THE REMEDIES IN FORCE

   A.      Duration Of The Anticompetitive Conduct

        938.   Google’s default agreements, which it has had with its top distributors for around

20 years, have been found to be anti-competitive for at least 10 years. Mem. Op. at 200, 214,

223–25; Rem. Tr. 2175:20–2176:5 (Chipty (Pls. Expert)). Google “has enjoyed an over-80%

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share since at least 2009.” Mem. Op. at 157. For 10 to 20 years, Google has been able to make

investments that give it an advantage that will take rivals time to overcome. Rem. Tr. 2175:20–

2176:5 (Chipty (Pls. Expert)).

   B.      There Has Been No Significant Share Shift In Europe After Five Years Of
           Choice Screens

        939.   Choice screens were rolled out in Europe beginning about five years ago and have

expanded in use since that time. Rem. Tr. 2174:22–2175:19 (Chipty (Pls. Expert)). Data sharing

provisions in Europe began about two years ago. Rem. Tr. 2174:22–2175:19 (Chipty (Pls.

Expert)). Even so, Google’s share in Europe remains well over 90%. Rem. Tr. 2174:22–2175:19

(Chipty (Pls. Expert)).

   C.      There Has Been No Meaningful Entry In The Markets For U.S. General Search
           Services And General Search Advertising For 15 Years

        940.   There has been no meaningful entry in general search in the last 15 years. Mem.

Op. at 200; Rem. Tr. 2174:1–8 (Chipty (Pls. Expert)).

        941.   Neeva’s attempt at entry, which began in 2019, suggests how long de novo entry

might take in general search. Rem. Tr. 2174:9–21 (Chipty (Pls. Expert)). Neeva was well-funded

and its team was highly experienced, yet it failed in about four and a half years. Mem. Op. at 11,

200; Rem. Tr. 2174:9–21 (Chipty (Pls. Expert)).

        942.   Mozilla would benefit if there were at least one other competitor to Google of

equal quality and equal ability to monetize searches. Rem. Tr. 3159:1–8 (Muhlheim (Mozilla))

(agreeing with the Court’s hypothetical).

        943.   AI entrants are the first meaningful search entrants in a long while. Rem.

Tr. 3818:13–3819:4 (Cue (Apple)) (AI competitors entering the search market is “the first time”

that “there are things that are more interesting happening in the space” than what Google is

doing, “so we’re starting to see what I believe are potential formidable competitors.”).

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   D.      Practical Considerations

        944.   The duration of remedies should be long enough to allow rivals to overcome the

barriers to entry and expansion. Rem. Tr. 2173:1–12 (Chipty (Pls. Expert)).

        945.   It will take time for Google’s rivals to develop the capabilities to work with the

data Google is expected to share under Plaintiffs’ remedies. Rem. Tr. 2176:6–15 (Chipty (Pls.

Expert)); Rem. Tr. 426:1–427:19 (Turley (OpenAI)) (responding to the Court’s question and

explaining that, even with full access to Google data, it would take OpenAI at least five years to

determine whether answering 100% of user queries with its own index is achievable); Rem.

Tr. 840:22–842:3 (Weinberg (DuckDuckGo)) (explaining that making use of the data remedies

requires risk and investment to become independent by the end of the remedies).

        946.   Creating and building a search engine is not an easy thing and has a number of

different components to it. Rem. Tr. 3152:12–3153:11 (Muhlheim (Mozilla)). Building viable

alternatives to Google’s search results and ads will not happen overnight. Rem. Tr. 3153:12–

3154:3 (Muhlheim (Mozilla)). It will take time and investment for companies to create a Google

competitor of equal quality and equal ability to monetize search. Rem. Tr. 3159:1–18 (Muhlheim

(Mozilla)) (responding to the Court’s question). Building a search engine takes many years and

has only gotten harder. Rem. Tr. 3851:1–3852:6 (Cue (Apple)) (agreeing that building a general

search engine would take many years and explaining that doing so has gotten harder recently).

        947.   If Google entered into flexible default agreements that could be canceled by a

distributor at any time, it would still take a long time for rivals to accumulate the kind of scale

they would need to challenge Google. Rem. Tr. 2184:7–2185:6 (Chipty (Pls. Expert)). Because

Google has a monetization advantage, it will take time for rivals to increase quality even with

data and syndication remedies, and that time will be longer if there is not at least some period of



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time over which Google is not permitted to pay for defaults. Rem. Tr. 2185:13–2186:22 (Chipty

(Pls. Expert)) (responding to the Court’s question).

        948.     Rivals who choose to syndicate will need time to differentiate themselves from

Google in order to have a realistic chance of competing. Rem. Tr. 2185:13–2186:22 (Chipty (Pls.

Expert)) (responding to the Court’s question).

        949.     Because Google has engaged in its conduct over many years, rivals will not be

able to quickly catch up to where they would have been. Rem. Tr. 4605:1–9 (Chipty (Pls.

Expert)).

        950.     Building indices that will allow GSEs to stand on their own will take years. Rem.

Tr. 871:8–872:13 (Weinberg (DuckDuckGo)) (Building search indices at scale and ensuring they

“work as effectively as” Google’s will take years, and fine-tuning them will take “some years

after that.”).

        951.     Scaling a user base large enough to have the user interaction data to support a

rival search index and related systems will take several years. Rem. Tr. 871:8–872:13 (Weinberg

(DuckDuckGo)) (Growing a rival search engine’s user base to scale requires a “longer timeline”

than building out a search index.).

        952.     It will take years of marketing a rival GSE to build a user base. Rem. Tr. 871:8–

872:13 (Weinberg (DuckDuckGo)) (“Now we are talking about marketing, word of mouth,

building the user base year after year. That just takes time to compound.”).

        953.     Even after ten to fifteen years, it would be unlikely for a rival search engine to

match Google’s scale. Rem. Tr. 871:8–872:13 (Weinberg (DuckDuckGo)) (describing the

process and timeline of venture capital investment into potential search rivals).




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        954.    A three-year remedy period is too short for rivals to compete. Rem. Tr. 872:14–21

(Weinberg (DuckDuckGo)) (“It would take us a few years just to work through these remedies,

you know, to get implemented and launched and get to working,” so a three-year remedy period

“would make the entire investment not make any sense.”); Rem. Tr. 2174:1–2176:25 (Chipty

(Pls. Expert)) (explaining how various informative historical timelines suggest a remedy duration

of three years is too short, and a duration of ten years is better than three); Rem. Tr. 2202:16–

2203:3 (Chipty (Pls. Expert)) (The remedy should be “at least five years and possibly more.”).

        955.    It will take rivals multiple years to build a search index that can compete with

Google’s index on head queries alone. To compete on long-tail queries, rivals will need several

more years. Rem. Tr. 397:8–398:4 (Turley (OpenAI)) (responding to the Court and stating that,

even without coverage for long-tail queries, building a search index is a “multi-year project”).

Restoring competition will take at least five years. Rem. Tr. 2176:16–25 (Chipty (Pls. Expert))

(stating that “restoring competition will take at least five years, maybe more”).

        956.    A remedies period of at least five years is necessary. Rem. Tr. 1820:7–1821:19

(Epstein (adMarketplace)) (“I’ve said five years would be probably sufficient. . . . I’d say five to

ten years.”).

XVI. TECHNICAL COMMITTEE

        957.    The Technical Committee could establish privacy protections and perform the

privacy-utility tradeoff. Rem. Tr. 860:18–12 (Weinberg (DuckDuckGo)) (responding to the

Court and explaining that a technical committee could establish protocols to prevent a future

incident similar to the AOL data leak while balancing privacy and utility); Rem. Tr. 1170:2–

1171:7 (Evans (Pls. Expert)) (responding to the Court and explaining that a Technical Committee

would be well-positioned to make the necessary privacy-utility tradeoff in this case after

understanding the data and the Qualified Competitors’ specific use cases); Rem. Tr. 1174:1–
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1179:8 (Evans (Pls. Expert)) (responding to the Court’s questions and describing one potential

process whereby the Technical Committee could conduct a privacy-utility tradeoff to protect

privacy while sharing high-utility data); Rem. Tr. 1181:9–1182:11 (Evans (Pls. Expert))

(explaining the importance of having the Technical Committee determine the mechanisms for

sharing data in order to ensure the best privacy-utility tradeoff).

       958.    The Technical Committee could test to determine optimal choice screen

implementation. Rem. Tr. 866:4–868:2 (Weinberg (DuckDuckGo)) (discussing the utility of the

Technical Committee as a source of technical expertise and describing the absence of a technical

committee under the European choice screen mandate as a “fatal flaw”).

       959.    The lack of a technical committee in Europe has undermined the effectiveness of

antitrust remedies and laws. Rem. Tr. 867:11–868:2 (Weinberg (DuckDuckGo)) (describing the

lack of a technical committee in Europe as a “fatal flaw” and explaining how a technical

committee could have prevented Google from using their “infinite resources” to frustrate reforms

or circumvent remedies); Rem. Tr. 869:8–870:17 (Weinberg (DuckDuckGo)) (Without a

technical committee in Europe, Google was allowed to define what click-and-query data it

shared under the DMA, which made the data “pretty useless” to other competitors, with 99% of

the queries removed.); Des. Rem. Tr. 64:23–24, 65:1–14 (Microsoft-DS 30(b)(6) Dep.)

(Microsoft believes the presence of a technical committee in Europe would have been “useful in

ensuring compliance with any remedies” under, e.g., the Digital Markets Act.).

       960.    The Technical Committee would give Qualified Competitors an opportunity to

give input on remedies. Rem. Tr. 871:2–7 (Weinberg (DuckDuckGo)) (A Technical Committee

would allow Qualified Competitors to give input into the remedies process.).




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        961.   Even after being subject to a technical committee in United States v. Microsoft,

Microsoft views a technical committee as “useful in ensuring compliance with any remedies that

are imposed,” and believes that a lack of a Technical Committee “can create challenges.” Des.

Rem. Tr. 64:23–24, 65:1–14 (Microsoft-DS 30(b)(6) Dep.).

        962.   A Technical Committee and divestiture trustee can play a helpful role in the

divestiture process. Involvement of the Government or Technical Committee in the buyer

identification and approval process can be consistent with common divestiture practices. Rem.

Tr. 2055:6–2056:23 (Locala (Pls. Expert)) (“[I]t’s normal for sellers to ask buyers, especially in

a divestiture . . . for things like investment plans, what do you plan to do with the business, and

they factor that in. So it’s not an uncommon part of the process . . . but you do have, you know,

involvement of another party.”). A Technical Committee could be a helpful tool in the divestiture

process, providing additional detail to define the perimeter around the transaction. Rem.

Tr. 2707:7–18 (Zenner (Def. Expert)) (expanding on response to prior question from the Court).

XVII. COLORADO PLAINTIFFS’ PUBLIC EDUCATION REMEDY

   A.      Habit, Inertia, And Brand Recognition Are Barriers That Protect Google’s
           Monopolies

        963.   The Court previously found that “the vast majority of individual searches, or

queries, are carried out [by] habit, because search is a high frequency activity done on a familiar

device that provides an instant response.” Mem. Op. at 26 (quoting Liab. Tr. 543:2–9 (Rangel

(Pls. Expert))). The Court also found that many users are “habituated to a particular [search

engine] option, they are unlikely to deviate from it,” and they consequently are driven by

“Inertia” when carrying out searches. Mem. Op. at 27.

        964.   The strong influence of habit and inertia in driving search queries to Google

remain to this day. Rem. Tr. 477:4–12 (Turley (OpenAI)) (“[M]ost people don’t even think about


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what search engine to use or how to get their real-time information”); Rem. Tr. 815:16–816:2

(Weinberg (DuckDuckGo)) (“[W]here we find ourselves today is, everyone doesn’t choose

Google. It’s just there as their default search engine based on them, you know, being the near

universal default on all access points; that in and of itself is the crux of the issue.”); Rem.

Tr. 472:3–15 (Turley (OpenAI)) (“[I]f you just simply type into your Chrome bar without

thinking, you go to Google.com. You type into your Safari without thinking, you go to

Google.com. If you follow your own muscle memory, you will go to Google.com.”).

       965.    The Court also previously found that “[m]any users do not know that there is a

default search engine, what it is, or that it can be changed.” Mem. Op. at 27. Further, ‘[e]ven

users who ‘are not in this habitual mode and [] try to change the default will get frustrated and

stop the process’ if there is ‘choice friction.’” Mem. Op. at 27–28 (quoting Liab. Tr. 547:5–16

(Rangel (Pls. Expert))).

       966.    Users’ limited knowledge that there is a default search engine on many search

access points, what it is, that it can be changed, or how to change it all persist to the present day.

Rem. Tr. 815:16–816:2 (Weinberg (DuckDuckGo)) (“[P]eople aren’t . . . thinking about

alternatives [or] even realize that they can switch or [] are able to.”); Rem. Tr. 878:19–879:16

(Weinberg (DuckDuckGo)) (“I think it is a key place where we lose people today certainly in

trying to get them to understand how to switch”); Rem. Tr. 1255:19–1256:2 (Provost (Yahoo))

(“I think it would be helpful in the sense that it’s not the easiest process. And any efforts to

educate folks on how to change that setting or understand they have choices there, I think would

be helpful.”); Rem. Tr. 708:16–709:17 (Shevelenko (Perplexity)) (explaining the process of

switching defaults in the context of the default Android assistant).




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        967.   In addition, the Court previously held that Google’s superior brand recognition is

a “significant barrier[] that protect[s] Google’s market dominance in general search.” Mem. Op.

at 157. In support of that holding, the Court found that the Google “brand is synonymous with

search” and “Google’s brand recognition also provides its distribution partners with a powerful

incentive to retain Google as the default GSE.” Mem. Op. at 1, 160.

        968.   Brand recognition remains a powerful driver in use of Google Search and would

remain so even if Google loses default status. Rem. Tr. 862:22–863:25 (Weinberg

(DuckDuckGo)) (“[B]rand awareness is key to being selected. You will not choose something

that you never heard of.”); Rem. Tr. 543:1–22 (Rangel (Pls. Expert)) (“[T]hose default

applications, they build up a strong brand. And because of this, other things being equal, . . .

when a consumer is put in an explicit situation to make a choice, it’s more likely to choose the

thing that is more familiar that has a stronger brand.”).

   B.      The Public Education Remedy Would Reduce Those Barriers And Aid Informed
           User Choice

        969.   As a matter of economic principle, “providing more information will tend to help

people make better decisions.” Rem. Tr. 1874:15–1875:2 (Luca (State Pls. Expert)); Rem.

Tr. 3309:18–22 (Israel (Def. Expert)) (agreeing that “giving customers more information can

help them evaluate better options”)).

        970.   A public education campaign is an organized effort to provide relevant

information to the public at scale. Rem. Tr. 1868:12–1870:2 (Luca (State Pls. Expert). Public

education campaigns empower people to make informed decisions, and can be particularly useful

where people face informational barriers or where there is new information that is likely to effect

informed choice. Rem. Tr. 1872:6–15, 1878:20–1879:9 (Luca (State Pls. Expert)).




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       971.    A public education campaign can disseminate information through various

channels, including blog posts, direct digital notifications, online advertising, or direct mail

notification. Rem. Tr. 1879:18–1881:12, 1882:2–22 (Luca (State Pls. Expert)). They have been

used successfully as part of antitrust remedies, as part of legal settlements, and when a company

implements changes while facing legal scrutiny. Rem. Tr. 1881:13–23, 1882:23–1883:1 (Luca

(State Pls. Expert)).

       972.    A public education campaign here would improve user choice because search

engine users currently face informational barriers and, with the benefit of Court-imposed

remedies, will encounter new and changed search options and ways to access them. First,

information could be provided about the outcomes of this case and the recently imposed

remedies, including that users may encounter new defaults, new choice screens, or new and

improved search engine options. Rem. Tr. 1886:17–1887:8 (Luca (State Pls. Expert)). Second,

information could be provided about alternate search engines and their distinct features. Rem.

Tr. 1885:9–1886:16. Third, information could be provided about how to select an alternate

search engine, whether by changing a default setting, using a choice screen, using a choice

dropdown, or another method. Rem. Tr. 1885:9–1886:16, 1889:10–15, 1889:24–1890:20 (Luca

(State Pls. Expert)). All of this information would reduce the effects of habit, inertia and brand

recognition, and instead encourage active search engine choice and experimentation. Rem.

Tr. 1885:9–1887:8, 1904:9–25 (Luca (State Pls. Expert)).

       973.    Providing information about alternate search engines is important because search

engines are multidimensional, meaning they have distinct characteristics that may appeal to

different users and align with their preferences. Rem. Tr. 1888:3–1889:9 (Luca (State Pls.

Expert)). For example, whereas Google promotes itself as the “the world’s most used search



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engine,” DuckDuckGo highlights that it has “fewer ads” and “never tracks you,” Microsoft

highlights that it is “powered by ChatGPT,” and Ecosia highlights that it “plant[s] trees as you

search.” Rem. Tr. 1888:3–1889:9 (Luca (State Pls. Expert)) (discussing PXRD013 at 15); Rem.

Tr. 865:5–866:3 (Weinberg (DuckDuckGo)) (“[A] short description of text about the search

engine [] would help it differentiate. So if you think of DuckDuckGo, we’re a privacy search

engine, you never heard of us. All you see is ‘duck’ and the name. You have no idea what that is

or what would be the reason to choose it.”).

       974.    The public education remedy serves a distinct and complementary purpose apart

from rivals’ incentives to market their specific products and potentially offer incentive payments

to use their products. Rem. Tr. 1972:17–24, 1974:5–13 (Luca (State Pls. Expert)). Rivals are

generally not incentivized to provide public information about the range of alternate search

engines and their attributes, as the public education remedy would. Rem. Tr. 1972:17–24,

1974:5–13 (Luca (State Pls. Expert)). Nor are rivals generally incentivized to encourage users to

explore and experience a variety of alternate search engines and their distinct attributes, again as

the public education remedy would. Rem. Tr. 1961:1–10, 1965:3–14 (Luca (State Pls. Expert)).

       975.    In addition, the barriers to switching that exist given Google’s longstanding

monopoly and control of defaults leave rivals limited incentive to invest in marketing today.

Rem. Tr. 877:3–23 (Weinberg (DuckDuckGo)) (explaining that in today’s world, marketing is

only “marginally” profitable because “we get people to maybe come to our website but it’s hard

for them to switch still because switching is difficult and they have never done it before.”). For

that reason, Mr. Weinberg explained that the public education remedy would “increase the

efficiency of [DuckDuckGo’s] marketing and probably enable us to do it at a bigger scale.” Rem.

Tr. 877:3–23 (Weinberg (DuckDuckGo)).



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        976.     Mr. Weinberg of DuckDuckGo and Mr. Provost of Yahoo testified that the

proposed public education campaign would lower informational barriers and help them and other

search engines to attract users. Rem. Tr. 877:3–879:16 (Weinberg (DuckDuckGo)); Rem.

Tr. 1255:8–1256:2 (Provost (Yahoo)).

   C.       Incentive Payments Would Further Support Informed User Choice

        977.     Search engines are experience goods, meaning their quality can only be fully

assessed through use. Rem. Tr. 1890:21–1892:7 (Luca (State Pls. Expert)).

        978.     Many people use Google Search simply because they are more familiar with it,

i.e., they lack experience using other non-Google search engines. Rem. Tr. 542:23–543:22

(Rangel (Pls. Expert)); PXR0044* at -358 (Aug. 2024 Google presentation titled “Google Search

Brand Perceptions”) (“There’s a significantly positive relationship between Familiarity and

[Google Search] product usage.”); PXR0007* at -866 (2017 Google presentation titled

“Understanding Change Aversion and Minimizing User’s Pain”) (“The mere exposure effect

showed the familiarity breeds liking.”).

        979.     A recent study by Allcott et al. concluded that users underestimate the quality of

Bing due to lack of experience using Bing, and that “just giving them a couple days of

experience seemed to have an impact on their beliefs, leading them to more favorably view Bing

after gaining experience with it relative to before.” Rem. Tr. 1892:8–1894:10 (Luca (State Pls.

Expert)).

        980.     A foundational economic principle is that financial incentives tend to influence

consumer behavior. Rem. Tr. 1874:15–1875:2 (Luca (State Pls. Expert)); Rem. Tr. 544:20–

546:14 (Rangel (Pls. Expert)). A large body of academic literature supports the role of incentives

in encouraging changed behavior and experimentation. Rem. Tr. 1892:8–1894:10 (Luca (State

Pls. Expert)).
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       981.    Providing short-term incentive payments to use non-Google search engines would

encourage users to experience those search engines, overcome the current lack of familiarity that

creates a bias in favor of Google, and permit more accurate assessment of quality and preference.

Rem. Tr. 1890:21–1892:7 (Luca (State Pls. Expert)). Such payments would complement the

public information component of this remedy, insofar as certain information about search

engines can only be gained through experience. Rem. Tr. 1890:21–1892:7 (Luca (State Pls.

Expert)); Rem. Tr. 883:24–884:8 (Weinberg (DuckDuckGo)) (Incentive payments “would

probably increase the conversion of people to other search engines.”).

       982.    The Allcott study tested the role of incentives in encouraging users to explore a

different default search engine. Rem. Tr. 1892:8–1894:10 (Luca (State Pls. Expert)) (discussing

PXRD013 at 13). The authors offered participants $10 to switch their default search engine from

Google to Bing for two days. Rem. Tr. 1892:8–1894:10 (Luca (State Pls. Expert)) (discussing

PXRD013 at 13). The study found that “a large share of people are willing to take that incentive

and try a different default search engine,” and “up to 56 days afterwards, that people persist and

that many people continue to use Bing even after the experiment, even after they’re no longer

required to do so for the purposes of the incentive.” Rem. Tr. 1892:8–1894:10 (Luca (State Pls.

Expert)) (discussing PXRD013 at 13). The authors concluded that “a significant share of

participants revised their perception about Bing after the default change.” Rem. Tr. 1892:8–

1894:10 (Luca (State Pls. Expert)) (discussing PXRD013 at 13).

       983.    Another part of the Allcott study offered participants incentive payments of $1,

$10, or $25 to change their default search engine to Bing for fourteen days. Rem. Tr. 1894:18–

1896:22 (Luca (State Pls. Expert)) (discussing PXRD013 at 20). At the end of the fourteen days,

participants were sent a direct notification that the experiment had ended and instructions to



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change back to their original search engine. Rem. Tr. 1894:18–1896:22 (Luca (State Pls.

Expert)) (discussing PXRD013 at 20).

        984.   As shown, this part of the study found that the higher the payment, the greater the

number of participants that took the payment and switched their default from Google to Bing.

Rem. Tr. 1894:18–1896:22 (Luca (State Pls. Expert)) (discussing PXRD013 at 20). Notably,

participants in all three incentive groups continued using Bing after they were no longer required

to do so and after they received instructions about how to change their default back to Google.

Rem. Tr. 1894:18–1896:22 (Luca (State Pls. Expert)) (discussing PXRD013 at 20). The authors

concluded that this continued usage of Bing—across all three incentive groups—was because

“[u]sers exposed to Bing positively updated their beliefs about its quality, and in higher payment

groups, a larger fraction of users update their beliefs, resulting in higher market share [for Bing]

after the incentive periods end.” Rem. Tr. 1894:18–1896:22 (Luca (State Pls. Expert))

(discussing PXRD013 at 20).

        985.   Short-term incentive payments to try other search engines can thus encourage

users to gain new and unique information about non-Google search engines, thereby reducing

their reliance on habit, inertia and brand recognition in their search engine use. Rem. Tr. 1897:9–

17, 1904:9–25 (Luca (State Pls. Expert)).

   D.      The Public Education Remedy Can Be Readily Implemented With Input From
           The Technical Committee

        986.   Plaintiffs’ RPFJ directs the Technical Committee to assess the design and funding

level of the public education remedy, including the role of short-term incentive payments. Pls.

RPFJ § IX.E. The Technical Committee would make recommendations to Colorado Plaintiffs,

followed by ultimate review and approval by the Court. Pls. RPFJ § IX.E.




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       987.    The Technical Committee can use established empirical tools to make

recommendations for the design and funding of the public education remedy. Rem. Tr. 1900:17–

10 (Luca (State Pls. Expert)). Principally, this would entail a short period of pilot testing to test

different components of the remedy. Rem. Tr. 1901:11–1903:19 (Luca (State Pls. Expert)).

       988.    For the public information component, the Technical Committee could test

different content and channels. Rem. Tr. 1901:11–1903:19 (Luca (State Pls. Expert)). The testing

could measure salience, meaning the extent to which information is received and understood.

Rem. Tr. 1901:11–1903:19 (Luca (State Pls. Expert)). Such testing is commonplace for

companies or ad agencies when designing a marketing campaign. Rem. Tr. 1901:11–1903:19

(Luca (State Pls. Expert)).

       989.    For the incentive payments component, the Technical Committee could test

different payment amounts, durations, and targeted groups. Rem. Tr. 1901:11–1903:19 (Luca

(State Pls. Expert)). For example, incentive payments could be limited to users whose devices

show a choice screen or those that continue to have a Google search default after imposition of

other remedies. Rem. Tr. 1899:11–1900:7, 1901:11–1903:19 (Luca (State Pls. Expert)). The

Technical Committee could also test ways to provide incentive payments and monitor

compliance at large scale, such as with a browser extension. Rem. Tr. 1897:18–1900:7, 1901:11–

1903:19 (Luca (State Pls. Expert)).

       990.    The Technical Committee could weigh these considerations against the costs of

implementing the public education remedy. Rem. Tr. 1883:2–1885:5, 1900:17–1901:10 (Luca

(State Pls. Expert)). Prof. Luca provided examples of successful public education campaigns

costing between $40–100 million per year. Rem. Tr. 1981:1–24 (Luca (State Pls. Expert)). In




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comparison, Google spent $   million marketing its Search product in 2022, $   million in

2023, and $   million in 2024. PXR0719* at -446 (“Google Total Marketing Expense”).




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